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        1.      Plaintiff Royal Park Investments SA/NV (“plaintiff” or “RPI”) alleges the following

based on information and belief upon the investigation of plaintiff’s counsel (except as to the

allegations pertaining to plaintiff, which are based on personal knowledge), which included an

investigation and review of information concerning defendant U.S. Bank National Association

(“U.S. Bank” or “defendant”), a review and analysis of information and data concerning the

“Covered Trusts” at issue herein, the “Mortgage Loans” within the Covered Trusts at issue herein,

the “Warrantors” and originators of the Mortgage Loans, and the “Master Servicers” and “Servicers”

of the Mortgage Loans, as well as interviews and consultations with experts, consultants and others

knowledgeable in the field of residential mortgage-backed securities (“RMBS”). Plaintiff and

plaintiff’s counsel believe that substantial additional evidentiary support will exist for the allegations

set forth herein after a reasonable opportunity for discovery.

I.      SUMMARY OF THE ACTION

        2.      Plaintiff brings this action on its own behalf and on behalf of a class of all RMBS

investors in the following 25 substantially similarly RMBS trusts for which defendant U.S. Bank

serves as Trustee (collectively, the “Covered Trusts”):

 Covered Trust Name                                                      Hereinafter Referred to as:
 1. Banc of America Funding 2007-C Trust                                 BAFC 2007-C
 2. BNC Mortgage Loan Trust 2007-2                                       BNCMT 2007-2
 3. Bear Stearns Asset Backed Securities I Trust 2006-AC2                BSABS 2006-AC2
 4. Bear Stearns Asset Backed Securities I Trust 2006-AC5                BSABS 2006-AC5
 5. GreenPoint Mortgage Funding Trust 2007-AR1                           GPMF 2007-AR1
 6. GreenPoint Mortgage Funding Trust 2007-AR2                           GPMF 2007-AR2
 7. GreenPoint Mortgage Funding Trust 2007-AR3                           GPMF 2007-AR3
 8. Home Equity Asset Trust 2006-5                                       HEAT 2006-5
 9. Home Equity Asset Trust 2006-6                                       HEAT 2006-6
 10. Lehman XS Trust 2006-1ON                                            LXS 2006-1ON
 11. Lehman XS Trust 2006-15                                             LXS 2006-15
 12. Lehman XS Trust 2007-7N                                             LXS 2007-7N
 13. MASTR Asset Backed Securities Trust 2006-HE2                        MABS 2006-HE2
 14. Merrill Lynch Mortgage Investors Trust 2006-WMC2                    MLMI 2006-WMC2
 15. Structured Adjustable Rate Mortgage Loan Trust 2006-9               SARM 2006-9

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    Covered Trust Name                                                Hereinafter Referred to as:
    16. Structured Asset Securities Corporation Mortgage              SASC 2006-NC1
        Loan Trust 2006-NC1
    17. Structured Asset Securities Corporation Mortgage              SASC 2006-WF2
        Loan Trust 2006-WF2
    18. Structured Asset Securities Corporation Mortgage              SASC 2006-WF3
        Loan Trust 2006-WF3
    19. Structured Asset Securities Corporation Mortgage              SASC 2007-EQ1
        Loan Trust 2007-EQ1
    20. Structured Asset Securities Corporation Mortgage              SASC 2007-WF1
        Loan Trust 2007-WF1
    21. Washington Mutual Mortgage Pass-Through Certificates          WMALT 2006-AR4
        WMALT Series 2006-AR4 Trust
    22. WaMu Mortgage Pass-Through Certificates Series                WAMU 2006-AR13
        2006-AR13 Trust
    23. WaMu Mortgage Pass-Through Certificates Series                WAMU 2006-AR17
        2006-AR17 Trust
    24. WaMu Mortgage Pass-Through Certificates Series                WAMU 2006-AR19
        2006-AR19 Trust
    25. WaMu Mortgage Pass-Through Certificates Series                WAMU 2007-OA2
        2007-OA2 Trust

         3.     Plaintiff sues U.S. Bank for violating the Trust Indenture Act of 1939 (“TIA”), 15

U.S.C. §77aaa et seq., and for breach of contract and breach of trust, in connection with the Covered

Trusts. Plaintiff and the class are beneficiaries of the Covered Trusts, which held residential

“Mortgage Loans.”1 Plaintiff and the class own RMBS in the Covered Trusts, which are essentially

bonds granting plaintiff and the class the right to receive monthly principal and interest payments

generated by the Mortgage Loans.

         4.     As the Trustee for the Covered Trusts, U.S. Bank owed plaintiff and the class certain

contractual duties and obligations, and similar statutory duties imposed on it by the TIA, as well as

certain duties to avoid conflicts of interest under common law. The contractual duties and

obligations are contained within the Covered Trusts’ “Governing Agreements,” called “Pooling and

1
    Each of the Covered Trusts held hundreds to thousands of residential mortgage loans that were
transferred to them. These mortgage loans transferred to the Covered Trusts are referred to herein as
the “Mortgage Loans.”

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Servicing Agreements” (“PSAs”) or “Trust Agreements” (“TAs”). A copy of one of the Governing

Agreements, the PSA for the BAFC 2007-C Trust (the “BAFC 2007-C PSA”), one of the Covered

Trusts herein, is attached hereto as Ex. A. All of the Governing Agreements for the other Covered

Trusts are either identical or substantially identical to the Governing Agreement for the BAFC 2007-

C Covered Trust, and are incorporated herein by reference as if set forth fully herein.

        5.      The purpose of having trustees, such as U.S. Bank, in RMBS securitizations like the

Covered Trusts is to ensure that there is at least one independent party to the Governing Agreements

that – unlike plaintiff and the class – does not face collective action, informational, or other

limitations, thereby allowing the Trustee to effectively protect the interests of plaintiff and the class,

and administer the Covered Trusts for the benefit of plaintiff and the class.

        6.      The Governing Agreements, as modified by the TIA and common law, effectuated

this purpose by imposing certain obligations and duties on U.S. Bank as Trustee that were designed

to protect plaintiff’s and the class’ interests. U.S. Bank’s discharge, or failure to discharge, such

obligations and duties had a direct and material impact on the Covered Trusts and plaintiff’s and the

class’ interests therein.

        7.      Thus, the Governing Agreements granted U.S. Bank certain rights and powers, and

mandated that it use those rights and powers for the benefit of plaintiff and the class. For example,

the Governing Agreements contain representations and warranties from certain entities that

transferred Mortgage Loans to the Covered Trusts, regarding the credit quality and characteristics of

the Mortgage Loans. These transferring entities were: (1) the “Sellers” or “Sponsors” of the

Mortgage Loans and RMBS securitizations (the “Loan Sellers/Sponsors”);2 and/or (2) the Mortgage

Loan’s originators or other entities that sold Mortgage Loans that were ultimately transferred to the
2
   Typically, the Loan Sellers/Sponsors aggregated the Mortgage Loans and sold them to the
Covered Trusts’ “Depositors,” for ultimate transfer to the Trustee and Covered Trusts.

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Covered Trusts (“Other Transferors”) (the Loan Sellers/Sponsors and Other Transferors are

collectively referred to herein as the “Warrantors”). The Warrantors’ representations and warranties

attested to a wide variety of credit characteristics of the Mortgage Loans, and vouched for the

accuracy of credit and other data they provided about the Mortgage Loans. Generally, these

representations and warranties attested to the credit quality of the Mortgage Loans and that the

Mortgage Loans were originated pursuant to law and specific underwriting standards, and were

otherwise as represented in the offering documents used to sell the Covered Trusts’ RMBS to

investors.

       8.      The veracity and accuracy of these representations and warranties were extremely

important to investors and credit rating agencies because they conveyed information attesting to the

credit quality of the Mortgage Loans, and thus the level of risk of investing in the Covered Trusts’

RMBS. In fact, credit rating agencies relied on and assessed the quality of the RMBS and issued

them credit ratings – most of which were high, “investment grade” credit ratings – based on the

Warrantors’ representations and warranties about the Mortgage Loans. Given the critical importance

of the Warrantors’ representations and warranties, the Governing Agreements obligated the

Warrantors to timely cure, substitute, or repurchase any Mortgage Loan that materially breached any

of their representations or warranties. Thus, the representations and warranties served as insurance

that the Mortgage Loans would be as the Warrantors represented, and if they were not, the

Warrantors would make them so by curing any breaches, including by substituting new non-

breaching loans or repurchasing any defective Mortgage Loans.

       9.      Given the importance of the Warrantors’ representations and warranties, the

Governing Agreements and the TIA required U.S. Bank – upon discovery of any material breach of

any of the representations or warranties as to any Mortgage Loan – to promptly notify the breaching


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Warrantor and request that such Warrantor cure the breach within a specified time. Significantly, if

the breach was not timely cured, the Governing Agreements required U.S. Bank to enforce the

breaching Warrantor’s obligations to either substitute or repurchase any defective Mortgage Loan.3

       10.     As alleged more fully below, as early as 2009, but in no event later than April 13,

2011, U.S. Bank “discovered,” as that term is used in the Governing Agreements, that the

Warrantors had breached their representations and warranties concerning thousands of Mortgage

Loans within the Covered Trusts. However, notwithstanding U.S. Bank’s discovery of these

massive breaches, U.S. Bank disregarded its duties under the Governing Agreements and the TIA

and failed to promptly request that the Warrantors cure their breaches. Nor did U.S. Bank enforce

the Warrantors’ obligations to cure, substitute or repurchase the defective Mortgage Loans (or, in the

case of the WaMu Covered Trusts, ensure the Servicer did), including many Mortgage Loans that

were so obviously defective that they had already been foreclosed on, liquidated and written off as

losses long before 2009 and long before April 2011. U.S. Bank’s failure to comply with the

Governing Agreements by failing to enforce the Warrantors’ obligations to cure, repurchase or

substitute breaching Mortgage Loans has resulted in billions of dollars of damages to the plaintiff

and the class, and the Covered Trusts, as those defective Mortgage Loans are in default, delinquent,

in foreclosure, or otherwise already liquidated at huge losses. Moreover, U.S. Bank’s continuing

failure to enforce the representation and warranty claims in breach of the Governing Agreements,

even long after it discovered such claims and breaches, has caused those claims against the

Warrantors to be lost to the statute of limitations. U.S. Bank’s inaction has also violated the TIA, as
3
   The five WaMu Covered Trusts herein (WMALT 2006-AR4, WAMU 2006-AR13, WAMU
2006-AR17, WAMU 2006-AR19 and WAMU 2007-OA2) were slightly different, as they required
U.S. Bank to notify the Depositor and Servicer of those Covered Trusts of the breaches, and the
Servicer, rather than U.S. Bank, was to enforce the Warrantors’ obligations. Nonetheless, if U.S.
Bank became aware that the Servicer was not enforcing the representation and warranty claims, U.S.
Bank was required to remedy the situation. This is discussed infra.

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the TIA required U.S. Bank to perform the foregoing duties mandated by the Governing

Agreements, and to give plaintiff and the class notice of the Warrantors’ defaults/breaches.

       11.     In addition to U.S. Bank’s obligations to enforce the representation and warranty

claims, U.S. Bank also owed other duties to plaintiff and the class under the Governing Agreements

and the TIA. The Governing Agreements required U.S. Bank to take steps to protect plaintiff and

the class whenever it became aware of uncured loan servicing failures by the Covered Trusts’ Master

Servicers and Servicers that amounted to “Events of Default,” as defined by the Governing

Agreements. To explain, the Governing Agreements designated certain entities to be the Master

Servicers or Servicers of the Mortgage Loans within the Covered Trusts (these Master Servicers and

Servicers are sometimes collectively referred to herein as “Master Servicers/Servicers”). The Master

Servicers/Servicers were responsible under the Governing Agreements to ensure the proper servicing

and administration of the Mortgage Loans within the Covered Trusts for the benefit of plaintiff and

the class. The Governing Agreements required the Master Servicers/Servicers (and their sub-

servicers) to exercise the customary loan servicing practices of “prudent” loan servicers, in

servicing the Mortgage Loans on behalf of plaintiff and the class. An “Event of Default” occurred

under the Governing Agreements whenever a Master Servicer or Servicer failed to properly and

prudently service and administer the Mortgage Loans.4



4
    The Master Servicers’/Servicers’ duties under the Governing Agreements included, inter alia,
ensuring the prompt collection of payments from borrowers and remittance of the same to the
Covered Trusts; ensuring the prompt sending of delinquency notices to borrowers who were late on
their payments; ensuring the proper maintenance and reporting of accurate information regarding the
Mortgage Loans; and ensuring the proper and prudent modification of Mortgage Loans when
necessary. In addition, the Master Servicers/Servicers were required to ensure the proper, prudent,
correct, and truthful institution and prosecution of foreclosure proceedings when, and as necessary,
on behalf of U.S. Bank as Trustee. In short, the Governing Agreements required the Master
Servicers/Servicers to do whatever a prudent Master Servicer/Servicer would customarily do to
ensure the proper servicing and administration of the Mortgage Loans for the benefit of plaintiff and
the class. With respect to the WaMu Covered Trusts, an Event of Default also occurred whenever
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       12.     Under the Governing Agreements and the TIA, U.S. Bank had a number of duties to

plaintiff and the class whenever it became aware of an Event of Default. First, U.S. Bank was

required to request that the offending Master Servicer or Servicer cure its default within a prescribed

period of time. Second, U.S. Bank was required to promptly give notice of Events of Default to

plaintiff and the class and others, such as the credit rating agencies. Third, U.S. Bank was allowed to

take additional actions to protect plaintiff and the class if an Event of Default was not cured,

including terminating and replacing the offending Master Servicer or Servicer in certain instances, or

taking over the Master Servicers’ or Servicers’ duties.

       13.     It was critically important that U.S. Bank act promptly as required by the Governing

Agreements when it became aware of Master Servicers’/Servicers’ Events of Default, and to quickly

and correctly remedy them, because the proper and prudent servicing of the Mortgage Loans was

vital to: (1) the ongoing financial viability of the Covered Trusts; (2) ensuring the Covered Trusts

had sufficient cash flows to pay expenses and to fund payments to plaintiff and the class; (3)

avoiding and minimizing any losses to plaintiff and the class, from defaults, delinquencies or

foreclosures of the Mortgage Loans; and (4) maintaining the credit ratings for plaintiff’s and the

class’ RMBS. Because of this, the Governing Agreements required U.S. Bank to act to protect

plaintiff and the class whenever it became aware of an Event of Default by a Master Servicer or a

Servicer.

       14.     As alleged more fully below, U.S. Bank obtained actual knowledge of widespread,

ongoing, uncured Events of Default by the Covered Trusts’ Master Servicers and Servicers with

respect to the Mortgage Loans in the Covered Trusts as early as October 2010, but in no event later

than April 13, 2011. During that time, U.S. Bank obtained actual knowledge that the Master

those Covered Trusts’ Servicers failed to enforce the Warrantors’ obligations to cure, substitute or
repurchase Mortgage Loans which breached their representations and warranties.

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Servicers and Servicers were engaging in improper and illegal foreclosures practices with respect to

the Mortgage Loans, including making false statements and filing false affidavits in foreclosure

proceedings in violation of federal and state laws (known as “robo-signing”), and engaging in other

improper loan servicing misconduct with respect to the Mortgage Loans that injured plaintiff and the

class. These improper and imprudent loan servicing practices by the Master Servicers and Servicers,

which were known to U.S. Bank, were Events of Default under the Governing Agreements. Thus,

they triggered U.S. Bank’s duties under the Governing Agreements and the TIA to act. However,

U.S. Bank failed to do the things required of it by the Governing Agreements and the TIA. U.S.

Bank failed to request that the Master Servicers and Servicers cure their Events of Default, as

required by the Governing Agreements and the TIA. U.S. Bank also did not notify plaintiff, the

class and others of the Events of Default, as required by the Governing Agreements and the TIA.

U.S. Bank further failed to take any other steps available to it to remedy the uncured Events of

Default, such as terminating or replacing the offending Master Servicers and Servicers, or taking

over their duties, as provided by the Governing Agreements and the TIA. In addition, despite its

knowledge that Events of Default have occurred continuously after April 2011, U.S. Bank has

continued to fail to act and thus has engaged in a continuing breach of the Governing Agreements

and the TIA.

       15.     U.S. Bank’s failures to act have resulted in the Mortgage Loans being improperly and

imprudently serviced and administered, causing massive damages to plaintiff, the class and the

Covered Trusts. U.S. Bank’s failures to correct the Master Servicers’ and Servicers’ Events of

Default have resulted in, inter alia: (1) numerous foreclosures being invalidated and/or improperly

delayed, substantially driving up the Covered Trusts’ expenses and losses, and delaying, reducing or

eliminating the receipt of foreclosure proceeds; (2) numerous Mortgage Loan delinquencies being


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allowed to stretch on interminably without payments being remitted to the Covered Trusts, while the

Master Servicers and Servicers continuously added improper and excessive fees and charges to such

Mortgage Loans which are paid by the Covered Trusts; (3) numerous Mortgage Loans being

modified or foreclosed, or not being modified or foreclosed, in a manner that financially benefitted

the Master Servicers’/Servicers’ interests but not plaintiff’s and the class’, in violation of the

Governing Agreements; and (4) various and numerous other improper servicing misconduct and

abuses amounting to Events of Default, that caused millions of dollars in damages to plaintiff and the

class.5

          16.   Importantly, under both the Governing Agreements and the TIA, the occurrence of an

Event of Default dramatically increased U.S. Bank’s duties to plaintiff and the class. The occurrence

of any Event of Default required U.S. Bank to protect plaintiff and the class by exercising all of the

rights and powers vested in U.S. Bank by the Governing Agreements, and further required U.S.

Bank to use a higher degree of care and skill than usual when exercising those rights and powers for

the benefit of plaintiff and the class. When an Event of Default occurred, U.S. Bank was required

by the Governing Agreements and the TIA to act as a reasonably prudent person would under the

circumstances, and as if U.S. Bank were conducting its own affairs. In other words, U.S. Bank was

required to exercise all of its rights and powers under the Governing Agreements as a reasonably

prudent person would to protect plaintiff, the class and the Covered Trusts, as if U.S. Bank were

seeking to protect its own interests.

          17.   In addition, the uncured Events of Default required U.S. Bank to exercise this

heightened duty of care, and to exercise all of its rights and powers under the Governing


5
    With respect to the WaMu Covered Trusts, U.S. Bank’s failure to act has also caused the loss of
representation and warranty claims that those Covered Trusts’ Servicers should have enforced
against the Warrantors.

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Agreements, not only as to the Master Servicers/Servicers and their Events of Default, but also as to

all of the Warrantors that had breached their representations and warranties. Thus, U.S. Bank

was also required to enforce the representation and warranty claims against the Warrantors as a

prudent person would, and seek to fully recover for those claims as though U.S. Bank was seeking to

recover for itself.

        18.     U.S. Bank, however, ignored these duties and obligations owed to plaintiff and the

class under the Governing Agreements and the TIA, and did not exercise its rights and powers under

the Governing Agreements, or exercise the degree of care and skill required of a prudent person in

the conduct of his/her own affairs. As a result of these failures by U.S. Bank, it breached the

Governing Agreements and violated the TIA, and caused plaintiff, the class and the Covered Trusts

to suffer billions of dollars in damages from the loss and non-prosecution of the representation and

warranty claims against the Warrantors (which are now time-barred), and have further caused

millions of dollars in additional damages resulting from the Master Servicers’/Servicers’ uncured

Events of Default, that continue unabated. Plaintiff and the class are entitled to recover damages

caused by these breaches of the Governing Agreements by U.S. Bank, and for its violations of the

TIA.

        19.     U.S. Bank’s failure to act also breached its common law duty of trust owed to

plaintiff and the class. Under this duty, U.S. Bank was required to avoid conflicts of interest with

plaintiff and the class. U.S. Bank failed to act as required under the Governing Agreements to

protect plaintiff’s and the class’ rights because U.S. Bank had a fundamental conflict of interest with

plaintiff and the class. U.S. Bank had ongoing and prospective business relationships with the loan

originators, Loan Sellers/Sponsors, Other Transferors, Master Servicers and Servicers to the Covered

Trusts (and entities related to them). These were the entities that selected RMBS trustees for RMBS


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trusts, and they had selected U.S. Bank to be the Trustee of many of the Covered Trusts, as well as

many others. Thus, U.S. Bank derived significant RMBS trustee business, income and profits from

such relationships, and desired to continue profiting therefrom in the future. U.S. Bank did not want

to disrupt its business relationships with these entities, or anger them, as it would disrupt U.S.

Bank’s RMBS trustee business and the income therefrom, as well as future prospects for such

financial gain. In addition, U.S. Bank also was a loan servicer in addition to being a RMBS trustee,

and U.S. Bank also derived loan servicing income and profits from such relationships and did not

want to disrupt those financial relationships either, for the same reasons.

       20.     Because of these relationships, U.S. Bank decided to refrain from protecting the

Covered Trusts and plaintiff’s and the class’ interests as required by the Governing Agreements and

the TIA. Instead, U.S. Bank protected and advanced its own economic interests at the expense of

plaintiff and the class. If U.S. Bank made claims for breaches of representations and warranties

against the Warrantors to the Covered Trusts, insisting that they remedy or repurchase defective

Mortgage Loans, or complained to the Master Servicers/Servicers to the Covered Trusts about

inadequate loan servicing or other conduct, or declared Events of Default against them, or replaced

them, those entities would retaliate by withholding future trustee and loan servicing business from

U.S. Bank, or by declaring loan servicing defaults against U.S. Bank where it serviced loans, or by

terminating it as a loan servicer. The Warrantors and Master Servicers/Servicers might also remove,

or seek to remove, or influence others to remove, U.S. Bank as Trustee from the many RMBS trusts

to which it was appointed if it acted against them, including the Covered Trusts.

       21.     For these reasons, U.S. Bank chose not to enforce representation and warranty claims

against the Warrantors, and did not declare Events of Default by the Master Servicers/Servicers, or

replace them. By deliberately failing to act, U.S. Bank put its own interests ahead of plaintiff’s and


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the class’ and benefitted therefrom, violating its common law duty to plaintiff and the class to avoid

conflicts of interest, thereby breaching U.S. Bank’s duty of trust.

        22.     Media reports and RMBS experts have confirmed these conflicts of interest. For

example, in December 2010, law professor Kurt Eggert appeared before the U.S. Senate’s Banking,

Housing and Urban Affairs Committee and testified that RMBS trustees like U.S. Bank were not

likely to be of “much help for investors” because “a trustee may derive much of its income from a

single lender.” In addition, in a news article published in The New York Times on June 16, 2013, it

was reported that “when mortgages soured, trustees declined to pursue available remedies for

investors, such as pushing a [Warrantor] to buy back loans that did not meet quality standards

promised when the securities were sold.” The article went on to describe why trustees like U.S.

Bank did not act:

                But because trustees are hired by the big banks that package and sell the
        securities, their allegiances are divided. Sure, investors are paying the fees, but if a
        trustee wants to be hired by sellers of securities in the future, being combative on
        problematic loan pools may be unwise.

The article concluded: “they [the RMBS trustees] are a dog that could have barked but didn’t.”

        23.     Because of U.S. Bank’s conflicts of interest with plaintiff and the class, U.S. Bank

chose to protect its own interests to the detriment of plaintiff and the class, thereby breaching its duty

of trust. Moreover, U.S. Bank has engaged in a continuing breach of its duty by continuing to put its

interests ahead of those of plaintiff and the class and by not performing its duties as required by the

Governing Agreements.

        24.     As a result of U.S. Bank’s failures to enforce the representation and warranty claims

or to act as a prudent person, as required by the Governing Agreements and the TIA, the Mortgage

Loans in the Covered Trusts have experienced historically unprecedented numbers of defaults,

delinquencies, foreclosures, liquidations and losses, and plaintiff and the class have suffered billions

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of dollars in damages from now time-barred but otherwise meritorious representation and warranty

claims that U.S. Bank did not enforce. As a further result of U.S. Bank’s failures to act with respect

to Master Servicer/Servicer Events of Default, or act as a prudent person, also as required by the

Governing Agreements and the TIA, the Mortgage Loans have also experienced numerous invalid

and improper foreclosures, and lengthy and expensive delays in foreclosure proceedings, extremely

long delinquencies, the imposition of excessive and improper Master Servicer/Servicer fees, and the

disposition of Mortgage Loans that financially benefitted the Master Servicers/Servicers but

negatively impacted the interests of plaintiff and the class, causing plaintiff and the class to suffer

millions of dollars in additional damages. U.S. Bank’s failure to discharge its duty of trust to

plaintiff and the class has also caused the foregoing damages to plaintiff and the class. U.S. Bank’s

failures to properly act as required by the Governing Agreements and the TIA have also caused

failures and shortages in the payment of principal and interest to plaintiff and the class, and has

further caused huge writedowns and losses of billions of dollars to the Covered Trusts and plaintiff’s

and the class’ RMBS. Accordingly, U.S. Bank is liable to plaintiff and the class for damages caused

by its breaches of the Governing Agreements and its duty of trust, and violations of the TIA.

II.     JURISDICTION AND VENUE

        25.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331 for violations

of the TIA and supplemental jurisdiction over the breach of contract and breach of trust claims. The

Court also has jurisdiction pursuant to 28 U.S.C. §1332(a).

        26.    Venue is proper in this District pursuant to 28 U.S.C. §1391(b).

III.    PARTIES

        27.    Plaintiff RPI is a limited liability company incorporated under the laws of Belgium,

with its principal place of business in Brussels, Belgium. RPI acquired RMBS in each of the



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Covered Trusts on or about the dates indicated below, and has continuously held such RMBS since

then:

 Covered Trusts        Tranche/Class           Initial Face Amount      Date Acquired
                                                   of Certificate
 BAFC 2007-C           M4                            $ 3,216,000        May 6, 2010
                       M5                            $ 3,216,000        May 6, 2010
 BNCMT 2007-2          M4                            $ 4,000,000        May 12, 2009
 BSABS 2006-AC2        1M3                           $ 2,944,000        May 6, 2010
 BSABS 2006-AC5        M1                            $ 6,891,000        June 23, 2010
 GPMF 2007-AR1         3A4                           $ 20,042,000       May 12, 2009
 GPMF 2007-AR2         2A3                           $ 30,000,000       May 12, 2009
                       2M2                           $ 11,614,000       May 12, 2009
 GPMF 2007-AR3         A3                            $ 45,914,000       May 12, 2009
                       M1                            $ 10,991,000       May 12, 2009
                       M2                            $ 7,993,000        May 12, 2009
 HEAT 2006-5           M2                            $ 5,000,000        February 12, 2010
 HEAT 2006-6           M1                            $ 5,500,000        June 23, 2010
 LXS 2006-10N          1A4B                          $ 2,147,000        February 12, 2010
 LXS 2006-15           A5                            $ 30,000,000       May 12, 2009
 LXS 2007-7N           1A3                           $ 39,000,000       May 12, 2009
                       M1                            $ 39,583,000       May 12, 2009
 MABS 2006-HE2         M2                            $ 4,900,000        February 12, 2010
 MLMI 2006-WMC2 M1                                   $ 10,000,000       May 12, 2009
 SARM 2006-9           B1II                          $ 8,367,000        June 23, 2010
 SASC 2006-NC1         M2                            $ 12,000,000       February 12, 2010
 SASC 2006-WF2         M6                            $ 4,000,000        February 12, 2010
 SASC 2006-WF3         M6                            $ 2,000,000        June 23, 2010
 SASC 2007-EQ1         M2                            $ 2,000,000        May 12, 2009
                       M3                            $ 1,500,000        May 12, 2009
 SASC 2007-WF1         M3                            $ 1,567,000        May 12, 2009
 WMALT 2006-AR4 DA1B                                 $ 15,000,000       May 6, 2010

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 Covered Trusts           Tranche/Class              Initial Face Amount        Date Acquired
                                                         of Certificate
 WAMU 2006-AR13 B2                                         $ 6,823,000          February 12, 2010
                          B3                               $ 7,436,000          February 12, 2010
 WAMU 2006-AR17 B3                                         $ 1,893,000          February 12, 2010
 WAMU 2006-AR19 B1                                         $ 4,300,000          May 6, 2010
 WAMU 2007-OA2            B3                               $ 2,023,000          May 6, 2010
                          B4                               $ 4,719,000          May 6, 2010

        28.     With respect to the above RMBS which RPI acquired on or about May 12, 2009, RPI

acquired such RMBS from the initial purchasers of such RMBS, and the initial purchasers acquired

such RMBS at or about the time the RMBS were offered to the investing public in 2006 and 2007.

These initial purchasers, when they transferred such RMBS to RPI on or about May 12, 2009, also

transferred all right, title and interest in such RMBS to RPI, including all litigation rights and claims

the initial purchasers had, such as to the initial purchasers’ claims against U.S. Bank in this action.

As to the remaining RMBS that were acquired by RPI in 2010, these RMBS were originally

included within collateralized debt obligations (“CDOs”) in which RPI acquired interests on or about

May 12, 2009 from the initial purchasers. RPI was assigned all right, title and interest (including

litigation and claim rights) since the initial purchasers had in the interests in these CDOs at that time.

Subsequently, the CDOs were liquidated in 2010 and RPI acquired the RMBS within the CDOs

along with all rights, title and interest in such RMBS. Given that the CDOs were liquidated in full

and thus the CDOs were selling all rights and interests in the RMBS within them, RPI also obtained

all litigation rights and claims that the CDOs and initial purchasers had in the RMBS. Furthermore,

pursuant to New York General Obligations Law §13-107, RPI obtained all rights and causes of

action of all previous holders against U.S. Bank.




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       29.     Defendant U.S. Bank is a national banking association organized and existing under

the laws of the United States with its principal place of business in Minnesota. U.S. Bank is one of

the market leaders in the structured finance RMBS trustee business, as it serves as Trustee for

thousands of RMBS trusts, including the Covered Trusts. For 18 of the 25 Covered Trusts at issue

herein, U.S. Bank has served as the Trustee for those Covered Trusts since they were formed. For

seven of the Covered Trusts, U.S. Bank succeeded Bank of America N.A. (“Bank of America”) as

Trustee prior to April 2011, and has served as Trustee for those seven Covered Trusts continuously

thereafter. These seven Covered Trusts are listed below, with the date that U.S. Bank became

Trustee:

                Covered Trust                             Date U.S. Bank Became Trustee
LXS 2006-15                                        September 2009
MLMI 2006-WMC2                                     March 2009
WMALT 2006-AR4                                     March 2009
WAMU 2006-AR13                                     January 2011
WAMU 2006-AR17                                     January 2011
WAMU 2006-AR19                                     January 2011
WAMU 2007-OA2                                      January 2011

IV.    FACTUAL ALLEGATIONS

       A.      The Securitization Process for the Mortgage Loans

       30.     The Warrantors that sold the Mortgage Loans transferred into the Covered Trusts

engaged in a nearly identical securitization process that was repeated thousands of times during 2006

and 2007, the time period when the Mortgage Loans were originated and transferred to the Covered

Trusts. Investor demand for RMBS was skyrocketing during this period and the Warrantors and

other RMBS securitization participants were scrambling to meet that demand as fast as they could.

RMBS securitizations proliferated during 2006 and 2007 and were extremely profitable for all


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involved in their sale to investors. Tens of billions of dollars of RMBS were packaged and sold to

the investing public during this period and billions of dollars in profit were pocketed by the

securitizers. U.S. Bank also profited handsomely, and continues to profit, from the explosion in

RMBS trusts caused by the skyrocketing sales, as it is a RMBS Trustee to thousands of RMBS

trusts, including the Covered Trusts.

       31.     RMBS securitizations involve the conversion of hundreds or thousands of illiquid

residential mortgage loans into bond-like instruments – the RMBS at issue herein – which trade over

the counter in capital markets.

       32.     The first step in creating RMBS is the origination of mortgage loans to borrowers.

The Mortgage Loans that were ultimately transferred to the Covered Trusts were typically originated

by lenders and then were purchased by the Loan Sellers/Sponsors, or originated by the Loan

Sellers/Sponsors themselves, and then ultimately transferred to the Covered Trusts.

       33.     Typically, after either originating the Mortgage Loans themselves, or purchasing the

Mortgage Loans from other lenders, the Loan Sellers/Sponsors then grouped the Mortgage Loans

into large pools, which they then transferred and sold to the Covered Trusts’ Depositors, for ultimate

transfer to the Covered Trusts and U.S. Bank as Trustee. Usually, the Depositors were shell

companies related to the Loan Sellers/Sponsors. These sales from the Loan Sellers/Sponsors to the

Depositors were typically accomplished via agreements called “Mortgage Loan Purchase

Agreements,” “Mortgage Loan Sale Agreements,” or similarly titled agreements (collectively, the

“MLPAs”). In some cases, Other Transferors entered into similar agreements with either the Loan

Sellers/Sponsors or the Depositors and the Mortgage Loans were ultimately transferred to the

Covered Trusts (the “Other Transfer Agreements”).




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       34.     Importantly, the Governing Agreements refer to and incorporate the MLPAs and,

when relevant, the Other Transfer Agreements. In the MLPAs and Other Transfer Agreements the

respective Loan Sellers/Sponsors and Other Transferors: (i) make numerous representations and

warranties concerning the credit quality and characteristics of the Mortgage Loans in the mortgage

pool and the accuracy of data they communicated about the Mortgage Loans; (ii) promise to cure,

substitute or repurchase Mortgage Loans that do not comply with those representations and

warranties; and (iii) state that the Trustee will ultimately have the right to enforce those

representations and warranties against the Loan Sellers/Sponsors and Other Transferors. The

representations and warranties by the Loan Sellers/Sponsors and Other Transferors (together, the

“Warrantors”), and the remedies for breaches thereof, are specifically referenced in the Governing

Agreements’ PSAs and TAs. The right to enforce those representations and warranties is expressly

assigned to the Trustee for the benefit of the RMBS investors, i.e., plaintiff and the class.6

       35.     Next, after the Mortgage Loans were sold and transferred from the Warrantors to the

Covered Trusts’ Depositors, the Depositors then transferred the Mortgage Loans, along with the

rights to enforce the Warrantors’ representations and warranties, to the Covered Trusts and Trustee

for the benefit of plaintiff and the class, and, in exchange, the Trustee transferred the RMBS to the

Depositors.

       36.     The Depositors then sold the RMBS to underwriters, typically an entity related to the

Loan Sellers/Sponsors and Depositors. The Depositors remit the money from those underwriter

sales to the Loan Sellers/Sponsors (who may use it to originate or purchase more loans and repeat




6
    As noted infra, the WaMu Covered Trusts gave the Servicers the right to enforce these claims,
although U.S. Bank was required to inform others when it discovered such claims and ensure the
Servicers enforced such claims.

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the securitization process). Meanwhile, the underwriter markets and sells the RMBS to investors

such as plaintiff and the class and retains a portion of the purchase price as its fee.

        37.     After the Covered Trusts’ RMBS are sold to investors, the Mortgage Loans must be

serviced. Thus, the Governing Agreements designate certain entities to be the Master Servicers or

Servicers of the Mortgage Loans, and require them to service and administer the Mortgage Loans in

accordance with the customary servicing practices of “prudent” loan servicers. As previously

alleged, whenever a Master Servicer/Servicer fails to service the Mortgage Loans as a prudent loan

servicer (or in the case of the WaMu Covered Trusts, the Servicer also fails to enforce the

Warrantors’ obligations to substitute or repurchase defective Mortgage Loans) an Event of Default

occurs, and the Trustee is required to take certain actions to protect plaintiff and the class when it

becomes aware of the Event of Default.

        38.     Plaintiff’s and the class’ RMBS entitle them to the cash flows generated by the

Covered Trusts’ Mortgage Loans. The Covered Trusts, as with other similar RMBS trusts, are

structured such that the risk of loss is divided among different “classes” or “tranches” of RMBS in

each Covered Trust. Each class or tranche of the Covered Trusts has a different level of credit risk

and reward (the interest or yield), including different levels and types of credit enhancement or

protection, and different priorities to payment from the cash flows generated by the Mortgage Loans.

Because the classes/tranches have different credit enhancements and different priorities of claim to

the cash flow, they are assigned different credit ratings by the credit rating agencies, and they sell at

different prices. Most of the classes/tranches of the RMBS are required to be rated by the credit

rating agencies as “investment grade” securities before they can be sold.

        39.     All of the classes/tranches of the RMBS, and plaintiff, the class and all of the Covered

Trusts, are dependent on the Trustee to act as required under the Governing Agreements, in order to


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ensure that the Covered Trusts perform as anticipated and are profitable, and avoid and/or minimize

losses and damages. In other words, if the Covered Trusts are to operate as designed and

contemplated by the Governing Agreements, the Trustee must promptly and properly discharge its

duties and obligations under the Governing Agreements. Thus, if the Trustee discovers that the

Warrantors’ representations and warranties are false, as is the case herein, the Governing

Agreements require the Trustee act quickly and decisively to enforce those representations and

warranties, by either requiring a cure, a substitution or a repurchase of any defective Mortgage Loan

(or to cause the Servicer to do so for the WaMu Covered Trusts). Similarly, if the Trustee becomes

aware of Events of Default, as is the case herein, the Governing Agreements again require that the

Trustee promptly take certain actions for the benefit of plaintiff and the class. If the Trustee fails to

properly perform the foregoing duties, the Trustee breaches the Governing Agreements and violates

the TIA, and is liable to plaintiff and the class for damages. Here, U.S. Bank failed to perform

important duties it agreed to undertake in the Governing Agreements, and thereby breached those

agreements and violated the TIA, thereby entitling plaintiff and the class to damages caused by such

breaches and violations.

        B.       U.S. Bank’s Duties as Trustee for the Covered Trusts

        40.      The purpose of having a Trustee in an RMBS securitization is to ensure that there is

at least one independent party to the Governing Agreements that, unlike plaintiff and the class, did

not face collective action, informational, or other limitations, and as a result, can effectively protect

the interests of plaintiff, the class and the Covered Trusts. Thus, the Governing Agreements for each

Covered Trust imposed critical duties on U.S. Bank, as Trustee, that had a direct impact on plaintiff

and the class.

        41.      The Governing Agreements set forth U.S. Bank’s’ duties and obligations to plaintiff

and the class. All of the Covered Trusts are governed by either PSAs (Pooling and Service
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Agreements) or similar TAs (Trust Agreements), and certain related agreements such as the MLPAs

(Mortgage Loan Purchase Agreements) and/or Servicing Agreements (“SAs”), that the PSAs and

TAs reference and incorporate. Each of the Governing Agreements for the Covered Trusts is either

identical or substantially similar to, and imposes the same duties on, U.S. Bank. Accordingly, the

BAFC 2007-C PSA, which is attached hereto as Ex. A, and examples of its related MLPAs (and

Other Transfer Agreements) (Exs. B and C hereto) and SAs (Ex. D hereto), are incorporated herein

by reference, and are used as representative examples of all of the Governing Agreements for all of

the Covered Trusts.

        42.     While the Governing Agreements set forth certain rights and responsibilities in

connection with the Covered Trusts, the TIA supplements those agreements. The TIA was enacted

in 1939 because Congress recognized that previous abuses by trustees had adversely affected

investors and the national interest. In enacting the TIA, Congress desired to provide minimum

federal protections to investors such as plaintiff and the class, which are deemed to be incorporated

into the Governing Agreements.

        43.     When the Covered Trusts were formed or U.S. Bank was appointed as the Trustee to

each Covered Trust, U.S. Bank “declare[d] that it . . . [would] hold such other assets . . . in the

Trust . . . in trust for the . . . use and benefit of all present and future Certificateholders,” that is,

for plaintiff’s and the class’ use and benefit. BAFC 2007-C PSA, §2.02. Unfortunately, U.S. Bank

failed to fulfill this duty and many others required of it by the Governing Agreements, the TIA and

common law, as set forth herein.

                1.      U.S. Bank’s Duty to Enforce the Warrantors’ Obligations to
                        Cure, Substitute or Repurchase Mortgage Loans Which
                        Breached Their Representations and Warranties

        44.     As previously alleged, the Governing Agreements (through the related MLPAs and

Other Transfer Agreements) contained numerous representations and warranties about the Mortgage
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Loans by the Loan Sellers/Sponsors and/or the Other Transferors (collectively, the Warrantors). The

representations and warranties by the Warrantors attested to the credit quality of the Mortgage Loans

conveyed to the Covered Trusts and warranted the accuracy of the data the Warrantors conveyed

about such Mortgage Loans. The Warrantors’ representations and warranties also attested to other

characteristics of the Mortgage Loans and their origination. The following is an example of the

types of representations and warranties the Warrantors typically made: (1) that the data the

Warrantors conveyed concerning the Mortgage Loans in mortgage loan schedules, exhibits, and

other compilations of data in connection with the transfer of the Mortgage Loans to the Covered

Trusts, was true, accurate and correct; (2) that the Mortgage Loans complied with and were

originated in compliance with all federal, state and local lending laws; (3) that the Mortgage Loans

were not “high cost” loans as defined by law; (4) that the appraisals of the properties securing the

Mortgage Loans, and the appraisers who conducted them, complied with certain uniform standards

and requirements; (5) that the Mortgage Loans were originated in accordance with the lender’s

applicable underwriting guidelines in place at the time of origination; or (6) that there was no fraud,

error, omission, misrepresentation, or negligence by any person involved in the origination or sale of

the Mortgage Loans. See, e.g., BAFC 2007-C MLPA, §§3(a), (k), 4(a), (f), (w), (hh), (nn) (Loan

Seller’s/Sponsor’s representations and warranties) (attached hereto as Ex. B); see also BAFC 2007-C

Assignment, Assumption and Recognition Agreement dated March 20, 2007 (“AAR Transfer

Agreement”), §§IV(H), (I), (J) and Schedule I thereto at §§(A), (G), (K) (Other Transferor’s

representations and warranties in Other Transfer Agreement) (attached hereto as Ex. C). The

Warrantors made numerous other representations and warranties concerning the Mortgage Loans

being transferred to the Covered Trusts. See generally BAFC 20007-C MLPA, §§3-4 (Ex. B);

BAFC 2007-C AAR Transfer Agreement, §IV and Schedule I (Ex. C). While many of the


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representations and warranties made by the Warrantors to the Covered Trusts were identical, for

those that were not identical they were substantially similar, and they all conveyed the same thing –

information about the credit quality and characteristics of the Mortgage Loans and the fact that such

information was true, correct and accurate.

        45.     The Warrantors’ representations and warranties are specifically referenced in the

Governing Agreements, along with the Warrantors’ obligations to cure, substitute, and/or repurchase

any Mortgage Loan that materially breaches their representations and warranties. See BAFC 2007-C

PSA, §2.02.

        46.     The Governing Agreements further provide that “[i]t is understood and agreed that

the representations and warranties relating to the Mortgage Loans set forth in the Mortgage Loan

Purchase Agreement . . . shall inure to the benefit of the [RMBS]holders,” i.e., plaintiff and the class.

Id.

        47.     Importantly, the Governing Agreements also provide that whenever U.S. Bank

discovers a breach of a Warrantor’s representations or warranties that materially affect plaintiff and

the class, the Trustee “shall” promptly notify the Warrantor and request that the Warrantor cure the

breach within a specific time period. Id. If the Warrantor fails to do so, then the Trustee “shall

enforce” that breaching Warrantor’s obligations to substitute and/or repurchase the defective

Mortgage Loans. Id.7

        48.     These foregoing requirements are embodied in the Governing Agreements and are

illustrated in §2.02 of the BAFC 2007-C PSA. Section 2.02 provides that:
7
    The WaMu Covered Trusts are slightly different. They require U.S. Bank to notify the Servicer
and Depositor of any breaches U.S. Bank discovers, and the Servicer is then tasked with enforcing
the Warrantors’ obligations. See, e.g., WAMU 2006-AR19 PSA, §2.09 (Ex. E hereto). However, if
U.S. Bank becomes aware that the Servicer is not fulfilling this duty, then an Event of Default
occurs, which requires U.S. Bank to act to remedy the situation, as discussed infra concerning the
Master Servicers’/Servicers’ Events of Default. Id., §3.01, 7.01

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                If . . . the Trustee . . . discovers a breach by . . . North Fork Bank [i.e., one of
       the Other Transferors of the Mortgage Loans] [or] the Sponsor [i.e., the Loan
       Seller/Sponsor] . . . of any representation, warranty or covenant under . . . the North
       Fork Assignment Agreements [i.e., an “Other Transfer Agreement”] [or] the
       Mortgage Loan Purchase Agreement [i.e, “MLPA”] . . . in respect of any Mortgage
       Loan[,] and such breach materially adversely affects the interest of the
       [RMBS]holders in the related Mortgage Loan[,] . . . then [the Trustee] shall promptly
       so notify . . . the Sponsor [or] North Fork Bank . . . of such breach and request that . .
       . North Fork Bank [or] the Sponsor . . . cure [the] breach within 90 days of its
       discovery . . . . If the Trustee receives written notice that . . . the Sponsor or . . .
       North Fork Bank, as the case may be, has not . . . cured such defect or breach in all
       material respects during such period, the Trustee, on behalf of the Trust, shall enforce
       . . . North Fork Bank’s [or] the Sponsor’s . . . obligation, as the case may be, under
       the applicable . . . North Fork Bank Assignment Agreement [or] the Mortgage Loan
       Purchasing Agreement . . . and cause . . . North Fork Bank [or] the Sponsor . . . to
       either (a) other than in the case of North Fork Bank, substitute for the related
       Mortgage Loan a Substitute Mortgage Loan . . . or (b) purchase such Mortgage Loan
       from the Trust . . . .

BAFC 2007-C PSA, §2.02.

               2.      U.S. Bank’s Duties Upon the Occurrence of an Event of
                       Default

       49.     U.S. Bank also had certain obligations under the Governing Agreements whenever it

learned of an Event of Default. Under the Governing Agreements, the Covered Trusts’ Master

Servicers are required to supervise, monitor and oversee the Covered Trusts’ Servicers to ensure that

the Mortgage Loans are being properly and prudently serviced and administered. If there is no

Master Servicer designated under the Governing Agreements, then one or more designated Servicers

are required to ensure the proper and prudent service and administration of the Mortgage Loans.

Either way, the Master Servicers and Servicers, and any sub-servicers they use, have the same

ultimate duties under the Governing Agreements – to ensure that Mortgage Loans are properly and

prudently serviced and administered. These duties include: ensuring that the payments by borrowers

are timely and properly made, collected and submitted to the Covered Trusts; ensuring appropriate

notices are sent to borrowers; ensuring appropriate insurance is in place when required; ensuring

accurate information about the Mortgage Loans is maintained; and otherwise ensuring that the
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Mortgage Loans are properly and prudently serviced and administered.                   The Master

Servicers/Servicers are also responsible to ensure that, when necessary, loans are properly modified,

and collection and foreclosure proceedings occur prudently and correctly. Thus, the BAFC 2007-C

PSA states in §3.01 that:

              For and on behalf of the [RMBS]holders, the Master Servicer shall
       supervise, monitor and oversee the obligations of the Servicers to service and
       administer their respective Mortgage Loans in accordance with the terms of the
       applicable Servicing Agreement . . . . In performing its obligations hereunder, the
       Master Servicer shall act in a manner consistent with this Agreement . . . and with
       Customary Servicing Procedures.

BAFC 2007-C PSA, §3.01.8

       50.     Both the BAFC 2007-C PSA quoted above, and the “Servicing Agreement” it

references, require the Master Servicer and Servicers to use certain “Customary Servicing

Procedures” when servicing the Mortgage Loans. “Customary Servicing Procedures” are defined in

the Governing Agreements as follows:

       With respect to (i) any Servicer, procedures (including collection procedures) that a
       Servicer customarily employs and exercises in servicing and administering mortgage
       loans for its own account and which are in accordance with accepted mortgage
       servicing practices of prudent lending institutions servicing mortgage loans of the
       same type as the Mortgage Loans in the jurisdictions in which the related Mortgaged
       Properties are located and (ii) the Master Servicer, those master servicing procedures
       that constitute customary and usual standards of practice of prudent mortgage loan
       master servicers.

BAFC 2007-C PSA, §1.01 (“Defined Terms” – “Customary Servicing Procedures”) (Ex. A); see

also BAFC 2007-C SA, §2.01 (Servicing Agreement provides that “the Servicer shall service and

administer the . . . Mortgage Loans in accordance with . . . Customary Servicing Procedures”)

(attached hereto as Ex. D). Thus, the Governing Agreements require that both Master Servicers and

8
   As previously noted, the Servicers for the WaMu Covered Trusts are also required to enforce the
Warrantors’ obligations to cure, substitute, or repurchase Mortgage Loans that breach the
Warrantors’ representations and warranties. See, e.g., WAMU 2006-AR19 PSA, §2.09 (Ex. E
hereto).

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Servicers perform their Mortgage Loan servicing duties in accordance with the customary standards

and practices of “prudent” master servicers and servicers. Id.9

        51.    Under the Governing Agreements, Master Servicers or Servicers commit an Events of

Default whenever they “fail[] . . . to observe or perform in any material respect any . . . covenants

or agreements of the Master Servicer [or Servicer, as applicable] set forth . . . in this Agreement.”

BAFC 2007-C PSA, §8.01(b). In other words, if the Master Servicer or Servicer (or their sub-

servicers, if any) fail to service the Mortgage Loans in the Covered Trusts pursuant to “Customary

Servicing Procedures,” i.e., as a “prudent” master servicer or servicer, an Event of Default occurs.

See id.10

        52.    Because Master Servicer/Servicer Events of Default are so harmful to plaintiff and

the class, when U.S. Bank becomes aware of an Event of Default it is required by the Governing

Agreements to act quickly. Upon becoming aware of an Event of Default, U.S. Bank is required by

9
    In the Governing Agreements, all Master Servicers and Servicers are required to service the
Mortgage Loans as “prudent” master servicers or servicers would. Thus, the fact that some
Governing Agreements call that standard “Customary Servicing Procedures,” while other Governing
Agreements call it “Acceptable Servicing Practices” or the like, is irrelevant because the standards
are identical. Each Governing Agreement defines the substance of the required standard of care for
Master Servicers/Servicers as the usual and customary standards and practices of “prudent” master
servicers or servicers within the industry. See, e.g., MLMI 2006-WMC2 PSA, Article 1
(“Definitions”) (“Accepted Servicing Practices” defined as: “The Servicer’s normal servicing
practices, which will conform to the mortgage servicing practices of prudent mortgage lending
institutions that service for their own account mortgage loans of the same type as the Mortgage
Loans in the jurisdictions in which the related Mortgage Properties are located.”) and §3.01 (“the
Servicer shall service and administer the Mortgage Loans in accordance with the Accepted Servicing
Practices”) (excerpts of the relevant portions of the MLMI 2006-WMC2 PSA are attached as Ex. F
hereto).
10
    In the Governing Agreements where only a Servicer or Servicers are designated but no Master
Servicer is designated, an Event of Default is still defined in a virtually identical manner: “any
failure by the Servicer to observe or perform in any material respect any . . . of the covenants or
agreements . . . contained in this Agreement.” See, e.g., MLMI 2006-WMC2 PSA, §7.01(ii) (Ex. F
hereto). The same is true for the WaMu Covered Trusts and the Servicers’ obligation to enforce the
Warrantors’ breaches of their representations and warranties. See, e.g., WaMu 2006-AR19 PSA,
§7.01(a)(ii) (same) (Ex. E hereto).

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the Governing Agreements: (1) to notify and request that the offending Master Servicer or Servicer

remedy the Event of Default promptly (BAFC 2007-C PSA, §8.01(b) (requiring default to be cured

within 30 days)); and (2) to “give prompt written notice” of an uncured Event of Default “to

[RMBS]holders,” i.e., plaintiff and the class and others, such as the credit rating agencies. Id.,

§8.01(f)(ii). Moreover, if the offending Master Servicer or Servicer does not timely cure its Event of

Default, the Governing Agreements give U.S. Bank the power to terminate and replace the offending

Master Servicer or Servicer, or take over its servicing duties. Id., §§8.01(f)(i), 8.05(a).

               3.      Upon the Occurrence of an Event of Default, U.S. Bank’s
                       Duties to Plaintiff and the Class Are Significantly Increased, as
                       U.S. Bank Is Required to Prudently Protect Plaintiff’s and the
                       Class’ Interests as Though They Were U.S. Bank’s Own
                       Interests

       53.     Moreover, once U.S. Bank becomes aware that a Master Servicer or a Servicer has

committed an Event of Default that is not cured, U.S. Bank’s duty of care and obligations owed to

plaintiff and the class under both the Governing Agreements and the TIA are significantly

heightened and increased. In the case of a known, uncured Event of Default, the Governing

Agreements mandate that U.S. Bank “shall exercise such of the rights and powers vested in it by

this Agreement, and use the same degree of care and skill in their exercise, as a reasonably

prudent investor would exercise or use under the circumstances in the conduct of such investor’s

own affairs.” BAFC 2007-C PSA, §9.01.11 In other words, when U.S. Bank learns of an Event of

Default it “shall exercise” all of U.S. Bank’s rights and powers as Trustee under the Governing

Agreements to prudently protect all of plaintiff’s and the class’ interests as though those interests

were U.S. Bank’s very own interests. Id.



11
   As discussed infra, the TIA also requires the same heightened, prudent person, standard of care
when a default of any kind occurs.

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        54.     Moreover, this heightened duty is not limited or applied only to Master

Servicer/Servicer Events of Defaults. Instead, under the Governing Agreements, once an Event of

Default occurs and exists, “[U.S. Bank] shall exercise” all of the “rights and powers vested in it by

th[e] [Governing] Agreement[s],” not just those pertaining to the Master Servicers/Servicers. Id.

Thus, U.S. Bank’s heightened duty also required it to enforce the representation and warranty

claims against the Warrantors as though it were seeking to protect its own interests.

                4.      U.S. Bank’s Duty of Trust to Avoid Conflicts of Interest with
                        Plaintiff and the Class

        55.     In addition to the duties U.S. Bank owes to plaintiff and the class under the

Governing Agreements and the TIA, U.S. Bank also has a common law duty of trust to plaintiff and

the class. In other words, U.S. Bank, as ‘“the trustee[,] is at all times obligated to avoid conflicts of

interest with the beneficiaries [of the Covered Trusts, i.e., plaintiff and the class].’” Knights of

Columbus v. The Bank of New York Mellon, No. 651442/2011, slip op. at 15 (N.Y. Sup. Ct., N.Y.

Cnty. Apr. 30, 2013) (order granting in part and denying in part motion to dismiss) (quoting AMBAC

Indem. Corp. v. Bankers Trust Co., 573 N.Y.S.2d 204, 206-08 (Sup. Ct. 1991)). Under this duty to

avoid conflicts of interest, U.S. Bank is prohibited from advancing its own interests at the expense of

plaintiff and the class, or benefitting from such actions, both before, during and after any default. Id.

                5.      U.S. Bank’s Duties and Obligations Under the TIA

        56.     Like the Governing Agreements, the TIA imposes two sets of duties and obligations

on U.S. Bank as Trustee of the Covered Trusts – one set “prior to default,” and the other set “in case

of default.”

        57.     Prior to a default, under the TIA a trustee must perform “such duties as are

specifically set out in [the] indenture,” i.e., the Governing Agreements. 15 U.S.C. §77ooo(a)(1).

This requirement reflects the Governing Agreements’ pre-default mandate that U.S. Bank “perform

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such duties and only such duties as are specifically set forth in this Agreement.” BAFC 2007-C

PSA, §9.01(a). Thus, pursuant to this provision of the TIA, U.S. Bank was required to perform the

duties and obligations specifically assigned to it under the Governing Agreements, including all pre-

default obligations related to the enforcement of the Warrantors’ representations and warranties

concerning the Mortgage Loans.

       58.     In addition, under the TIA, a Trustee must “give to the indenture security holders . . .

notice of all defaults known to the trustee, within ninety days after the occurrence thereof.” 15

U.S.C. §77ooo(b) (citing 15 U.S.C. §77mmm(c)). Thus, under the TIA, U.S. Bank consequently

was required to inform plaintiff and the class of any Master Servicer or Servicer Events of Default it

was aware of within 90 days. The TIA also required U.S. Bank to notify plaintiff and the class of the

Warrantors’ “defaults” within 90 days of their discovery, i.e., their breaches of the representations

and warranties they made concerning the Mortgage Loans.

       59.     Moreover, whenever U.S. Bank was aware of a default, it was required under the TIA

(just like the Governing Agreements) to exercise a heightened duty of care toward plaintiff and the

class. In such cases, U.S. Bank was required to exercise “such of the rights and powers vested in it

by such indenture, and to use the same degree of care and skill in their exercise, as a prudent man

would exercise or use under the circumstances in the conduct of his own affairs.” 15 U.S.C.

§77ooo(c). Thus, upon the occurrence of the Master Servicer and Servicer Events of Default and the

Warrantors’ breaches/defaults alleged herein, U.S. Bank was obligated to exercise this heightened

“prudent man” standard of care to protect plaintiff and the class and exercise all of the “rights and

powers vested in it by” the Governing Agreements as through U.S. Bank were attempting to protect

its own interests.




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       60.     As set forth herein, U.S. Bank is liable to plaintiff and the class for failing to exercise

the rights, powers, and duties conferred on it by the Governing Agreements and mandated by the

TIA. When U.S. Bank discovered numerous breaches of representations and warranties by the

Warrantors and knew of numerous and continuing Events of Default by the Master

Servicers/Servicers, as alleged herein, U.S. Bank was required to act both by the Governing

Agreements and the TIA. U.S. Bank’s failure to act breached the Governing Agreements and

violated the TIA, thereby causing plaintiff, the class and the Covered Trusts to suffer damages.

       C.      The Covered Trusts Suffer from Serious Defects Because of U.S.
               Bank’s Failure to Properly Discharge Its Duties Under the Governing
               Agreements, the TIA and Common Law

               1.      U.S. Bank Discovered as Early as 2009 but in No Event Later
                       than April 13, 2011 that the Covered Trusts Were Filled with
                       Thousands of Mortgage Loans that Breached the Warrantors’
                       Representations and Warranties

                       a.      Shortly After the Covered Trusts Were Formed
                               Information Arose that Raised Serious Questions About
                               the Veracity of the Warrantors’ Representations and
                               Warranties

       61.     As previously alleged, the Warrantors of the Mortgage Loans in the Covered Trusts

made numerous representations and warranties concerning the Mortgage Loans, attesting to their

credit quality and characteristics, and the accuracy of the information they provided. See, e.g., supra

¶44; see also BAFC 2007-C MLPA, §§3-4; BAFC 2007-C AAR Transfer Agreement, §IV and

Schedule I. A chart of the Warrantors (and loan originators) to the Covered Trusts is set forth below:

                                   Covered Trusts’ Warrantors
                                        Warrantors                                   Loan Originators
                                                                                 Identified in Prospectuses
    Covered                                                                         or by Credit Rating
     Trust           Loan Seller/Sponsor             Other Transferors                    Agencies
BAFC 2007-C          Bank of America         North Fork Bank (prior             National City
                                                owner of GreenPoint                Mortgage Co.
                                                Mortgage Funding, Inc.)            (“National City”)
                                                (“GreenPoint”)) (North            Bank of America

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                                      Warrantors                         Loan Originators
                                                                     Identified in Prospectuses
   Covered                                                              or by Credit Rating
    Trust       Loan Seller/Sponsor           Other Transferors               Agencies
                                          Fork Bank was               Wells Fargo Bank,
                                          subsequently acquired by     N.A. (“Wells
                                          Capital One)                 Fargo”)
                                                                      Countrywide Home
                                                                       Loans, Inc.
                                                                       (“Countrywide”)
                                                                      JPMorgan Chase
                                                                       Bank, N.A. (“Chase
                                                                       Bank”)
BNCMT 2007-2  Lehman Brothers           None                        BNC Mortgage
               Holdings, Inc.                                          (“BNC”)
               (“Lehman”)
BSABS 2006-   EMC Mortgage              None                        Union Federal Bank
AC2            Corporation                                               of Indianapolis
               (“EMC”)                                                American Home
                                                                       Mortgage Corp.
                                                                       (“AHM”)
BSABS 2006-     EMC                     None                        EMC
AC5                                                                   GreenPoint
GPMF 2007-      Lehman                  GreenPoint                  GreenPoint
AR1
GPMF 2007-      Lehman                  GreenPoint                  GreenPoint
AR2
GPMF 2007-      Lehman                  GreenPoint                  GreenPoint
AR3
HEAT 2006-5     DLJ Mortgage            None                        EquiFirst
                 Capital, Inc.                                           Corporation
                                                                         (“EquiFirst”)
                                                                        Encore Credit
                                                                         Corporation
                                                                         (“Encore”)
HEAT 2006-6     DLJ Mortgage            None                          Encore
                 Capital, Inc.                                          Ownit Mortgage
                                                                         Solutions, Inc.
                                                                         (“Ownit”)
                                                                        Decision One
                                                                         Mortgage Company
                                                                         LLC (“Decision
                                                                         One”)
                                                                        Lime Financial
                                                                         Services Ltd.
                                                                         (“Lime”)
LXS 2006-10N    Lehman                  Countrywide                   Countrywide
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                                     Warrantors                          Loan Originators
                                                                     Identified in Prospectuses
   Covered                                                              or by Credit Rating
    Trust      Loan Seller/Sponsor           Other Transferors                Agencies
                                        IndyMac Bank, FSB            IndyMac
                                         (“IndyMac”) (IndyMac         Bank of America
                                         was seized by the FDIC       Lehman Brothers
                                         and purchased by OneWest      Bank FSB
                                         Bank in March 2009)           (“Lehman Bank”)
                                        SunTrust Mortgage, Inc.      SunTrust
                                         (“SunTrust”)
                                        Bank of America
                                        Central Pacific Mortgage
                                        Coastal Capital Corp.
                                        GMAC Mortgage
                                         Corporation (“GMAC”)
                                        Meridias Capital, Inc.
                                        Mortgage Store Financial,
                                       Inc.
                                        Mylor Financial Group,
                                       Inc.
                                        Pemmtek Mortgage
                                         Services, LLC
                                        Wall Street Mortgage
                                       Bankers
                                        Wells Fargo
                                        ACT Lending Corporation
LXS 2006-15    Lehman                  Aurora Loan Services LLC     Lehman Bank
                                         (“Aurora”)
                                        AHM
                                        Alliance Bancorp
                                        American Sterling Bank
                                        Bay Capital Corporation
                                        CentralPacific Mortgage
                                        Family Lending Services,
                                       Inc.
                                        First National Bank of
                                         Nevada
                                        GreenPoint
                                        Investors Trust Mortgage
                                         and Investments
                                        Loancity
                                        National Bank of
                                       Commerce
                                        Central California Bank &
                                         Trust
                                        NBC Bank

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                                     Warrantors                         Loan Originators
                                                                    Identified in Prospectuses
   Covered                                                             or by Credit Rating
    Trust      Loan Seller/Sponsor           Other Transferors               Agencies
                                        First Market Bank
                                        Commerce Finance
                                       Company
                                        Residential Mortgage
                                       Capital
                                        SIB Mortgage Corp.
                                        Taylor, Bean & Whitaker
                                        IndyMac
                                        Pinnacle Financial
                                         Corporation
                                        GMAC
                                        Lehman Capital
                                        Wells Fargo
                                        SunTrust
                                        Pinnacle Direct Funding
                                         Corp.
                                        Bank of America
LXS 2007-7N    Lehman                  AHM                           AHM
                                        Countrywide                   Countrywide
                                        Quicken Loans Inc.            Quicken
                                         (“Quicken”)                   Lehman Bank
MABS 2006-     UBS Real Estate         New Century Mortgage          New Century
HE2             Securities, Inc.         Corporation (“New             People’s Choice
                                         Century”)                     Mandalay
                                        People’s Choice Home          First Street
                                         Loan, Inc. (“People’s         Fremont
                                         Choice”)                      ALG
                                        Mandalay Mortgage             Option One
                                         (“Mandalay”)
                                        First Street Financial
                                         (“First Street”)
                                        Fremont Investment &
                                         Loan (“Fremont”)
                                        American Lending Group
                                         (“ALG”)
                                        Option One Mortgage
                                         Corporation (“Option
                                         One”)
MLMI 2006-     Merrill Lynch           WMC Mortgage Corp.          WMC
WMC2            Mortgage                 (“WMC”)
                Lending, Inc.
SARM 2006-9    Lehman                  Accredited Home Lenders,    Countrywide
                                         Inc. (“Accredited”)         Lehman Bank

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                                     Warrantors                            Loan Originators
                                                                       Identified in Prospectuses
   Covered                                                                or by Credit Rating
    Trust      Loan Seller/Sponsor             Other Transferors                Agencies
                                          Alliance Bancorp
                                          AHM
                                          Central Pacific Mortgage
                                          Countrywide
                                          CCO Mortgage Corp.
                                          E-Loan Mortgage
                                          Irwin Mortgage Corp.
                                          Loan Link Financial
                                           Services
                                          PHH Mortgage Corp.
                                           (“PHH”)
                                          Bishop’s Gate Residential
                                           Mortgage Trust
                                          Residential Mortgage
                                           Capital
SASC 2006-     Lehman                    NC Capital Corporation       New Century
NC1                                        (“New Century”)
SASC 2006-     Lehman                    Wells Fargo                  Wells Fargo
WF2
SASC 2006-     Lehman                  Wells Fargo                    Wells Fargo
WF3
SASC 2007-     Lehman                  EquiFirst                      EquiFirst
EQ1
SASC 2007-     Lehman                  Wells Fargo                    Wells Fargo
WF1
WMALT 2006-    Washington              None                           Countrywide
AR4             Mutual Mortgage                                         GMAC
                Securities Corp.                                        First Magnus
                                                                         Financial
                                                                         Corporation
WAMU 2006-     Washington              None                           WaMu
AR13            Mutual Bank and
                Washington
                Mutual Bank fsb
                (“WaMu”)
WAMU 2006-     WaMu                    None                           WaMu
AR17
WAMU 2006-     WaMu                    None                           WaMu
AR19
WAMU 2007-     WaMu                    None                           WaMu
OA2


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       62.     Many of the Warrantors also served as Master Servicers/Servicers to the Covered

Trusts as well. Thus, many Warrantors also serviced the very Mortgage Loans they originated

and/or warranted. These entities’ and the Master Servicers’/Servicers’ loan servicing misconduct

amounting to Events of Default are alleged infra, in §IV.C.2.

       63.     In the years following the Covered Trusts’ formation and the global financial collapse

that occurred immediately thereafter, numerous news stories were written on the causes of the

financial catastrophe. Most blamed the residential mortgage lending industry and Wall Street banks

for the systemic corruption of lending standards, and pervasive mortgage fraud that caused the global

financial collapse. Facts began to emerge indicating endemic misconduct within the lending

industry at the time the Mortgage Loans were originated and transferred to the Covered Trusts,

which in turn indicated the Warrantors’ representations and warranties about the Mortgage Loans

were false.

       64.     For example, around the time the Covered Trusts were formed, a study cited by the

Mortgage Asset Research Institute found that almost all “stated income” loans exaggerated the

borrower’s actual income by 5% or more, and more than half overstated income by at least 50%.

The Covered Trusts contained numerous stated income Mortgage Loans and the reported pervasive

falsification of income put the Warrantors’ representations and warranties in doubt.12 In addition, in

October 2007, Alan Hummel (“Hummel”), the Chair of the Appraisal Institute, testified to a U.S.

House Committee concerning rampant, falsely inflated real estate appraisals. Hummel testified to

how appraisers “experience[d] systemic problems with coercion” and were “ordered to doctor
12
    “Stated income” loans were designed for self-employed borrowers who could not provide
paycheck stubs which could be used to easily verify their income. Such borrowers would “state”
their income, which was then supposedly checked by the lender for reasonableness. Unfortunately,
during the time period when the Mortgage Loans in the Covered Trusts were originated, lenders
abused stated income loans by using them for numerous non-self-employed borrowers, and by
falsely inflating their incomes.

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their reports” or else they would never “see work . . . again” and/or would be placed on

“‘exclusionary appraiser lists.’” This was another indicator that there was endemic misconduct that

would have impacted the veracity of the Warrantors’ representations and warranties. In addition, on

December 30, 2007, The Kansas City Star published an article titled “American dreams built on a

shaky foundation of subprime loans.” The news article reported a systematic abandonment of loan

origination standards by lenders during 2005-2007, the same time period when the Mortgage Loans

were originated. Kurt Eggert, a law professor and member of the Federal Reserve’s Consumer

Advisory Panel was quoted: “‘Originators were making loans based on quantity rather than

quality . . . . They made loans even when they didn’t make sense from an underwriting

standpoint.’” The news article further stated: “Mark Duda, a research affiliate at Harvard

University’s Joint Center for Housing Studies, said that because brokers were so intent to quickly

sell off loans to investors, they had little incentive to make sure the loans were suitable for

borrowers. ‘They were setting people up to fail,’ Duda said.” This news of “systemic problems”

with inflated appraisals and widespread abandonment of sensible loan underwriting standards

indicated that the Warrantors’ representations and warranties, about the credit quality and

characteristics of the Mortgage Loans, and the circumstances of their originations, were suspect.

       65.     There were numerous other news articles in 2007 and thereafter that further detailed

the same and other widespread abuses within the lending industry that were occurring at the time the

Mortgage Loans were originated and transferred to the Covered Trusts. These reports detailed

pervasive falsifications of borrowers’ incomes, assets and debts, inflated appraisals, false occupancy

statuses, fake FICO scores, failures to follow applicable loan underwriting guidelines, and the

lending of money to borrowers who could not afford to repay their loans or never intended to repay

them. The foregoing abuses were huge “red flags” indicating that the representations and warranties


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made by the Warrantors about the Mortgage Loans were likely false. This is so because, as

previously alleged, the Warrantors had represented and warranted that the Mortgage Loans had

certain credit characteristics, were legally made and were originated pursuant to certain underwriting

guidelines, and that all of the information they provided about the Mortgage Loans was true and

correct. The rampant lending fraud that was being reported throughout the industry at the time the

Mortgage Loans were originated and transferred to the Covered Trusts put the veracity of those

representations and warranties in grave doubt.

       66.     The facts that were publicly available to U.S. Bank in the period immediately after

the Covered Trusts were formed indicated that the truth of the Warrantor’s representations and

warranties about the Mortgage Loans in the Covered Trusts was questionable.               Additional

information became public thereafter which made it certain that the Warrantors’ representations and

warranties were false.

                         b.    In 2007 and 2008, Facts Emerged Indicating that Many
                               of the Warrantors Had Routinely Made False
                               Representations and Warranties

       67.     During 2007 and thereafter, additional information about the specific Warrantors and

loan originators to the Covered Trusts began to become public, indicating that any representations

and warranties about their Mortgage Loans were likely false. For example, in March 2007, the FDIC

issued a “cease and desist” order (the “FDIC March 7 Order”) against Fremont, a Warrantor and loan

originator for at least one of the Covered Trusts formed in 2006. The FDIC required Fremont to end

its subprime loan business, due to “unsafe or unsound banking practices and violations of law,”

including operating with “a large volume of poor quality loans”; “unsatisfactory lending practices”;

“excessive risk”; and “inadequate capital.” FDIC March 7 Order at 2-3; see also U.S. Senate

Permanent Subcommittee on Investigations Report entitled “Wall Street and the Financial Crisis:

Anatomy of a Financial Collapse,” issued on April 13, 2011 (hereinafter the “Senate Report”) at 238.
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The FDIC determined that Fremont lacked effective risk management practices, lacked adequate

mortgage underwriting criteria, and was “approving loans . . . with loan to-value ratios approaching

or exceeding 100 percent of the value of the collateral.” FDIC March 7 Order at 4; Senate Report at

23. In addition, the FDIC concluded that Fremont had been engaging in predatory lending practices,

by “marketing and extending [ARM] products to subprime borrowers in an unsafe and unsound

manner” that “greatly increase[d] the risk that borrowers will default.” FDIC March 7 Order at 3.

The FDIC further found that Fremont was “approving borrowers without considering appropriate

documentation and/or verification of their income . . . [and] making mortgage loans without

adequately considering the borrower’s ability to repay the mortgage according to its terms.” Id. at

3-4. The FDIC’s findings indicated that any representations of warranties concerning Fremont loans

were likely false.

       68.     In addition, on October 4, 2007, the Massachusetts Attorney General brought an

enforcement action against Fremont. The action against Fremont was for “unfair and deceptive

business conduct” on a broad scale. Complaint, Commonwealth of Massachusetts v. Fremont

Investment & Loan, et al., No. SUCV2007-4373 (Mass. Super. Ct., Suffolk Cnty. Oct. 4, 2007) (the

“Fremont Complaint”), ¶1. According to the Fremont Complaint, Fremont: (a)“approve[ed]

borrowers without considering or verifying the relevant documentation related to the borrower’s

credit qualifications, including the borrower’s income”; (b)“approv[ed] borrowers for loans with

inadequate debt-to-income analyses that do not properly consider the borrowers’ ability to meet

their overall level of indebtedness and common housing expenses”; (c)“failed to meaningfully

account for [ARM] payment adjustments in approving and selling loans”; (d)“approved

borrowers for these ARM loans based only on the initial fixed ‘teaser’ rate, without regard for

borrowers’ ability to pay after the initial two year period”; (e)“consistently failed to monitor or


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supervise brokers’ practices or to independently verify the information provided to Fremont by

brokers”; and (f)“ma[de] loans based on information that Fremont knew or should have known

was inaccurate or false, including, but not limited to, borrowers’ income, property appraisals, and

credit scores.” Fremont Complaint, ¶¶24-25, 35, 139. These charges further indicated that

representations and warranties concerning Fremont’s loans were likely false.13

       69.     Then, in August 2007, a lawsuit was filed against the parent company of Accredited,

a Warrantor for at least one of the Covered Trusts formed in 2006. Shareholders of Accredited’s

parent company, Accredited Home Lenders Holding Co., sued, alleging that the defendants

committed securities fraud by lying about the company’s financial condition. See Corrected

Consolidated Class Action Complaint for Violations of the Federal Securities Laws, Atlas v.

Accredited Home Lenders Holding Co., et al., No. 3:07-cv-00488-H-RBB (S.D. Cal. Aug. 24, 2007)

(the “Atlas Complaint”). In the Atlas Complaint, the plaintiffs cited to reports from at least 12

former Accredited employees. Those former employees reported a pervasive and systematic

disregard by Accredited of its loan underwriting guidelines, and thus its representations and

warranties, including the following:

              According to a former Corporate Underwriter who worked at Accredited between
               June 2004 and March 2005, “the Company approved risky loans that did not comply
               with its own underwriting guidelines”; his rejections of loans “were frequently
               overridden by managers on the sales side of the business”; and his overridden loan
               rejections involved loans containing improper “‘straw borrower[s],’” employment
13
    On December 9, 2008, a Massachusetts appeals court affirmed the lower court’s order enjoining
Fremont from foreclosing on thousands of its loans issued to Massachusetts residents. The appellate
court found that the factual record supported the lower court’s conclusions that “Fremont made no
effort to determine whether borrowers could ‘make the scheduled payments under the terms of the
loan,’” and that “Fremont knew or should have known that [its lending practices and loan terms]
would operate in concert essentially to guarantee that the borrower would be unable to pay and
default would follow.” Commonwealth v. Fremont Inv. & Loan, 897 N.E.2d 548, 556, 558 (Mass.
2008. The terms of the preliminary injunction were made permanent by a settlement reached on
June 9, 2009. These findings by the courts further supported the conclusion that any representations
or warranties that Fremont or anyone else made about its mortgage loans were probably false.

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               that could not be verified, inflated incomes, and violations of Accredited’s debt-to-
               income (“DTI”), credit score, loan-to-value (“LTV”) and employment history
               requirements. Atlas Complaint, ¶¶48-49.

              According to a former Accredited employee from 1998 until December 2006,
               pressure to approve loans, regardless of quality, was especially bad from mid-2005
               until the time she left the company at the end of 2006, and Accredited’s growing
               issues with problem loans was due to management’s overrides of the underwriting
               and appraisal processes. Id., ¶¶50-51.

              According to a former Corporate Underwriter at Accredited from August 2003 until
               February 2006, her decisions to reject loans were constantly overridden by
               management, and that such overrides “were rampant.” Id., ¶¶56-57.

              According to a former Accredited Regional Manager who worked at the company
               throughout 2005, “the Company’s underwriting guidelines were frequently
               overridden by senior management.” Id., ¶¶58-60.

              According to other former Accredited employees who worked at the company during
               2004-2007, management frequently overrode underwriters’ decisions to reject
               loans that did not comply with the underwriting guidelines. According to one
               underwriter, when underwriters challenged the overrides they were told by
               management: “‘“You have to go forward with it.” If you made a big stink about it,
               they would raise their eyebrows and say “Do you want a job?”’” Other former
               employees recounted loan applications that were approved with inflated incomes,
               inflated appraisals, and suspicious verifications of employment. Id., ¶67.

              Several former Accredited employees who worked with appraisals reported that the
               company management overrode licensed appraisers’ decisions and approved many
               loans based on inflated appraisals. Id., ¶77.

              A former Accredited employee reported that Accredited frequently made exceptions
               to their underwriting guidelines. According to this former employee, it was common
               to see multiple exceptions per loan. Id., ¶83.

Accredited ultimately paid $22 million to settle the lawsuit in 2010. The foregoing accounts by

former Accredited employees made it clear that, given Accredited’s culture, any representations or

warranties about its loans were probably false.

       70.     In November 2007, news reports surfaced about WaMu, which was a Warrantor and

loan originator for at least five Covered Trusts through itself and its subsidiary Washington Mutual

Mortgage Securities Corp. Dow Jones News Service reported that the Attorney General of New


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York had sued WaMu and another firm, alleging that WaMu and the other firm “‘collud[ed]’ . . . to

inflate the appraisal values of homes.” This was an indicator that WaMu’s representations and

warranties were likely false.

       71.     Furthermore, defendant U.S. Bank admitted, in a lawsuit that it filed in 2009, that in

“early 2008” it had become aware of massive breaches of representations and warranties by

GreenPoint, a Warrantor and/or loan originator for at least six Covered Trusts through itself or its

one-time owner, North Fork Bank. According to U.S. Bank’s lawsuit, it sought the repurchase of

“nearly 30,000 residential mortgage loans” by GreenPoint due to breaches of GreenPoint’s

representations and warranties. U.S. Bank alleged that it was “informed” in “early 2008” that an

astounding “93% of a sample of 1,030 Loans . . . did not comply with GreenPoint’s

representations and warranties.” Complaint, U.S. Bank, N.A., et al. v. GreenPoint Mortgage

Funding, Inc., No. 600352/2009 (N.Y. Sup. Ct., N.Y. Cnty. Feb. 5, 2009), ¶¶1, 35. U.S. Bank

further alleged in the complaint that the breaches of GreenPoint’s representations and warranties

consisted of “pervasive” misrepresentations concerning borrowers’ incomes, assets and employment,

“pervasive violations of GreenPoint’s own underwriting guidelines,” numerous misrepresentations

about borrowers’ intent to occupy the properties, and many falsely inflated appraisals. Id., ¶35. U.S.

Bank asserted in the complaint that GreenPoint could not be trusted when it came to the truthfulness

of any of its representations and warranties: “The large number and seriousness of the breaches . . .

suggest a pervasive pattern of malfeasance, misconduct and/or negligence in connection with

GreenPoint’s loan-origination practices as a whole.” Id., ¶36. U.S. Bank demanded that

GreenPoint repurchase “all” of the “nearly 30,000 residential mortgage loans” warranted by




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GreenPoint. Id., ¶¶1, 34 and “Prayer for Relief,” ¶A. Thus, U.S. Bank believed by “early 2008” that

representations and warranties by GreenPoint “as a whole” were false. 14

       72.     In the same complaint U.S. Bank filed against GreenPoint in 2009, U.S. Bank also

acknowledged its grave concerns about the veracity of Countrywide, another Warrantor and/or loan

originator for at least five Covered Trusts. In the complaint, U.S. Bank cited to another lawsuit

against Countrywide alleging fraudulent lending practices, and quoted portions of the court’s May

2008 decision denying a motion to dismiss that case by Countrywide. U.S. Bank alleged that in May

2008 the court “not[ed] that former Countrywide employees credibly ‘tell what is essentially the

same story – a rampant disregard for underwriting standards’ and ‘support a strong inference of

a Company-wide culture that, at every level, emphasized increased loan origination volume in

derogation of underwriting standards.’” Id., ¶15 n.8. U.S. Bank further alleged that Countrywide

also could not be trusted: “Countrywide and its management are currently subject to myriad

investigations and actions, some of which have already settled, for having engaged in systematic

fraud in connection with the origination of residential mortgage loans.” Id., ¶15. Thus, U.S. Bank

believed in February 2009 (when it filed the complaint), that Countrywide’s “systematic fraud in



14
    U.S. Bank’s knowledge that GreenPoint’s representations and warranties were false “as a whole”
was reconfirmed in another, subsequent lawsuit U.S. Bank filed against GreenPoint in July 2013. In
that lawsuit, U.S. Bank, as trustee of a different RMBS trust, again sued GreenPoint for breach of its
representations and warranties. U.S. Bank alleged that a review of the loans in that case revealed
that at least 82% of the loans breached GreenPoint’s representations and warranties. See
Complaint, U.S. Bank N.A. v. GreenPoint Mortgage Funding, Inc., No. 13-cv-4707 (S.D.N.Y. July
8, 2013), ¶¶6, 37. U.S. Bank alleged that there were numerous breaching loans due to lending fraud,
misrepresentations and omissions, and the failure to comply with GreenPoint’s underwriting
guidelines. Id., ¶65. U.S. Bank also confirmed its knowledge that GreenPoint’s representations and
warranties were generally and uniformly false by alleging that the breaches it found were
“systemic,” “numerous” and “material.” Id., ¶¶65, 74, 84, 87. Given U.S. Bank’s allegations
against GreenPoint and the extremely high breach rates it found – 93% and 82% – U.S. Bank knew
that GreenPoint’s representations and warranties about the Covered Trusts’ Mortgage Loans were
similarly false.

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connection with the origination of residential mortgage loans,” would logically result in systematic

false representations and warranties about Countrywide’s loans.15

       73.     Also in early 2008 (and in 2009), Wells Fargo – a Warrantor and/or loan originator

for at least six of the Covered Trusts – was sued by two cities alleging that Wells Fargo abandoned

its underwriting guidelines and made fraudulent loans. In 2008, the lawsuit titled Mayor and City

Council of Baltimore v. Wells Fargo Bank, N.A. et al., No. 08-cv-00062-JFM (D. Md.) (“City of

Baltimore”) was filed, wherein the City of Baltimore alleged that Wells Fargo extended loans

without regard to “the borrower’s ability to repay.” Third Amended Complaint, City of Baltimore,

¶3. The lawsuit also alleged that borrowers’ incomes were falsified.16 The City of Memphis and

City of Baltimore complaints included sworn declarations from former Wells Fargo employees

which provided direct evidence of illegal predatory lending and the abandonment of underwriting

guidelines, both breaches of Wells Fargo’s loan representations and warranties. For instance,

Camille Thomas, a loan processor at Wells Fargo from January 2004 to January 2008, stated under

oath that loans were granted based on inflated appraisals, which allowed borrowers to get larger

15
    Based on this apparent knowledge, U.S. Bank, as trustee of another RMBS trust, subsequently
filed a lawsuit against Countrywide in 2011 for breaches of its loan representations and warranties.
U.S. Bank alleged that a sample of the loans in the trust at issue in that case revealed that 66% of the
loans breached Countrywide’s representations and warranties. See Complaint, U.S. Nat’l Bank,
N.A. v. Countrywide Home Loans, Inc., et al., No. 652388/2011 (N.Y. Sup. Ct., N.Y. Cnty. Aug. 29,
2011). U.S. Bank alleged that “[d]uring the time period in which Countrywide originated the
Loans, it completely ignored its underwriting guidelines.” Id., ¶36. U.S. Bank further alleged that
the breaches were caused by “Countrywide’s systemic failure to comply with its underwriting
guidelines,” that U.S. Bank had “clear evidence of pervasive misrepresentations throughout the
mortgage pool,” and that the documentation Countrywide provided about the loans were “replete
with untrue statements and omissions of material fact,” thereby requesting the Court to order
Countrywide to repurchase every single loan in the trust. Id., ¶¶64-65. This lawsuit also
graphically illustrated that U.S. Bank knew Countrywide generated “systemic[ally]” false
representations and warranties.
16
   On April 7, 2010, the City of Memphis filed its First Amended Complaint in City of Memphis v.
Wells Fargo Bank N.A., No. 09-cv-02857-STA-CGE (W.D. Tenn. Apr. 7, 2010), alleging that Wells
Fargo “fail[ed] to underwrite African-American borrowers properly.” Id., ¶7.

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loans than they could otherwise qualify for or afford due to the falsely inflated appraisals’ impacts

on the LTV ratio calculations. Thomas also stated that some loans were granted based on falsified

income documents. Similarly, another affidavit by Doris Dancy, a credit manager at Wells Fargo

from July 2007 to January 2008, stated that managers put pressure on employees to convince people

to apply for loans, even if the person could not afford the loan or did not qualify for it. She was also

aware that loan applications contained false data, used to qualify customers for loans. The foregoing

evidence, along with additional, similar affidavits by other former Wells Fargo employees that were

filed in the cases, indicated that any representations or warranties by Wells Fargo concerning its

mortgage loans were probably false.

       74.     Similarly, on February 5, 2008, The Oregonian published a news story on Encore, a

loan originator for at least two of the Covered Trusts. Encore is ultimately owned by JPMorgan

Chase & Co. (“JPMorgan”), which also owns Warrantors and/or loan originators Chase Bank, EMC

and WaMu and its former subsidiaries. The news article documented that Encore ignored its stated

underwriting guidelines, falsified incomes, did not determine whether borrowers could afford to

repay their loans, forged documents, and put borrowers into loans they obviously could not afford to

repay. The Oregonian recounted the story of borrower Paul Hoffhine Jr., a mentally disabled man

who subsisted on Social Security payments of $624 per month. Hoffhine had inherited a house from

his parents in the 1980s that was completely paid for. In February 2004, Encore cold-called

Hoffhine and talked him into taking out a loan on the property so that Hoffhine could take equity out

of the property in the form of cash. The loan had monthly payments of $489.46. Thus, Hoffhine’s

DTI ratio was over 78% based solely on the mortgage loan extended by Encore (the $489.46 loan

payment divided by Hoffhine’s monthly $624 Social Security payment equals 78.4%). Hoffhine’s

other debts were not used to calculate the 78+% DTI ratio above, and therefore, if he had other


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debts, his DTI ratio would have been even higher. However, the 78%+ DTI ratio was far in excess

of any lender’s underwriting guidelines at that time, and far in excess of Encore’s underwriting

guidelines limits of between 50% and 55%.           Clearly, Encore was not following its stated

underwriting guidelines.

       75.     Even worse, according to The Oregonian, a few months later, in December 2004,

Encore persuaded Hoffhine to refinance and take out a new loan. The monthly payment on the new

loan increased to $617 per month, just $7 less than Hoffhine’s entire monthly income, thus

generating a DTI ratio of over 98%. Thus, on the second loan, Encore again ignored its stated

underwriting guidelines requiring DTI ratios of 55% or less, and gave Hoffhine a loan which

generated a DTI ratio of over 98%, far in excess of the stated DTI ratio maximums under Encore’s

underwriting guidelines, and far beyond Hoffhine’s ability to repay.

       76.     Even more disturbing was the fact that Encore had engaged in forgery. The

Oregonian reported that, in Hoffhine’s loan file, there was “a document claiming that Hoffhine was

earning $3,500 a month as a handyman . . . [u]nderneath [which was] a scrawled signature – Paul

Hauck Hoffhine Jr.” The news article reported that Hoffhine denied making the statement or signing

the document, which was an obvious forgery containing fraudulent information. The article quoted

Hoffhine as follows concerning the bogus document: “‘They forged my signature, [and] they inflated

my income.’” After being threatened with a lawsuit, Encore quickly and quietly settled with

Hoffhine. The foregoing conduct by Encore indicated that any representations or warranties made

about its loans would in all likelihood be false.

       77.     Also in February 2008, the examiner in the bankruptcy of New Century – a Warrantor

and loan originator for two of the Covered Trusts through its related companies – filed a detailed

report concerning New Century’s demise, after reviewing “a large volume of documents” from


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numerous sources and interviewing over 100 fact witnesses. See Final Report of Michael J. Missal,

In re: New Century TRS Holdings, Inc., No. 07-10416 (Bankr. D. Del. Feb. 29, 2008) (“Examiner’s

Report”) at 14, 16. The examiner confirmed that New Century had a culture that encouraged

ignoring its underwriting guidelines and the making of false representations and warranties. The

examiner, after his comprehensive fact-gathering process, “conclude[d] that New Century engaged

in a number of significant improper and imprudent practices related to its loan originations.” Id. at

2. Among other things, the examiner found that:

              “New Century had a brazen obsession with increasing loan originations, without due
               regard to the risks associated with that business strategy . . . and trained mortgage
               brokers to originate New Century loans in the aptly named ‘CloseMore University.’”
               Id. at 3.

              “The increasingly risky nature of New Century’s loan originations created a
               ticking time bomb that detonated in 2007.” Id.

              “New Century . . . layered the risks of loan products upon the risks of loose
               underwriting standards in its loan originations to high risk borrowers.” Id.

              A New Century employee had informed the company’s senior management that,
               under New Century’s underwriting guidelines, “‘we are unable to actually
               determine the borrowers’ ability to afford a loan.’” Id.

              “New Century also made frequent [unmerited] exceptions to its underwriting
               guidelines for borrowers who might not otherwise qualify for a particular loan,” so
               much so that a senior officer of New Century warned internally that the “‘number
               one issue is exceptions to guidelines.’” Id. at 3-4.

              New Century’s Chief Credit Officer had noted as early as 2004 that New Century
               had “‘no standard for loan quality.’” Id. at 4 “‘[L]oan quality’” referred to “New
               Century’s loan origination processes, which were supposed to ensure that New
               Century loans met its own internal underwriting guidelines.” Id. at 109.

              “Instead of focusing on whether borrowers could meet their obligations under the
               terms of the mortgages, a number of members of [New Century’s] Board of
               Directors and Senior Management told the Examiner that their predominant
               standard for loan quality was whether the loans New Century originated could be
               initially sold or securitized . . . .” Id. at 4.




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              A large number of New Century’s loans did not meet its underwriting guidelines,
               suffering from defects such as “defective appraisals, incorrect credit reports and
               missing documentation.” Id. at 109.

              From 2003 forward, New Century’s Quality Assurance and Internal Audit
               departments identified “significant flaws in New Century’s loan origination
               processes.” Id. at 110.

              Notwithstanding all the foregoing facts, New Century’s Board of Directors and
               Senior Management did little to nothing to remedy the company’s abandonment of
               its stated underwriting guidelines. Id.

The foregoing findings by the bankruptcy examiner revealed that New Century routinely originated

loans without following its underwriting guidelines, thereby likely rendering any representations and

warranties about its loans false.

       78.     In March 2008, The Oregonian published another news article on lending abuses, this

time on Chase Bank, a loan originator for at least one Covered Trust, and a wholly owned subsidiary

of JPMorgan. The Oregonian reported that it had obtained a copy of an internal Chase Bank memo

which was titled “‘Zippy Cheats & Tricks.’” According to The Oregonian, the Chase Bank memo

was “a primer [for loan brokers] on how to get risky mortgage loans approved by Zippy, Chase’s in-

house automated loan underwriting system. The secret to approval? Inflate the borrowers’ income

or otherwise falsify their loan application.” The news article reported that the Chase Bank memo

coached brokers on how to conceal disqualifying information on loan applications and encouraged

the false inflation of borrowers’ incomes and assets. The article further stated: “The Chase memo is

‘a perfect example of one of the big five banks out and out telling mortgage brokers to commit

fraud,’ said Todd Williams, a broker . . . in Portland. ‘And this has been going on for years.’” The

foregoing information indicated that Chase Bank had a routine business practice that made it likely

that its loan representations or warranties would be false. Also, given that Chase Bank was owned

and controlled by JPMorgan, any loan representations and warranties by the other JPMorgan-


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controlled affiliates at that time, such as Warrantor EMC, and loan originator Encore, were likely

false too.

        79.    Also in March 2008, an article appeared in The Wall Street Journal concerning the

criminal conviction of AHM sales executive Kourash Partow. AHM was a Warrantor and/or loan

originator for at least four of the Covered Trusts. Partow admitted that he falsified borrowers’

incomes and assets in order to get loans approved. After his conviction, Partow, who worked for

Countrywide before joining AHM, sought a lighter sentence on the grounds that both of his former

employers – Countrywide (which was also a Warrantor and/or loan originator to at least five of

the Covered Trusts) and AHM – had knowledge of the falsified incomes and assets and in fact

encouraged manipulation by intentionally misrepresenting the performance of the loans and the

adequacy of how the loans were underwritten. The import of this article was that AHM’s and

Countrywide’s regular business practices made it likely that any representations and warranties

about their loans were false.

        80.    In May 2008, National Public Radio broadcast a segment on a company called

Watterson-Prime. Watterson-Prime was hired by numerous Wall Street RMBS securitizers –

including nearly all of the Loan Sellers/Sponsors to the Covered Trusts – to test samples of the loans

they were securitizing. Watterson-Prime’s job was to identify any loans which did not comply with

the applicable underwriting guidelines or had other defects. In the radio broadcast, a former

Watterson-Prime employee, Tracy Warren, was interviewed and stated that Watterson-Prime’s

largest customer was Bear Stearns, which included EMC and Encore, Warrantors and/or loan

originators for at least four Covered Trusts (Bear Stearns was owned by JPMorgan at the time of the

broadcast). She recounted obvious fraudulent loan applications where hotel workers claimed

$15,000 per month in income. She stated that whenever she would reject deficient loan files, her


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supervisors would usually overrule her and approve the loans. She recalled loans to borrowers with

terrible credit scores and falsified incomes which she rejected, only to be overruled by her

supervisors who would say “‘Oh, it’s fine. Don’t worry about it.’” Warren stated that about 75%

of the loans which should have been rejected were purchased and securitized nonetheless. This

information confirmed that EMC’s and Encore’s normal business practices made it likely that any

representations and warranties about their loans would be false.

       81.     In June 2008, WMC – a Warrantor and loan originator for at least one of the Covered

Trusts – was charged by the state of Washington for lending misconduct. Washington filed a

Statement of Charges against WMC (see Statement of Charges and Notice of Intention to Enter an

Order to Revoke License, Prohibit from Industry, Impose Fine, Order Restitution and Collect

Investigation Fee, No. C-07-557-08-SC01 (Wash. Dep’t Fin. Inst. June 4, 2008)), for deceptive and

unfair lending practices. The Statement of Charges alleged that the Washington State regulator

reviewed 86 loans extended by WMC and found that 76 of them were defective or otherwise

violated Washington State law – a defect rate of over 88%. This indicated that any representations

or warranties made concerning WMC loans were probably false.

       82.     Also in June 2008, the Massachusetts Attorney General sued Option One – a

Warrantor and loan originator for at least one Covered Trust. The Massachusetts Attorney General

alleged that, beginning in 2004, Option One “increasingly disregarded underwriting standards,

created incentives for loan officers and brokers to disregard the interests of the borrowers and steer

them into high-cost loans, and originated thousands of loans that [Option One] knew or should

have known the borrowers would be unable to pay, all in an effort to increase loan origination

volume so as to profit from the practice of packaging and selling the vast majority of [Option One’s]

residential subprime loans to the secondary market.”           See Complaint, Commonwealth of


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Massachusetts v. H&R Block, Inc., et al., No. SUCV2008-2474 (Mass. Super. Ct., Suffolk Cnty.

June 3, 2008), ¶4. The Massachusetts Attorney General alleged that Option One’s agents and

brokers “frequently overstated an applicant’s income and/or ability to pay, and inflated the

appraised value of the applicant’s home,” and that Option One “avoided implementing reasonable

measures that would have prevented or limited these fraudulent practices.” Id., ¶8. As a result,

Option One’s “origination policies . . . employed from 2004 through 2007 have resulted in an

explosion of foreclosures.” Id., ¶10. Option One’s routine business practices indicated that any

representations or warranties concerning its loans were probably false.17

       83.     Further, on June 30, 2008, the Center for Responsible Lending (“CRL”) issued a

report by Mike Hudson, entitled “IndyMac: What Went Wrong? How an ‘Alt-A’ Lender Fueled its

Growth with Unsound and Abusive Mortgage Lending” (the “CRL Report”). The subject of the

report – IndyMac – was a Warrantor and/or loan originator for two of the Covered Trusts. The CRL

Report, which was based on information obtained from 19 former IndyMac employees, concluded

that IndyMac “engaged in unsound and abusive lending” and “routinely [made] loans without

regard to borrowers’ ability to repay.” CRL Report at 2. According to the CRL Report, IndyMac’s

normal loan origination process – which consisted of ignoring borrowers’ ability to repay the loans

as well as IndyMac’s underwriting guidelines – was not “caused by rogue brokers or by borrowers

who lied.” Id. at 1. Instead, this institutionalized practice was “spawned by top-down pressures that

valued short-term growth over protecting borrowers and shareholders’ interests over the long

haul.” Id. Indeed, the CRL Report described the atmosphere at IndyMac as one “where the hunger


17
    In November 2008, the Suffolk County Superior Court granted a preliminary injunction in
favor of the Massachusetts Attorney General, finding that “certain mortgage loans [issued by
Option One] were ‘presumptively unfair,’ because they posed an unreasonable risk of default and
foreclosure.” The preliminary injunction was subsequently affirmed on appeal, and Option One’s
parent company eventually agreed to pay $125 million to settle the suit.

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to close loans ruled” and the routine “push[ing] through [of] loans based on bogus appraisals and

income data that exaggerated borrowers’ finances.” Id. at 2. The CRL Report contained accounts

from former IndyMac employees which clearly demonstrated the bank’s institutional disregard for

its own stated underwriting and appraisal guidelines as well as borrowers’ abilities to repay their

loans. Among other things, the CRL Report provided the following information:

              Audrey Streater, a former underwriter and underwriting team leader for IndyMac in
               New Jersey, stated in an interview: ‘“I would reject a loan and the insanity would
               begin,’ . . . ‘It would go to upper management and the next thing you know it’s
               going to closing. . . . I’m like, “What the Sam Hill? There’s nothing in there to
               support this loan.”’” Id. at 3.

              According to a former IndyMac vice president, former IndyMac CEO (“Chief
               Executive Officer”) Michael Perry (“Perry”) and other top managers “focused on
               increasing loan volume ‘at all costs,’ putting pressure on subordinates to disregard
               company policies and simply ‘push loans through.’” Id.

              According to another former IndyMac employee, Perry once told him ‘“business
               guys rule’” and ‘“[expletive deleted] you to compliance guys,’” from which this
               former employee concluded that IndyMac was about ‘“production and nothing
               else.’” Id. at 4.

              According to Wesley E. Miller, a former underwriter for IndyMac in California,
               “when he rejected a loan, sales managers screamed at him and then went up the
               line to a senior vice president and got it okayed.” Id. at 9.

              According to Scott Montilla, a former underwriter for IndyMac in Arizona, “when
               salespeople went over his head to complain about loan denials, higher-ups
               overruled his decisions roughly half of the time.” Id.

              Montilla further stated in an interview: “‘I would tell them: “If you want to approve
               this, let another underwriter do it, I won’t touch it – I’m not putting my name on it”
               . . . . There were some loans that were just blatantly overstated.’” Id. at 10.

The foregoing information made it clear that IndyMac’s institutionalized lending abuses made it

likely that representations and warranties about its loans were false.18


18
    Subsequently, on July 11, 2008, IndyMac was closed by the Office of Thrift Supervision
(“OTS”) and taken under the control of the Federal Deposit Insurance Corporation (“FDIC”). On
February 26, 2009, the Office of Inspector General (“OIG”) of the U.S. Department of Treasury
issued a report, entitled “Safety and Soundness: Material Loss Review of IndyMac Bank, FSB” (the
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       84.     In November 2008, Business Week published an expose on the mortgage industry

based on the accounts of numerous former industry participants. It confirmed that a systemic

breakdown in lending standards and rampant fraud occurred when the Mortgage Loans were

originated and transferred to the Covered Trusts. The Business Week article reported that “[c]ourt

documents and interviews with scores of industry players suggest that [loan] wholesalers . . . offered

bribes to fellow employees [to approve unacceptable loan applications], fabricated documents, and

coached brokers on how to break the rules. . . . [Loan] [b]rokers, who work directly with

borrowers, altered and shredded documents. [Loan] [u]nderwriters, the bank employees who

actually approve mortgage loans, also skirted boundaries, demanding secret payments from

wholesalers to green-light loans they knew to be fraudulent.” The Business Week article quoted a

former Wells Fargo loan wholesaler (Wells Fargo was a Warrantor and/or loan originator for six of

the Covered Trusts) who admitted “he regularly used the copiers at a nearby Kinko’s to alter

borrowers’ pay stubs and bank account statements. He would embellish job titles – turning a

gardener, for instance, into the owner of a landscaping company – and inflate salaries.” This

former Wells Fargo employee stated: “‘I knew how to work the system.’” The same Business Week

“OIG Report”). The OIG Report, like the CRL Report, found that “IndyMac’s business model was
to produce as many loans as possible and sell them in the secondary market,” i.e., to banks such
as the Covered Trusts’ Loan Sellers/Sponsors. OIG Report at 21. According to the OIG Report,
“[t]o facilitate this level of [loan] production . . . IndyMac often did not perform adequate
underwriting.” Id. Indeed, IndyMac frequently made loans with “little, if any, review of borrower
qualifications, including income, assets, and employment.” Id. at 11. As a result, the OIG
concluded that IndyMac’s loans “were made to many borrowers who simply could not afford to
make their payments.” Id. at 2. Moreover, according to the OIG Report, “[a]ppraisals obtained by
IndyMac on underlying collateral were often questionable as well.” Id. The OIG Report found that
“IndyMac officials accepted appraisals that were not in compliance with [the industry standard,] the
Uniform Standard of Professional Appraisal Practice,” and in some instances, IndyMac even
“allowed the borrowers to select the appraiser” and/or accepted “appraisals where the property
valuation was made without physical site inspection of the subject property or comparable
properties.” Id. at 12, 26. These findings further established that any loan representations or
warranties concerning IndyMac loans were probably false. After the FDIC seized IndyMac, most of
it was subsequently acquired by OneWest Bank.

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article also recounted the situation of Rachel Steinmetz, a senior loan underwriter for GreenPoint,

another Warrantor and/or loan originator for at least six of the Covered Trusts through itself or its

former owner, North Fork Bank. Ms. Steinmetz had filed a wrongful termination lawsuit against

GreenPoint in which she alleged that GreenPoint asked “her to approve loans . . . ‘that the

borrower did not qualify for’” and when “she told her superiors that the applications contained

suspect details and that the loan files didn’t have enough paperwork to back up borrowers’ claims

. . . ‘management overrode her decisions’ and approved the loans anyway.” It was reported that in

“April 2006, Steinmetz . . . rejected a loan application that inflated the borrower’s income and the

home’s appraised value [yet] her superiors signed off on the loan” and funded it anyway. The

Business Week article further reported on another lawsuit by Coleen Colombo against BNC, a loan

originator for one of the Covered Trusts. Ms. Colombo, a senior loan underwriter at BNC, alleged

she was harassed and then terminated because she reported to her superiors that a loan wholesaler

had tried to bribe her to approve a loan application that contained “‘fraudulent information.’”

The foregoing information about BNC, GreenPoint and Wells Fargo, which collectively warranted

Mortgage Loans in at least nine Covered Trusts through themselves or their related companies,

indicated that their abusive lending practices likely rendered any representations or warranties about

their loans false.

        85.     Also in November 2008, The New York Times published an article concerning WaMu

entitled “Was There a Loan It Didn’t Like?” WaMu and its subsidiaries were Warrantors and/or

loan originators for at least five of the Covered Trusts. Former WaMu senior mortgage underwriter

Keysha Cooper, who worked at WaMu from 2003 until 2007, stated: “‘At WaMu it wasn’t about the

quality of the loans; it was about the numbers’ . . . . ‘They didn’t care if we were giving loans to

people that didn’t qualify. Instead, it was how many loans did you guys close and fund?’ . . . ‘I


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swear 60 percent of the loans I approved I was made to’ . . . ‘If I could get everyone’s name, I

would write them apology letters.’” This was a clear indicator that representations and warranties

concerning WaMu loans were probably false.

        86.     On November 13, 2008, the Office of the Comptroller of the Currency (“OCC”)

released a report entitled the “Worst Ten in the Worst Ten.” The report identified the ten

metropolitan areas in the United States with the highest foreclosure rates in the first half of 2008, and

identified the lenders that made these loans. The report studied loans originated between 2005

through 2007 – the same time period when the Mortgage Loans in the Covered Trusts were

originated – and revealed that they had astoundingly high foreclosure rates. From 13.9% to 22.9%

of the loans were in foreclosure in the ten areas during the first half of 2008. These foreclosure

rates were stunning because “[p]rior to 2007, the foreclosure rate was historically less than 1%.”

Financial Crisis Inquiry Commission Report (“FCIC Report”) at 402. These extremely high

foreclosure rates were another indicator that the lending industry in general was involved in

widespread lending fraud and the making of massive numbers of false representations and

warranties. The list of offending lenders identified in the OCC report were a “who’s who” of the

Warrantors and loan originators to the Covered Trusts. Nearly every lender identified in the OCC’s

report was a loan originator and/or a Warrantor, or an affiliate of a loan originator or Warrantor,

to the Covered Trusts. The OCC’s list included AHM, BNC, Countrywide, Decision One, Merrill

Lynch (through its lender First Franklin Corporation), Fremont, GreenPoint, IndyMac, WaMu

(through its subsidiary Long Beach Mortgage Company), New Century, Option One, Ownit,

People’s Choice, Wells Fargo and WMC – all Warrantors or loan originators of the Mortgage Loans

in the Covered Trusts. Collectively, these Warrantors and loan originators had originated Mortgage

Loans and/or made representations and warranties about Mortgage Loans in 23 of the 25 Covered


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Trusts through themselves and their related companies. This was a clear sign that the Mortgage

Loans in the Covered Trusts were probably in breach of the Warrantors’ representations and

warranties, given the large number of Warrantors and loan originators to the Covered Trusts

involved, the number of Covered Trusts affected, and the extremely high foreclosure rates.

       87.     A news article in The San Diego Union-Tribune on November 16, 2008 summed up

the industry-wide nature of the lending abuses that had been repeatedly reported on: “Bankruptcy

specialists say part of what led to the housing market collapse was systemic. Lenders set themselves

up for problems by not requiring buyers to prove they could afford the loans . . . .”

       88.     In December 2008, The New York Times published another article on WaMu. The

news article revealed that WaMu, which was now owned by JPMorgan, routinely made loans to

borrowers with insufficient income to repay their loans. The article was based on the account for a

former WaMu employee, John D. Parsons, a former WaMu supervisor at a mortgage processing

center. He told The New York Times that he “was accustomed to seeing baby sitters claiming

salaries worthy of college presidents, and schoolteachers with incomes rivaling stockbrokers’. He

rarely questioned them. A real estate frenzy was under way and WaMu, as his bank was known,

was all about saying yes.” The news article further reported on the case of a borrower “claiming

a six-figure income and an unusual profession: mariachi singer. Mr. Parsons could not verify the

singer’s income, so he had him photographed in front of his home dressed in his mariachi outfit.

The photo went into a WaMu file. Approved.” This information was yet another indicator that any

representations or warranties concerning WaMu Mortgage Loans were probably false.




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                      c.      U.S. Bank’s Review of the Mortgage Loan Files in 2006
                              and 2007, Coupled with the Vast Amount of
                              Information Made Public Prior to 2009 Indicating that
                              the Warrantors’ Representations and Warranties Were
                              False, Caused U.S. Bank to Discover Breaches with
                              Respect to the Mortgage Loans in the Covered Trusts in
                              2009

       89.     There were many additional news stories, lawsuits and other events throughout 2008

indicating that the lending industry was plagued by lending abuses and fraud, and that therefore

representations and warranties made by the Warrantors about the Mortgage Loans were likely false.

In light of the number of these reports concerning pervasive, bold, and open lending fraud that had

been engaged in by many of the Covered Trusts’ Warrantors and loan originators, and other events

alleged herein, U.S. Bank discovered in 2009 that there were breaches of the Warrantors’

representations and warranties concerning thousands of the Mortgage Loans in the Covered Trusts.

Supporting this conclusion is the fact that, for the 18 Covered Trusts that U.S. Bank has served as

Trustee since their inception, U.S. Bank had previously inspected the Mortgage Loan files shortly

after receiving them when the Covered Trusts were formed in 2006 and 2007. In fact, the Governing

Agreements required U.S. Bank (or its custodian) to review each Mortgage Loan file to ensure

certain required documentation was in the file and certain documents were properly endorsed. See

e.g., BAFC 2007-C PSA, §§2.01, 2.02 (Trustee, or Trustee’s custodian, to review Mortgage Loan

Files within 90 days of execution of Governing Agreement). Given the transparent nature of the

lending abuses occurring at the time the Mortgage Loans were originated, U.S. Bank’s Mortgage

Loan file review for 18 of the Covered Trusts revealed to it numerous and obvious breaches of the

Warrantors’ representations and warranties. Given this prior review, and the continuous, subsequent

revelations of widespread lending fraud by many of the Warrantors to the Covered Trusts throughout

2008 and 2009, U.S. Bank knew of systemic breaches of the Warrantors’ representations and

warranties concerning the Mortgage Loans by the beginning of 2009.
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       90.     Indeed, both a trial court and an appellate court in the state of Washington held

that U.S. Bank’s required Mortgage Loan file review in 2007 concerning one of the Covered

Trusts at issue herein – the GPMF 2007-AR1 Covered Trust – would have revealed obvious

breaches by Warrantor GreenPoint, given the fact that the Mortgage Loan before those courts was

fraudulently obtained, was not properly secured, and violated state lending laws. See Collings v.

City First Mortg. Servs., LLC, 317 P.3d 1047 (Wash. Ct. App. 2013). In Collings, U.S. Bank

intervened into an action seeking a declaration that its security interest in a Mortgage Loan in the

GPMF 2007-AR1 Covered Trust was superior to that of other claimants and that U.S. Bank was

entitled to full payment of the debt secured by its deed of trust. However, both the Washington state

trial court and the appeals court held that U.S. Bank, during its required 2007 review of the

Mortgage Loan file at issue, “would have found” and “should have discovered” that: (1) neither U.S.

Bank nor the Covered Trust held superior title to the Mortgage Loan at issue; and (2) “the

[Mortgage] Loan amounted to illegal equity skimming,” in violation of Washington state’s lending

laws. Id. at 1052, 1059-64. Either one of these discrepancies, which the courts held would have

been readily apparent during U.S. Bank’s 2007 review, were clear and obvious breaches of the

Warrantor’s representations and warranties concerning the Mortgage Loan. The Washington

state trial court ordered, and the appeals court affirmed, the entry of judgment against U.S. Bank.

The trial court also declared that the deed of trust held by U.S. Bank on behalf of the GPMF 2007-

AR1 Covered Trust was void and unenforceable, and permanently enjoined U.S. Bank from

foreclosing on the mortgaged property, while quieting title in other claimants and against U.S. Bank,

all of which the court of appeals affirmed. See generally id. Thus, U.S. Bank’s 2006 and 2007

reviews of the Mortgage Loan files for the 18 Covered Trusts in which U.S. Bank served as Trustee




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since their inception,19 coupled with the massive amount of public information available to it in 2008

and 2009 concerning the Covered Trusts’ Warrantors’ and loan originators’ participation in

widespread lending abuses amounting to breaches of their representations and warranties, caused

U.S. Bank to discover by 2009 that there were breaches of the Warrantors’ representations and

warranties concerning thousands of the Mortgage Loans in the Covered Trusts.

                       d.      The Unprecedented, Extremely High and Persistent
                               Mortgage Loan Default Rates Also Caused U.S. Bank to
                               Discover Breaches of the Warrantors’ Representations
                               and Warranties Concerning the Mortgage Loans in the
                               Covered Trusts by 2009

       91.     Further establishing that U.S. Bank knew in 2009 of massive breaches of the

Warrantors’ representations and warranties concerning the Mortgage Loans in the Covered Trusts, is

the fact that, by January 2009, the Covered Trusts had been experiencing chronic, continual and

shockingly high Mortgage Loan default rates.20 It was clearly evident by January 2009 that the

extremely high Mortgage Loan default rates were due to the fact that the Mortgage Loans were not

as the Warrantors had represented and warranted. By early 2009, the Mortgage Loans were

defaulting at astounding rates. For example, in January 2009, all of the 25 Covered Trusts except

one had double-digit Mortgage Loan default rates. Most of the Covered Trusts had Mortgage Loan

default rates is excess of 20%, with the majority of the Covered Trusts having default rates greater

than 30%. Incredibly, five of the Covered Trusts had default rates in excess of 50%, while at least

two Covered Trusts had Mortgage Loan default rates of over 62% – nearly two of every three

19
   The 18 Covered Trusts are: BAFC 2007-C, BNCMT 2007-2, BSABS 2006-AC2, BSABS 2006-
AC5, GPMF 2007-AR1, GPMF 2007-AR2, GPMF 2007-AR3, HEAT 2006-5, HEAT 2006-6, LXS
2006-1ON, LXS 2007-7N, MABS 2006-HE2, SARM 2006-9, SASC 2006-NC1, SASC 2006-WF2,
SASC 2006-WF3, SASC 2007-EQ1 and SASC 2007-WF1.
20
    “Default rates,” as used in this Complaint, refers to the percentage of the Mortgage Loans’
aggregate principal balance for each Covered Trust that is delinquent, in bankruptcy, in foreclosure
or “real estate owned” (“REO”).

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Mortgage Loans were in default. These high default rates had existed even before 2009 so they

were no surprise to U.S. Bank in January 2009. U.S. Bank was also acutely aware of the hundreds

of millions of dollars of losses the Covered Trusts had sustained by January 2009, which were

caused by the defective Mortgage Loans. The chart below sets forth the Mortgage Loan default rates

and the cumulative realized losses for each Covered Trust reported in January 2009:

                 Covered Trusts’ Mortgage Loan Default Rates and
                Cumulative Realized Losses Reported in January 2009
      Covered Trust               Mortgage Loan                   Cumulative
                                   Default Rates                Realized Losses
BAFC 2007-C                            6.6%                      $ 5,662, 610
BNCMT 2007-2                          40.0%                      $ 43,687,362
BSABS 2006-AC2                        24.9%                      $ 17,362,487
BSABS 2006-AC5                        35.4%                      $ 7,226,895
GPMF 2007-AR1                         28.7%                      $ 34,902,670
GPMF 2007-AR2                         26.8%                      $ 20,942,642
GPMF 2007-AR3                         18.7%                      $ 2,756,002
HEAT 2006-5                           53.2%                      $ 70,669,373
HEAT 2006-6                           53.8%                      $ 73,003,180
LXS 2006-1ON                          35.5%                      $ 31,651,222
LXS 2006-15                           36.8%                      $ 39,442,389
LXS 2007-7N                           20.0%                      $ 17,435,415
MABS 2006-HE2                         63.5%                      $ 67,353,056
MLMI 2006-WMC2                        62.2%                      $171,652,842
SARM 2006-9                           19.1%                      $ 5,928,586
SASC 2006-NC1                         54.6%                      $ 98,522,062
SASC 2006-WF2                         39.2%                      $ 67,551,378
SASC 2006-WF3                         40.2%                      $ 55,147,285
SASC 2007-EQ1                         42.0%                      $ 24,472,404
SASC 2007-WF1                         42.2%                      $ 28,943,985
WMALT 2006-AR4                        47.4%                      $ 24,104,753
WAMU 2006-AR13                        19.7%                      $ 8,000,217
WAMU 2006-AR17                        22.0%                      $ 3,367,013
WAMU 2006-AR19                        22.1%                      $ 8,072,552
WAMU 2007-OA2                         21.9%                      $ 8,740,917
                  Covered Trusts’ Total Realized Losses:         $930,936,687

       92.     Given these huge, unprecedented default rates and staggering losses, coupled with:

(1) U.S. Bank’s 2006-2007 review of the Mortgage Loan files which at least two Washington courts


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held would have revealed irregularities that amounted to breaches of the Warrantors’ representations

and warranties; (2) U.S. Bank’s further knowledge through news and press reports of widespread

and numerous lending abuses involving many of the Warrantors; and (3) U.S. Bank’s direct

experience with breaching Warrantors (such as with GreenPoint, where U.S. Bank previously

alleged that GreenPoint had “a pervasive pattern” of representation and warranty breaches “as a

whole,” and Countrywide, where U.S. Bank alleged it engaged in “systemic” breaches); U.S. Bank

discovered in 2009 that the Warrantors had breached their representations and warranties as to

thousands of Mortgage Loans in the Covered Trusts. Nonetheless, U.S. Bank chose to ignore the

breaches and did nothing.

                          e.      Further News and Events, and U.S. Bank’s Own
                                  Actions During and After 2009, Indicated that U.S.
                                  Bank Knew that the Warrantors Had Breached Their
                                  Representations and Warranties Concerning the
                                  Mortgage Loans in the Covered Trusts

        93.        Additional news indicating the systemic nature of the Warrantors’ breaches continued

throughout 2009, 2010, 2011, and beyond, repeatedly corroborating the fact that the Warrantors had

made false representations and warranties about the Mortgage Loans. For example, in March 2009,

at a hearing of the U.S. House of Representatives Subcommittee investigating the nation’s mortgage

meltdown, Representative Jeb Hensarling from the State of Texas was extremely blunt about the

universal abandonment of underwriting guidelines: “Mortgage fraud ran rampant for a decade, on

the lenders’ side and on the borrowers’ side . . . .            We know that mortgage fraud ran

rampant . . . .”

        94.        Also in March 2009, a class action lawsuit was filed against JPMorgan on behalf of

purchasers of its RMBS, alleging false and misleading statements in connection with the offering

and sale of RMBS in numerous RMBS trusts. That action contained allegations concerning AHM

and Chase Bank – two of the Warrantors or loan originators for five of the Covered Trusts. The
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complaint alleged that AHM and Chase Bank failed to follow their loan underwriting guidelines and

fabricated loan information, obvious breaches of their representations and warranties, when

originating mortgage loans during the same period the Mortgage Loans in the Covered Trusts were

originated. In 2010, an amended complaint was filed, which contained detailed statements from

numerous former AHM and Chase Bank employees indicating the wholesale abandonment of

AHM’s and Chase Bank’s origination guidelines and the widespread fabrication of false loan data.

See Second Amended Complaint for Violation of §§11, 12 and 15 of the Securities Act of 1933, Fort

Worth Employees’ Retirement Fund v. J.P. Morgan Chase & Co., et al., No. 1:09-cv-03701-JGK

(S.D.N.Y. July 8, 2010), ¶¶78-116.

       95.     In addition, in April 2009, the SEC instituted fraud charges against the former top

executives of AHM’s parent company, American Home Investment Corp. (“American Home”), for

their role in misleading investors regarding AHM’s systematic disregard of sound underwriting

standards and risky lending practices that led to the lender’s bankruptcy in August of 2007. AHM

was a Warrantor or loan originator for at least four of the Covered Trusts. “‘These senior [American

Home] executives did not just occupy a front row seat to the mortgage meltdown – they were part of

the show,’” said Robert Khuzami, Director of the Securities and Exchange Commission’s (“SEC”)

Division of Enforcement in a press release. The SEC charged that AHM was not the “prime” lender

it claimed to be, but rather routinely issued high-risk loans to borrowers with poor credit in order to

drive growth and capture additional market share. American Home’s former CEO subsequently paid

$2.5 million to settle the SEC’s fraud charges. In May 2009, a reporter for The New York Times

published a news report, recounting his experience in obtaining a loan from AHM. The reporter

revealed how AHM actively concealed and omitted negative information on his loan application in




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order to qualify him for a loan. Not surprisingly, shortly after obtaining the AHM loan – a loan the

reporter could not afford – the reporter defaulted.

       96.     In June 2009, the SEC initiated a securities fraud action against former Countrywide

executives Angelo Mozilo (“Mozilo”), David Sambol (“Sambol”) and Eric Sieracki (“Sieracki”).

Countrywide was a Warrantor and/or loan originator for at least five of the Covered Trusts. On

September 16, 2010, the court denied the Countrywide executives’ motions for summary judgment

and held that the SEC had raised genuine issues of fact as to whether the defendants had

misrepresented the quality of Countrywide’s underwriting processes from 2005-2007, the same time

period when the Mortgage Loans were originated. Specifically, the court held that the SEC

presented evidence that Countrywide “routinely ignored its official underwriting guidelines to

such an extent that Countrywide would underwrite any loan it could sell into the secondary

mortgage market,” i.e., to the Covered Trusts’ Loan Sellers/Sponsors and that “a significant

percentage (typically in excess of 20%) of Countrywide’s loans were issued as exceptions to its

official underwriting guidelines.” SEC v. Mozilo, No. CV 09-3994-JFW (MANx), 2010 U.S. Dist.

LEXIS 98203, at *33-*34 (C.D. Cal. Sept. 16, 2010). The court held that the evidence presented

was such that “a reasonable jury could conclude that Countrywide all but abandoned managing

credit risk through its underwriting guidelines.” Id. at *35. In 2010, Mozilo, Sambol and Sieracki

paid over $73.1 million to settle the charges.

       97.     Also in 2009, a False Claims Act lawsuit was brought by the U.S. Government

against Countrywide and real estate appraisal firm Land Safe Appraisal Services, Inc. (“Land Safe”),

confirming that Countrywide routinely and falsely inflated appraisals. See Complaint, United States,

ex rel. Kyle W. Lagow v. Countrywide Fin. Corp., No. 1:09-cv-02040-RJD-JMA (E.D.N.Y. May 13,

2009) (“Lagow Complaint”). According to the allegations of this action, which are based on the


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testimony of Kyle Lagow, a former LandSafe employee, Countrywide and LandSafe conspired

together to systematically inflate appraisals. According to Lagow, Countrywide and LandSafe

systematically inflated appraisals for Countrywide loans by, among other things: (a) paying above-

market fees to appraisers who provided inflated appraisals; (b) rewarding appraisers that provided

inflated appraisals with significant amounts of additional work; (c) black-listing, retaliating against

and firing appraisers that refused to provide inflated appraisals; (d) improperly requiring appraisers

to rely on information outside the relevant market that justified inflated appraisals; (e) providing

appraisers with false information concerning “comparable” properties that led to inflated appraisals;

and (f) retaliating against anyone who questioned or criticized Countrywide’s and LandSafe’s

appraisal inflation scheme. Lagow Complaint, ¶9. This action was settled, as part of a global $1

billion settlement, with Countrywide’s parent company Bank of America, another Warrantor/loan

originator to the Covered Trusts.

       98.     In 2009, MBIA Insurance Corp. (“MBIA”), an insurer to numerous RMBS trusts,

sued Warrantors and loan originators Countrywide and Bank of America, alleging massive breaches

of their representations and warranties with respect to tens of thousands of loans in 15 different

RMBS trusts. The case was ultimately settled by Bank of America, paying MBIA $1.7 billion.

       99.     U.S. Bank’s knowledge of pervasive breaches of representations and warranties by

the Warrantors at issue herein is also demonstrated by its own actions in September 2009. To

explain, in 2008, Lehman, a Loan Seller/Sponsor for 13 of the Covered Trusts, filed for bankruptcy.

In September 2009, U.S. Bank filed claims in the bankruptcy action against Lehman for breaches of

representations and warranties as to all of the Mortgage Loans in 12 of those 13 Covered Trusts21



21
   Bank of America, U.S. Bank’s predecessor trustee, had similarly filed claims against Lehman for
one of the 13 Covered Trusts, for the LXS 2006-15 Covered Trust. These 13 Covered Trusts are:
BNCMT 2007-2, GPMF 2007-AR1, GPMF 2007-AR2, GPMF 2007-AR3, LXS 2006-1ON, LXS
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even though Lehman was not liable for all of the Mortgage Loans in most of those Covered

Trusts, and in fact there were many other Warrantors to those Covered Trusts who had made

representations and warranties for those Mortgage Loans and were thus liable for them. U.S.

Bank’s “omnibus” claim for breach of representations and warranties as to all of the Mortgage Loans

in all of those 12 Covered Trusts, including for Mortgage Loans that Lehman was not even

potentially liable for, and in fact other Warrantors were, demonstrates U.S. Bank’s knowledge of

pervasive breaches by all of the Warrantors to those 12 Covered Trusts. Nonetheless, U.S. Bank has

not pursued most of those other Warrantors to enforce representation and warranty claims as to the

thousands of breaching Mortgage Loans in those Covered Trusts. 22

       100.    With respect to Wells Fargo – a Warrantor and/or loan originator for at least six

Covered Trusts – in 2009, it was sued by the Attorney General of Illinois. See People v. Wells

Fargo & Co., No. 09-ch-26434 (Ill. Cir. Ct., Cook Cnty. July 31, 2009). In the action, Wells Fargo

was charged with “engag[ing] in unfair and deceptive business practices by misleading Illinois

borrowers about their mortgage terms,” and placing borrowers into loans that were “unaffordable


2006-15, LXS 2007-7N, SARM 2006-9, SASC 2006-NC1, SASC 2006-WF2, SASC 2006-WF3,
SASC 2007-EQ1 and SASC 2007-WF1.
22
    Given that U.S. Bank (and Bank of America for Covered Trust LXS 2006-15) filed claims
against Lehman in the bankruptcy case for those 13 Covered Trusts, plaintiff does not allege that
U.S. Bank breached the Governing Agreements by failing to make representation and warranty
claims against Lehman for the 13 Covered Trusts. In addition, for one of those 13 Covered Trusts,
the SASC 2006-NC1 Covered Trust, the only Warrantor besides Lehman for that Trust – New
Century – went bankrupt in 2007, well before U.S. Bank discovered any breaches. Thus, for such
Covered Trust, plaintiff does not allege that U.S. Bank improperly failed to make representation and
warranty claims. Moreover, for another one of those Covered Trusts – the BNCMT 2007-2 Covered
Trust – only Lehman made representations and warranties and thus plaintiff does not allege that U.S.
Bank failed to make representation and warranty claims as to that Covered Trust either. However,
plaintiff does allege that U.S. Bank breached the Governing Agreements by failing to make
representation and warranties claims against the many other Warrantors to those remaining 11
Covered Trusts at issue herein in which Lehman served as a Loan Seller/Sponsor, as well as to the
12 other Covered Trusts at issue in this case that do not involve Lehman at all.

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and unsustainable,” both violations of law and breaches of the representations and warranties Wells

Fargo made. Also in 2009, Wells Fargo was sued in a class action on behalf of RMBS purchasers

alleging that Wells Fargo had misrepresented that the loans in its RMBS trusts were originated in

conformance with Wells Fargo’s underwriting guidelines. See In re Wells Fargo Mortg. Backed

Certificates Litig., No. C 09-01376 SI (N.D. Cal.). On April 22, 2010, the court denied Wells

Fargo’s motion to dismiss, which alleged a company-wide series of reckless lending practices at

Wells Fargo. As the court found:

       Plaintiffs allege that the Offering Documents contained numerous false and
       misleading statements and omissions. First, plaintiffs state that the documents
       misstated Wells Fargo’s underwriting process and loan standards. According to
       plaintiffs, Wells Fargo often extended loans to borrowers who did not meet its
       creditworthiness standards, resulting in a low-quality mortgage pool. Id. at ¶¶70,
       76. Plaintiffs cite statements by several confidential witnesses (“CWs”) who assert
       that Wells Fargo placed “intense pressure” on its loan officers to close loans,
       including by coaching borrowers to provide qualifying income information,
       accepting blatantly implausible or falsified income information, and lowering its
       standards near the end of the calendar year. Id. ¶¶83-88. Plaintiffs allege that the
       third-party loan originators disregarded Wells Fargo’s stated underwriting
       standards “in order to approve as many mortgages as possible.” Id. ¶94.

              . . . One of plaintiff’s CWs states that approximately 70% of the loans he
       signed off on while working as a Wells Fargo underwriter involved mortgages worth
       more than 95% of the home’s value. Id. ¶108.

                                          *       *       *

       Plaintiffs allege, in other words, that the true loan-to-value ratio frequently exceeded
       100% because the homes were actually worth far less than their stated appraisal
       value. Id. ¶100.

               Plaintiffs again support their allegations primarily with statements from
       confidential witnesses. Id. ¶103 (“CW 2 confirmed that, at Wells Fargo Home
       Mortgage, representatives constantly pushed the appraisers they worked with to
       inflate the value of the real estate underlying the mortgage loans”); ¶107 (“CW 1
       remarked that ‘appraisals were very inflated,’ and observed that the retail officers
       ‘always managed to get the value they wanted’”); ¶108 (CW 7, a former Senior
       Underwriter with Wells Fargo Home Mortgage, “estimated that 70% of the loans
       CW7 worked with had an LTV over 95%”). Plaintiffs additionally cite to a 2007
       survey which “found that 90% of appraisers reported that mortgage brokers and
       others pressured them to raise property valuations to enable deals to go through,”

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       and to congressional testimony in which Alan Hummel, Chair of the Appraisal
       Institute, stated that loan appraisers had “experience[d] systemic problems of
       coercion.” Id. ¶104-05. Plaintiffs’ allegations concerning the allegedly improper
       appraisal practices are sufficiently specific to state a claim with respect to the
       securities at issue in this case. In particular, plaintiffs have alleged that Wells
       Fargo’s practices permitted the pervasive and systematic use of inflated appraisals,
       affecting all types of mortgages.

In re Wells Fargo Mortg. Backed Certificates Litig., 712 F. Supp. 2d 958, 962-72 (N.D. Cal. 2010).

Given Wells Fargo’s improper lending practices were “pervasive and systematic,” its representations

and warranties were also pervasively and systematically false. In May 2011, Wells Fargo agreed to

pay $125 million to settle the claims. In yet another lawsuit filed against Wells Fargo in 2009,

entitled Sound Appraisal and Savage Appraisal Services, Inc. v. Wells Fargo Bank, N.A., No. 09-

CV-01630 CW (N.D. Cal. Apr. 14, 2009), it was further confirmed that Wells Fargo engaged in

systematic conduct that rendered its representations and warranties false. A real estate appraiser

sued after being black-balled by Wells Fargo for refusing to engage in appraisal fraud. The lawsuit

confirmed Wells Fargo’s regular practice of pressuring and intimidating appraisers into providing

falsely inflated appraisals that met Wells Fargo’s objectives, but obviously breached its

representations and warranties. Specifically, the complaint in Sound Appraisal alleged:

               As part of its corporate objective to abandon underwriting standards in
       order to maximize market share and profits, Wells Fargo and Rels Valuation have
       together engaged in a practice of pressuring and intimidating appraisers into using
       appraisal techniques that produce appraisals that meet Wells Fargo’s business
       objectives even if the use of such appraisal techniques is improper and in violation
       of industry and regulatory standards. If appraisers fail to “play ball” as Wells Fargo
       demands, Wells Fargo, through Rels Valuation, removes the appraiser from the list
       of approved appraisers, which essentially “blacklists” the appraiser. Once an
       appraiser is blacklisted, Wells Fargo and Rels Valuation will no longer request
       appraisals or accept appraisals from these persons and companies.

Id., ¶7. Finally, in 2011, the Federal Reserve issued a consent cease and desist order against Wells

Fargo and assessed an $85 million penalty against it. According to the Federal Reserve’s press

release, the order addressed allegations that Wells Fargo’s “sales personnel falsified information

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about borrowers’ incomes to make it appear that the borrowers qualified for loans when they would

not have qualified based on their actual incomes.” It was clear that Warrantor Wells Fargo’s normal

business practices rendered the representations and warranties about its mortgage loans uniformly

false.

          101.   With respect to EMC, a Warrantor and loan originator for two of the Covered Trusts,

in 2010 several former EMC employees confirmed that EMC did not comply with its stated

underwriting guidelines, did not evaluate its borrowers’ repayment abilities, and thereby breached its

representations and warranties. According to a May 2010 news article in The Atlantic, former EMC

employee Matt Van Leeuwen, a mortgage analyst at the company from 2004-2006, and another

former EMC employee, each revealed that EMC routinely provided false information about its

loans and told employees to make up loan data. They reported that EMC concocted borrower

FICO scores and provided false information about the loan types (i.e., whether the loans were full

documentation loans or low documentation or other types of loans). The article quoted one former

EMC analyst as stating that employees falsified data because EMC did not “‘want to waste the

resources on deep investigation,’” in its rush to securitize the loans. The Atlantic article further

confirmed that EMC also provided falsified loan data to the credit rating agencies: “After they

prepped the rating agencies for what they ‘thought’ the loans would look like, they would buy loans

in bulk, and then spend a day scrubbing them,” removing negative loan data, thereby misleading the

credit rating agencies and falsifying loan information that they then warranted was true in connection

with EMC’s representations and warranties to RMBS trustees, such as U.S. Bank. More recently, a

former underwriter for Clayton Holdings, Inc. (“Clayton”) and Watterson-Prime was deposed, and

testified under oath in Ambac Assurance Corp. v. EMC Mortgage LLC, et al., No. 650421/2011

(N.Y. Sup. Ct., N.Y. Cnty. Feb. 2, 2011), a breach of representation and warranty case. The former


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employee confirmed systematic breaches by EMC of its representations and warranties. To explain,

Clayton and Watterson-Prime tested loans for EMC to determine whether they complied with the

applicable underwriting guidelines. The former underwriter testified under oath that he/she23 was

required to “approve loans that often did not satisfy the underwriting guidelines,” to ignore

defects in loan applications, to code defective loans as non-defective, and to change many of the

grades on loans that were coded as defective to reflect that they were non-defective. For example,

the former underwriter testified:

              During the due diligence process, Clayton and Watterson-Prime underwriters were
               directed to overlook defects and to grade defective loans as non-defective. These
               instructions came from EMC and were conveyed to underwriters by their
               supervisors.

              Clayton and Watterson-Prime underwriters were directed by EMC not to look for
               fraud in the loan files and to overlook any fraudulent documents.

              Clayton and Watterson-Prime underwriters were directed by EMC to grade loans
               as non-defective, even where the underwriters determined the borrowers’ incomes
               listed on loan applications were unreasonable.

              Clayton and Watterson-Prime performed “1003/1008 underwriting,” a practice
               whereby an underwriter does not verify the information on the borrower’s loan
               application, when reviewing loans for EMC.

              Clayton and Watterson-Prime were instructed by EMC to grade defective loans as
               non-defective by utilizing “compensating factors” that were not supported by the
               data in the loan files.

              Clayton underwriters used the phrase “‘Bear don’t care’” to describe EMC’s attitude
               towards the due diligence underwriting review process (EMC was a division of Bear
               Stearns).24

23
   The former employee’s name was redacted in documents filed with the court, presumably
because his/her testimony is so damaging to EMC.
24
   Moreover, in 2011 and 2012, numerous insurers and trustees of EMC-sponsored RMBS trusts
sued EMC for breach of its representations and warranties concerning the loans within the trusts. All
of these lawsuits consistently alleged that 70% to 90% of the loans breached EMC’s
representations and warranties. One insurer, Ambac Assurance Corp. (“Ambac”), alleged that
EMC’s breaching of its representations and warranties was routine and deliberate – Ambac alleged
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       102.    It has also recently come to light that Bear Stearns and EMC employees referred to

the mortgage loans in their RMBS trusts as “SACK[S] OF SHIT” and “DOG[S],” due to their

extremely poor quality, contradicting EMC’s representations and warranties about the loans. It has

also recently been revealed that EMC employees concealed that they were aware of numerous

breaches of their representations and warranties, and yet still manufactured a way to secretly profit

from it. In many cases, EMC purchased the loans it transferred to RMBS trusts from other loan

originators, including many of the loan originators to the Covered Trusts. When it acquired the

loans, EMC obtained representations and warranties from the loan originators that were very similar

or identical to the ones EMC made to the Covered Trusts when it sold loans to RMBS depositors.

After EMC sold and transferred the loans to the RMBS trusts (and made its own representations and

warranties concerning the loans to RMBS trusts, depositors and trustees), EMC subsequently

discovered breaches of its representations and warranties to the RMBS trusts, depositors and trustees

which were also breaches of the loan originators’ representations and warranties to EMC. EMC

then secretly made breach of representation and warranty claims against the loan originators and

settled with them for millions of dollars, which EMC then pocketed without informing anyone and

without forwarding the settlement money to the RMBS trusts as it was required to do. The

foregoing business practices by EMC confirmed that EMC’s representations and warranties were

systematically false.

       103.    With respect to Warrantor and loan originator WMC, in September 2009, Glen

Pizzolorusso, a former manager for WMC, was interviewed for a National Public Radio broadcast.


that EMC “perpetrated a massive fraud that deceived investors and financial guarantors, such as
Ambac, into believing that the mortgage loans backing [Bear Stearns/EMC’s] securitizations were
originated pursuant to established underwriting guidelines and were therefore of good quality.”
First Amended Complaint, Ambac Assurance Corp., et al. v. EMC Mortgage LLC, et al., No.
651013/2012 (N.Y. Sup. Ct., N.Y. Cnty. Aug. 14, 2012), ¶1.

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Pizzolorusso discussed the horrible loans WMC made to borrowers: “‘We looked at loans, these

people didn’t have a pot to piss in. . . . [T]hey could barely make the car payment, and now we’re

giving them a $300,000 to $400,000 house.” In addition, the U.S. Government’s Federal Housing

Finance Agency (“FHFA”) sued General Electric Company (“GE”), WMC’s parent company, and

others in 2011. See FHFA v. General Electric Company, et al., No. 652439/2011 (N.Y. Sup. Ct.,

N.Y. Cnty. Sept. 2, 2011). The FHFA sued GE for misrepresentations that WMC originated loans

pursuant to its underwriting guidelines. The FHFA alleged that WMC had abandoned its

underwriting guidelines and extended loans to borrowers who could not afford them, which

indicated that WMC’s representations and warranties were false. GE settled with the FHFA for an

undisclosed amount.

       104.    Further proof that U.S. Bank knew of massive breaches by the Warrantors is found in

a lawsuit U.S. Bank filed against WMC and another Warrantor/loan originator. In the lawsuit filed

in 2011, U.S. Bank alleged that WMC and fellow Warrantor/loan originator EquiFirst (EquiFirst was

a Warrantor and/or loan originator for at least two Covered Trusts) routinely breached their loan

representations and warranties. See Complaint, MASTR Asset Backed Securities Trust 2006-HE3 v.

WMC Mortgage Corp., et al., No. 11-CV-02542-PAM-TNV (D. Minn. Sept. 2, 2011). In that

action, U.S. Bank alleged that loans within a RMBS trust acquired from WMC and EquiFirst were

fraudulent, did not comply with the stated underwriting guidelines, and did not determine whether

the borrowers could afford to repay their loans, all in breach of WMC’s and EquiFirst’s

representations and warranties. A sample of 200 loans within the trust were reviewed and it was

found that 150 of those loans breached the Warrantors’ representations and warranties. In other

words, a stunning 75% of the loans breached WMC’s and EquiFirst’s representations and

warranties. Moreover, in 2012, another trustee sued WMC for breach of its representations and


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warranties. See Complaint, Deutsche Bank National Trust Co. v. WMC Mortgage LLC, et al., No.

3:12-cv-00933-CSH (D. Conn. June 25, 2012). In that action, the RMBS trustee commissioned an

expert to review the actual loan files for over 1,400 loans within the trust. The expert found that a

remarkable 99.7% of the reviewed loans breached the representations and warranties WMC had

made, a nearly 100% breach rate. Id., ¶¶7-8. These cases indicated that WMC and EquiFirst

habitually engaged in lending abuses and therefore their representations and warranties were false.

       105.    In December 2010, law professor Kurt Eggert testified before a U.S. Senate

Committee and confirmed the ubiquitous nature of the false representations and warranties.

Professor Eggert cited to JPMorgan’s own analysts who had estimated “‘that put-back risk,’” for

loan warrantors, i.e., loans subject to repurchase demands due to breaches of representations and

warranties, ranged from $60 to $110 billion for RMBS trusts like the Covered Trusts. The sheer

magnitude of the estimates of liability for the breaches made it certain that many of the Mortgage

Loans in the Covered Trusts were similarly affected.

                       f.      By April 13, 2011 U.S. Bank Absolutely Knew that the
                               Warrantors Had Breached Their Representations and
                               Warranties Concerning the Mortgage Loans in the
                               Covered Trusts

       106.    If there was any doubt that the Warrantors had made false representations and

warranties concerning the Mortgage Loans in the Covered Trusts, the FCIC Report and the Senate

Report laid those doubts to rest. On January 27, 2011, the 633-page long FCIC Report was first

made available to the public, and between February 11 and 13, 2011, the FCIC also made public

nearly 2,000 pages of supporting documentary evidence and more than 300 witness interviews. The

FCIC Report was supported by voluminous, detailed evidence, and confirmed most if not all of the

previous news accounts of habitual lending abuses.




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         107.   The FCIC Report confirmed the systemic breakdown in residential loan underwriting

standards during the time period when the Mortgage Loans were originated and transferred to the

Covered Trusts. The FCIC Report described in detail the collapse of prudent lending standards and

the lending abuses that were universal. In addition, for the first time, the FCIC Report disclosed the

pervasive, deliberate and intentional fraud that was occurring with respect to RMBS sales to

investors, along with the loans underlying them. The FCIC Report specifically identified many of

the actual wrongdoers, which included all of the Covered Trusts’ Loan Sellers/Sponsors, and most

of the other Warrantors and loan originators to the Covered Trusts, as being participants in the

fraud.

         108.   The FCIC also reported on the extraordinary numbers of false mortgage loan

representations and warranties it had discovered. The representations and warranties that the FCIC

Report discussed were identical or very similar to those made by the Warrantors to the Covered

Trusts. In that vein, the FCIC first quoted from a report published years earlier discussing what loan

representations and warranties meant and required:

         “Creditors that package and securitize their home equity loans must comply with a
         series of representations and warranties. These include creditors’ representations that
         they have complied with strict underwriting guidelines concerning the borrower’s
         ability to repay the loan.”

FCIC Report at 77. The FCIC found, in light of the pervasive lending abuses that it had discovered

during the period the Mortgage Loans were originated (2005-2007), that “in the years [thereafter],

these representations and warranties would prove to be inaccurate.” Id.

         109.   The FCIC Report supported its findings by citing to evidence of massive loan

representation and warranty breaches by many of the very Warrantors to the Covered Trusts. The

FCIC reported that these Warrantors had breached their representations and warranties concerning

billions of dollars of mortgage loans they sold to U.S. governmental agencies Fannie Mae and

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Freddie Mac. The FCIC Report stated that “during the three years and eight months ending

August 31, 2010, Freddie [Mac] and Fannie [Mae] required sellers to repurchase 167,000 loans

totaling $34.8 billion.” Id. at 224. This included Warrantor Bank of America which faced over $7.3

billion in repurchase claims from Freddie Mac and Fannie Mae due to breaches of its loan

representations and warranties. See id. at 224-25. 25 Given the huge number of false representations

and warranties to Freddie Mac and Fannie Mae, it was clear that this was a regular business practice

of Bank of America. Bank of America warranted Mortgage Loans for at least four Covered Trusts

through itself and its subsidiary Merrill Lynch Mortgage Lending, Inc. In addition, according to the

FCIC Report, Wells Fargo, a Warrantor for at least five Covered Trusts, faced $3.5 billion in

repurchase claims from Freddie Mac and Fannie Mae because of its pervasive representation and

warranty breaches. FCIC Report at 224-25. JPMorgan, which through its related companies, was a

Warrantor for at least seven Covered Trusts, faced $3.3 billion in repurchase claims because of its

pattern and practice of false representations and warranties. Id. The FCIC further revealed that

Countrywide – a Warrantor for at least three Covered Trusts – was facing repurchase claims of $1.9

billion from Freddie Mac due to its systemic breaches. Id. And SunTrust, a Warrantor for two of

the Covered Trusts, was being required by Fannie Mae to repurchase $898 million of its loans

because of its repeated representation and warranty breaches. Id. The Warrantors identified

above by the FCIC had made very similar, if not identical, representations and warranties themselves

(or through their related companies) concerning Mortgage Loans in at least 16 of the 25 Covered


25
    The FCIC Report revealed that Bank of America subsequently reached a settlement with Fannie
Mae and Freddie Mac, paying them more than $2.5 billion. FCIC Report at 225. Furthermore, in
May 2011, the New York Attorney General announced that it was investigating Bank of America for
violating several New York state statutes. The New York Attorney General’s investigation found
that Bank of America had engaged in “repeated false representations in [RMBS] Governing
Agreements that the quality of the mortgages sold into the Trusts would be ensured,” and
“repeatedly breached representations and warranties regarding loan quality.”

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Trusts. The sheer magnitude of the repurchase claims reported by the FCIC indicated that these

Warrantors routinely issued false representations and warranties in the normal course of their

businesses. Indeed, the FCIC Report illustrated the proliferation of false representations and

warranties industry-wide by pointing to the fact that “[a]s of mid-2010, court actions embroiled

almost all major loan originators and underwriters [and] there were more than 400 lawsuits

related to breaches of representations and warranties.” Id. at 225. Given the ubiquity of the false

representations and warranties by these Warrantors, U.S. Bank knew that the Mortgage Loans in the

Covered Trusts were similarly affected and that there were thousands of breaches by such

Warrantors.

       110.    The FCIC also “conclude[d] that there was untrammeled growth in risky

mortgages [and] [u]nsustainable, toxic loans polluted the financial system and fueled the housing

bubble” while government regulators “failed to . . . establish and maintain prudent mortgage

lending standards and to protect against predatory lending.” FCIC Report at 101. The FCIC

Report confirmed that “[l]ending standards collapsed, and there was a significant failure of

accountability and responsibility throughout each level of the lending system.” Id. at 125. In

addition, testimony released in connection with the FCIC Report also confirmed “systemic”

misconduct which led to widespread falsity of loan representations and warranties at the time the

Mortgage Loans were originated and warranted. In testimony given to the FCIC, former Clayton

executive D. Keith Johnson (“Johnson”) testified that he had previously worked at WaMu – one of

the most infamous Warrantors at issue herein – as well as at WaMu’s equally infamous subsidiary,

Long Beach Mortgage Company (“Long Beach”), prior to working for Clayton. When Johnson

moved to Clayton, he was exposed to the lending practices of nearly all lenders in the mortgage loan

industry because Clayton was hired by Wall Street investment banks, including all of the Loan


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Sellers/Sponsors to the Covered Trusts, to sample and test mortgage loans the banks were

purchasing from numerous lenders throughout the nation and then selling and transferring to RMBS

trusts, including the Covered Trusts. WaMu and Long Beach routinely engaged in egregiously

fraudulent lending practices, as documented in the Senate Report discussed infra. Johnson testified

to the FCIC concerning the lending practices he observed both before and after he worked at

WaMu/Long Beach:

       I had a really unique perspective working in an environment that turned out bad
       loans, Long Beach, right? Then I go to Clayton and I’m dealing with the top
       factories in the world. And you know what? They’re just like Long Beach.
       There’s no difference. I mean, this was not a one-off situation; it was systemic.
       And all of them – a lot of them had quality control departments internal, but
       eventually all of those internal quality control departments become compromised.

       111.    The FCIC Report further revealed that, in 2005, federal examiners and agencies

conducted a “confidential . . . study of mortgage practices at six companies that together had

originated . . . almost half the national total” of mortgage loans in 2005. FCIC Report at 172. The

study “‘showed a very rapid increase in the volume of these irresponsible loans, very risky loans,’”

according to Sabeth Siddique, then head of credit risk at the Federal Reserve Board’s Division of

Banking Supervision and Regulation. Id. For “[a] large percentage of the[] loans” reviewed, “the

underwriting standards . . . had deteriorated.” Id. The FCIC Report further revealed that the

lenders involved in the making these “irresponsible, very risky loans” were the very Warrantors and

loan originators to the Covered Trusts – Bank of America, Countrywide, Wells Fargo and WaMu.

Id. These Warrantors and their related companies made representations and warranties about

Mortgage Loans in at least 14 of the 25 Covered Trusts.

       112.    The FCIC Report also confirmed the industry-wide use of falsely inflated appraisals

during the period when the Mortgage Loans were originated, which also resulted in false

representations and warranties. According to the FCIC Report, “[a]s the housing market expanded,

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another problem emerged, in subprime and prime mortgages alike: inflated appraisals.” FCIC

Report at 91. Testimony released with the FCIC Report confirmed the customary use of falsely

inflated appraisals – which were a breach of the Warrantors’ representations and warranties – during

the time the Mortgage Loans were originated. Jim Amorin, the President of the Appraisal Institute,

testified to the FCIC that “[i]n many cases, appraisers are ordered or severely pressured to doctor

their reports and to convey a particular, higher value for a property, or else never see work from

those parties again. . . . [T]oo often state licensed and certified appraisers are forced into making

a ‘Hobson’s Choice.’”

       113.    The FCIC Report confirmed that many of the Warrantors and loan originators to the

Covered Trusts were deeply involved in the lending abuses which resulted in breaches of the

representations and warranties they made about their loans. For example, Countrywide was singled

out by the FCIC for its rampant lending abuses:

               Lenders made loans that they knew borrowers could not afford and that
       could cause massive losses to investors in mortgage securities. As early as
       September 2004, Countrywide executives recognized that many of the loans they
       were originating could result in “catastrophic consequences.” Less than a year
       later, they noted that certain high-risk loans they were making could result not
       only in foreclosures but also in “financial and reputational catastrophe” for the
       firm. But they did not stop.

FCIC Report at xxii.

       114.    According to evidence in the FCIC Report, Countrywide’s loan products were simply

not designed to evaluate borrowers’ repayment abilities. Indeed, one of Countrywide’s loan

products was described as “‘[p]oison’” by the lender’s own co-founder and CEO, Mozilo, who

stated in an April 17, 2006 e-mail: “‘In all my years in the business I have never seen a more toxic

[product]’ . . . .” FCIC Report at 20. According to information contained in the FCIC Report, the

reason Countrywide was willing to offer such products was because its sole focus was “‘originating


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what was salable in the secondary market,’” i.e., to the Loan Sellers/Sponsors of the Covered Trusts,

that then transferred the toxic Mortgage Loans into trusts such as the Covered Trusts. Id. at 105.

       115.    Moreover, former Countrywide employee Eileen Foster (“Foster”) confirmed, in an

interview with the FCIC, that fraud was rampant in connection with Countrywide’s origination of

loans. Foster worked as a mortgage fraud investigator at Countrywide, and confirmed that loans

Countrywide’s fraud investigators or underwriters rejected due to fraud or non-conformance with the

underwriting guidelines were regularly overruled and approved by Countrywide’s sales unit, as “the

rules were bent and broken and twisted regularly and it was . . . an accepted mode of doing

business.”     FCIC Staff Audiotape of Interview with Eileen Foster, Countrywide,

http://fcic.law.stanford.edu/interviews/view/381. Foster further stated that “all of the fraud that may

have been taking place [was] being managed out by the sales units,” or in other words,

“‘concealed.’” Id. She suspected that “there was quite a bit of fraud taking place” in connection

with Countrywide’s loan originations, which her audit manager “confirmed to [her].” Id. According

to the FCIC, Countrywide had tens of thousands of internal company referrals of potentially

fraudulent activity in connection with its mortgage business during the period from 2005-2007, when

the Mortgage Loans were originated. FCIC Report at 162. The FCIC Report established that

Countrywide’s “accepted mode of doing business” resulted in its representations and warranties

being uniformly false.

       116.    Darcy Parmer, a former quality assurance and fraud analyst for Wells Fargo, another

Warrantor to the Covered Trusts at issue herein, reported to the FCIC that she was aware of

“‘hundreds and hundreds and hundreds of fraud cases’” in Wells Fargo’s home equity loan

division. FCIC Report at 162. She also told the FCIC that “‘at least half the loans she flagged for




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fraud were nevertheless funded, over her objections.’” Id. This obviously led to “hundreds and

hundreds and hundreds” of false loan representations and warranties.

        117.    The FCIC Report specifically found that loan originator Chase Bank’s parent

company JPMorgan’s due diligence practices concerning the loans it was securitizing were woefully,

if not intentionally, inadequate. FCIC Report at 168. The FCIC Report stated that “[s]ome mortgage

securitizers did their own due diligence, but seemed to devote only limited resources to it. . . . JP

Morgan . . . had only [a] small due diligence team[],” id., notwithstanding the fact that it was

securitizing millions of loans. This lack of due diligence led to massive numbers of false

representations and warranties.

        118.    The FCIC found that Warrantor/loan originator Fremont had a company policy

whereby any loan that was rejected by a securitizer because it did not comply with Fremont’s

underwriting guidelines (and therefore its representations and warranties) was nonetheless put into a

subsequent pool of Fremont loans and offered for sale to another securitizer. These defective loans

remained in the pools until they were either sold or were rejected by securitizers at least three times.

This practice ensured that loans that did not comply with Fremont’s representations and warranties

were included into RMBS trusts like the Covered Trusts. Johnson, the former President of Clayton,

called this practice the “‘three strikes, you’re out rule.’” FCIC Report at 168. In another instance,

the FCIC reported on the case of a real estate appraiser in Bakersfield, California, that had

discovered multiple instances of lending fraud. When he contacted a quality assurance officer at

Fremont to inform it of the fraudulent activity he was told: “‘Don’t put your nose where it doesn’t

belong.’” Id. at 14-15. This indicated that Fremont intentionally made false representations and

warranties.




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       119.    The FCIC found that Warrantor/loan originator New Century “ignored early warnings

that its own loan quality was deteriorating and stripped power from two risk-control departments that

had noted the evidence.” FCIC Report at 157. The FCIC reported that New Century’s Quality

Assurance staff “had found severe underwriting errors,” while New Century’s Internal Audit

department “identified numerous deficiencies in loan files,” with seven out of nine reviews of the

company’s loan production department resulting in “‘unsatisfactory’” ratings. Id. New Century’s

senior management’s reaction to this information establishing that New Century’s representations

and warranties were false was not what one would expect. Instead of making efforts designed to

bring the company into compliance with its underwriting guidelines and representations and

warranties, New Century’s management directed that the negative results be removed from the

company’s loan performance tracking system, that the Quality Assurance department be dissolved,

and that the Internal Audit department’s budget be cut. Id. In addition, Patricia Lindsay

(“Lindsay”), a former fraud specialist for New Century, told the FCIC that New Century’s definition

of a “good” loan changed over time: “‘The definition of a good loan changed from “one that pays” to

“one that could be sold.”’” Id. at 105. The import of this statement was that New Century was not

following its stated underwriting guidelines (and thus breaching its representations and warranties)

because it knew it could sell the loans to RMBS securitizers regardless. Lindsay also confirmed to

the FCIC that New Century’s appraisers “fear[ed]” for their “livelihoods,” and therefore cherry-

picked data “that would help support the needed value rather than finding the best comparables to

come up with the most accurate value.” Testimony of Patricia Lindsay for the FCIC Hearing (Apr.

7, 2010), http://fcic.law.stanford.edu/hearings/testimony/subprime-lending-and-securitization-and-

enterprises. The FCIC Report confirmed that New Century’s fraudulent business practices

guaranteed that it would also make false representations and warranties.


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       120.    The FCIC Report also revealed for the first time the customary and regular

practice by all of the Loan Sellers/Sponsors to the Covered Trusts and many of the other

Warrantors, to deliberately transfer thousands of mortgage loans that did not comply with the

applicable underwriting guidelines (and therefore breached any representations and warranties

made about them) into RMBS trusts offered and sold to investors. This widespread intentionally

fraudulent practice occurred during the exact same time period when the Mortgage Loans were

originated and transferred to the Covered Trusts. This startling revelation – that the Covered

Trusts’ Warrantors’ regular business practices included deliberately filling RMBS trusts with

breaching loans – was based on Clayton’s “Trending Reports,” which were provided to the FCIC.

As previously alleged, Clayton was hired by virtually every RMBS securitizer – including all of the

Loan Sellers/Sponsors to the Covered Trusts – during 2006 and 2007 to perform due diligence on

mortgage loans that were being securitized and transferred to RMBS trusts. Clayton tested samples

of the loans during the period from January 2006 through June 2007 to determine whether the loans

complied with the applicable underwriting guidelines – guidelines that were designed to evaluate

whether the borrowers could afford to repay the loans – or determine whether the loans were

otherwise defective. Clayton’s Trending Reports revealed that large percentages of the sampled

loans for every Loan Seller/Sponsor to the Covered Trusts did not comply with the applicable

underwriting guidelines or were otherwise defective, i.e., they were in breach of representations and

warranties they made about the loans. Incredibly, even after being informed of the specific

defective loans, the Loan Sellers/Sponsors to the Covered Trusts “waived,” i.e., transferred, the

breaching loans into the RMBS trusts and sold them to investors.                 These same Loan

Sellers/Sponsors also did no further testing of the remaining loans – even though it was logical to

expect they would have the same defect rates as the sampled loans – and bought the loans sight


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unseen and dumped them into the RMBS trusts they were selling to investors. Based on the Clayton

Trending Reports, the FCIC Report specifically identified all of the very Loan Sellers/Sponsors and

many of the other Warrantors to the Covered Trusts and indicated that they deliberately and

intentionally transferred breaching mortgage loans into trusts just like the Covered Trusts. The

following chart summarizes the FCIC’s findings concerning the Covered Trusts’ Loan

Sellers/Sponsors, Warrantors and loan originators and their deliberate inclusion of breaching loans

into RMBS trusts:

    Covered Trust Loan             Percentage of Loans in          Percentage of Loans that
   Seller/Sponsor or Other         Test Samples that Did         Breached Representations and
          Warrantor               Not Comply with Stated             Warranties but Were
                                  Underwriting Guidelines,         “Waived” into the RMBS
                                       i.e., Breached             Trusts and Sold to Investors
                                    Representations and
                                         Warranties
Bank of America                               30%                              27%
Barclays (includes Warrantor/                 27%                              28%
loan originator EquiFirst,
which was purchased by
Barclays in 2007)
Countrywide                                   26%                              12%
Credit Suisse (includes wholly                32%                              33%
owned Loan Seller/Sponsor
DLJ Mortgage Capital, Inc.
and wholly owned loan
originator Lime)
EMC (includes affiliated loan                 14%                              50%
originator Encore)
Lehman                                        26%                              37%
Merrill Lynch (includes wholly                23%                              32%
owned Loan Seller/Sponsor
Merrill Lynch Mortgage
Lending, Inc. and partially
owned loan originator Ownit)
UBS (includes wholly owned                    20%                              33%
Loan Seller/Sponsor UBS Real

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      Covered Trust Loan            Percentage of Loans in          Percentage of Loans that
     Seller/Sponsor or Other        Test Samples that Did         Breached Representations and
            Warrantor              Not Comply with Stated             Warranties but Were
                                   Underwriting Guidelines,         “Waived” into the RMBS
                                        i.e., Breached             Trusts and Sold to Investors
                                     Representations and
                                          Warranties
Estate Securities, Inc.)
WaMu (includes wholly owned                    21%                               32%
subsidiary and Loan
Seller/Sponsor Washington
Mutual Mortgage Securities
Corp.)

         121.   These Loan Sellers/Sponsors and other Warrantors identified by the FCIC made

representations and warranties about Mortgage Loans in one or more of every one of the 25 Covered

Trusts at issue herein. Thus, given the fact the Loan Sellers/Sponsors and other Warrantors had

engaged in this deliberate practice regularly and systematically, it was certain that they had also

transferred breaching Mortgage Loans into the Covered Trusts. Indeed, given the extremely high

Mortgage Loan default rates and losses for the Covered Trusts, there was no doubt. This conclusion

was further made certain by the fact that all the transfers of breaching loans identified by Clayton

occurred during 2006 and 2007 during the same time period when the Mortgage Loans were

transferred the Covered Trusts.

         122.   The FCIC Report, via the Clayton Trending Reports, also specifically identified other

Warrantors and/or loan originators to the Covered Trusts, including Chase Bank (through its parent

company JPMorgan26), New Century, Fremont and Decision One,27 and established that they also


26
    Twenty-seven percent (27%) of JPMorgan’s loans failed to meet the underwriting standards (and
thus breached its representations and warranties) yet 51% of those defective loans were intentionally
transferred into JPMorgan’s RMBS trusts.
27
   Decision One was owned by HSBC, which also used Clayton. According to the Clayton
Trending Reports, 27% of HSBC’s loans did not comply with the underwriting guidelines, and thus
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had transferred mortgage loans that breached their representations and warranties into RMBS trusts

at the same time the Covered Trusts had defective Mortgage Loans transferred to them by these

Warrantors. Finally, the FCIC Report, again through the Clayton Trending Reports, made it clear

that the inclusion of defective, breaching mortgage loans into RMBS trusts was not limited only to

those Warrantors and loan originators specifically identified in the FCIC Report, but rather was

ubiquitous. Clayton’s Trending Reports included information about “All Others” that originated

loans for RMBS trusts, or in other words, those lenders which had not been specifically identified in

Clayton’s reports. Such information showed that all the other unidentified loan originators and

warrantors had also transferred defective loans into RMBS trusts. The FCIC Report therefore

established that false loan representation and warranties were being made by virtually the entire

RMBS industry from January 2006 through June of 2007, the exact same time period the Covered

Trusts had defective Mortgage Loans transferred to them, and the false representations and

warranties affected virtually every RMBS trust created during that time period. Thus, U.S. Bank

unequivocally knew from the FCIC Report that the Warrantors had breached their representations

and warranties concerning the Mortgage Loans in the Covered Trusts, particularly after comparing

the soaring default rates of the Mortgage Loans to historical averages.

       123.    After the FCIC Report was publicly released, the Senate Report was then made public

on April 13, 2011. The Senate Report further confirmed for U.S. Bank that the Warrantors to the

Covered Trusts – particularly WaMu – had uniformly breached their representations and warranties.

The 635-page long Senate Report was supported by thousands of pages of documentary evidence

and the testimony of numerous witnesses subpoenaed by the Senate Subcommittee on Investigations.

The Senate Report not only confirmed the FCIC Report’s findings but also provided extremely

breached HSBC’s representations and warranties, yet HSBC intentionally waived 62% of the
defective loans into its RMBS trusts.

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detailed additional evidence that the Warrantors had breached their representations and warranties.

The Senate Report also provided an inside look at a lending industry run amok during the period the

Mortgage Loans were originated, warranted and transferred to the Covered Trusts. In fact, the

Senate Report provided a “case study” on Covered Trust Warrantor/loan originator WaMu and its

subsidiary Long Beach, exposing a mortgage loan factory that uniformly churned out thousands of

breaching, defective mortgage loans. WaMu, or its subsidiary Washington Mutual Mortgage

Securities Corp., were Warrantors of Mortgage Loans for the five WaMu Covered Trusts.28

       124.    First, the Senate concluded and confirmed that “[l]enders introduced new levels of

risk into the U.S. financial system by selling . . . home loans with . . . poor underwriting” and that

“a host of financial institutions . . . knowingly originated, sold, and securitized billions of dollars

in high risk, poor quality home loans.” Senate Report at 12, 50.

       125.    The Senate Report identified many of these abusive lenders that made loans that

breached their representations and warranties. Not surprisingly, the Senate Report singled out

Covered Trust Warrantors and/or loan originators WaMu (and its subsidiary Long Beach),

Countrywide, IndyMac, New Century and Fremont and reported the following about them:

       The fact is that each of these lenders issued billions of dollars in high risk, poor
       quality home loans. By allowing these lenders, for years, to sell and securitize
       billions of dollars in poor quality, high risk home loans, regulators permitted them
       to contaminate the secondary market and introduce systemic risk throughout the
       U.S. financial system.

Senate Report at 239. These Warrantors had made representations and warranties concerning

Mortgage Loans in at least 11 Covered Trusts.

       126.    The Senate Report also confirmed that Covered Trust Warrantors WaMu (and its

subsidiary Long Beach), New Century and Fremont “were known for issuing poor quality subprime

28
    Washington Mutual Mortgage Securities Corp. served as a warehouse “that held WaMu loans
intended for later securitization.” Senate Report at 118 n.434.

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loans,” but “[d]espite their reputations for poor quality loans, leading investment banks [such as

the Loan Sellers/Sponsors] continued to do business with them and helped them sell or securitize

hundreds of billions of dollars in home mortgages.” Senate Report at 21.

       127.    With respect to WaMu and its subsidiary Long Beach, the Senate Report made it clear

that they were prolific issuers of billions of dollars of defective, breaching Mortgage Loans:

       WaMu and Long Beach engaged in a host of poor lending practices that produced
       billions of dollars in poor quality loans. Those practices included offering high
       risk borrowers large loans; steering borrowers to higher risk loans; accepting loan
       applications without verifying the borrower’s income; using loans with low teaser
       rates to entice borrowers to take out larger loans; promoting negative amortization
       loans which led to many borrowers increasing rather than paying down their debt
       over time; and authorizing loans with multiple layers of risk. WaMu and Long
       Beach also exercised weak oversight over their loan personnel and third party
       mortgage brokers, and tolerated the issuance of loans with fraudulent or erroneous
       borrower information.

                                         *       *      *

       Internal documentation from WaMu shows that senior management at the bank
       was fully aware of Long Beach’s shoddy lending practices, but failed to correct
       them.

Senate Report at 75.

       128.    The Senate Report further concluded that “WaMu and . . . Long Beach . . . used

shoddy lending practices riddled with credit, compliance, and operational deficiencies to make

tens of thousands of high risk home loans that too often contained excessive risk, fraudulent

information, or errors.” Senate Report at 50. The U.S. Senate investigation further found that

“WaMu and Long Beach too often steered borrowers into home loans they could not afford,” id. at

51, and also “securitized not just poor quality loans, but also loans that its own personnel had

flagged as containing fraudulent information. That fraudulent information included, for

example, misrepresentations of the borrower’s income and of the appraised value of the

mortgaged property.” Id. at 125.


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        129.   The Senate Report detailed numerous instances where WaMu and Long Beach

ignored their underwriting guidelines and engaged in outright lending fraud. Senate Report at 48-

160.

        130.   Concerning WaMu, the U.S. Senate’s investigation found:

               WaMu’s combination of high risk loans, shoddy lending practices, and
        weak oversight produced hundreds of billions of dollars of poor quality loans that
        incurred early payment defaults, high rates of delinquency, and fraud.

Senate Report at 49.

        131.   The Senate Report also documented the following concerning WaMu:

        WaMu management knew of evidence of deficient lending practices, as seen in
        internal emails, audit reports, and reviews. Internal reviews of WaMu’s loan
        centers, for example, described “extensive fraud” from employees “willfully”
        circumventing bank policy. An internal review found controls to stop fraudulent
        loans from being sold to investors were “ineffective.” On at least one occasion,
        senior managers knowingly sold delinquency-prone loans to investors. . . .
        WaMu’s President Steve Rotella described WaMu’s prime home loan business as
        the “worst managed business” he had seen in his career.

                                          *       *       *

                From 2004 to 2008, WaMu originated a huge number of poor quality
        mortgages, most of which were then resold to investment banks and other investors
        hungry for mortgage backed securities. . . . WaMu and Long Beach churned out a
        steady stream of high risk, poor quality loans and mortgage backed securities that
        later defaulted at record rates.

Senate Report at 49.

        132.   The U.S. Senate investigation confirmed that on multiple occasions WaMu did not

originate loans pursuant to its stated underwriting guidelines, thereby issuing loans in breach of its

representations and warranties. For example, while “WaMu required its loan personnel to

determine whether a loan applicant’s stated income was reasonable . . . evidence obtained by the

Subcommittee indicates that requirement was not effectively implemented.” Senate Report at 91.




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WaMu’s ignoring of this underwriting guideline led to borrowers obtaining loans with “an

income that was insufficient to support the mortgage amount being requested.” Id. at 92.

       133.    The Senate Report also found that a 2006 WaMu investigation of loans purchased by

WaMu through its subprime conduit uncovered that the loans were “not underwritten to [WaMu’s

underwriting] standards.” Senate Report at 89.

       134.    Numerous former employees are quoted in the Senate Report establishing many

instances of departures from WaMu’s underwriting guidelines. The Senate Report concluded that

“WaMu’s compensation policies,” which rewarded employees for making loans instead of turning

them down, “were rooted in the bank culture that put loan sales ahead of loan quality.” Senate

Report at 143. As a result, employees regularly ignored the lending guidelines and made loans that

breached WaMu’s representations and warranties. As reported to the Senate Subcommittee,

WaMu’s Chief Credit Officer complained to the company’s president that “‘[a]ny attempts to

enforce [a] more disciplined underwriting approach were continuously thwarted by an aggressive,

and often times abusive group of Sales employees within the organization.’” Id.

       135.    The Senate Report made it clear that WaMu and its subsidiaries were infested with

fraudulent loans that breached their representations and warranties. These loans were subsequently

sold and securitized into RMBS trusts like those at issue herein. Senate Report at 125. The U.S.

Senate investigation noted several investigations within WaMu concerning fraudulent loans that

confirmed extensive fraudulent lending by WaMu employees. Yet “when senior management was

informed of loans containing fraudulent information, [they] did little to stop the fraud.” Id. at 95.

The Senate Report cited two investigations occurring in 2005 in Downey and Montebello,

California, where it was found and reported to WaMu management that 58% and 83% of the loans

reviewed from those respective offices had been fraudulently made and that WaMu employees were


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involved in the fraud. Id. at 96-101. The Senate Report found that nothing was done by WaMu’s

management – no one was fired or disciplined. Instead the employees involved in the fraudulent

activity were allowed to continue to make loans and did so with a vengeance – subsequently winning

company awards for high lending volumes. Id.

       136.    The Senate Report noted another investigation of the two California offices occurred

two years later, in 2007, and again high levels of fraudulent loans were found. The Senate Report

noted that this investigation found “[e]xamples of fraudulent loan information uncovered in the

2007 review included falsified income documents, unreasonable income for the stated profession,

false residency claims, inflated appraisal values, failure of the loan to meet [WaMu’s

underwriting] guidelines, suspect social security numbers, misrepresented assets, and falsified

credit information.” Senate Report at 99. WaMu’s loans clearly did not comport with the

representations and warranties it made about them.

       137.    The Senate Report also cited a 2005 internal WaMu investigation of two high volume

loan centers in Southern California that accepted loans from brokers. The investigation found that

“‘78% of the funded retail broker loans reviewed were found to contain fraud.’” Senate Report at

89.

       138.    The Senate Report also noted at least one instance where a WaMu sales associate

confessed that he or she, and other WaMu sales associates, routinely falsified bank documents and

asset statements of borrowers in order to get loans approved. The confessor stated that they did so

because they were under extreme pressure to get loans funded and were instructed to do “‘whatever

it took.’” Senate Report at 101.

       139.    The U.S. Senate investigation uncovered numerous internal communications

repeatedly documenting Long Beach’s engagement in outright lending fraud, which were obvious


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breaches of WaMu’s and Long Beach’s representations and warranties. A sample of those

documents contained the following quotes concerning Long Beach’s misconduct:

              “‘[The review] confirmed fraud on 115 [loan applications] . . . .’”

              “‘[U]nderwriting deficiencies is a repeat finding.’”

              “‘(71%) [of] stated income loans were identified for lack of reasonableness of
               income.’”

              “‘(71%) had credit evaluation or loan decision errors . . . .’”

              “‘(31%) had appraisal discrepancies or issues that raised concerns that the value
               was not supported.’”

              “‘[T]he overall system . . . has deficiencies related to multiple, critical origination
               and underwriting processes . . . .’”

              “‘Underwriting guidelines established to mitigate risk of unsound underwriting
               decisions are not always followed . . . .’”

              “‘[A]ccurate reporting and tracking of exceptions to policy does not exist.’”

Senate Report at 84-85.

       140.    At a hearing before the U.S. Senate Subcommittee former WaMu Chief Risk Officer

Jim Vanasek was asked if it was fair to say that WaMu was not worried about the risk associated

with Long Beach’s loans because it sold those loans and passed the risk of such loans onto investors.

Mr. Vanasek’s answer was “‘Yes, I would say that was a fair characterization.’” Senate Report at

85. This statement confirmed that neither WaMu nor Long Beach were worried about making true

representations and warranties.

       141.    The Senate also reported extensively on WaMu’s/Long Beach’s problems with their

“early payment default,” or “EPD” loans – loans that breached WaMu’s and Long Beach’s

representations and warranties. By early 2005, the Senate Report noted that

       a number of Long Beach loans experienced ‘early payment defaults,’ meaning that
       the borrower failed to make a payment on the loan within three months of the loan
       being sold to investors. That a loan would default so soon after origination

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       typically indicates that there was a problem in the underwriting process. Investors
       who bought EPD loans often demanded that Long Beach repurchase them,
       invoking the representations and warranties clause in the loan sales agreements.

Senate Report at 77.

       142.    WaMu’s and Long Beach’s breaching EPD loans continued throughout 2006 and

2007, the time period when the Mortgage Loans were originated and transferred to the Covered

Trusts. In April 2006, after reviewing Long Beach’s awful lending operations, WaMu executives

exchanged e-mails which warned of major problems: “‘[D]elinquencies are up 140% and

foreclosures close to 70%. . . . First payment defaults are way up and the 2005 vintage is way up

relative to previous years. It is ugly.’” Senate Report at 80.

       143.    The Senate Report further revealed that:

       According to a memorandum later written by an FDIC examination specialist,
       “[d]uring 2006, more than 5,200 [Long Beach] loans were repurchased, totaling
       $875.3 million.” Even though, in January 2006, the bank had ceased executing
       whole loan sales which allowed an automatic repurchase in the event of an EPD,
       46% of the repurchase volume was as a result of EPDs. Further, 43% of the
       repurchase volume resulted from first payment defaults (FPDs) in which the
       borrower missed making the first payment on the loan after it was sold. Another
       10% of the repurchases resulted from violations related to representation and
       warranties (R&W) not included in the EPD or FPD numbers . . . .

Senate Report at 81.

       144.    According to the Senate Report, “R&W [i.e., representation and warranty]

repurchase requests and loss reserves continued to be an issue at Long Beach. The fourth quarter

of 2006 saw another spike in R&W repurchase requests, and in December the required amount of

R&W loss reserves jumped from $18 million to $76 million.” Senate Report at 81. The Senate

Report revealed that 2007 was no better for WaMu and Long Beach as EPD repurchases due to

breaches of Long Beach’s representations and warranties continued to climb. Id. at 82-83. In fact,

in 2007 WaMu was considering how to dispose of $433 million in second lien loans. One

suggestion was to securitize them, which was quickly shot down by a WaMu employee due to
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concerns the defective loans would only lead to massive representation and warranty claims against

WaMu:

        “‘Investors are suffering greater than expected losses from subprime in general as
        well as subprime 2nd lien transactions. As you know, they are challenging our
        underwriting representations and warrant[ie]s.’”

Id. at 83.

        145.   The Senate Report concluded that, as a result of the massive number of loan

“repurchase claims” due to Long Beach’s repeated breaches of its representations and

warranties, the impact of the claims “damaged its parent corporation’s [i.e., WaMu’s] financial

results.” Senate Report at 75.

        146.   Given the foregoing revelations by the Senate Report conclusively establishing that

WaMu and its subsidiaries had an enterprise-wide practice of originating defective and fraudulent

mortgage loans which did not comport with their representations and warranties, U.S. Bank

discovered, no later than April 13, 2011, that WaMu and its subsidiaries had breached their

representations and warranties concerning Mortgage Loans in the five WaMu Covered Trusts,

wherein WaMu or its subsidiary Washington Mutual Mortgage Securities Corp. were Warrantors.

The five WaMu Covered Trusts were WMALT 2006-AR4, WAMU 2006-AR13, WAMU 2006-

AR17, WAMU 2006-AR19 and WAMU 2007-OA2.

        147.   By April 13, 2011, based on the tsunami of corroborating information that had

become available, particularly the FCIC and Senate Reports and the volumes of evidence they

disclosed, U.S. Bank absolutely “discovered” and had “actual knowledge,” as those terms are used in

the Governing Agreements, that there were pervasive breaches of the Warrantors’ representations

and warranties concerning thousands of Mortgage Loans in the Covered Trusts. Indeed, once U.S.

Bank became aware of the FCIC and Senate Reports, there was no doubt that it knew the Warrantors

were in breach. This is so because the FCIC and Senate Reports identified the very same
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Warrantors that originated, sold and warranted the Mortgage Loans to the Covered Trusts as the

main participants in the wholesale abandonment of loan origination guidelines, and systematic

fraudulent lending and falsification of real estate appraisals, LTV ratios, DTI ratios, FICO

scores, owner occupancy data, borrowers’ incomes, assets and debts, and other loan data. These

Warrantors’ customary business practices as set forth in the FCIC and Senate Reports established

that they made millions of representations and warranties concerning mortgage loans that were

deliberately false, and were the main players in the intentional transfer and deliberate

concealment of such defective mortgage loans into thousands of RMBS trusts, including the

Covered Trusts.

       148.    Further confirming the industry-wide nature of false representations and warranties in

general, and the Warrantors’ business models in particular, a settlement was announced just a few

months after the Senate Report was released. In a graphic illustration of two Warrantors’ routine

issuances of uniformly false and deceptive representations and warranties, Bank of America agreed

to settle claims in June 2011 that it and another Covered Trust Warrantor – Countrywide – had

breached representations and warranties they made about tens of thousands of mortgage loans. Bank

of America agreed to pay a stunning $8.5 billion to settle breach of representation and warranty

claims for a staggering 530 different RMBS trusts. This was further confirmation that these

Warrantors to the Covered Trusts issued blanket false representations and warranties, which included

the Mortgage Loans in the Covered Trusts.

       149.    Moreover, in October 2013, a federal jury in Manhattan found Bank of America and

former Countrywide executive Rebecca Mairone guilty of civil fraud for making fraudulent

representations and warranties about Countrywide loans sold to government sponsored enterprises

Fannie Mae and Freddie Mac. The U.S. Attorney’s complaint alleged, among other things, that


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Countrywide and Mairone “knew that numerous representations about the loans were false at the

time of sale, including that the loan[s] complied with all applicable guidelines.” See Second

Amended Complaint of the United States of America, United States v. Countrywide Financial Corp.,

et al., No. 1:12cv01422-JSR (S.D.N.Y. Sept. 6, 2013), ¶106. The complaint further alleged that

Countrywide’s refusal to repurchase loans that breached its representations and warranties “saddled

Fannie Mae with approximately $14 billion in outstanding repurchase requests.” Id., ¶138. The

government is seeking $2.1 billion in penalties in this case. These subsequent events were additional

corroboration that Warrantors Bank of America and Countrywide had breached their representations

and warranties regarding the Mortgage Loans in the Covered Trusts.

       150.    There was also additional corroboration for JPMorgan Warrantors EMC’s and

WaMu’s uniformly false representations and warranties. First, in November 2013, JPMorgan

announced a $13 billion settlement with various governmental agencies in which it acknowledged

that its employees made misrepresentations about JPMorgan’s and EMC’s loans. Second, also in

November 2013, JPMorgan offered to pay $4.5 billion to settle representation and warranty claims

as to thousands of mortgage loans in 330 different RMBS trusts, demonstrating the pervasiveness

of their false representations and warranties. (As of this time, the settlement has not been accepted

by all RMBS trustees, nor has it been approved by a court. Two of the Covered Trusts – the BSABS

2006-AC2 and the BSABS 2006-AC5 Covered Trusts – are among the 330 RMBS trusts at issue.)

Then, in February 2014, JPMorgan entered into a consent judgment with the United States agreeing

to pay $614 million for making false representations concerning the quality of loans to the U.S.

Department of Housing and Urban Development and Veterans Administration. One month later, in

March 2014, JPMorgan agreed to pay insurer Syncora Guarantee Inc. $400 million to settle several

lawsuits alleging breaches of representations and warranties as to thousands of loans by EMC.


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These subsequent events were just additional proof that the JPMorgan Warrantors such as EMC and

WaMu made false representations and warranties about the Mortgage Loans in the Covered Trusts.

       151.    Further supporting the fact that thousands of the Mortgage Loans breached the

Warrantors’ representations and warranties is that at or about the time the Senate Report was

released in April 2011, the Mortgage Loans in the Covered Trusts had continued to default at

historically unprecedented rates, and in fact the defaults were accelerating in most cases, as were the

Covered Trusts’ losses, due to the numerous, defective, breaching Mortgage Loans in them. For

example, all of the Covered Trusts now had double-digit default rates, with 24 of the 25 Covered

Trusts having default rates in excess of 30%. The majority of Covered Trusts had default rates in

excess of 40%, and several had default rates in excess of 50%. It should be noted that the foregoing

default rates actually understate the actual default rates for all of the Mortgage Loans that were

originally within the Covered Trusts. To explain, the foregoing default rates are derived from the

monthly trustee reports which disclose the default rates for only those Mortgage Loans still

remaining within the Covered Trusts. In other words, these default rates do not include all those

Mortgage Loans that were originally within the Covered Trusts which had been in default and

were already liquidated and therefore removed from the Covered Trusts at the time the specific

trustee report was issued. Thus, the aggregate default rates for all of the Mortgage Loans that were

in the Covered Trusts at the time they were formed is actually much, much higher.

       152.    Moreover, the Covered Trusts’ losses had mushroomed from approximately $930

million in January 2009 (see supra ¶91) , to over $4.1 billion by April 2011, due to all the defective,

breaching Mortgage Loans that were within the Covered Trusts that U.S. Bank failed to compel the

Warrantors to replace. U.S. Bank was aware of this information that further corroborated that the

Warrantors had breached their representations and warranties concerning thousands of Mortgage


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Loans. The default rates and losses were unprecedented and clearly informed U.S. Bank that many

of the Mortgage Loans were defective. The chart below sets forth the Covered Trusts’ Mortgage

Loan default rates and cumulative realized losses as reported in April 2011, further supporting the

conclusion that the Warrantors made numerous false representations and warranties about the

Mortgage Loans:

                 Covered Trusts’ Mortgage Loan Default Rates and
                 Cumulative Realized Losses Reported in April 2011
      Covered Trust               Mortgage Loan                   Cumulative
                                   Default Rates                Realized Losses
BAFC 2007-C                           17.6%                     $ 88,753,297
BNCMT 2007-2                          51.3%                     $ 200,523,780
BSABS 2006-AC2                        36.7%                     $ 57,639,233
BSABS 2006-AC5                        48.0%                     $ 32,160,968
GPMF 2007-AR1                         41.5%                     $ 328,845,114
GPMF 2007-AR2                         39.4%                     $ 270,467,604
GPMF 2007-AR3                         42.4%                     $ 85,670,716
HEAT 2006-5                           45.3%                     $ 209,407,660
HEAT 2006-6                           45.6%                     $ 228,285,871
LXS 2006-1ON                          36.9%                     $ 213,910,430
LXS 2006-15                           41.0%                     $ 145,713,977
LXS 2007-7N                           44.4%                     $ 281,480,155
MABS 2006-HE2                         52.0%                     $ 157,132,516
MLMI 2006-WMC2                        64.7%                     $ 312,486,031
SARM 2006-9                           30.1%                     $ 45,521,465
SASC 2006-NC1                         40.9%                     $ 255,600,526
SASC 2006-WF2                         35.9%                     $ 202,351,512
SASC 2006-WF3                         37.7%                     $ 208,795,531
SASC 2007-EQ1                         37.9%                     $ 138,032,396
SASC 2007-WF1                         39.2%                     $ 151,840,165
WMALT 2006-AR4                        58.4%                     $ 154,748,044
WAMU 2006-AR13                        37.7%                     $ 106,471,256
WAMU 2006-AR17                        40.4%                     $ 80,758,771
WAMU 2006-AR19                        36.5%                     $ 105,689,042
WAMU 2007-OA2                         43.6%                     $ 92,814,075
                  Covered Trusts’ Total Realized Losses:        $4,155,100,135




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                       g.     Information Available to U.S. Bank Concerning the
                              Mortgage Loans Within the Covered Trusts Confirmed
                              that There Were Breaches of the Warrantors’
                              Representations and Warranties

       153.    Plaintiff has obtained information concerning several of the Mortgage Loans within

the Covered Trusts from bankruptcy filings by the borrowers of such Mortgage Loans. This same

information was available to U.S. Bank and in fact U.S. Bank was aware of it since it made

appearances in or monitored bankruptcies by the Mortgage Loans’ borrowers. This information, as

set forth below, shows that the Warrantors’ representations and warranties were untrue and that the

Warrantors were in breach thereof. Below, plaintiff provides one example of a Mortgage Loan for

each Covered Trust. Each example illustrates how the information about the Mortgage Loans the

Warrantors provided and warranted as true was instead false; how the loan origination underwriting

guidelines that the Warrantors represented were followed were instead ignored; and how, contrary to

the Warrantors’ representations that the Mortgage Loans did not violate predatory lending or

mortgage fraud laws, in fact they violated those laws. They also illustrate that U.S. Bank knew of

the Warrantors’ breaches because, given that the borrowers in each of the following examples went

bankrupt, and U.S. Bank presumably filed a claim or relief from stay on behalf of the affected

Covered Trusts in those bankruptcies or monitored them. U.S. Bank learned the following

information and therefore knew of widespread breaches by the Warrantors. The following Mortgage

Loan examples are not isolated incidents or aberrations. Rather, they are representative examples of

many of the Mortgage Loans within the Covered Trusts.

                              (1)     BAFC 2007-C Covered Trust

       154.    A borrower obtained a Mortgage Loan for $492,000 in 2007 which was contained

within the BAFC 2007-C Covered Trust. The borrower had income of $6,570 per month in 2007

according to the borrower’s sworn bankruptcy filings. However, the borrower’s monthly debt

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payments were at least $10,025, far in excess of the borrower’s monthly income. The borrower’s

monthly debt payments were in addition to the borrower’s monthly expenses for things such as

taxes, utilities, groceries, health care, transportation, and the like. Clearly, this borrower could not

afford to repay this Mortgage Loan, and the Mortgage Loan was not originated under any lenders’

underwriting guidelines for such a loan, contrary to the Warrantors’ representations and warranties.

The foregoing also appears to show that the Mortgage Loan was made in violation of predatory

lending laws since the borrower clearly could not afford the Mortgage Loan. In addition, the

apparent misrepresentation of the borrower’s income and/or debts that occurred to “qualify” the

borrower for the Mortgage Loan in the first place appears to also violate mortgage fraud laws, and

contradicts the Warrantors’ representations that the Mortgage Loan data they provided was true and

correct. The fact that the foregoing breaches of the Warrantors’ representations and warranties

occurred is corroborated by the fact that the borrower declared bankruptcy shortly after obtaining the

Mortgage Loan at issue, in 2008.

                               (2)     BNCMT 2007-2 Covered Trust

       155.    A borrower obtained a Mortgage Loan for $307,954 in 2007 which was contained

within the BNCMT 2007-2 Covered Trust. The borrower had income of $458 per month and other

income of $66 per month in 2007 according to the borrower’s sworn bankruptcy filings.

Accordingly, the borrower had a total of $524 per month to pay her debts and expenses. However,

the borrower’s monthly debt payments were at least $2,823, far in excess of the borrower’s

monthly income. The borrower’s monthly debt payments were in addition to the borrower’s

monthly expenses for things such as taxes, utilities, groceries, health care, transportation, and the

like. Clearly, this borrower could not afford to repay this Mortgage Loan, and the Mortgage Loan

was obviously not originated under any lenders’ underwriting guidelines for such a loan, contrary to

the Warrantors’ representations and warranties. The foregoing also appears to show that the
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Mortgage Loan was made in violation of predatory lending laws since the borrower clearly could not

afford the Mortgage Loan. In addition, the apparent misrepresentation of the borrower’s income

and/or debts that must have occurred to “qualify” the borrower for the Mortgage Loan appears to

violate mortgage fraud laws, and contradicts the Warrantors’ representations that the Mortgage Loan

data they provided was true and correct. The fact that the foregoing breaches of the Warrantors’

representations and warranties occurred is corroborated by the fact that the borrower declared

bankruptcy shortly after obtaining the Mortgage Loan at issue, in 2008.

                               (3)     BSABS 2006-AC2 Covered Trust

       156.    A borrower obtained a Mortgage Loan for $760,000 in 2006 which was contained

within the BSABS 2006-AC2 Covered Trust. The borrower had income of $5,167 per month in

2005 and 2006 according to the borrower’s sworn bankruptcy filings. However, the borrower’s

monthly debt payments were at least $7,544, far in excess of the borrower’s monthly income. The

borrower’s monthly debt payments were in addition to the borrower’s monthly expenses for things

such as taxes, utilities, groceries, health care, transportation, and the like. Clearly, this borrower

could not afford to repay this Mortgage Loan, and such a loan was not originated under any lenders’

underwriting guidelines for such a loan, contrary to the Warrantors’ representations. The foregoing

also appears to show that the Mortgage Loan was made in violation of predatory lending laws since

the borrower clearly could not afford the Mortgage Loan.                In addition, the apparent

misrepresentation of the borrower’s income and/or debts that must have occurred to “qualify” the

borrower for the Mortgage Loan in the first place appears to be a violation of mortgage fraud laws,

and contradicts the Warrantors’ representations that the Mortgage Loan data they provided was true

and correct. The fact that the foregoing breaches of the Warrantors’ representations and warranties

occurred is corroborated by the fact that the borrower declared bankruptcy shortly after obtaining the

Mortgage Loan at issue, in 2006.
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                               (4)      BSABS 2006-AC5 Covered Trust

       157.    Borrowers obtained a Mortgage Loan for $369,600 in 2006 which was contained

within the BSABS 2006-AC5 Covered Trust. The borrowers had joint income of $3,550 per month

in 2006 according to the borrowers’ sworn bankruptcy filings. However, the borrowers’ monthly

debt payments were at least $6,819, far in excess of the borrowers’ monthly income. The

borrowers’ monthly debt payments were in addition to the borrowers’ monthly expenses for things

such as taxes, utilities, groceries, health care, transportation, and the like. Clearly, the borrowers

could not afford to repay this Mortgage Loan, and the Mortgage Loan was not originated pursuant to

any lenders’ underwriting guidelines for such a loan, contrary to the Warrantors’ representations.

The foregoing also appears to show that the Mortgage Loan was made in violation of predatory

lending laws since the borrowers clearly could not afford the Mortgage Loan. In addition, the

apparent misrepresentation of the borrowers’ income and/or debts that must have occurred to

“qualify” these borrowers for the Mortgage Loan in the first place appear to violate mortgage fraud

laws, and contradicts that the Warrantors’ representations that the Mortgage Loan data they provided

was true and correct. The fact that the foregoing breaches of the Warrantors’ representations and

warranties occurred is corroborated by the fact that the borrowers declared bankruptcy shortly after

obtaining the loan at issue, in 2008.

                               (5)      GPMF 2007-AR1 Covered Trust

       158.    A borrower obtained a Mortgage Loan for $565,900 in 2006 which was contained

within the GPMF 2007-AR1 Covered Trust. The borrower had income of $3,187 per month in 2006

according to the borrower’s sworn bankruptcy filings. However, the borrower’s monthly debt

payments were at least $5,072, far in excess of the borrower’s monthly income. The borrower’s

monthly debt payments were in addition to the borrower’s monthly expenses for things such as

taxes, utilities, groceries, health care, transportation, and the like. Clearly, this borrower could not
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afford to repay this Mortgage Loan, and the Mortgage Loan was not originated pursuant to any

lenders’ underwriting guidelines for such a loan, contrary to the Warrantors’ representations. The

foregoing also appears to show that the Mortgage Loan was made in violation of predatory lending

laws since the borrower clearly could not afford the Mortgage Loan. In addition, the apparent

misrepresentation of the borrower’s income and/or debts that must have occurred to “qualify” the

borrower for the Mortgage Loan in the first place appears to violate mortgage fraud laws, and

contradicts the Warrantors’ representations that the Mortgage Loan data they provided was true and

correct. The fact that the foregoing breaches of the Warrantors’ representations and warranties

occurred is corroborated by the fact that the borrower declared bankruptcy shortly after obtaining the

Mortgage Loan at issue, in 2007.

                               (6)     GPMF 2007-AR2 Covered Trust

       159.    A borrower obtained a Mortgage Loan for $308,000 in 2007 which was contained

within the GPMF 2007-AR2 Covered Trust. The borrower had income of $0 per month and rental

income of $3,000 per month in 2007 according to the borrower’s sworn bankruptcy filings.

Accordingly, the borrower had a total of $3,000 per month to pay his debts and expenses. However,

the borrower’s monthly debt payments were at least $25,577, far in excess of the borrower’s

monthly income. The borrower’s monthly debt payments were in addition to the borrower’s

monthly expenses for things such as taxes, utilities, groceries, health care, transportation, and the

like. Clearly, this borrower could not afford to repay this Mortgage Loan, and the Mortgage Loan

was not originated pursuant to any lenders’ underwriting guidelines for such a loan, contrary to the

Warrantors’ representations. The foregoing also appears to show that the Mortgage Loan was made

in violation of predatory lending laws since the borrower could not afford the Mortgage Loan. In

addition, the apparent misrepresentation of the borrower’s income and/or debts that must have

occurred to “qualify” the borrower for the Mortgage Loan in the first place appears to violate
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mortgage fraud laws, and contradicts that the Warrantors’ representations that the Mortgage Loan

data they provided was true and correct. The fact that the foregoing breaches of the Warrantors’

representations and warranties occurred is corroborated by the fact that the borrower declared

bankruptcy shortly after obtaining the Mortgage Loan at issue, in 2008.

                                (7)     GPMF 2007-AR3 Covered Trust

        160.    Borrowers obtained a Mortgage Loan for $228,800 in 2007 which was contained

within the GPMF 2007-AR3 Covered Trust. The borrowers had joint income of $12,239 per month

in 2007 according to the borrowers’ sworn bankruptcy filings. However, the borrowers’ monthly

debt payments were at least $24,053, far in excess of the borrowers’ monthly income. The

borrowers’ monthly debt payments were in addition to the borrowers’ monthly expenses for things

such as taxes, utilities, groceries, health care, transportation, and the like. Clearly, these borrowers

could not afford to repay this Mortgage Loan, and the Mortgage Loan was not originated pursuant to

any lenders’ underwriting guidelines for such a loan, contrary to the Warrantors’ representations.

The foregoing also appears to show that the Mortgage Loan was made in violation of predatory

lending laws since the borrowers clearly could not afford the Mortgage Loan. In addition, the

apparent misrepresentation of the borrowers’ income and/or debts that must have occurred to

“qualify” the borrowers for the Mortgage Loan in the first place appears to violate the mortgage

fraud laws, and contradicts the Warrantors’ representations that the Mortgage Loan data they

supplied was true and correct.        The fact that the foregoing breaches of the Warrantors’

representations and warranties occurred is corroborated by the fact that the borrowers declared

bankruptcy shortly after obtaining the Mortgage Loan at issue, in 2008.

                                (8)     HEAT 2006-5 Covered Trust

        161.    A borrower obtained a loan for $415,200 in 2006 which was contained within the

HEAT 2006-5 Covered Trust. The borrower had income as an independent contractor of $4,000 per
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month in 2006 according to the borrower’s sworn bankruptcy filings. However, the borrower’s

monthly debt payments were at least $5,658, far in excess of the borrower’s monthly income. The

borrower’s monthly debt payments were in addition to the borrower’s monthly expenses for things

such as taxes, utilities, groceries, health care, transportation, and the like. Clearly, this borrower

could not afford to repay this Mortgage Loan, and the Mortgage Loan was not originated pursuant to

any lenders’ underwriting guidelines for such a loan, contrary to the Warrantors’ representations.

The foregoing also appears to show that the Mortgage Loan was made in violation of predatory

lending laws since the borrower clearly could not afford the Mortgage Loan. In addition, the

apparent misrepresentation of the borrower’s income and/or debts that must have occurred to

“qualify” the borrower for the Mortgage Loan in the first place appears to violate mortgage fraud

laws, and contradicts the Warrantors’ representations that the Mortgage Loan data they provided was

true and correct. The fact that the foregoing breaches of the Warrantors’ representations and

warranties occurred is corroborated by the fact that the borrower declared bankruptcy shortly after

obtaining the Mortgage Loan at issue, in 2007.

                               (9)     HEAT 2006-6 Covered Trust

       162.    A borrower obtained a Mortgage Loan for $401,400 in 2006 which was contained

within the HEAT 2006-6 Covered Trust. The borrower had income of $2,615 per month in 2006

according to the borrower’s sworn bankruptcy filings. However, the borrower’s monthly debt

payments were at least $6,852, far in excess of the borrower’s monthly income. The borrower’s

monthly debt payments were in addition to the borrower’s monthly expenses for things such as

taxes, utilities, groceries, health care, transportation, and the like. Clearly, this borrower could not

afford to repay this Mortgage Loan, and the Mortgage Loan was not originated pursuant to any

lenders’ underwriting guidelines for such a loan, contrary to the Warrantors’ representations. The

foregoing also appears to show that the Mortgage Loan was an illegal predatory loan in violation of
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law since the borrower clearly could not afford it. In addition, the apparent misrepresentation of the

borrower’s income and/or debts that must have occurred to “qualify” the borrower for the Mortgage

Loan in the first place appears to violate mortgage fraud laws, and contradicts the Warrantors’

representations that the Mortgage Loan data they provided was true and correct. The fact that the

foregoing breaches of the Warrantors’ representations and warranties occurred is corroborated by the

fact that the borrower declared bankruptcy shortly after obtaining the Mortgage Loan at issue, in

2006.

                               (10)    LXS 2006-10N Covered Trust

        163.   A borrower obtained a Mortgage Loan for $207,875 in 2006 which was contained

within the LXS 2006-10N Covered Trust. The borrower had joint employment income with his wife

of $1,613 per month for 2005 and individual income of $3,275 per month for 2006 according to the

borrower’s and his wife’s sworn bankruptcy filings. Accordingly, the borrower had a total of $1,613

to $3,275 per month to pay his debts and expenses. However, the borrower’s monthly debt

payments were at least $4,297, far in excess of the borrower’s monthly income. The borrower’s

monthly debt payments were in addition to the borrower’s monthly expenses for things such as

taxes, utilities, groceries, health care, transportation, and the like. Clearly, this borrower could not

afford to repay this Mortgage Loan, and the Mortgage Loan was not originated pursuant to any

lenders’ underwriting guidelines for such a loan, contrary to the Warrantors’ representations. The

foregoing also appears to show that the Mortgage Loan was an illegal predatory loan since the

borrower clearly could not afford it. In addition, the apparent misrepresentation of the borrower’s

income and/or debts that must have occurred to “qualify” the borrower for the Mortgage Loan in the

first place appears to violate mortgage fraud laws, and contradicts the Warrantors’ representations

that the Mortgage Loan data they provided was true and correct. The fact that the foregoing

breaches of the Warrantors’ representations and warranties occurred is corroborated by the fact that
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the borrower and his wife declared bankruptcy shortly after obtaining the Mortgage Loan at issue, in

2007.

                               (11)    LXS 2006-15 Covered Trust

        164.   A borrower obtained a Mortgage Loan for $768,000 in 2006 which was contained

within the LXS 2006-15 Trust. The borrower had income of $2,910 per month from employment

2006 according to the borrower’s sworn bankruptcy filings. However, the borrower’s monthly debt

payments were at least $9,317, far in excess of the borrower’s monthly income. The borrower’s

monthly debt payments were in addition to the borrower’s monthly expenses for things such as

taxes, utilities, groceries, health care, transportation, and the like. Clearly, this borrower could not

afford to repay this Mortgage Loan, and the Mortgage Loan was not originated pursuant to any

lenders’ underwriting guidelines for such a loan, contrary to the Warrantors’ representations. The

foregoing also appears to show that the Mortgage Loan was an illegal predatory loan since the

borrower obviously could not afford it. In addition, the apparent misrepresentation of the borrower’s

income and/or debts that must have occurred to “qualify” the borrower for the Mortgage Loan in the

first place appears to violate the mortgage fraud laws, and contradicts the Warrantors’

representations that the Mortgage Loan data they provided was true and correct. The fact that the

foregoing breaches of the Warrantors’ representations and warranties occurred is corroborated by the

fact that the borrower declared bankruptcy shortly after obtaining the Mortgage Loan at issue, in

2007.

                               (12)    LXS 2007-7N Covered Trust

        165.   Borrowers obtained a Mortgage Loan for $576,000 in 2007 which was contained

within the LXS 2007-7N Covered Trust. The borrowers had joint year-to-date income of $870 per

month and other year-to-date income of $2,732 per month in 2007 according to the borrowers’

sworn bankruptcy filings. Accordingly, the borrowers had a total of $3,602 per month to pay their
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debts and expenses. However, the borrowers’ monthly debt payments were at least $5,746, far in

excess of the borrowers’ monthly income. The borrowers’ monthly debt payments were in addition

to the borrowers’ monthly expenses for things such as taxes, utilities, groceries, health care,

transportation, and the like. Clearly, these borrowers could not afford to repay this Mortgage Loan,

and the Mortgage Loan was not originated pursuant to any lenders’ underwriting guidelines for such

a loan, contrary to the Warrantors’ representations. The foregoing also appears to show that the

Mortgage Loan was an illegal predatory loan because the borrowers obviously could not afford it. In

addition, the apparent misrepresentation of the borrowers’ income and/or debts that must have

occurred to “qualify” the borrowers for the Mortgage Loan in the first place appears to violate

mortgage fraud laws, and contradicts the Warrantors’ representations that the Mortgage Loan data

they provided was true and correct. The fact that the foregoing breaches of the Warrantors’

representations and warranties occurred is corroborated by the fact that the borrowers declared

bankruptcy shortly after obtaining the Mortgage Loan at issue, in 2007.

                               (13)    MABS 2006-HE2 Covered Trust

       166.    A borrower obtained a Mortgage Loan for $572,000 in 2006 which was contained

within the MABS 2006-HE2 Covered Trust. The borrower had income of $0-$583 per month and

other income of $0-$83 per month in 2006 according to the borrower’s sworn bankruptcy filings.

Accordingly, the borrower had a total of $0-$666 per month to pay her debts and expenses.

However, the borrower’s monthly debt payments were at least $7,147, far in excess of the

borrower’s monthly income. The borrower’s monthly debt payments were in addition to the

borrower’s monthly expenses for things such as taxes, utilities, groceries, health care, transportation,

and the like. Clearly, this borrower could not afford to repay this Mortgage Loan, and the Mortgage

Loan was not originated pursuant to any lenders’ underwriting guidelines for such a loan, contrary to

the Warrantors’ representations. The foregoing also appears to show that the Mortgage Loan was an
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illegal predatory loan since the borrower obviously could not afford it. In addition, the apparent

misrepresentation of the borrower’s income and/or debts that must have occurred to “qualify” the

borrower for the Mortgage Loan in the first place appears to violate mortgage fraud laws, and

contradicts the Warrantors’ representations that the Mortgage Loan data they provided was true and

correct. The fact that the foregoing breaches of the Warrantors’ representations and warranties

occurred is corroborated by the fact that the borrower declared bankruptcy shortly after obtaining the

Mortgage Loan at issue, in 2007.

                               (14)    MLMI 2006-WMC2 Covered Trust

       167.    A borrower obtained a Mortgage Loan for $352,000 in 2006 which was contained

within the MLMI 2006-WMC2 Covered Trust. The borrower had income of $0 per month and

other income of $350 per month in 2006 according to the borrower’s sworn bankruptcy filings.

Accordingly, the borrower had a total of $350 per month to pay her debts and expenses. However,

the borrower’s monthly debt payments were at least $3,751, far in excess of the borrower’s

monthly income. The borrower’s monthly debt payments were in addition to the borrower’s

monthly expenses for things such as taxes, utilities, groceries, health care, transportation, and the

like. Clearly, this borrower could not afford to repay this Mortgage Loan, and the Mortgage Loan

was not originated pursuant to any lenders’ underwriting guidelines for such a loan, contrary to the

Warrantors’ representations. The foregoing also appears to show that the Mortgage Loan was an

illegal predatory loan since the borrower obviously could not afford it. In addition, the apparent

misrepresentation of the borrower’s income and/or debts that must have occurred to “qualify” the

borrower for the Mortgage Loan in the first place appears to violate mortgage fraud laws, and

contradicts the Warrantors’ representations that the Mortgage Loan data they provided was true and

correct. The fact that the foregoing breaches of the Warrantors’ representations and warranties


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occurred is corroborated by the fact that the borrower declared bankruptcy shortly after obtaining the

loan at issue, in 2006.

                               (15)    SARM 2006-9 Covered Trust

       168.    A borrower obtained a Mortgage Loan for $650,000 in 2006 which was contained

within the SARM 2006-9 Covered Trust. The borrower had income of $0 per month and rental

income of $6,830 per month in 2006 according to the borrower’s sworn bankruptcy filings.

Accordingly, the borrower had a total of $6,830 per month to pay his debts and expenses. However,

the borrower’s monthly debt payments were at least $29,998.07, far in excess of the borrower’s

monthly income. The borrower’s monthly debt payments were in addition to the borrower’s

monthly expenses for things such as taxes, utilities, groceries, health care, transportation, and the

like. Clearly, this borrower could not afford to repay this Mortgage Loan, and the Mortgage Loan

was not originated pursuant to any lenders’ underwriting guidelines for such a loan, contrary to the

Warrantors’ representations. The foregoing also appears to show that the Mortgage Loan was an

illegal predatory loan since the borrower obviously could not afford it. In addition, the apparent

misrepresentation of the borrower’s income and/or debts that must have occurred to “qualify” the

borrower for the Mortgage Loan in the first place appears to violate mortgage fraud laws, and

contradicts the Warrantors’ representations that the Mortgage Loan data they provided was true and

correct. The fact that the foregoing breaches of the Warrantors’ representations and warranties

occurred is corroborated by the fact that the borrower declared bankruptcy shortly after obtaining the

loan at issue, in 2008.

                               (16)    SASC 2006-NC1 Covered Trust

       169.    A borrower obtained a Mortgage Loan for $664,000 at the very end of 2005 or the

beginning of 2006 which was contained within the SASC 2006-NC1 Covered Trust. The borrower

had income of $8,083 per month for 2005 and $0 through October of 2006 according to the
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borrower’s sworn bankruptcy filings. Accordingly, the borrower had a total of $0-$8,083 per month

to pay her debts and expenses. However, the borrower’s monthly debt payments were at least

$10,659, far in excess of the borrower’s monthly income. The borrower’s monthly debt payments

were in addition to the borrower’s monthly expenses for things such as taxes, utilities, groceries,

health care, transportation, and the like. Clearly, this borrower could not afford to repay this

Mortgage Loan, and the Mortgage Loan was not originated pursuant to any lenders’ underwriting

guidelines for such a loan, contrary to the Warrantors’ representations. The foregoing also appears

to show that the Mortgage Loan was an illegal predatory loan since the borrower obviously could not

afford it. In addition, the apparent misrepresentation of the borrower’s income and/or debts that

must have occurred to “qualify” the borrower for the Mortgage Loan in the first place appears to

violate mortgage fraud laws, and contradicts the Warrantors’ representations that the Mortgage Loan

data they provided was true and correct. The fact that the foregoing breaches of the Warrantors’

representations and warranties occurred is corroborated by the fact that the borrower declared

bankruptcy shortly after obtaining the Mortgage Loan at issue, in 2006.

                               (17)    SASC 2006-WF2 Covered Trust

       170.    Borrowers obtained a Mortgage Loan for $616,250 and one of the two borrowers

obtained another Mortgage Loan for $212,500 in 2006 which were both contained within the SASC

2006-WF2 Covered Trust. The borrowers had joint income of $6,619 per month in 2006 according

to the borrowers’ sworn bankruptcy filings. However, the borrowers’ monthly debt payments were

at least $9,053, far in excess of the borrowers’ monthly income. The borrowers’ monthly debt

payments were in addition to the borrowers’ monthly expenses for things such as taxes, utilities,

groceries, health care, transportation, and the like. Clearly, these borrowers could not afford to repay

these Mortgage Loans, and the Mortgage Loans were not originated pursuant to any lenders’

underwriting guidelines for such loans, contrary to the Warrantors’ representations. The foregoing
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also appears to show that the Mortgage Loans were illegal predatory loans since the borrowers

obviously could not afford them. In addition, the apparent misrepresentation of the borrowers’

income and/or debts that must have occurred to “qualify” the borrowers for the Mortgage Loans in

the first place appears to violate mortgage fraud laws, and contradicts the Warrantors’

representations that the Mortgage Loan data they provided was true and correct. The fact that the

foregoing breaches of the Warrantors’ representations and warranties occurred is corroborated by the

fact that the borrowers declared bankruptcy shortly after obtaining the Mortgage Loans at issue, in

2007.

                               (18)    SASC 2006-WF3 Covered Trust

        171.   A borrower obtained a Mortgage Loan for $663,294 in 2006 which was contained

within the SASC 2006-WF3 Covered Trust. The borrower had income of $0 per month in 2006

according to the borrower’s sworn bankruptcy filings. However, the borrower’s monthly debt

payments were at least $5,244, far in excess of the borrower’s monthly income. The borrower’s

monthly debt payments were in addition to the borrower’s monthly expenses for things such as

taxes, utilities, groceries, health care, transportation, and the like. Clearly, this borrower could not

afford to repay this Mortgage Loan, and the Mortgage Loan was not originated pursuant to any

lenders’ underwriting guidelines for such a loan, contrary to the Warrantors’ representations. The

foregoing also appears to show that the Mortgage Loan was an illegal predatory loan since the

borrower obviously could not afford it. In addition, the apparent misrepresentation of the borrower’s

income and/or debts that must have occurred to “qualify” the borrower for the Mortgage Loan in the

first place appears to violate mortgage fraud laws, and contradicts the Warrantors’ representations

that the Mortgage Loan data they provided was true and correct. The fact that the foregoing

breaches of the Warrantors’ representations and warranties occurred is corroborated by the fact that

the borrower declared bankruptcy shortly after obtaining the Mortgage Loan at issue, in 2008.
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                               (19)    SASC 2007-EQ1 Covered Trust

       172.    A borrower obtained a Mortgage Loan for $382,400 in 2006 which was contained

within the SASC 2007-EQ1 Covered Trust. The borrower had income from employment of only

$474 per month in 2006 according to the borrower’s sworn bankruptcy filings. However, the

borrower’s monthly debt payments were at least $3,561, far in excess of the borrower’s monthly

income. The borrower’s monthly debt payments were in addition to the borrower’s monthly

expenses for things such as taxes, utilities, groceries, health care, transportation, and the like.

Clearly, this borrower could not afford to repay this Mortgage Loan, and the Mortgage Loan was not

originated pursuant to any lenders’ underwriting guidelines for such a loan, contrary to the

Warrantors’ representations. The foregoing also appears to show that the Mortgage Loan was an

illegal predatory loan since the borrower obviously could not afford it. In addition, the apparent

misrepresentation of the borrower’s income and/or debts that must have occurred to “qualify” the

borrower for the Mortgage Loan in the first place appears to violate mortgage fraud laws, and

contradicts the Warrantors’ representations that the Mortgage Loan data they provided was true and

correct. The fact that the foregoing breaches of the Warrantors’ representations and warranties

occurred is corroborated by the fact that the borrower declared bankruptcy shortly after obtaining the

Mortgage Loan at issue, in 2007.

                               (20)    SASC 2007-WF1 Covered Trust

       173.    A borrower obtained a Mortgage Loan for $900,000 in 2006 which was contained

within the SASC 2007-WF1 Covered Trust. The borrower had income of $0 per month in 2006

according to the borrower’s sworn bankruptcy filings. However, the borrower’s monthly debt

payments were at least $8,020, far in excess of the borrower’s monthly income. The borrower’s

monthly debt payments were in addition to the borrower’s monthly expenses for things such as

taxes, utilities, groceries, health care, transportation, and the like. Clearly, this borrower could not
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afford to repay this Mortgage Loan, and the Mortgage Loan was not originated pursuant to any

lenders’ underwriting guidelines for such a loan, contrary to the Warrantors’ representations. The

foregoing also appears to show that the Mortgage Loan was an illegal predatory loan since the

borrower obviously could not afford it. In addition, the apparent misrepresentation of the borrower’s

income and/or debts that must have occurred to “qualify” the borrower for the Mortgage Loan in the

first place appears to violate mortgage fraud laws, and contradicts the Warrantors’ representations

that the Mortgage Loan data they provided was true and correct. The fact that the foregoing

breaches of the Warrantors’ representations and warranties occurred is corroborated by the fact that

the borrower declared bankruptcy shortly after obtaining the Mortgage Loan at issue, in 2008.

                               (21)    WMALT 2006-AR4 Covered Trust

       174.    A borrower obtained a Mortgage Loan for $650,000 in 2006 which was contained

within the WMALT 2006-AR4 Covered Trust. The borrower had income of $5,122 per month in

2006 according to the borrower’s sworn bankruptcy filings. However, the borrower’s monthly debt

payments were at least $7,761, far in excess of the borrower’s monthly income. The borrower’s

monthly debt payments were in addition to the borrower’s monthly expenses for things such as

taxes, utilities, groceries, health care, transportation, and the like. Clearly, this borrower could not

afford to repay this Mortgage Loan, and the Mortgage Loan was not originated pursuant to any

lenders’ underwriting guidelines for such a loan, contrary to the Warrantors’ representations. The

foregoing also appears to show that the Mortgage Loan was an illegal predatory loan since the

borrower obviously could not afford it. In addition, the apparent misrepresentation of the borrower’s

income and/or debts that must have occurred to “qualify” the borrower for the Mortgage Loan in the

first place appears to violate mortgage fraud laws, and contradicts the Warrantors’ representations

that the Mortgage Loan data they provided was true and correct. The fact that the foregoing


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breaches of the Warrantors’ representations and warranties occurred is corroborated by the fact that

the borrower declared bankruptcy shortly after obtaining the loan at issue, in 2008.

                               (22)    WAMU 2006-AR13 Covered Trust

       175.    A borrower obtained a Mortgage Loan for $600,000 in 2006 which was contained

within the WAMU 2006-AR13 Covered Trust. The borrower had income of $1,857 per month in

2006 according to the borrower’s sworn bankruptcy filings. However, the borrower’s monthly debt

payments were at least $3,043, far in excess of the borrower’s monthly income. The borrower’s

monthly debt payments were in addition to the borrower’s monthly expenses for things such as

taxes, utilities, groceries, health care, transportation, and the like. Clearly, this borrower could not

afford to repay this Mortgage Loan, and the Mortgage Loan was not originated pursuant to any

lenders’ underwriting guidelines for such a loan, contrary to the Warrantors’ representations. The

foregoing also appears to show that the Mortgage Loan was an illegal predatory loan since the

borrower obviously could not afford it. In addition, the apparent misrepresentation of the borrower’s

income and/or debts that must have occurred to “qualify” the borrower for the Mortgage Loan in the

first place appears to violate mortgage fraud laws, and contradicts the Warrantors’ representations

that the Mortgage Loan data they provided was true and correct. The fact that the foregoing

breaches of the Warrantors’ representations and warranties occurred is corroborated by the fact that

the borrower declared bankruptcy shortly after obtaining the Mortgage Loan at issue, in 2008.

                               (23)    WAMU 2006-AR17 Covered Trust

       176.    A borrower obtained a Mortgage Loan for $547,200 in 2006 which was contained

within the WAMU 2006-AR17 Covered Trust. The borrower had income of $1,416 per month from

employment in 2006 according to the borrower’s sworn bankruptcy filings. However, the

borrower’s monthly debt payments were at least $2,545, far in excess of the borrower’s monthly

income. The borrower’s monthly debt payments were in addition to the borrower’s monthly
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expenses for things such as taxes, utilities, groceries, health care, transportation, and the like.

Clearly, this borrower could not afford to repay this Mortgage Loan, and the Mortgage Loan was not

originated pursuant to any lenders’ underwriting guidelines for such a loan, contrary to the

Warrantors’ representations. The foregoing also appears to show that the Mortgage Loan was an

illegal predatory loan since the borrower obviously could not afford it. In addition, the apparent

misrepresentation of the borrower’s income and/or debts that must have occurred to “qualify” the

borrower for the Mortgage Loan in the first place appears to violate mortgage fraud laws, and

contradicts the Warrantors’ representations that the Mortgage Loan data they provided was true and

correct. The fact that the foregoing breaches of the Warrantors’ representations and warranties

occurred is corroborated by the fact that the borrower declared bankruptcy shortly after obtaining the

Mortgage Loan at issue, in 2008.

                               (24)    WAMU 2006-AR19 Covered Trust

       177.    A borrower obtained a Mortgage Loan for $233,910 in 2006 which was contained

within the WAMU 2006-AR19 Covered Trust. The borrower had income of $0 per month and

other income of only $18 per month in 2006 according to the borrower’s sworn bankruptcy

filings. Accordingly, the borrower had a total of $18 per month to pay his debts and expenses.

However, the borrower’s monthly debt payments were at least $5,761, far in excess of the

borrower’s monthly income. The borrower’s monthly debt payments were in addition to the

borrower’s monthly expenses for things such as taxes, utilities, groceries, health care, transportation,

and the like. Clearly, this borrower could not afford to repay this Mortgage Loan, and the Mortgage

Loan was not originated pursuant to any lenders’ underwriting guidelines for such a loan, contrary to

the Warrantors’ representations. The foregoing also appears to show that the Mortgage Loan was an

illegal predatory loan since the borrower obviously could not afford it. In addition, the apparent

misrepresentation of the borrower’s income and/or debts that must have occurred to “qualify” the
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borrower for the Mortgage Loan in the first place appears to violate mortgage fraud laws, and

contradicts the Warrantors’ representations that the Mortgage Loan data they provided was true and

correct. The fact that the foregoing breaches of the Warrantors’ representations and warranties

occurred is corroborated by the fact that the borrower along with his wife declared bankruptcy

shortly after obtaining the Mortgage Loan at issue, in 2008.

                               (25)    WAMU 2007-OA2 Covered Trust

       178.    A borrower obtained two Mortgage Loans for $525,000 and $546,000 in 2006 which

were contained within the WAMU 2007-OA2 Covered Trust. The borrower had employment

income of $3,333 per month in 2006 according to the borrower’s sworn bankruptcy filings.

However, the borrower’s monthly debt payments were at least $22,771, far in excess of the

borrower’s monthly income. The borrower’s monthly debt payments were in addition to the

borrower’s monthly expenses for things such as taxes, utilities, groceries, health care, transportation,

and the like. Clearly, this borrower could not afford to repay these Mortgage Loans, and the

Mortgage Loans were not originated pursuant to any lenders’ underwriting guidelines for such loans,

contrary to the Warrantors’ representations. The foregoing also appears to show that the Mortgage

Loans were illegal predatory loans since the borrower obviously could not afford them. In addition,

the apparent misrepresentation of the borrower’s income and/or debts that must have occurred to

“qualify” the borrower for the Mortgage Loans in the first place appears to violate mortgage fraud

laws, and contradicts the Warrantors’ representations that the Mortgage Loan data they provided was

true and correct. The fact that the foregoing breaches of the Warrantors’ representations and

warranties occurred is corroborated by the fact that the borrower declared bankruptcy shortly after

obtaining the Mortgage Loans at issue, in 2008.

       179.    As the foregoing demonstrates, Mortgage Loans in the Covered Trusts were extended

to borrowers who clearly did not have the ability to repay them. This was due to lenders ignoring
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their stated underwriting guidelines, outright mortgage fraud by either lenders or borrowers or both,

and/or predatory lending practices by lenders. The result of these widespread practices was the

origination and transfer to the Covered Trusts of thousands of defective Mortgage Loans which

breached the Warrantors’ representations and warranties. U.S. Bank was obviously aware of these

breaches through all of the public news and private information available to it as alleged herein,

along with the abysmal performance of the Mortgage Loans, and the numerous bankruptcies of

borrowers of the Mortgage Loans and the information those bankruptcies conveyed to U.S. Bank.

Accordingly, U.S. Bank knew that the Warrantors’ representations and warranties concerning the

Mortgage Loans were false.

       180.    Despite U.S. Bank’s discovery of these massive breaches of the Warrantors’

representations and warranties concerning thousands of Mortgage Loans in the Covered Trusts, U.S.

Bank did not act and has continued to fail to act in accordance with its obligations under the

Governing Agreements and the TIA, and has failed to enforce the Warrantors’ obligations to cure,

substitute or repurchase the thousands of defective Mortgage Loans, or in the case of the WaMu

Covered Trusts, failed to notify the Servicer of such breaches or ensure that the Servicer enforced

such claims against the Warrantors. U.S. Bank’s continuing failure to act after learning of the

breaches has caused the loss of billions of dollars in meritorious representation and warranty claims

to the statute of limitations. By these failures, U.S. Bank breached and has continued to breach the

Governing Agreements and violated the TIA, and has caused plaintiff, the class and the Covered

Trusts to suffer massive damages.




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               2.      U.S. Bank Had Actual Knowledge of Events of Default as
                       Early as October 2010 but in No Event Later than April 13,
                       2011

                       a.     As Early as October 2010 U.S. Bank Knew that the
                              Master Servicers and Servicers Had Committed Events
                              of Default with Respect to the Mortgage Loans in the
                              Covered Trusts

       181.    As previously alleged, U.S. Bank was also required by the Governing Agreements

and the TIA to act when it became aware of Events of Default. Whenever U.S. Bank became aware

that the Master Servicers or Servicers failed to service and administer the Mortgage Loans in the

Covered Trusts as “prudent” master servicers or servicers would, an Event of Default occurred under

the Governing Agreements, and U.S. Bank was then required to take certain actions. For example,

U.S. Bank was required to request that the offending Master Servicer or Servicer remedy the default,

and notify plaintiff and the class if the default was not cured. U.S. Bank was also permitted to

terminate or replace the Master Servicer or Servicer if the Event of Default was not cured, or take

over the offending Master Servicers’/Servicers’ responsibilities. However, as alleged more fully

below, even though U.S. Bank had actual knowledge of Master Servicer/Servicer Events of Default

with respect to the Mortgage Loans in the Covered Trusts as early as October 2010 it breached the

Governing Agreements and violated the TIA by failing to take the actions described above.29

       182.    The Master Servicers and Servicers to the Covered Trusts, as designated in the

Governing Agreements are set forth in the chart below. None of these Master Servicers or Servicers

have been terminated or replaced by U.S. Bank due to an Event of Default:




29
    With respect to the WaMu Covered Trusts, U.S. Bank also knew the Servicers for those trusts
had also committed Events of Default by failing to enforce the Warrantors’ obligations to cure,
substitute, or repurchase Mortgage Loans which breached their representations and warranties by as
early as 2009 but in no event later than April 13, 2011, as alleged supra.

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                 Covered Trusts’ Master Servicers and Servicers
     Covered             Original                             Original Servicers
      Trust           Master Servicers
BAFC 2007-C       Wells Fargo                    Bank of America
                                                  Chase Bank
                                                  National City (bought by PNC Bank)
                                                  Wells Fargo
BNCMT 2007-2      Aurora                         Chase Bank
BSABS 2006-AC2    Wells Fargo                     EMC
                                                   Harbourside Mortgage Corporation
                                                   HSBC Mortgage Corporation (USA)
                                                     (“HSBC”)
                                                   American Home Mortgage Servicing
                                                   Waterfield
                                                   Wells Fargo
BSABS 2006-AC5    Wells Fargo                     EMC
                                                   GreenPoint
                                                   National City
GPMF 2007-AR1     Aurora                          GreenPoint
                                                   GMAC
                                                   Aurora
GPMF 2007-AR2     Aurora                          GreenPoint
                                                   GMAC
                                                   Aurora
GPMF 2007-AR3     Aurora                          GreenPoint
                                                   Aurora
HEAT 2006-5       None                            Wells Fargo
                                                   Chase Bank
                                                   Select Portfolio Servicing
HEAT 2006-6       None                            Wells Fargo
                                                   Select Portfolio Servicing
LXS 2006-10N      Aurora                          Aurora
                                                   Bank of America
                                                   Countrywide Home Loans Servicing LP
                                                     (“CHLS”) (CHLS was renamed to BAC
                                                     Home Loans Servicing LP (“BACHLS”)
                                                     after Bank of America acquired
                                                     Countrywide)
                                                   GMAC
                                                   IndyMac
                                                   SunTrust
                                                   Wells Fargo
LXS 2006-15       Aurora                         Aurora
LXS 2007-7N       Aurora                          CHLS/BACHLS
                                                   Aurora
                                                   American Home Mortgage Servicing

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       Covered                   Original                              Original Servicers
        Trust                 Master Servicers
MABS 2006-HE2            Wells Fargo                     Wells Fargo
                                                          New Century
MLMI 2006-WMC2           None                            Wilshire Credit Corp.
SARM 2006-9              Aurora                          Aurora
                                                          CHLS/BACHLS
                                                          PHH
SASC 2006-NC1              Aurora                        Wells Fargo
SASC 2006-WF2              Aurora                        Wells Fargo
SASC 2006-WF3              Aurora                        Wells Fargo
SASC 2007-EQ1              Aurora                        Wells Fargo
                                                          HomeEq Servicing
SASC 2007-WF1              Aurora                        Wells Fargo
WMALT 2006-AR4             None                          WaMu
WAMU 2006-AR13             None                          WaMu
WAMU 2006-AR17             None                          WaMu
WAMU 2006-AR19             None                          WaMu
WAMU 2007-OA2              None                          WaMu

       183.      Prior to the end of October 2010, numerous news reports and governmental

investigations and actions revealed widespread loan servicing misconduct, including foreclosure

abuses and other improper loan servicing practices that injured RMBS investors. The news stories

and other events indicated that loan servicers were engaging in industry-wide practices amounting to

foreclosure fraud and other abuses which injured RMBS investors. The reports also indicated that

many of the Master Servicers and Servicers to the Covered Trusts were involved in these improper

practices and abuses. Importantly, these news stories and governmental activity also indicated that

the loan servicing industry in general, and many of the Master Servicers and Servicers in particular,

were not servicing mortgage loans in a “prudent” manner, as required by the Governing Agreements

and thus were engaging in Events of Default.

       184.      For example, as early as March 2008, news reports surfaced concerning Select

Portfolio Servicing, a Servicer for at least two of the Covered Trusts. The reports revealed that

Select Portfolio Servicing had been sued by a RMBS investor alleging that Select Portfolio Servicing


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had engaged in predatory loan servicing practices, charging improper fees to borrowers, and making

servicing advances that improperly diverted money from RMBS investors to Select Portfolio

Servicing. This conduct would have breached Select Portfolio Servicing’s duty to service the

mortgage loans as a “prudent” servicer for the benefit of plaintiff and the class under the Governing

Agreements, and amounted to an Event of Default.

          185.   In September 2008, U.S. Bank was made aware of improper loan servicing practices

by another Servicer to the Covered Trusts that amounted to Events of Default. In September 2008,

the Federal Trade Commission (“FTC”) announced that EMC – a Servicer (and Warrantor as well)

for at least two of the Covered Trusts – had agreed to settle charges that EMC and its related

company Bear Stearns had “misrepresented the amounts borrowers owed, charged unauthorized fees,

such as late fees, property inspection fees, and loan modification fees, and engaged in unlawful and

abusive collection practices.” The FTC’s complaint alleged that EMC and Bear Stearns “neglected

to obtain timely and accurate information on consumers’ loans, made inaccurate claims to

consumers, and engaged in unlawful collection and servicing practices.” The FTC charged EMC

and Bear Stearns with violating the FTC Act, the Fair Debt Collection Practices Act, the Fair Credit

Reporting Act, and the Truth in Lending Act’s Regulation Z. This type of illegal conduct was a

clear Event of Default under the Governing Agreements. EMC paid $28 million to settle the

charges. Given that EMC and Bear Stearns were owned by JPMorgan by this time, and JPMorgan

also owned fellow Covered Trusts Servicers Chase Bank and WaMu, which together with EMC

serviced Mortgage Loans in at least ten Covered Trusts, U.S. Bank was put on notice that this type of

misconduct could also be occurring with respect to many of the Mortgage Loans in the Covered

Trusts.




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       186.    By early 2009, due to the previously alleged systematic abandonment of lending

standards and proliferation of fraudulent lending, massive numbers of mortgage loans were in

default or foreclosure (and had been for some time), including numerous Mortgage Loans within the

Covered Trusts. RMBS trustees such as U.S. Bank were working with master servicers and

servicers to foreclose on hundreds of thousands of defaulted mortgage loans, including many of the

Mortgage Loans in the Covered Trusts. Pursuant to the Governing Agreements, the Master

Servicers and Servicers initiated, directed, prosecuted and oversaw the foreclosures on behalf of

RMBS trustees because the Master Servicers and Servicers possessed the information concerning

non-payment or default by the borrowers due to their servicing of the loans, and dealt with the

administration of the loans and borrowers on a regular basis. Thus, RMBS trustees acted primarily

through the master servicers and servicers to foreclose on mortgage loans. U.S. Bank did so with

respect to the Mortgage Loans, using the Covered Trusts’ Master Servicers/Servicers to foreclose.

       187.    In 2008 and 2009, and even before, RMBS trustees, including U.S. Bank, were

having major difficulties foreclosing on defaulted mortgage loans because of widespread servicing

misconduct by master servicers and servicers. Courts were denying, delaying, halting, and even

invalidating many foreclosures because of extremely shoddy and often fraudulent conduct by the

loan servicers, conduct that was antithetical to “prudent” loan servicing. Because of the loan

servicers’ shoddy and/or illegal foreclosure practices – practices that were Events of Default under

the Governing Agreements – RMBS trustees were having difficulty establishing that they owned the

mortgages at the time they foreclosed, as was required by law, and thus were having problems and

facing long delays in foreclosing on loans. This was due to faulty mortgage documentation provided

by loan servicers, and also because of the frequent assertion of false facts by the loan servicers, and

their filing of numerous false affidavits, certifications and documents in connection with those


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proceedings. Such loan servicing practices were clearly not the practices of “prudent” loan servicers

as required by the Governing Agreements and were in fact Events of Default.

       188.    As early as mid-2008, widespread improper and imprudent loan servicing practices in

foreclosure proceedings were already so severe that at least two RMBS trustees (Deutsche Bank

National Trust Company and Deutsche Bank Trust Company Americas) sent a memo to all of their

loan servicers –which included many of the Master Servicers and Servicers to the Covered Trusts

herein – warning those loan servicers that their foreclosure actions were being “scrutinized” by

courts and others and requesting that such servicers be more “mindful” of complying with the law

and industry standards, while also threatening the loan servicers with liability for failing to comply

with their servicing obligations to the trusts.

       189.    U.S. Bank was also directly aware of improper and imprudent loan servicing practices

by most loan servicers by 2008 and 2009 because U.S. Bank was experiencing it firsthand in many

cases where it acted as a RMBS trustee. For example, in April 2007, U.S. Bank was acting as a

trustee for a RMBS trust when U.S. Bank’s attorneys received instructions from the trust’s loan

servicer, directing the initiation of foreclosure proceedings against a borrower named Antonio Ibanez

located in Massachusetts. See U.S. Bank Nat’l Ass’n v. Ibanez, No. 08 Misc. 384283, 2009 Mass.

LCR LEXIS 134, at *42-*43 & n.38 (Oct. 14, 2009), aff’d, 941 N.E.2d 40 (Mass. Sup. Ct. 2011).

The trust’s loan servicer directed U.S. Bank’s attorneys to begin foreclosure proceedings against

Ibanez “‘in the name of U.S. Bank National Association, as Trustee.’” Id. at *43. Based on the loan

servicer’s directions, a complaint was filed in April 2007 in which “U.S. Bank represented that it

was the ‘owner (or assignee) and holder’ of the mortgage given by Ibanez for the property.” 941

N.E.2d at 47; see also 2009 Mass. LCR LEXIS 134, at *43-*44 & n.38.                   Based on this

representation, judgment was entered in U.S. Bank’s favor in June 2007 allowing the foreclosure to


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proceed. At the further direction of the loan servicer, “U.S. Bank also caused to be published in the

Boston Globe [a] notice of the foreclosure sale” in June 2007 which “identified U.S. Bank as the

‘present holder’ of the mortgage.” 941 N.E.2d at 47; see also 2009 Mass. LCR LEXIS 134, at *43-

*46. However, the foregoing statements directed by the loan servicer – that U.S. Bank was the

owner and holder of the Ibanez mortgage in 2007 – “were false” at the time they were made because

U.S. Bank had not been assigned the mortgage nor did it hold it at that time. 941 N.E.2d at 54; see

also 2009 Mass. LCR LEXIS 134, at *45-*46 (such representations were “incorrect”).

       190.    Nonetheless, neither U.S. Bank nor the trust’s loan servicer ever notified the court of

these falsehoods in 2007. Instead, they proceeded to foreclose on the Ibanez mortgage in July 2007,

with U.S. Bank purchasing the property at the foreclosure sale. Over a year later, in September

2008, U.S. Bank filed an action in Massachusetts “Land Court” seeking: (1) a judgment that all of

Ibanez’s right, title and interest in the foreclosed property had been extinguished; (2) a declaration

that there was no cloud on the property’s title from publication of the notice of foreclosure sale; and

(3) a declaration that title to the property was vested in U.S. Bank in fee simple. 941 N.E.2d at 44.

In this new action, U.S. Bank admitted for the first time that the statements directed by the loan

servicer and which had been made in the previous Ibanez action and foreclosure were false. U.S.

Bank now admitted, contrary to previous representations in the first foreclosure complaint and in the

notice of foreclosure sale, that it was not the owner or holder of the Ibanez mortgage in 2007 when it

made those statements and that it did not hold the mortgage at the time of foreclosure. U.S. Bank

admitted in this new lawsuit that in fact it had not been assigned the Ibanez mortgage until much

later, in September 2008, 14 months after the foreclosure sale, and 17 months after it had previously

and falsely asserted that U.S. Bank was the owner and holder of the Ibanez mortgage. Nonetheless,




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U.S. Bank requested that the Land Court hold that the foreclosure was proper and that U.S. Bank

held proper title to the property.

        191.    In March 2009, the Massachusetts Land Court rejected U.S. Bank’s requests and

entered judgment against it, holding that the 2007 foreclosure on the Ibanez mortgage was improper

and invalid. The court held that the foreclosure was invalid because U.S. Bank was not the owner

and holder of the Ibanez mortgage as it claimed (at the direction of the loan servicer) in 2007 when it

published the notice of foreclosure sale and foreclosed on the mortgage, as required by

Massachusetts law. See U.S. Bank Nat’l Ass’n v. Ibanez, No. 384283, 2009 Mass. LCR LEXIS 41

(Mar. 26, 2009). U.S. Bank thereafter moved to vacate the judgment, which the Land Court denied.

See 2009 Mass. LCR LEXIS 134. U.S. Bank then appealed. On January 7, 2011, the Massachusetts

Supreme Court affirmed the Land Court’s rulings in full. See 941 N.E.2d 40. The Massachusetts

Supreme Court held that because U.S. Bank “did not have [its] assignment[] to the Ibanez . . .

mortgage[] at the time of the publication of the notice[] and sale[], [U.S. Bank] lacked authority to

foreclose . . . and [its] published claims to be the present holder[] of the mortgage[] were false.” Id.

at 54. Dow Jones Business News reported that one Supreme Court justice stated that it was

“‘surprising’” to see the “‘utter carelessness with which the plaintiff banks documented the titles

to their assets.’”

        192.    The Ibanez case was not an isolated incident of loan servicer misconduct that U.S.

Bank was aware of and involved in. U.S. Bank had directly experienced or deliberately participated

in such shoddy or fraudulent loan servicing in thousands, if not tens of thousands, of cases. For

example, in the state of Florida, due to loan servicer errors or misconduct, there are at least three

reported decisions by Florida appellate courts reversing summary judgments of foreclosure in U.S.

Bank’s favor. In each case, the foreclosure was overturned because false, erroneous, or otherwise


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inadequate affidavits or other foreclosure documents were filed by the loan servicers. See, e.g.,

Viola v. U.S. Bank N.A., No. 4D11-2719, 2014 Fla. App. LEXIS 149 (Fla. Dist. Ct. App. Jan. 8,

2014); Gee v. U.S. Bank N.A., 72 So. 3d 211 (Fla. Dist. Ct. App. 2011); Servedio v. U.S. Bank Nat’l

Ass’n, 46 So. 3d 1105 (Fla. Dist. Ct. App. 2010). In another case in Florida, a trial court judge held

U.S. Bank in contempt for its (and presumably its loan servicer’s) misconduct in connection with the

foreclosure of a mortgage loan taken out by a borrower named Dimitri Jansen. See U.S. Bank N.A. v.

Jansen, et al., No. 2007 CA 004769 SC (Fla. Cir. Ct., Sarasota Cnty. Dec. 28, 2012).

       193.    Similarly, throughout the nation, there were many cases where U.S. Bank’s

foreclosures were delayed, denied, invalidated, or otherwise neutralized due to defective or false

affidavits that were filed by its loan servicers or even U.S. Bank itself, and because of other loan

servicer misconduct.     Indeed, it appears that U.S. Bank actually acquiesced in or actively

participated in the loan servicing misconduct of its master servicers and servicers, which led to

numerous delays and invalidations of its foreclosures. See, e.g., U.S. Bank Nat’l Ass’n v. Nelson,

No. 2013AP755, 2014 Wisc. App. LEXIS 168 (Wis. Ct. App. Feb. 27, 2014) (summary judgment of

foreclosure in favor or U.S. Bank reversed due to insufficient affidavit of Servicer Wells Fargo;

Wells Fargo employee lacked personal knowledge concerning how foreclosure records were

created); U.S. Bank Nat’l Ass’n v. De Los Rios, No. 09-37317, 2014 N.Y. Misc. LEXIS 218, at *11

(N.Y. Sup. Ct. Jan. 9, 2014) (denying U.S. Bank’s motion for summary judgment in part, based on

insufficient affidavit from Servicer Wells Fargo; no explanation in affidavit “as to why a different

version of the note” was produced at different times during the litigation); Bank of Am. N.A. v. Lam,

No. 0115035/2009, 2013 N.Y. Misc. LEXIS 6239 (N.Y. Sup. Ct. Dec. 9, 2013) (U.S. Bank’s (U.S.

Bank succeeded Bank of America as Trustee) motion for summary judgment denied; Servicer Wells

Fargo’s affidavit was defective); U.S. Bank Nat’l Ass’n v. Steinberg, No. 3234/12, 2013 N.Y. Misc.


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LEXIS 5869, at *14-*15 (N.Y. Sup. Ct. Nov. 29, 2013) (court denies U.S. Bank’s motion for

summary judgment of foreclosure, holding loan servicer’s affidavit “is patently insufficient to

establish [U.S. Bank’s] standing” to foreclose; court further holds servicer’s affidavit is “conclusory”

and not based on affiant’s “personal knowledge”);U.S. Bank Nat’l Ass’n v. Nicholson, No.

17679/2008, 2013 N.Y. Misc. LEXIS 5542, at *18 (N.Y. Sup. Ct. Nov. 12, 2013) (denying U.S.

Bank’s motion for order of reference due to loan servicer Chase’s affidavit being “insufficient to

establish [U.S. Bank] had physical possession of the note at any time”); US Bank Nat’l Ass’n v.

Gioia, No. 25441/2011, 2013 N.Y. Misc. LEXIS 6406 (N.Y. Sup. Ct. Nov. 6, 2013) (court denies

U.S. Bank’s motion to discontinue foreclosure action; finds U.S. Bank failed to meet several court

deadlines, did not negotiate in good faith as required by New York law, and failed to timely

prosecute action; as a result, all interest owed by borrower from start of action in 2011 until referee

determination was tolled and not collectible by U.S. Bank/servicer); Dernier v. Mortg. Network, Inc.,

No. 12-226, 2013 Vt. LEXIS 99, at *7-*10 (Vt. Oct. 18, 2013) (Vermont Supreme Court partially

reverses dismissal of action by borrowers against U.S. Bank, holding that borrowers sufficiently

alleged that U.S. Bank engaged in fraud in transfer of note and mortgage; court holds that

assignment chain for note is “confusing” and “certainly perplexing,” and that for assignment of

mortgage, “the picture is no clearer,” as some assignment “language appears to be clearly wrong”);

U.S. Bank Nat’l Ass’n v. Guy, 977 N.Y.S.2d 670, 2013 N.Y. Misc. LEXIS 4127, at *11 (Sup. Ct.

2013) (court grants borrower’s motion to dismiss U.S. Bank’s foreclosure action with prejudice;

holds that affidavits of Servicer Select Portfolio Servicing were not based on personal knowledge

and “inconsistent with [U.S. Bank’s] complaint”);U.S. Bank, N.A. v. Shinaba, 977 N.Y.S.2d 671,

2013 N.Y. Misc. LEXIS 3990, at *25-*26 (Sup. Ct. 2013) (The court sanctions U.S. Bank, holding

that U.S. Bank and its Servicer Bank of America violated the Home Affordable Modification


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Program (“HAMP”) and New York laws; court further holds: “In this particular case [U.S. Bank’s]

and [Bank of America’s] dilatory, and dishonest, conduct is troubling. . . . [U.S. Bank] and [Bank

of America] provided conflicting information, made several misrepresentations[,] . . . disobeyed

several court orders[,] and unduly delayed the review of Shinaba’s HAMP . . . application without

a valid explanation, only to ultimately refuse to render any decision on her HAMP application,

and instead, offer her an in-house modification with less favorable terms.”); Brown v. U.S. Bank

Nat’l Ass’n, 117 So. 3d 823 (Fla. Dist. Ct. App. 2013) (denial of borrowers’ motion to quash service

of process reversed on appeal due to U.S. Bank’s concession that trial court committed reversible

error; process server (presumably hired by U.S. Bank’s loan servicer) put wrong date on summons);

Juárez v. Select Portfolio Servicing, Inc., 708 F.3d 269, 279 (1st Cir. 2013) (Court of Appeals

reverses in part dismissal of Massachusetts borrower’s lawsuit against U.S. Bank and Servicer Select

Portfolio Servicing, holding that “even a perfunctory scrutiny of the ‘Corporate Assignment of

Mortgage’. . . reveals that we are before a document that was executed after the foreclosure” and

therefore borrower might have a claim under Ibanez); U.S. Bank, N.A. v. McGinn, No. S-12-004,

2013 Ohio App. LEXIS 2, at *9 (Ohio Ct. App. Jan. 4, 2013) (summary judgment of foreclosure in

U.S. Bank’s favor reversed; court holds that Servicer GMAC’s affidavit in support of summary

judgment was not based on personal knowledge and “inconsistency between the copy of the note that

was attached to the complaint and the copy of the note that was attached to U.S. Bank’s motion for

summary judgment” created genuine issues of fact concerning whether U.S. Bank possessed note

prior to filing complaint); U.S. Bank, N.A. v. Moore, 278 P.3d 596, 598 (Okla. 2012) (reversing and

remanding summary judgment of foreclosure in U.S. Bank’s favor; court holds that assignment of

note executed after U.S. Bank filed complaint in foreclosure was insufficient to establish U.S.

Bank’s right to foreclose; U.S. Bank’s complaint falsely alleged it was “‘the present holder of said


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Note’”); U.S. Bank Nat’l Ass’n v. Kimball, 27 A.3d 1087, 1093 (Vt. Sup. Ct. 2011) (court holds that

Servicer GMAC employee Jeffrey Stephan’s (the “robo-signer” alleged herein infra at ¶¶202,

204, 229) affidavit was insufficient to establish U.S. Bank’s standing to foreclose; court points out

“contradictory and uncertain documentation” submitted by U.S. Bank); U.S. Bank Nat’l Ass’n v.

Spencer, No. BER-F-10591-10, 2011 N.J. Super. Unpub. LEXIS 746, at *35 (N.J. Super. Ct. Mar.

22, 2011) (court denies U.S. Bank’s motion for summary judgment of foreclosure and grants

borrower’s cross-motion for summary judgment and dismisses case; court holds that U.S. Bank

failed to prove it had standing to foreclose and had “no competent witness [that] has brought forth

admissible evidence”); In re Parker, 445 B.R. 301 (Bankr. D. Vt. 2011) (court denies U.S. Bank’s

motion for summary judgment requesting dismissal of borrower’s claim that U.S. Bank lacks

standing to enforce mortgage; court holds that U.S. Bank failed to provide evidence establishing it

was holder of note at time bankruptcy case was commenced); In re Phillips, No. 08-11442-MAM-7,

2011 Bankr. LEXIS 1737, at *7-*8 (Bankr. S.D. Ala. May 9, 2011) (court denies U.S. Bank’s and

Servicer Aurora’s motion to dismiss borrowers’ adversary action insofar as it alleged U.S. Bank and

Aurora filed false pleadings with the court; borrowers alleged that Aurora and U.S. Bank committed

a “Fraud on the Court” by fraudulently asserting in motion that they should receive relief from

bankruptcy stay because Aurora was “a creditor and the holder of the mortgage”; court notes that

“[t]here is no document that supports [U.S. Bank’s and Aurora’s] assertions other than a statement in

a [PSA]”); U.S. Bank Nat’l Ass’n v. Duvall, No. 94714, 2010 Ohio App. LEXIS 5461 (Ohio Ct. App.

Dec. 30, 2010) (court affirms dismissal of U.S. Bank’s action to foreclose; court holds that affidavits

by Servicer Wells Fargo were insufficient to prove U.S. Bank owned mortgage at the time it filed the

foreclosure action); U.S. Bank Nat’l Ass’n v. Mathon, 920 N.Y.S.2d 245, 2010 N.Y. Misc. LEXIS

5816, at *4, *9, *11-*12 (Sup. Ct. 2010) (court grants borrowers’ motion to stay foreclosure; court


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holds that affidavit of servicer Chase Home Finance LLC (an affiliate of Covered Trusts’ Servicer

Chase Bank) contradicted other affidavits submitted by U.S. Bank, and that servicer engaged in

improper attempts to disavow loan modification and negotiations; court holds that such conduct “is

considerably troubling to this Court”; court also notes U.S. Bank’s failure to abide by CPLR 3408

and holds “the Court has serious and grave concerns regarding [U.S. Bank’s] conduct in this

matter, which appears to be rife with bad faith,” “spurious claims,” and lacking “even a scintilla

of good faith”; court sets a hearing to determine whether U.S. Bank should be sanctioned); U.S.

Bank, N.A. v. Emmanuel, 910 N.Y.S.2d 766, 2010 N.Y. Misc. LEXIS 983 (Sup. Ct. 2010) (order

dismissing U.S. Bank’s foreclosure action with prejudice; court holds that affidavits filed by U.S.

Bank’s attorneys were insufficient to establish standing to foreclose; court also notes potential of

conflict of interest by U.S. Bank’s attorneys by their execution of assignments); In re Weisband, 427

B.R. 13, 19, 21 (Bankr. D. Ariz. 2010) (court denies U.S. Bank’s Servicer GMAC’s motion for relief

from bankruptcy stay; court holds that evidence submitted by GMAC was insufficient to prove it

was holder of note, observing that GMAC submitted evidence “completely inconsistent” with its

allegations, submitted a defective “allonge,” and holding that “GMAC’s documents . . . provide no

evidence of actual transfers of the Note and [deed of trust] to . . . the Trust”); U.S. Bank Nat’l Ass’n

v. Harpster, No. 51-2007-CA-6684ES (Fla. Cir. Ct., Pasco Cnty. Mar. 25, 2010) (court sanctions

U.S. Bank and dismisses its complaint with prejudice “based on the fraud intentionally perpetrated

upon the Court by [U.S. Bank]”; court holds that mortgage assignment submitted by U.S. Bank

“was . . . created and the execution date and notarial date were fraudulently backdated, in a

purposeful, intentional effort to mislead the Defendant and this Court”); U.S. Bank v. Videjus, 862

N.Y.S.2d 818, 2008 N.Y. Misc. LEXIS 2426 (Sup. Ct. 2008) (court denies U.S. Bank’s application

for order of reference; court holds that U.S. Bank’s servicer’s affidavit and verified complaint are


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insufficient and “defective”); U.S. Bank Nat’l Ass’n v. Lewis, et al., No. 21101/2007 (N.Y. Sup. Ct.,

Kings Cnty. Dec. 27, 2007) (court denies U.S. Bank’s application for order of reference; court holds

Servicer Select Portfolio Servicing’s affidavit is insufficient); U.S. Bank Nat’l Ass’n v. Maynard, et

al., No. 18007/2006 (N.Y. Sup. Ct., Kings Cnty. Nov. 26, 2007) (U.S. Bank’s motion for judgment

of foreclosure denied; court holds Servicer Wells Fargo’s affidavits and limited power of attorney

were “defective” and raised issue whether Wells Fargo affiant “might be engaged in a subterfuge”;

court also notes that U.S. Bank and Wells Fargo failed to file all relevant servicing agreements); U.S.

Bank Nat’l Ass’n v. Grant, et al., No. 22160/2006 (N.Y. Sup. Ct., Kings Cnty. Nov. 9, 2007) (order

denying U.S. Bank’s motion for judgment of foreclosure; court hold that loan servicer Chase Home

Finance’s (an affiliate of Covered Trust Servicer Chase Bank) and U.S. Bank’s affidavits were

defective and insufficient and that U.S. Bank and servicer failed to file documents establishing U.S.

Bank’s right to foreclosure); U.S. Bank Nat’l Ass’n v. Moss, et al., No. 22751/2006 (N.Y. Sup. Ct.,

Suffolk Cnty. Nov. 5, 2007) (court denies U.S. Bank’s motion for judgment of foreclosure; court

holds that evidence submitted did not prove U.S. Bank was owner of mortgage and note when action

was commenced).30

       194.    Given the widespread misconduct by U.S. Bank’s loan servicers, and either U.S.

Bank’s active participation or acquiescence in such misconduct, U.S. Bank was well aware of these

Events of Default in 2008 and 2009. In addition, given the widespread nature and magnitude of this

misconduct, U.S. Bank was also experiencing it as to the Mortgage Loans in the Covered Trusts and


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    In addition, in Colorado, The Denver Post reported in May 2013 that U.S. Bank withdrew its
foreclosure action against borrower Lisa Brumfiel. The Denver Post had discovered that when U.S.
Bank filed the case in September 2011 it had asserted that it had been assigned Brumfiel’s deed of
trust when in fact that was not true, as the assignment did not occur until a month later. Because of
this, U.S. Bank was required to file a new foreclosure action in 2013, and was not able to obtain an
order allowing the foreclosure until 2014, thus adding years of delay and extra expense before the
loan could be foreclosed.

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therefore had actual knowledge of Events of Default concerning the Mortgage Loans. Moreover,

even though in some of the cases the errors or false affidavits were eventually cured, the time

required to do so, as well as the expense involved, caused plaintiff and the class to incur substantial

damages due to these Events of Default.

       195.    U.S. Bank itself was also very attuned to and aware of these problems in 2008 and

2009 because, in addition to being a RMBS trustee, U.S. Bank was itself also a loan servicer and was

itself engaging in the very same loan servicing misconduct as other loan servicers. U.S. Bank, like

all the other loan servicers, was filing false affidavits and other false documents in foreclosure

proceedings. Moreover, in addition to robo-signing, U.S. Bank was also involved in the abusive

loan servicing practice of improperly denying borrowers loan modifications under HAMP. As one

Georgia state court held, U.S. Bank agreed to participate in the HAMP program and to provide loan

modifications to qualified borrowers. See Phillips v. U.S. Bank, NA, No. 11 CV 00504 (Ga. Super.

Ct., Carroll Cnty. Nov. 2, 2011). Nonetheless, U.S. Bank was alleged to have improperly denied

modifications without any explanation and “cannot . . . contract with our government to provide a

service to the taxpayer, violate that agreement, and then say no one on earth can sue them for it. . . .

Such argument is absurd.” Id. at 4 (denying U.S. Bank’s motion to dismiss). U.S. Bank knew that

the robo-signing and foreclosure fraud, and improperly failing to modify qualifying loans under

HAMP, were not proper loan servicing practices, let alone “prudent” loan servicing practices, and

also knew that such misconduct was rampant throughout the loan servicing industry. Nonetheless,

U.S. Bank allowed it to go on, and even participated in it with its loan servicers, including the

Master Servicers/Servicers to the Covered Trusts with respect to the Mortgage Loans.

       196.    The numerous erroneous and/or false statements and documents that were filed by or

at the direction of the Covered Trusts’ loans servicers gave U.S. Bank firsthand knowledge of the


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improper and illegal loan servicing practices that were being systemically engaged in throughout the

nation. It also gave U.S. Bank firsthand knowledge that loan servicers were generally not servicing

loans “prudently” in connection with foreclosure proceedings, as required by the Governing

Agreements, and therefore that such practices were Events of Default under the Governing

Agreements. As a result of the foregoing, U.S. Bank had direct, firsthand knowledge of industry-

wide improper loan servicing practices amounting to Events of Default as early as 2008 and 2009.

       197.    U.S. Bank also knew that these improper loan servicing practices were not isolated to

U.S. Bank but rather were endemic to the loan servicing industry. This is so because, Wells Fargo,

another RMBS trustee, had a case virtually identical to the Ibanez case discussed above that was

heard with the Ibanez case before the same Massachusetts Land Court, and Wells Fargo received the

same result as U.S. Bank did in Ibanez – an invalidated foreclosure. In the Wells Fargo case, Wells

Fargo, like U.S. Bank, received directions from the trust’s loan servicer to institute a foreclosure

action against borrowers with the surname of Larace. See 2009 Mass. LCR LEXIS 134, at *43-*45.

Wells Fargo was instructed by the loan servicer to allege in the foreclosure complaint that Wells

Fargo “currently held” the Larace mortgage. Id. On April 27, 2007, Wells Fargo filed the complaint

and represented that it was “‘the owner (or assignee) and holder of [the Larace] mortgage.’” Id. at

*48. Also at the loan servicer’s direction, Wells Fargo published a notice of foreclosure sale stating

that it was the “present holder” of the Larace mortgage. Id. Judgment was entered in Wells Fargo’s

favor, and it foreclosed, acquiring the Larace property at the foreclosure sale. Id. In October 2008,

Wells Fargo, like U.S. Bank, filed a second action seeking a declaration that the Laraces’ title had

been extinguished and that Wells Fargo was the fee simple owner. 941 N.E.2d at 44, 49. In this

second action, like U.S. Bank had also done, Wells Fargo admitted for the first time that it was not

the owner or holder of the Larace mortgage at the time it filed the first Larace action, published the


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foreclosure sale notice, or when it foreclosed, thus revealing that the prior statements it made at the

direction of its loan servicer were false. 2009 Mass. LCR LEXIS 134, at *46-*48 & n.38. Wells

Fargo further admitted that it had been assigned the Larace mortgage ten months after the

foreclosure sale. Id. Thus, the Massachusetts Land Court entered judgment against Wells Fargo and

invalidated the Larace foreclosure just as it had done with U.S. Bank and the Ibanez mortgage.

Wells Fargo appealed and lost just as U.S. Bank did, and the Massachusetts Supreme Court affirmed,

holding that Wells Fargo’s prior statements also “were false.” 941 N.E.2d at 54.

        198.    The Larace case was not an isolated incident for Wells Fargo either. In July 2011,

Reuters reported that it had “found cases in which Wells Fargo didn’t obtain mortgage assignments –

and hence the right to foreclose – until well after it had filed foreclosure cases,” just as had happened

in the Larace action (and the Ibanez case for U.S. Bank). Reuters also reported that “a bankruptcy

appellate panel of the federal Ninth Circuit Court of Appeals overturned a decision to allow Wells

Fargo to foreclose . . . [because] there was no evidence that the note and mortgage had ever been

turned over to Wells Fargo as trustee.” Reuters further reported that in “court files of Florida

foreclosure cases by Wells Fargo . . . none of the promissory notes filed as exhibits in [the] 10 cases

found by Reuters had any endorsements on them.” This demonstrated the broad scope of the loan

servicing industry’s misconduct.

        199.    In addition, there were numerous other similar foreclosure proceedings by many other

RMBS trustees, involving numerous loan servicers, at the time that U.S. Bank and Wells Fargo were

experiencing these issues. U.S. Bank was well aware of these numerous other foreclosure

proceedings and further knew that all RMBS trustees were experiencing the same systematic

problems that it and Wells Fargo had experienced in the Ibanez and Larace cases. For example, U.S.

Bank was aware that, in October and November 2010, a New York state court had issued scores of


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orders adjourning foreclosures by it and many other RMBS trustees and loan servicers because of

these very issues. See Ex. G hereto (numerous orders from Justice Tanenbaum of the Supreme Court

of New York). Indeed, given that U.S. Bank also serviced loans and was in engaged in the same

improper practices, U.S. Bank knew full well that these improper and illegal loan servicing practices

were not unique or isolated incidents but rather were endemic to the industry.

        200.    In light of U.S. Bank’s direct experience in the Ibanez case and in many other similar

cases, as well as its knowledge of pervasive loan servicer misconduct through Wells Fargo’s Larace

action and the many other similar actions by other RMBS trustees throughout the nation, and U.S.

Bank’s direct participation in this misconduct either as a loan servicer itself or as a participating or

acquiescing RMBS trustee, U.S. Bank knew in early 2009 that industry-wide loan servicer

misconduct was causing numerous foreclosure delays and invalidations that were resulting in

staggering losses to RMBS trusts. Given the pervasiveness of the misconduct, by early 2009 U.S.

Bank knew that the Mortgage Loans in the Covered Trusts had and were being similarly mis-

serviced by the Master Servicers and Servicers, and therefore Events of Default had and were

occurring as to the Mortgage Loans. U.S. Bank also knew by early 2009 that all of the delays in and

invalidations of the foreclosures were causing plaintiff and the class to suffer massive damages, as

was evidenced by the escalating losses being realized by the Covered Trusts. See supra ¶91 (chart

showing Covered Trusts’ losses exceeded $930 million in January 2009).

        201.    By 2010, numerous news stories were reporting on these illegal, improper and

abusive foreclosure practices by the loan servicing industry. For example, in June 2010, the United

States Trustee Program (“USTP”) announced that it had been conducting an investigation (with the

FTC) of Servicer CHLS (Bank of America’s Countrywide Home Loans Servicing LP) and its

successor BACHLS (BAC Home Loans Servicing LP, which was also owned by Bank of America).


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CHLS and its successor BACHLS were Servicers for at least three of the Covered Trusts.31 The

USTP revealed that it had started its investigation of CHLS/BACHLS “after receiving complaints of

chronic . . . irregularities by mortgage servicing companies.” The USTP and FTC charged

CHLS/BACHLS with “improper business practices,” and “improper accounting and billing

practices,” including the filing of false and improper claims in bankruptcy proceedings against

borrowers, inflating mortgage claims, failing to credit borrowers with payments that they made, and

failing to notify borrowers of extra charges added to their bills. These practices were clearly not the

practices of “prudent” loan servicers and amounted to Events of Default under the Governing

Agreements. The USTP also noted that, in 2009, U.S. bankruptcy trustees had taken “more than

9,000 formal and informal consumer protection actions, including a large number of actions

against mortgage servicing companies.” This demonstrated the enormity and reach of the improper

servicing practices and the fact that they were also affecting the Covered Trusts’ Servicers and the

Mortgage Loans in the Covered Trusts. As a result of the USTP’s and the FTC’s investigations,

CHLS/BACHLS entered into a consent order whereby they agreed to reform their loan servicing

practices, compensate borrowers, establish internal controls to ensure that the Servicers’ bills and

their claims in bankruptcy were accurate, and provide better information to borrowers. The USTP

also stated in its 2010 Annual Report that there were “pervasive and longstanding problems

regarding mortgage loan servicing,” again revealing that these improper loan servicing practices

were widespread. CHLS/BACHLS paid $108 million to settle these charges. These events informed

U.S. Bank that these two Servicers to the Covered Trusts had been engaging in company-wide

improper loan servicing practices that amounted to Events of Default under the Governing


31
    In addition to CHLS/BACHLS, Bank of America also owned Wilshire Credit Corp., another
Servicer to the Covered Trusts. Together, these Servicers serviced Mortgage Loans for at least five
of the Covered Trusts.

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Agreements and that such Events of Default were likely infecting the Covered Trusts’ Mortgage

Loans. It also put U.S. Bank on notice that these Servicers’ parent company, Covered Trust Servicer

Bank of America, and their sister company, Covered Trust Servicer Wilshire Credit Corp., were also

likely committing Events of Default as to the Mortgage Loans.

       202.     In July 2010, excerpts of the deposition of the infamous “robo-signer” Jeffrey

Stephan, an employee of GMAC, a Servicer for Mortgage Loans for at least three Covered Trusts,

were made publicly available. The deposition excerpts established that GMAC had a pattern and

practice of signing and filing false foreclosure affidavits without confirming the facts within them

were true, without checking to ensure the correct exhibits were attached, and without personal

knowledge of the facts asserted in the affidavits. Below are excerpts from Stephan’s deposition:

       Q: In your capacity as the team leader for the document execution team, do you have
       any role in the foreclosure process, other than the signing of documents?

       A: No.

                                         *       *       *

       Q: When you sign a summary judgment affidavit, do you check to see if all of the
       exhibits are attached to it?

       A: No.

       Q: Does anybody in your department check to see if all the exhibits are attached to
       it at the time that it is presented to you for your signature?

       A: No.

       Q: When you sign a summary judgment affidavit, do you inspect any exhibits
       attached to it?

       A: No.

                                         *       *       *

       Q: Is it fair to say when you sign a summary judgment affidavit, you don’t know
       what information it contains, other than the figures that are set forth within it?



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       A: Other than the borrower’s name, and if I have signing authority for that entity,
       that is correct.

                                           *       *       *

       Q: Mr. Stephan, do you recall testifying in your Florida deposition in December
       with regard to your employees, and you said, quote, they do not go into the system
       and verify that the information is accurate?

       A: That is correct.

This unequivocally established that GMAC filed false foreclosure affidavits as a part of its usual and

customary business practices, and thus it was committing Events of Default as to the many Mortgage

Loans in the Covered Trusts it was servicing.

       203.    By the fall of 2010, news stories proliferated about foreclosure abuses occurring

throughout the nation, recounting misconduct identical to that which U.S. Bank had just gone

through in Ibanez and many other cases, Wells Fargo had just gone through in Larace, and other

RMBS trustees had also widely experienced. Reports surfaced that loan servicers or RMBS trustees

routinely made false statements, and routinely used false or back-dated mortgage documents and

affidavits, many signed by fictitious persons, to improperly foreclose on thousands of borrowers.

This misconduct became widely known as the “robo-signing” scandal. Robo-signing included the

mass signing of foreclosure affidavits or certifications containing false information and false

exhibits, which were signed by fictitious persons or by people with fictitious titles, and which further

falsely claimed that the affiant had personal knowledge of the facts in the affidavits. Robo-signing

was clearly not the practice of a prudent loan servicer and was an Event of Default under the

Governing Agreements. Many of the Master Servicers and Servicers to the Covered Trusts were

implicated in the robo-signing scandal in news stories during 2010.

       204.    For example, in October 2010, GMAC was sued for fraud by the Attorney General of

Ohio. The Ohio Attorney General charged GMAC with routinely filing false affidavits in


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connection with foreclosure proceedings. The Ohio Attorney General stated that improper

foreclosure filings in that state were happening “over and over again.” He also stated that: “This

isn’t just sloppy paperwork. This is fraud being perpetrated against the courts.” The Ohio

Attorney General added: “The most important thing that lenders need to recognize is the

seriousness of the situation. They can’t pretend this is a fourth-grade student not quite filling in

the oval on a test. This is fraud.” Later, in December 2010, in testimony before the U.S. House

Judiciary Committee, Thomas Cox, an attorney for the Maine Attorneys Saving Homes project,

presented compelling evidence against GMAC, revealing that it was engaged in systemic foreclosure

fraud. Cox revealed how GMAC used thousands of false foreclosure affidavits signed by the

aforementioned “robo-signer” Jeffrey Stephan, which falsely attested under oath that he had

personal knowledge of the facts in his affidavits, that he had custody and control of loan

documents, and that the documents attached to his affidavits were “true and accurate” copies of

notes or mortgages. Cox testified that GMAC “filed thousands of Stephan’s [false] affidavits in

foreclosure cases all over the country in cases involving its own loans as well in cases where it was

servicing loans for Fannie Mae, Freddie Mac, and trustees of mortgage-backed securitized

trusts.” This information confirmed that GMAC’s standard servicing practices amounted to Events

of Default and that the Mortgage Loans were being so affected.

       205.    Cox also testified to instances of blatant foreclosure fraud by JPMorgan, which along

with its related companies, Servicers Chase Bank, EMC and WaMu Bank, were Master Servicers or

Servicers to at least ten of the Covered Trusts. Cox recounted several cases where JPMorgan used

“fraudulently created facts” and attempted to commit “fraud upon the court” in connection with

its foreclosures. Cox recounted a case where the U.S. Trustee was required to intervene into a

bankruptcy case in New York to file a motion for sanctions against JPMorgan, whereupon JPMorgan


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admitted to submitting false facts to the court. Based on his observations of JPMorgan’s routine

foreclosure practices, Cox testified that “JPMorgan Chase has engaged in pattern of filings in the

Bankruptcy Court for the Southern District of New York that is simply breathtaking in the scope

of dishonest and deceptive practices it reveals.” This information established that the JPMorgan

Master Servicers and Servicers engaged in a pattern and practice of fraudulent loan servicing which

were Events of Default under the Governing Agreements, and that the Mortgage Loans in the

Covered Trusts were similarly mis-serviced.

       206.    Cox also testified to the prevalence of foreclosure fraud by the loan servicing industry

in general: “I know from my personal experience over the past two and one half years that this

kind of servicer fraud-on-the-court activity is not isolated to GMAC Mortgage. It has been the

norm across the entire foreclosure industry, including the other servicers represented here today,

JPMorgan Chase and Bank of America.” Bank of America and JPMorgan and their related

companies were Servicers to at least nine of the Covered Trusts. Cox’s testimony expressly reported

that fraudulent foreclosure practices amounting to Events of Default were occurring “across the

entire foreclosure industry” and were thus not isolated. Given these universal practices, U.S. Bank

obtained knowledge that the Mortgage Loans in the Covered Trusts were being similarly mis-

serviced by the Master Servicers and Servicers. Indeed, over two years later, after the massive scope

of this misconduct became known to those outside of the loan servicing and RMBS trustee

industries, Yale Law School Professor Raymond Brescia stated: “‘I think it’s difficult to find a

fraud of this size on the U.S. court system in U.S. history . . . . I can’t think of one where you

have literally tens of thousands of fraudulent documents filed in tens of thousands of cases.’”

       207.    In October 2010, the Ohio Attorney General was also scrutinizing other loan servicers

and had sent them letters seeking information about their robo-signing practices. The loan servicers


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receiving letters from the Ohio Attorney General included Covered Trust Master Servicers/Servicers

Bank of America (which included its related Servicers CHLS/BACHLS and Wilshire Credit Corp.),

JPMorgan (which included its related Servicers Chase Bank, EMC and WaMu Bank) and Wells

Fargo. The above three Master Servicers/Servicers receiving letters from the Ohio Attorney General

serviced (through themselves and their related companies) Mortgage Loans in 21 of the 25 Covered

Trusts. Together with GMAC (which, as alleged above, had already been sued by the Ohio Attorney

General for false foreclosure affidavits), the Ohio Attorney General was thus investigating

widespread misconduct amounting to Events of Default by the Master Servicers and Servicers for 23

of the 25 Covered Trusts at issue herein, or in other words, virtually all of the Covered Trusts. It

was also announced in October 2010 that the U.S. House Judiciary Committee had sent similar

letters to most of the major loan servicers demanding the production of documents relating to their

robo-signing and foreclosure practices. The Master Servicers and Servicers to the Covered Trusts

receiving letters from the House Judiciary Committee included JPMorgan, Wells Fargo, PNC (which

included its Servicer, National City), GMAC and Bank of America. These servicers and their related

companies were Master Servicers or Servicers to most of the Covered Trusts. These events caused

U.S. Bank to know that the Master Servicers and Servicers to nearly all of the Covered Trusts were

implicated in widespread loan servicing misconduct amounting to Events of Default in October

2010, and because of the scope of the misconduct U.S. Bank also knew that the Mortgage Loans in

the Covered Trusts were undoubtedly experiencing Events of Default.

       208.    In fact, on October 4, 2010, California state assemblyman Ted Lieu, who had written

a series of mortgage-related bills, was interviewed about the rash of improper loan servicing and

foreclosure issues. He reported that he had requested that the State of California institute a

moratorium on foreclosures there due to an epidemic of foreclosure fraud by loan servicers, and


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further elaborated on the reach of their misconduct: “[W]at we have here is massive fraud being

perpetrated on the courts. . . . We’re talking about hundreds of thousands of foreclosures that are

now at risk because of what these robo-signers are doing. . . . [Credit rating agency] Fitch . . . has

come out and stated that they believe that this is an industry wide practice. . . . [Y]ou just had [a]

basic level failure to follow existing laws. And you have people that are falsifying documents in

front of judges. . . . You imagine what is going on in 27 other [non-judicial foreclosure] states

where you don’t have any judicial oversight.” This clearly communicated the nationwide scope of

the misconduct and confirmed that the Mortgage Loans in the Covered Trusts were affected.

          209.   There was yet additional corroborating information disseminated in October 2010 that

caused U.S. Bank to know that the Master Servicers and Servicers were committing Events of

Default with respect to the Mortgage Loans in the Covered Trusts. For example, in October 2010,

an article in the Miami Daily Business Review reported on a Florida attorney who had 150 deposition

transcripts from people who signed foreclosure affidavits for loan servicers. The news article

reported that the deposition transcripts included testimony from employees of Aurora, JPMorgan,

Countrywide, American Home Mortgage Servicing and Wells Fargo, each a Master Servicer or

Servicer to one or more of the Covered Trusts. In fact, these five Master Servicers/Servicers (and

their related companies) serviced Mortgage Loans in one or more of each of the 25 Covered

Trusts at issue herein. The attorney was quoted as saying that the 150 depositions “prove flawed

foreclosure documents are part of a fraudulent system, not sloppy procedures” by loan servicers.

The attorney stated: ‘“We are not talking about a mistake. We are talking about perjury,

crime . . . . This is system-wide . . . .’” The Miami Daily Business Review article reported the

following information concerning Wells Fargo, a Master Servicer or Servicer to at least 12 Covered

Trusts:


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               In one of the depositions provided by [attorney] Tiktin, a Wells Fargo
       employee, Xee Moua, admitted signing 300 to 500 documents including affidavits,
       substitutions of plaintiff, deeds and judgment affidavits in a two hour period on any
       given day.

              Moua said she only attended six months of college before dropping out. She
       then worked as an office clerk and customer service representative at a medical
       supplies firm and a blinds and shades company in North Carolina before she was
       hired by Wells Fargo as a document processor. According to the transcript of the
       deposition, asked if she checked the information on the documents she was
       signing, Moua said, “I do not. That’s not part of my job.”

               She said she only checked to see if her own information, such as her title, was
       correct.

              Her understanding, she said, was that either the law firm handling the
       foreclosure or a Wells Fargo processor assigned to the loan had checked the
       information. Yet, she was the person authorized by the bank to sign the
       documentation.

            The documents she signed identified her as vice president of loan
       documentation, according to the transcript, but that wasn’t her actual title.

             She said she was given that title to sign documents. She said other
       employees were given the same title for signing court documents.

This news article established that the Master Servicers and Servicers to the Covered Trusts were

engaging in Events of Default as a matter of course, and therefore were also committing Events of

Default as to the Mortgage Loans in all of the Covered Trusts.

       210.    Further confirming that the Covered Trusts were experiencing Events of Default at

the hands of the Covered Trusts’ Master Servicers and Servicers were the numerous news articles in

late October 2010 reporting that U.S. banking regulators were investigating virtually the entire loan

servicing industry. As one news report stated, U.S. banking regulators were “conducting an

intensive probe of reportedly false foreclosure affidavits used by major U.S. financial institutions to

evict thousands of American homeowners.” Although it was not publicly known at that time which

loan servicers were being investigated, U.S. Bank knew that its own loan servicing practices, as well



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as those of most of the Master Servicers and Servicers to the Covered Trusts, were part of the

investigation.

       211.      Also in October 2010, U.S. congressmen and women from the state of Connecticut

wrote to the U.S. Attorney General asking for a full investigation of the loan servicing industry.

They stated:

              With foreclosure rates at record levels and disturbing reports of
       malfeasance coming to light daily, we are writing to support your effort to examine
       improper and potentially illegal actions of financial institutions in dealing with
       mortgage modifications and foreclosures. We urge you to use all the tools at your
       disposal to fully investigate this matter.

              Recently JP Morgan Chase, Ally Financial [i.e., GMAC], and Bank of
       America, among others, have come under fire for practices such as “robo-
       signing,” signing foreclosure forms without even reading them, and even forging
       documents outright. Such practices have led to wrongful foreclosures on an
       untold number of households that have not defaulted on their mortgages.

               Connecticut’s Attorney General Richard Blumenthal has called for a 60 day
       moratorium on all foreclosures until we learn more about the extent of these
       practices. Officials across the country have followed suit – in Texas, where the
       Attorney General has ordered a suspension of foreclosures; in Massachusetts, where
       the Attorney General has also called for [a] moratorium; in Ohio, where the Attorney
       General has filed suit against Ally Financial [GMAC], and in many other states. We
       applaud these actions and believe a moratorium on foreclosures is essential until the
       integrity of this process is evaluated.

               Unfortunately, improper actions on the part of banks and financial lenders
       are something we have witnessed with increasing frequency. In the past two years,
       the number of foreclosure cases we have received in our respective offices has
       increased significantly. . . . We have routinely dealt with unprofessional behavior
       on the part of the banks, including strategically mismanaging paperwork; tacking
       on extra fees; or stringing families along through trial periods only to deny
       modifications.

              After their practices helped bring about a financial and economic crisis, JP
       Morgan Chase, Ally Financial [GMAC], and Bank of America were all saved by
       the taxpayers. Now the practices of these financial institutions are continuing to
       drag down the economy as they try to maintain their bottom line at the expense of
       American families. We urge you to hold these institutions accountable and to
       conduct a full investigation into their practices.



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       212.    It was also reported in October 2010 that the Attorney Generals of all 50 states were

similarly investigating “whether mortgage lenders falsified affidavits attesting to their review and

verification of foreclosure documents, as well as whether they failed to sign the affidavits in the

presence of a notary public.” Numerous news stories reported on the investigation. CNNMoney

reported: “The [50-state] inquiry will be led by Iowa Attorney General Tom Miller.” Attorney

General Miller stated: “‘This group has the backing of nearly every state in the nation to get to the

bottom of this foreclosure mess, and we plan to work together as thoroughly and expeditiously as

possible . . . .’” The Washington Post further reported:

              Indiana Attorney General Greg Zoeller said investigators initially will focus
       on whether industry employees – so-called “robo-signers” – signed off on
       thousands of foreclosures every month without reviewing the files as legally
       required. Homeowner attorneys also allege that lenders forged signatures and
       improperly notarized documents.

               Such actions might have violated laws against unfair and deceptive trade
       practices, which could result in civil penalties. Typically the laws have been used to
       protect consumers from false advertising, but state officials say they could also be
       applied to foreclosure.

The Independent reported:

               North Carolina yesterday joined a number of states pursuing legal efforts to
       slow the tide of repossessions and protect homeowners from what several attorneys
       general now say are improper foreclosure procedures. What began as a trickle of
       stories about unusual administrative practices by lenders and the firms they use to
       process foreclosure documents, has unleashed a torrent of public and political
       anger that threatens to derail banks’ efforts to recoup losses on delinquent
       mortgages.

              Already, several major banks have suspended foreclosure work in states
       where a repossession must be approved by the courts . . . .

              North Carolina Attorney General Roy Cooper said his office expanded its
       inquiry into improper foreclosure processes, and asked the state’s 15 largest
       mortgage lenders to suspend home repossessions in the state.

               Investigators are particularly concerned that banks have signed large
       numbers of foreclosure affidavits without conducting a proper review, or ensuring
       that the foreclosures fully comply with state law, Mr. Cooper said. “Foreclosures

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       have to happen when people don’t pay, but homeowners deserve a fair shot at
       keeping their homes when possible.”

              On Tuesday, Texas Attorney General Greg Abbott wrote to 30 of the biggest
       lenders demanding they stop evictions and the sale of foreclosed homes until they
       can provide assurances that they are acting in full compliance with the law.

Illinois Attorney General Lisa Madigan demanded that 25 loan servicers – including nearly all of the

Master Servicers and Servicers to the Covered Trusts – provide her with information about their

foreclosure practices. Attorney General Madigan stated: “The same mortgage giants and big banks

that fraudulently put people into unfair loans are now fraudulently throwing people out of their

homes. They should not be above the law. Illinois homeowners are legally entitled to a

foreclosure process that is transparent, accurate and fair.”

       213.    Similarly, throughout the month of October 2010, multiple additional news reports

surfaced about many of the specific Master Servicers or Servicers to the Covered Trusts, reporting

that they were widely and routinely engaged in robo-signing and other improper loan servicing

practices. For example, during October 2010, it was reported that American Home Mortgage

Servicing, a Servicer to at least two of the Covered Trusts, was using false, robo-signed foreclosure

documents. There was a separate news report also in October 2010 revealing that IndyMac, a

Servicer for at least one Covered Trust, was also using false affidavits in foreclosure proceedings,

even after IndyMac had been taken over by the FDIC. The Providence Journal reported that the

former IndyMac employee involved in signing the false affidavit had previously admitted in a

deposition to signing about 6,000 documents a week which she did not read before signing. Also,

during October 2010, it was reported that Wells Fargo, a Master Servicer or Servicer to at least 12 of

the Covered Trusts, admitted that its employees signed hundreds of foreclosure documents daily

without reading them.




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       214.    Several Master Servicers and Servicers to the Covered Trusts were forced to

temporarily shut down their foreclosures in October 2010. Covered Trust Servicers Bank of

America, JP Morgan, National City (through its owner PNC) and GMAC – which collectively

serviced Mortgage Loans in 16 of the 25 Covered Trusts through themselves and their related

companies – were among those halting their foreclosures on tens of thousands of mortgage loans. It

was reported that JPMorgan alone halted foreclosures on 56,000 loans. Bank of America was also

reported to have frozen its foreclosure sales, and was re-submitting 102,000 affidavits in its

foreclosure proceedings. Covered Trust Master Servicer/Servicer Wells Fargo was reported to have

submitted additional documents for approximately 55,000 of its foreclosures. These delays and re-

submissions of documents caused massive losses to RMBS trusts and investors, including plaintiff

and the class, as the delays and resubmissions allowed the losses from defaulted loans to grow, and

were accompanied by the inclusion of improper and excessive additional fees and costs (such as

additional court fees, attorneys’ fees, taxes, insurance and maintenance costs) the Servicers

improperly assessed during the delays caused by their own misconduct. This caused escalating

losses to RMBS investors, including plaintiff and the class. As the FHFA stated: “Delays in

foreclosures add cost and other burdens for [RMBS] investors . . . .” A report by Amherst Securities

Group LP in February 2012 noted that the average delinquency time for liquidated loans had grown

from 21 months in September 2010 to 26 months by February 2012, and the average delinquency

time for non-performing (i.e., not liquidated yet) loans had grown from 19 months in September

2010 to 24 months by February 2012, which demonstrated “the delay created by the [loan

servicers’] robo-signing actions.” The report further stated that “we believe the remaining loans

will stay in the [delinquency] pipeline for another 12-15 months,” further demonstrating the

compounding delays caused by robo-signing and the massive losses it caused plaintiff, the class and


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the Covered Trusts. Law professor Frank Alexander commented on the reasons these Servicers were

forced to shut down their foreclosures: “‘It reflects that the lenders have a low level of confidence in

their paperwork. . . . It also shows a low level of confidence in their own ability to do it and to do it

right.’” Alexander said it also raised a serious question: “‘Does the lender have a legal right to do a

foreclosure?’” This demonstrated that these Servicers’ shoddy practices were not only Events of

Default but were also causing plaintiff and the class massive losses.

        215.    Also in October 2010, as a result of widespread foreclosure fraud in the state of New

York, the courts there instituted new requirements for foreclosure proceedings, requiring that

attorneys first verify that their foreclosure documents were accurate.

        216.    On October 31, 2010, the Houston Chronicle reported that the SEC had sent letters to

loan servicers “urg[ing] [them] to disclose their expected losses from flawed foreclosure

documents.” The Houston Chronicle further reported:

               The letter was sent because of “concerns about potential risks and costs
        associated with mortgage and foreclosure-related activities,” the SEC said.

                Federal regulators and attorneys general from all 50 states are
        investigating whether loan-servicing companies used improper procedures during
        foreclosure proceedings, including so-called “robosigners” who didn’t check
        documentation. Investors such as Pacific Investment Management Co. have
        demanded that banks buy back faulty loans that were bundled into bonds.

                Banks should set aside funds for litigation and “other contingencies when it is
        probable” that they will have losses, the letter said. If companies can’t estimate
        losses, then they should say so, the SEC said.

               JP Morgan Chase & Co., Bank of America Corp., Wells Fargo & Co. and
        Citigroup have set aside a combined $10 billion to cover buybacks. SEC
        spokesman John Nester declined to say which banks received the letter.

The magnitude of these loan servicers’ loss reserves was yet another confirmation that the Covered

Trusts’ Mortgage Loans were experiencing Events of Default.




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         217.   Further evidence establishing that the Master Servicers and Servicers to the Covered

Trusts were committing Events of Default as to the Mortgage Loans is found in the Covered Trusts’

accelerating losses.    The delays and invalidations of foreclosures caused by the Master

Servicers’/Servicers’ robo-signing, other foreclosure chicanery, and other loan servicing misconduct,

were causing the Covered Trusts to incur extremely large losses by October 2010, as the costs to

attempt to correct the Master Servicers’ and Servicers’ Events of Default were extremely high.

Moreover, large additional losses were caused when the Master Servicers’ and Servicers’

misconduct caused numerous foreclosures on Mortgage Loans to be invalidated. In addition, the

long delays caused by the Master Servicers’/Servicers’ misconduct allowed them to improperly

charge excessive additional servicing fees and costs to the Covered Trusts, thereby further adding to

the Covered Trusts’ accelerating losses. As a result, the Covered Trusts’ realized losses had more

than tripled, from approximately $930 million in January 2009, to over $3.5 billion by October

2010, due in part to the Master Servicers’/Servicers’ Events of Default. The chart below sets forth

the Covered Trusts’ cumulative loses, as reported in October 2010, which were caused in part by

Events of Default committed by the Master Servicers and Servicers with respect to the Mortgage

Loans:

          Covered Trusts’ Cumulative Realized Losses Reported in October 2010
                     Covered Trust                 Cumulative Realized Losses
         BAFC 2007-C                                     $ 64,736,543
         BNCMT 2007-2                                    $ 177,167,446
         BSABS 2006-AC2                                  $ 49,878,286
         BSABS 2006-AC5                                  $ 28,326,051
         GPMF 2007-AR1                                   $ 272,132,506
         GPMF 2007-AR2                                   $ 219,080,070
         GPMF 2007-AR3                                   $ 62,821,194
         HEAT 2006-5                                     $ 190,687,910
         HEAT 2006-6                                     $ 202,873,816
         LXS 2006-1ON                                    $ 187,821,076
         LXS 2006-15                                     $ 125,152,424
         LXS 2007-7N                                     $ 210,081,201

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          Covered Trusts’ Cumulative Realized Losses Reported in October 2010
                    Covered Trust                  Cumulative Realized Losses
        MABS 2006-HE2                                    $ 147,318,294
        MLMI 2006-WMC2                                   $ 301,196,801
        SARM 2006-9                                      $ 34,228,128
        SASC 2006-NC1                                    $ 235,085,536
        SASC 2006-WF2                                    $ 176,712,854
        SASC 2006-WF3                                    $ 183,330,681
        SASC 2007-EQ1                                    $ 115,214,504
        SASC 2007-WF1                                    $ 130,272,863
        WMALT 2006-AR4                                   $ 134,238,561
        WAMU 2006-AR13                                   $ 87,034,430
        WAMU 2006-AR17                                   $ 68,768,305
        WAMU 2006-AR19                                   $ 84,875,698
        WAMU 2007-OA2                                    $ 75,982,192
          Covered Trusts’ Total Realized Losses:         $3,565,017,370

       218.    Given the numerous public events occurring from the beginning of 2008 through the

end of October 2010 involving widespread loan servicing misconduct by nearly all of the Master

Servicers and Servicers to the Covered Trusts, which impacted the Mortgage Loans in the Covered

Trusts, the expansive scope of the federal and state investigations concerning most of the Covered

Trusts’ Master Servicers and Servicers that were ongoing, U.S. Bank’s direct experience with loan

servicing defaults, and the Covered Trusts’ mushrooming losses, U.S. Bank acquired actual

knowledge that the Master Servicers and Servicers to the Covered Trusts were committing Events of

Default with respect to the Mortgage Loans as early as the end of October 2010.

                      b.      Numerous Events that Occurred After October 2010
                              Further Confirmed for U.S. Bank that the Master
                              Servicers and Servicers Were Committing Events of
                              Default as to the Mortgage Loans in the Covered Trusts

       219.    Nonetheless, even after October 2010, numerous amounts of additional public

information came to light which confirmed to U.S. Bank that the Master Servicers and Servicers had

and were continuing to commit Events of Default as to the Mortgage Loans in the Covered Trusts.

For example, in November 2010, U.S. Treasury Department Assistant Secretary Michael Barr


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provided an update on the investigation of loan servicers by U.S. banking regulators. Barr

announced that they were uncovering “widespread” and “inexcusable” breakdowns in the

industry’s loan servicing practices. Barr stated: “These problems must be fixed.” Given that U.S.

Bank knew it and the Master Servicers/Servicers were the targets of that investigation, this

confirmed for U.S. Bank that the Master Servicers and Servicers were committing Events of

Default concerning Mortgage Loans in the Covered Trusts.

        220.    Also in November 2010, Legal Services of New Jersey provided a report to the New

Jersey Supreme Court that was made public, detailing numerous instances of robo-signing, false

certifications and affidavits, in connection with foreclosure proceedings in New Jersey and

throughout the nation. The report, which was supported by evidentiary exhibits such as deposition

transcripts of robo-signers indicating that they lied in court documents, falsified and back-dated

documents, and other evidence of fraud, concluded that “[a] great volume of national information

. . . suggests a pervasive, industry-wide pattern of false statements and certifications at various

stages of foreclosure proceedings.”         The report noted that the “[c]ommon practices and

characteristics” that Legal Services of New Jersey found in foreclosure proceedings throughout the

nation consisted of: (a) affiants claiming personal knowledge of facts that the affiant had no personal

knowledge of; (b) failure to review documents and evidence on which certifications were based;

(c) actual false statements about when and how a loan has been transferred; (d) false identification of

signatory (e.g., an employee of a servicer will be identified as a vice president, or similar title, of the

foreclosing mortgagee); (e) forged signatures; and (f) improperly notarized documents. The report

further specifically implicated many of the Master Servicers and Servicers to the Covered Trusts in

the nationwide misconduct, including GMAC, Bank of America, JPMorgan, EMC, Wilshire Credit

Corp., Wells Fargo and IndyMac, and even noted that U.S. Bank was involved in a number of the


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fraudulent foreclosure cases. Given U.S. Bank’s involvement in numerous fraudulent foreclosures

involving most of the Covered Trusts’ Master Servicers and Servicers, U.S. Bank knew that there

were Events of Default occurring with respect to the Mortgage Loans in the Covered Trusts.

       221.     Thereafter, on December 20, 2010, New Jersey Administrative Director of the Courts,

Judge Grant, took the extraordinary step of issuing an administrative order requiring 24 loan

servicers and RMBS trustees to file certifications demonstrating that there were no irregularities in

the handling of their foreclosure proceedings. The order was directed at, among others, Aurora,

PHH, PNC (and therefore its Servicer National City) and SunTrust, all Master Servicers or Servicers

to the Covered Trusts. The order was also directed at U.S. Bank, because it had been involved in

numerous questionable foreclosures and also because it was a loan servicer. Judge Grant’s order

cited specific instances of improper foreclosures by Covered Trust Master Servicers/Servicers Bank

of America, JPMorgan, GMAC, IndyMac (through OneWest Bank) and Wells Fargo, which, through

themselves and their related companies collectively serviced Mortgage Loans in 23 of the 25

Covered Trusts. That same day, Judge Jacobson of the Superior Court of New Jersey in Mercer

County issued an order to show cause directed at GMAC, Bank of America, BACHLS (and

therefore its predecessor CHLS), Chase Bank, Wells Fargo and IndyMac (through OneWest Bank),

among others.     In the Matter of Residential Mortg. Foreclosure Pleading and Document

Irregularities, No. F-059553-10, Order to Show Cause (N.J. Super. Ct., Mercer Cnty. Dec. 20, 2010)

These Master Servicers and Servicers serviced Mortgage Loans for at least 17 of the Covered

Trusts. Judge Jacobson ordered these Master Servicers and Servicers to show cause why Judge

Jacobson “should not suspend the processing of all foreclosure matters involving” them. Id. at 2.

The order to show cause further held that these Master Servicers and Servicers were selected for

scrutiny because of their “public record of questionable practices that this court must address now


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in its supervisory capacity over the processing of foreclosure matters.” Id. The court further held

that “deposition testimony provided by employees” of these Master Servicers and Servicers “raised

serious questions about the accuracy and reliability of documents submitted to courts by lenders

and service providers in support of foreclosure complaints.” Id. at 3. Further, the court held that

“it appear[ed] that the execution of affidavits, certifications, assignments, and other documents in

numerous residential mortgage foreclosure actions in New Jersey and elsewhere may not have

been based on personal knowledge in violation of the Rules of Court and may thus be unreliable.”

Id. These events also caused U.S. Bank to know that there were Events of Default by the Master

Servicers and Servicers with respect to the Mortgage Loans in the Covered Trusts.

       222.    Information also began to surface concerning loan servicers’ improper servicing

practices that put their financial interests ahead of the RMBS investors. Such loan servicing

practices were obvious Events of Default because the servicers were required to service the loans for

the benefit – not detriment – of the RMBS investors. For example, in December 2010, in a U.S.

Senate Banking, Housing and Urban Affairs Committee hearing, law professor Kurt Eggert testified

concerning the financial incentives the loan servicers had to service mortgage loans in RMBS trusts

to their financial advantage and against RMBS investors’ interests. Professor Eggert testified that

loan servicers were incentivized to initiate foreclosures and then extend them since it allowed the

servicers to add improper and excessive “junk fees” to the amount owed by borrowers. Then, when

the mortgages were finally foreclosed and the properties sold, the loan servicers’ improper “junk

fees” would be paid first, before any remaining amount was remitted to the RMBS trusts, thus

generating substantial fees for the servicers but taking money away from RMBS investors like

plaintiff and the class. Professor Eggert further testified about how loan servicers were incentivized




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in many cases to attempt to foreclose on a loan, rather than to seek a modification which might inure

to RMBS investors’ financial benefit.

       223.      Professor Eggert also pointed out that, in many instances, the loan servicers were also

the originators and warrantors of the mortgage loans in the trusts, and therefore would have firsthand

knowledge of any breaches of their representations and warranties. As previously alleged, many of

the Warrantors to the Covered Trusts were also the Master Servicers or Servicers of the very same

Mortgage Loans they warranted. Under the Governing Agreements, the Master Servicers and

Servicers were required to notify U.S. Bank (and others) when they discovered breaches of even

their own representations and warranties concerning the Mortgage Loans. See, e.g., BAFC 2007-C

PSA, §2.02 (Warrantor/Servicer Bank of America to notify U.S. Bank of Bank of America’s

breaches of representations and warranties under MLPA). Yet these Master Servicers and Servicers

did not notify anyone of their breaches as required by the Governing Agreements because they

would basically be “ratting” themselves out, and therefore would have to pay for their own breaches,

by curing, substituting or repurchasing the defective Mortgage Loans. Of course, as alleged above,

U.S. Bank already knew of the breaches itself. It further knew the Master Servicers/Servicers

breached the Governing Agreements by failing to disclose their own breaches. This caused the

Covered Trusts to be filled with numerous defective, breaching, non-performing Mortgage Loans.

       224.      The chart below sets forth the Covered Trusts and the Warrantors (and their related

companies) that also serviced or master serviced the very same Mortgage Loans which they had

warranted:

       Covered                              Warrantors                             Master Servicers
        Trust                Loan Seller/Sponsor       Other Transferors            and Servicers
BAFC 2007-C               Bank of America                                      Bank of America
BNCMT 2007-2              Lehman                                               Aurora (owned by
                                                                                 Lehman until 2012)
BSABS 2006-AC2            EMC                                                  EMC
BSABS 2006-AC5            EMC                                                  EMC
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     Covered                      Warrantors                           Master Servicers
      Trust        Loan Seller/Sponsor       Other Transferors          and Servicers
GPMF 2007-AR1     Lehman                  GreenPoint               Aurora (Lehman)
                                                                     GreenPoint
GPMF 2007-AR2     Lehman                  GreenPoint               Aurora (Lehman)
                                                                     GreenPoint
GPMF 2007-AR3     Lehman                  GreenPoint               Aurora (Lehman)
                                                                     GreenPoint
HEAT 2006-5       DLJ Mortgage                                      Select Portfolio
                   Capital, Inc. (owned                               Servicing (also
                   by Credit Suisse)                                  owned by Credit
                                                                      Suisse)
HEAT 2006-6       DLJ Mortgage                                      Select Portfolio
                   Capital, Inc. (owned                               Servicing (also
                   by Credit Suisse)                                  owned by Credit
                                                                      Suisse)
LXS 2006-10N      Lehman                      Countrywide          Aurora (Lehman)
                                               IndyMac              CHLS (owned by
                                               SunTrust              Countrywide)
                                               Bank of America      IndyMac
                                               GMAC                 SunTrust
                                               Wells Fargo          Bank of America
                                                                     GMAC
                                                                     Wells Fargo
LXS 2006-15       Lehman                  Aurora                   Aurora (Lehman)
LXS 2007-7N       Lehman                  AHM                      Aurora (Lehman)
                                           Countrywide              American Home
                                                                      Mortgage Servicing
                                                                      (owned by AHM)
                                                                     CHLS
                                                                      (Countrywide)
MABS 2006-HE2                              New Century              New Century
MLMI 2006-WMC2    Merrill Lynch                                     Wilshire Credit
                   Mortgage Lending,                                  Corp. (owned by
                   Inc. (owned by Bank                                Bank of America)
                   of America)
SARM 2006-9       Lehman                  Countrywide            Aurora (Lehman)
                                           PHH                    CHLS
                                                                      (Countrywide)
                                                                     PHH
SASC 2006-NC1     Lehman                                            Aurora (Lehman)
SASC 2006-WF2     Lehman                  Wells Fargo              Aurora (Lehman)
                                                                     Wells Fargo
SASC 2006-WF3     Lehman                  Wells Fargo              Aurora (Lehman)
                                                                     Wells Fargo


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       Covered                            Warrantors                              Master Servicers
        Trust              Loan Seller/Sponsor       Other Transferors             and Servicers
SASC 2007-EQ1             Lehman                  EquiFirst (owned          Aurora (Lehman)
                                                          by Barclays)        HomEq Servicing
                                                                               (also owned by
                                                                               Barclays)
SASC 2007-WF1             Lehman                    Wells Fargo             Aurora (Lehman)
                                                                              Wells Fargo
WMALT 2006-AR4            Washington Mutual                                  WaMu
                             Mortgage Securities
                             Corp. (owned by
                             WaMu)
WAMU 2006-AR13              WaMu                                               WaMu
WAMU 2006-AR17              WaMu                                               WaMu
WAMU 2006-AR19              WaMu                                               WaMu
WAMU 2007-OA2               WaMu                                               WaMu

       225.      As the foregoing shows, there were either Master Servicers or Servicers that serviced

the very same Mortgage Loans that they had warranted in every Covered Trust, or related companies

that both warranted and serviced the very same Mortgage Loans in every Covered Trust. This

guaranteed that the Master Servicers and Servicers would not admit to their own breaches. Indeed,

with respect to the five WaMu Covered Trusts, since WaMu or its subsidiary both warranted and

serviced the Mortgage Loans in those Covered Trusts, and WaMu was also supposed to enforce the

representation and warranty claims against itself under those Covered Trusts’ Governing

Agreements, it was a foregone conclusion that no representation and warranty claims would be

made. In addition, in an outrageous conflict of interest, and to ensure that U.S. Bank (or its

predecessor or successor Trustees) would not seek to ensure the enforcement of representation and

warranty claims against WaMu, WaMu also paid U.S. Bank’s trustee fees for the WaMu Covered

Trusts, thereby buying U.S. Bank’s silence and inaction which further injured plaintiff and the class.

This led to the situation pointed out by Professor Eggert where the Master Servicers and Servicers

would further breach their duties under the Governing Agreement by failing to declare their own

breaches of their representations and warranties. In any event, as previously alleged, U.S. Bank

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already knew of the Warrantors’ massive breaches, and therefore also knew that the Warrantors

who were also Master Servicers/Servicers had not disclosed their breaches. These failures to

disclose by the Master Servicers/Servicers were also Events of Default of which U.S. Bank was

aware.

         226.   Professor Eggert also testified that loan servicers owned large numbers of second lien

loans while the RMBS trusts owned the majority of first lien loans. This incentivized loan servicers

to refuse to modify first lien loans in ways that benefitted RMBS investors because it would harm

the servicers’ interests in their second lien loans, which second liens were typically extinguished in a

modification, thus causing losses to the loan servicers. These perverse incentives, which caused loan

servicers to service the mortgage loans in ways which hurt RMBS investors instead of benefitting

them as required by the Governing Agreements, were yet additional Events of Default under the

Governing Agreements. U.S. Bank undoubtedly knew of this misconduct because it was a loan

servicer itself and was either directly involved in such misconduct, or at least could easily spot such

Events of Default. Given the long delinquencies and delayed and invalidated attempts to foreclosure

many of the Mortgage Loans in the Covered Trusts, U.S. Bank knew that the Master

Servicers/Servicers to the Covered Trusts were committing these Events of Default also.

         227.   The FCIC Report released in January 2011 further confirmed the existence of loan

servicers’ conflicts of interests with RMBS investors which led to Events of Default by the Covered

Trusts’ Master Servicers/Servicers. The FCIC reported that loan servicers were improperly denying

borrowers loan modifications under the U.S. Government’s HAMP program, a program which was

created to assist borrowers with obtaining mortgage loan modifications and avoid foreclosures.

FCIC Report at 405. Most of the Master Servicers and Servicers had joined the HAMP program and

had agreed to modify qualifying loans and borrowers in exchange for monetary compensation. The


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FCIC Report noted that Diane Thompson of the National Consumer Law Center testified before the

U.S. Senate’s Banking, Housing, and Urban Affairs Committee that “‘[o]nly a very few of the

potentially eligible borrowers have been able to obtain permanent modifications. Advocates

continue to report that borrowers are denied improperly for HAMP . . . and that some servicers

persistently disregard HAMP applications.’” Id. The FCIC Report also noted that a Moody’s

Investors Service managing director “learned that a survey of servicers indicated that very few

troubled mortgages were being modified.” Id. at 223.

          228.   As previously alleged, loan modifications in many cases were beneficial to RMBS

investors because a borrower which continued to make loan payments – even reduced modified

payments – could be much more profitable to RMBS investors over time than a borrower who had

ceased making payments and who was foreclosed on in a depressed real estate market. The FCIC

Report also confirmed that loan servicers had incentives to push loans into foreclosure rather than to

modify them in a manner that would benefit RMBS investors because the servicers collected large

fees from foreclosures. The FCIC also reported on how loan servicers have been sued by RMBS

investors because loan servicers were encouraging borrowers to make payments on their second lien

loans owned by the servicers, instead of making payments on the first lien loans owned by the

RMBS trusts. FCIC Report at 406. The FCIC concluded that there were “powerful competing

interests, including those of the holders of first and second mortgages and of mortgage servicers,” id.

at 410, which were contributing to the financial crisis and leading to large losses by the RMBS

trusts.

          229.   In addition, the FCIC Report further re-confirmed the robo-signing scandal, and even

specifically identified the previously alleged GMAC employee and FCIC-described “‘robo-

signer[]’” Jeffrey Stephan. FCIC Report at 407. The FCIC reported that Stephan “said that he


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signed 10,000 affidavits in a month – roughly 1 per minute, in a 40-hour workweek – making it

highly unlikely that he verified payment histories in each individual case of foreclosure.” Id. The

FCIC Report also noted testimony given by New York State Supreme Court Justice F. Dana

Winslow to the U.S. House Judiciary Committee. Justice Winslow testified that the loan servicing

issues had become so prevalent that a RMBS trustee’s standing to foreclose had “‘become . . . a

pervasive issue.’” Id. The FCIC Report further documented numerous other improper loan servicing

practices that Justice Winslow had observed in foreclosure cases, such as:

          [T]he failure to produce the correct promissory notes in court during foreclosure
          proceedings; gaps in the chain of title, including printouts of the title that have
          differed substantially from information provided previously; retroactive
          assignments of notes and mortgages in an effort to clean up the paperwork
          problems from earlier years; questionable signatures on assignments and affidavits
          attesting to the ownership of the note and mortgage; and questionable notary
          stamps on assignments.

Id. at 407-08.

          230.   In February 2011, news reports surfaced concerning more robo-signing issues with

yet another Servicer to the Covered Trusts. On February 25, 2011, Dow Jones Business News

reported that SunTrust, a Servicer to at least one of the Covered Trusts, had “discovered problems”

with 4,000 of its foreclosures and that “‘robo-signing’” was involved, including false statements by

SunTrust employees that they had verified certain facts when in fact they had not.

          231.   The events that occurred from November 2010 until February 2011 further

corroborated and further confirmed to U.S. Bank that the Master Servicers and Servicers were

committing widespread Events of Default that undoubtedly reached the Mortgage Loans in the

Covered Trusts. However, by April 13, 2011, there was absolutely no doubt that the Master

Servicers and Servicers committed Events of Default concerning the Mortgage Loans in the Covered

Trusts.


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                       c.      By April 13, 2011 U.S. Bank Absolutely Knew that the
                               Covered Trusts’ Master Servicers and Servicers Had
                               Committed Events of Default with Respect to the
                               Mortgage Loans in the Covered Trusts

       232.    On April 13, 2011, major events transpired that conclusively established that the

Master Servicers and Servicers to the Covered Trusts were systematically engaged in deliberate and

large scale practices which were Events of Default under the Governing Agreements, and that such

misconduct extended to the Mortgage Loans in the Covered Trusts. On April 13, 2011, the U.S.

Government released a report entitled “Interagency Review of Foreclosure Policies and Practices”

(hereinafter the “Government Foreclosure Report”) and took sweeping actions against 14 loan

servicers, which together represented nearly 70% of the entire loan servicing industry and nearly

36.7 million serviced mortgage loans. The government agencies found “foreclosure-processing

weaknesses that [had] occurred industrywide.” The Government stated that it was taking action

against the 14 loan servicers because it had identified “unsafe and unsound [foreclosure] practices

and violations of applicable . . . law.” Among the offending 14 loan servicers were nearly all of the

Master Servicers and Servicers to the Covered Trusts (and their related companies) and U.S. Bank

too. Each had entered into consent cease and desist orders or consent orders with the U.S.

Treasury’s OCC, the Federal Reserve, the OTS and/or the FDIC wherein they all essentially

admitted to (i.e., they did not deny or contest) facts that conclusively established that they had

systematically failed to service mortgage loans prudently or in accordance with the standards set

forth in the Governing Agreements. In other words, nearly all of the Master Servicers and Servicers

to the Covered Trusts admitted that they had engaged in systematic Events of Default under the

Governing Agreements. Acting Comptroller of the Currency John Walsh stated the following

concerning the Government’s action: “We found significant deficiencies . . . . This is a very

serious problem that servicers are going to have to do substantial work . . . to fix.”

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       233.      The Master Servicers and Servicers to the Covered Trusts are set forth again in the

chart below, and those that entered into consent orders with the Government appear in bold, italics

and underline:

                              Covered Trusts’ Master Servicers and
                             Servicers Entering into Consent Orders
       Covered                     Master                            Original Servicers
        Trust                     Servicers
BAFC 2007-C               Wells Fargo                Bank of America
                                                      Chase Bank
                                                      National City (bought by PNC Bank, which
                                                       entered into a consent order)
                                                      Wells Fargo
BNCMT 2007-2              Aurora (Aurora             Chase Bank
                           entered into the
                           consent order through
                           its parent company,
                           Aurora Bank)
BSABS 2006-AC2            Wells Fargo            EMC
                                                  Harbourside Mortgage Corporation
                                                  HSBC (HSBC’s parent company entered
                                                    into the consent order)
                                                  American Home Mortgage Servicing
                                                  Waterfield
                                                  Wells Fargo
BSABS 2006-AC5            Wells Fargo            EMC
                                                  GreenPoint
                                                  National City
GPMF 2007-AR1             Aurora                 GreenPoint
                                                  GMAC
                                                  Aurora
GPMF 2007-AR2             Aurora                 GreenPoint
                                                  GMAC
                                                  Aurora
GPMF 2007-AR3             Aurora                 GreenPoint
                                                  Aurora
HEAT 2006-5               None                   Wells Fargo
                                                  Chase Bank
                                                  Select Portfolio Servicing
HEAT 2006-6               None                   Wells Fargo
                                                  Select Portfolio Servicing
LXS 2006-10N              Aurora                 Aurora
                                                  Bank of America
                                                  CHLS/BACHLS (CHLS’s parent company,

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      Covered                       Master                         Original Servicers
       Trust                       Servicers
                                                        Bank of America entered into the consent
                                                        order)
                                                      GMAC
                                                      IndyMac (seized by FDIC and bought by
                                                        OneWest Bank, which entered into the
                                                        consent order)
                                                      SunTrust
                                                      Wells Fargo
LXS 2006-15              Aurora                      Aurora
LXS 2007-7N              Aurora                      CHLS/BACHLS
                                                      Aurora
                                                      American Home Mortgage Servicing
MABS 2006-HE2            Wells Fargo                 Wells Fargo
                                                      New Century
MLMI 2006-WMC2           None                        Wilshire Credit Corp. (Wilshire Credit
                                                        Corp.’s parent, Bank of America, entered
                                                        into the consent order)
SARM 2006-9              Aurora                      Aurora
                                                      CHLS/BACHLS
                                                      PHH
SASC 2006-NC1              Aurora                    Wells Fargo
SASC 2006-WF2              Aurora                    Wells Fargo
SASC 2006-WF3              Aurora                    Wells Fargo
SASC 2007-EQ1              Aurora                    Wells Fargo
                                                      HomeEq Servicing
SASC 2007-WF1            Aurora                      Wells Fargo
WMALT 2006-AR4           None                        WaMu (WaMu’s parent, JPMorgan,
                                                        entered into the consent order)
WAMU 2006-AR13             None                      WaMu
WAMU 2006-AR17             None                      WaMu
WAMU 2006-AR19             None                      WaMu
WAMU 2007-OA2              None                      WaMu

       234.     As the chart above shows, nearly all of the Master Servicers and Servicers to the

Covered Trusts entered into consent orders with the Government. The chart also demonstrates that

one or more Master Servicers or Servicers to each Covered Trust engaged in Events of Default,

thus demonstrating that Mortgage Loans in every Covered Trust were affected. The servicing

misconduct that these Master Servicers and Servicers essentially admitted to was so widespread and

so prevalent that it was clear that it reached the Mortgage Loans in the Covered Trusts. Indeed,

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every Covered Trust had at least one or more Master Servicers or Servicers that signed the consent

orders. The admitted misconduct was an unequivocal Event of Default under the Governing

Agreements.

       235.    In the 14 consent orders, which were either identical or virtually identical to one

another, each consenting Master Servicer and Servicer did not dispute the Government’s findings

that they had engaged in the following illegal and improper loan servicing practices (or misconduct

substantially similar to it): (a) engaging in “unsafe or unsound practices in residential mortgage

servicing and . . . foreclosure proceedings”; (b) filing false affidavits in foreclosure proceedings in

“which the affiant represented that the assertions in the affidavit were made based on personal

knowledge . . . when . . . they were not based on . . . personal knowledge”; (c) filing false affidavits

in foreclosure proceedings which were “not properly notarized”; (d) “fail[ing] to devote to [their]

foreclosure processes adequate oversight, internal controls, policies, and procedures, compliance risk

management, internal audit, third party management, and training”; (e) “fail[ing] to sufficiently

oversee outside counsel and other third-party providers handling foreclosure-related services”; and

(f) ”engag[ing] in unsafe or unsound banking practices.”

       236.    The OCC, Federal Reserve, OTS and FDIC typically do not always publicly disclose

their examination findings, but given the gravity of the misconduct and its far-reaching nature, they

did so this time. Thus, it was stunning to learn that nearly the entire loan servicing industry had

essentially admitted that they systematically engaged in widespread robo-signing, filing false

affidavits and other foreclosure documents, and illegal conduct. Indeed, the Government’s

revelations of the vast scope of the admitted uniform misconduct and its deliberate, fraudulent

nature, as well as the fact that it had infected virtually the entire industry, was extremely shocking.

Moreover, given the large number of participants in and the systematic nature of the admitted


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misconduct – misconduct that was clearly an Event of Default – it was also clear that all of the

Covered Trusts’ Master Servicers and Servicers had uniformly committed Events of Default with

respect to the Mortgage Loans in the Covered Trusts. Indeed, in the consent orders, the Master

Servicers and Servicers to the Covered Trusts essentially admitted that they had committed Events of

Defaults, by consenting with the Government to form an action plan to “ensure compliance with . . .

[the loan] servicing guides of . . . investors,” an admission that they had not been complying with

their duties mandated by the Governing Agreements.

       237.    The Master Servicers’/Servicers’ improper servicing practices were so widespread

and so egregious that the Government required sweeping reforms. The Master Servicers/Servicers

(and their related companies) were required by the consent orders to:

              submit a plan to the Government to strengthen their board of directors’ oversight of
               loan servicing;

              submit a “comprehensive action plan” describing how they would comply with the
               consent orders and properly service loans;

              submit a compliance program designed to ensure the proper servicing and
               foreclosure of mortgage loans;

              submit policies and procedures to ensure the proper supervision of third-party
               vendors and outside law firms;

              submit a plan to ensure proper controls over and supervision of the Mortgage
               Electronic Registration System used by the Master Servicers/Servicers in connection
               with loan servicing, foreclosures and title transfers;

              retain an independent outside consultant to conduct a review of the Master
               Servicers’/Servicers’ past foreclosure practices and submit a report to the
               Government concerning such review;

              submit a plan to ensure the proper functioning of the Master Servicers’/Servicers’
               MIS systems and the accuracy of loan data;

              submit a plan to ensure proper, timely and effective communications with borrowers
               and to prevent the impedance or discouragement of loan modifications;



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              submit a risk assessment and management plan concerning the Master
               Servicers’/Servicers’ loan servicing operations; and

              submit a quarterly progress report detailing all actions taken to comply with the
               consent orders.

       238.    These sweeping reforms the Government required of all the affected Master Servicers

and Servicers illustrated how serious and ubiquitous their misconduct was.

       239.    In light of the above information, U.S. Bank had actual knowledge, no later than

April 13, 2011, that Events of Default had been committed by the Master Servicers and Servicers

with respect to Mortgage Loans within the Covered Trusts.

       240.    Further confirming that the Master Servicers and Servicers had committed Events of

Default with respect to the Mortgage Loans in the Covered Trusts, the Government also

simultaneously released the Government Foreclosure Report. The Government Foreclosure Report,

written by the Federal Reserve, OCC and OTS, was released at the same time as the consent orders.

Among other things, the Government Foreclosure Report found that the loan servicing industry –

including the Master Servicers and Servicers and U.S. Bank – had engaged in “violations of

applicable federal and state law requirements,” and “notary practices which failed to conform to

state legal requirements.” These findings that the Master Servicers and Servicers violated the law

were absolute Events of Default. Moreover, the Government Foreclosure Report’s revelation that

the violations of the law were occurring on an “industry-wide” basis, made it clear to U.S. Bank in

April 2011 that all of the Master Servicers/Servicers of the Mortgage Loans to the Covered Trusts

were not abiding by the Governing Agreements’ requirements to prudently service the Mortgage

Loans, and therefore they were all engaging in Events of Default.

       241.    The Government Foreclosure Report also specifically focused on facts that gave U.S.

Bank actual knowledge of numerous other Events of Default committed by the Master Servicers and

Servicers with respect to the Mortgage Loans in the Covered Trusts. For example, the Government
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Foreclosure Report revealed the following “industrywide” misconduct by the Master Servicers and

Servicers to the Covered Trusts that amounted to Events of Default under the Governing

Agreements: (1) “violations of applicable federal and state law requirements” such as violations of

the Servicemembers Civil Relief Act, the bankruptcy laws, and “notary practices which failed to

conform to state legal requirements”; (2) “inadequate organization and staffing of foreclosure

units”; (3) “inadequate policies, procedures, and independent control infrastructure covering all

aspects of the foreclosure process”; (4) “inadequate monitoring and controls” over third-party

vendors; (5) “lack of sufficient audit trails” between information contained in affidavits and “the

servicers’ internal records”; (6) “inadequate quality control and audit reviews to ensure compliance

with legal requirements”; (7) “inadequate identification of financial, reputational, and legal risks” by

“boards of directors and senior management”; (8) false affidavits; (9) false mortgage documents;

(10) improper notarizations; and (11) “weaknesses in quality-control procedures at all servicers,

which resulted in servicers not . . . ensuring accurate foreclosure documentation, including

documentation pertaining to the fees assessed.” Government Foreclosure Report at 3, 11.

       242.    The Government Foreclosure Report also specifically found that the Master

Servicers’ and Servicers” “industrywide” misconduct “pose[d] a variety of risks to [RMBS]

investors,” Government Foreclosure Report at 6, because they had failed to satisfactorily

“evaluat[e] and test[] compliance with applicable. . . pooling and servicing agreements.” Id. at 9,

11. This finding unequivocally established that the Master Servicers and Servicers were not

complying with the Governing Agreements – a clear Event of Default. Thus, between the numerous

consent orders entered into by the specific Master Servicers and Servicers to the Covered Trusts on

April 13, 2011 admitting to Events of Default, and the Government Foreclosure Report’s

simultaneous finding that such Events of Default “occurred industrywide,” U.S. Bank absolutely


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knew of Events of Default committed by the Master Servicers and Servicers concerning the

Mortgage Loans in the Covered Trusts no later than April 13, 2011.

        243.    Finally, it is relevant to note that U.S. Bank had unique and direct knowledge and

insight into the improper loan servicing practices of the industry and the Master Servicers and

Servicers to the Covered Trusts. U.S. Bank obtained this unique knowledge because it was also a

loan servicer that was then engaged in the very same misconduct. U.S. Bank was one of the 14

loan servicers that consented, on April 13, 2011, to the entry of a cease and desist consent order

against it by the U.S. Government. Indeed, on April 13, 2011, both U.S. Bank and its parent

company, U.S. Bancorp, consented to the entry of consent cease and desist orders against U.S.

Bank by the U.S. Government wherein they did not dispute or contest that U.S. Bank had engaged

in “unsafe or unsound practices in residential mortgage servicing and . . . foreclosure

proceedings,” filed false affidavits that were not based on personal knowledge or properly

notarized, failed to devote adequate oversight, policies, controls, procedures, management and

training in connection with its foreclosure processes, and failed to sufficiently oversee outside

counsel and third-party providers handling foreclosure-related services, all of which resulted in

“unsafe or unsound banking practices.” U.S. Bank was thus engaged in the same Events of

Default as all the other Master Servicers and Servicers to the Covered Trusts and U.S. Bank knew

from its participation in the loan servicing industry that such practices were occurring

“industrywide,” as the Government reported.32

        244.    Notwithstanding U.S. Bank’s actual knowledge of Events of Default by the Master

Servicers and Servicers, U.S. Bank: (1) never attempted to remedy the situation by demanding that
32
    Later, it was announced that the consent orders had been amended, with U.S. Bank and many of
the Master Servicers and Servicers paying $3.6 billion to borrowers in cash and providing them with
another $5.2 billion in relief through loan modifications and forgiveness, for a total of $8.8 billion in
relief for their loan servicing abuses.

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the Master Servicers and Servicers cure their defaults as required by the Governing Agreements and

the TIA;33 (2) never notified plaintiff and the class and others of the uncured Events of Default as

required by the Governing Agreements and the TIA; (3) never took additional steps, such as

terminating or replacing the Master Servicers and Servicers or taking over their duties, as allowed by

the Governing Agreements and the TIA; and (4) never exercised the heightened degree of care

required of it, that is, the degree of care a prudent person would exercise under the circumstances in

the conduct of his/her own affairs, also as required by the Governing Agreements and the TIA. U.S.

Bank’s failure to act breached the Governing Agreements and violated the TIA, and caused plaintiff

and the class to suffer millions of dollars in damages, as foreclosures were stopped, withdrawn,

denied, delayed, or invalidated due to the Master Servicers’ and Servicers’ defaults, and millions in

bogus and excessive fees and costs were improperly charged to the Covered Trusts by the Master

Servicers and Servicers during these delays. Moreover, the Master Servicers’ and Servicers’ practice

of servicing the Mortgage Loans for their own financial benefit instead of plaintiff’s and the class,

and as to the WaMu Covered Trusts, the Servicers’ failure to enforce the representation and warranty

claims, were also Events of Default of which U.S. Bank was aware and failed to act on, thereby also

breaching the Governing Agreements and violating the TIA, and causing plaintiff, the class and the

Covered Trusts to suffer additional massive damages.

                       d.      After April 2011 U.S. Bank Also Had Actual Knowledge
                               that the Master Servicers and Servicers Were
                               Continuing to Commit Events of Default with Respect
                               to the Mortgage Loans in the Covered Trusts

       245.    Incredibly, even after the U.S. Government’s sweeping actions against the Master

Servicers and Servicers to the Covered Trusts on April 13, 2011, and even after they promised to


33
   With respect to the WaMu Covered Trusts, this includes U.S. Bank’s failure to demand that
Servicer WaMu enforce the representation and warranty claims against the Warrantors, i.e., itself.

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stop, the Master Servicers and Servicers then continued to engage in the same improper and

illegal Events of Default. And, even though U.S. Bank had actual knowledge of these continuing

Events of Default, it did nothing and has allowed the Events of Default to go on unabated. U.S.

Bank thereby continues to breach the Governing Agreements and violate the TIA.

       246.    After April 13, 2011, there were numerous additional news reports revealing that

robo-signing and other improper and illegal loan servicing practices amounting to Events of Default

were continuing to be committed by the Master Servicers and Servicers to the Covered Trusts. For

example, just two months after the consent orders, in June 2011, Bank of America entered into a

$8.5 billion settlement with the trustee of 530 RMBS trusts. The settlement was based in part on

claims of loan servicing abuses, like those alleged herein, in those 530 trusts by Covered Trust

Servicers Bank of America and CHLS/BACHLS. Given the expansive scope of the settlement – 530

RMBS trusts consisting of tens of thousands of loans – it was clear CHLS/BACHLS, and their

parent company Bank of America, were continuing to engage in an enterprise-wide practice of

committing Events of Default.

       247.    On June 23, 2011, also barely two months after the April 13, 2011 consent orders

were entered, the Illinois Department of Financial and Professional Regulation issued a press release

announcing that it had fined PHH – a servicer to one Covered Trust – $240,000 for signing

foreclosure affidavits that the company knew would later be altered by its attorneys and for signing

affidavits using someone else’s name. In other words, PHH was also engaged in improper robo-

signing Events of Default just like its co-Master Servicers/Servicers. Among other things, the

Illinois regulator found that “at least four different people used one employee’s name to sign . . .




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affidavits,” and also “discovered other evidence of improprieties on the part of PHH employees.” It

further found that PHH had violated Illinois law.34

       248.    In addition, in July 2011, the Associated Press reported that “[m]ortgage industry

employees are still signing documents they haven’t read and using fake signatures more than

eight months after big banks and mortgage companies promised to stop the illegal practices that

led to a nationwide halt of home foreclosures.” The Associated Press article further reported:

              County officials in at least three states say they have received thousands of
       mortgage documents with questionable signatures since last fall, suggesting that
       the practices, known collectively as “robo-signing,” remain widespread in the
       industry.

                                         *      *       *

              Lenders say they are working with regulators to fix the problem but cannot
       explain why it has persisted.

               Last fall, the nation’s largest banks and mortgage lenders, including
       JPMorgan Chase, Wells Fargo, Bank of America and an arm of Goldman Sachs,
       suspended foreclosures as they investigated how corners were cut to keep pace with
       the crush of foreclosure paperwork.

              Critics say the new findings point to a systemic problem with the paperwork
       involved in home mortgages and titles. And they say it shows that banks and
       mortgage processors haven’t acted aggressively enough to put an end to
       widespread document fraud in the mortgage industry.

              “Robo-signing is not even close to over,” says Curtis Hertel, the recorder of
       deeds in Ingham County, Mich., which includes Lansing. “It’s still an epidemic.”




34
    Later, in December 2013, PHH demonstrated that its Events of Default discussed above were not
isolated events but rather a common course of conduct. On December 4, 2013, The Star-Ledger
reported that the New Jersey Attorney General had charged PHH with misleading borrowers and
violating New Jersey law by “not giving homeowners accurate information about how long it would
take to process loan modifications, misleading them about foreclosure proceedings and imposing
improper fees.” PHH paid $6.35 million to settle the charges which involved misconduct affecting
“[a]t least 2,000 borrowers,” demonstrating a company-wide practice that also affected the Mortgage
Loans in the Covered Trust serviced by PHH.

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       249.    Also in July 2011, Michael Calhoun, the President of the Center for Responsible

Lending, provided the U.S. Senate Banking, Housing and Urban Affairs Committee with shocking

testimony concerning how the loan servicing industry’s abuses were so imbedded in the industry’s

culture that it would be almost impossible to reform them. Calhoun testified that “[a]busive [loan

servicing] practices have become so ingrained in the servicing culture that they are now endemic

to the industry.” He then testified concerning multiple ongoing servicing abuses he had observed,

such as: (1) “dual track[ing],” an improper servicing practice where the borrower is foreclosed on in

the middle of ongoing loan modification negotiations or after a trial modification was agreed to and

being performed by the borrower; (2) “[f]oreclosing even when [RMBS] investors would receive

more from a sustainable modification”; (3) “[i]mproper denial and delay of loan modification

requests . . . because fees, which eventually flow directly to servicers . . . continue to accrue”;

(4) “[f]orcing homeowners into multiple temporary modifications [which is] a best-of-both-worlds

situation for servicers, who continue to charge fees”; (5) “[f]orce-placed insurance [which is] very

expensive . . . often driving an otherwise current borrower into delinquency and even foreclosure”;

(6) “[i]mproper fees”; (7) “[m]isapplication of borrower payments”; (8) “[m]ismanaged escrow

accounts”; (9) “[f]ailing or refusing to provide payoff quotations to borrowers”; (10) “[a]buses in the

default and delinquency process”; and (11) “fail[ure] to adhere to loss mitigation requirements of

[RMBS] investors,” i.e., failures to abide by the Governing Agreements. Calhoun pleaded with the

Committee for stronger governmental oversight. This testimony made it clear that Master Servicer

and Servicer Events of Default were continuing and were not ceasing any time soon.

       250.    On July 18, 2011, a Reuters investigative report also confirmed that Master Servicers

and Servicers were continuing to engage in Events of Default on a grand scale. Reuters’

investigation found that loan servicers “continue[d] to file questionable foreclosure documents with


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courts and county clerks.” The article explained, that in recent months, “servicers have filed

thousands of documents that appear to have been fabricated or improperly altered, or have sworn

to false facts.” Reuters also reported that “[o]ne of the industry’s top representatives admits that

the federal settlements [in April 2011] haven’t put a stop to questionable practices. Some loan

servicers ‘continue to cut corners,’ said David Stevens, president of the Mortgage Brokers

Association.” In fact, the article confirmed that the main architect of the April 2011 consent orders,

the OCC, conceded that it was still receiving complaints indicating that the “questionable practices

continue[d].” Reuters’ investigation found that “many are still taking the same shortcuts they

promised to shun, from sketchy paperwork to the use of ‘robo-signers.’” The Reuters investigative

report cited multiple examples of improper loan servicing by multiple loan servicers, including many

of the Master Servicers and Servicers to the Covered Trusts. Reuters specifically identified the

following Covered Trusts’ Master Servicers/Servicers as still being involved in robo-signing and

other misconduct amounting to Events of Default – Bank of America, HSBC, Wells Fargo, Select

Portfolio Servicing, GMAC and IndyMac (through its successor OneWest Bank). Together, these

six Master Servicers/Servicers serviced Mortgage Loans in at least 17 of the 25 Covered Trusts,

through themselves and their related companies. Reuters reported that OneWest Bank (successor to

Servicer IndyMac) was attempting to foreclose on an 87-year-old, semi-invalid, woman and had

“recently filed a court document that appears riddled with discrepancies.” Reuters reported that

OneWest Bank also filed two purported copies of the borrower’s promissory note that should have

been identical but were not – one had an endorsement to (by-then) defunct IndyMac; the second had

the endorsement removed. IndyMac’s successor, OneWest Bank, was continuing to robo-sign and

commit Events of Default.




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       251.    HSBC was also highlighted in the Reuters article. HSBC was a Servicer for at least

one Covered Trust. It was reported that “a New York State court judge in Brooklyn, threw out an

attempt by HSBC to foreclose on a Brooklyn house” because of its use of foreclosure documents

signed by what the court called “a ‘known robo-signer.’” According to the article, “[t]hat and other

red flags prompted the judge to take the extraordinary step of threatening to sanction HSBC’s chief

executive officer.” HSBC was reported to have been using infamous “sub-servicer” Ocwen

Financial Corporation which, as discussed infra, is now purchasing the servicing rights to the

Mortgage Loans and succeeding the Master Servicers/Servicers as a new Master Servicer/Servicer to

the Covered Trusts.

       252.    The July 2011 Reuters’ article also exposed the fact that the Covered Trust Servicer

Select Portfolio Servicing was also engaging in misconduct amounting to an Event of Default. The

article first pointed out that Select Portfolio Servicing was improperly and deceptively agreeing to

trial loan modifications with borrowers only to suddenly foreclose on them even when the borrowers

were making the agreed to payments. In addition, the article also revealed that Select Portfolio

Servicing was also filing false foreclosure documents with the court. The article pointed to a

situation where Select Portfolio Servicing filed two purportedly identical copies of the borrower’s

promissory note. However, one copy contained an endorsement from a completely different bank

and was signed by a completely different person then the other purported “copy” of the note.

       253.    In addition, the Reuters article cited to instances where Master Servicers/Servicers

Wells Fargo and GMAC had assigned mortgages from New Century to others in 2011, four years

after New Century ceased existing. Reuters reported: “Securitization lawyers say it is technically

impossible for a defunct company to directly assign a mortgage over to another owner.”

       254.    Bank of America was also singled out by the Reuters article:


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              Bank of America, meanwhile, is coming under fire from a New York
       federal bankruptcy judge.

               Last Tuesday, Judge Robert Drain ordered an investigation involving a
       foreclosure case brought by the bank. Two earlier copies of a promissory note
       filed in court had lacked any endorsement, but then one appeared on the note
       when bank lawyers produced the original.

               The judge said the sudden appearance of an endorsement, and his own
       close look at it, raised questions about whether it had been added illegally to make
       the note look legitimate.

             It “raises a sufficiently serious issue as to when and more importantly by
       whom this note was endorsed,” the judge said.

       255.   The Reuters article then confirmed that Events of Default were still endemic:

                Reuters reviewed records of individual county clerk offices in five states –
       Florida, Massachusetts, New York, and North and South Carolina – with searchable
       online databases. Reuters also examined hundreds of documents from court case
       files, some obtained online and others provided by attorneys.

              The searches found more than 1,000 mortgage assignments that for
       multiple reasons appear questionable: promissory notes missing required
       endorsements or bearing faulty ones; and “complaints” (the legal documents that
       launch foreclosure suits) that appear to contain multiple incorrect facts.

The upshot of the Reuters article was that there were still extensive, nationwide loan servicing

abuses amounting to Events of Default that were ongoing, and that the abuses were being committed

on a wholesale basis by most of the Covered Trusts’ Master Servicers and Servicers.

       256.   In August 2011, Covered Trust Servicers Bank of America and BACHLS were again

caught engaging in Events of Default. In states providing for non-judicial foreclosures, Bank of

America and BACHLS utilized a subsidiary of Bank of America called ReconTrust Company, N.A.

(“ReconTrust”), to foreclose on homeowners. On August 4, 2011, the Attorney General for the

State of Washington filed an action against ReconTrust alleging that the company “failed to

comply with the procedures of [Washington state foreclosure laws] in each and every foreclosure

it has conducted since at least June 12, 2008,” and “systematically conceals, misrepresents or


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inaccurately divulges the true parties to the mortgage transaction,” including misrepresenting

Bank of America’s ownership of mortgage notes. Complaint for Injunctive and Other Relief Under

the Consumer Protection Act, Washington v. ReconTrust Co., N.A., 11-2-26867-5 SEA (Wash.

Super. Ct., King Cnty. Aug. 4, 2011), ¶¶4.3, 5.12. The Washington Attorney General further alleged

that the company engaged in such misconduct “as a matter of practice.” Id., ¶5.2.

       257.    Also in August 2011, American Banker reported that “the largest mortgage servicers

are still fabricating documents” filed in foreclosure proceedings. The article reported the following:

              Several dozen documents reviewed by American Banker show that as
       recently as August some of the largest U.S. banks, including Bank of America
       Corp., Wells Fargo & Co., Ally Financial Inc. [Servicer GMAC’s parent], and
       OneWest Financial Inc. [successor to Servicer IndyMac], were essentially
       backdating paperwork necessary to support their right to foreclose.

              Some of documents reviewed by American Banker included signatures by
       current bank employees claiming to represent lenders that no longer exist.

                                          *       *       *

               “It’s one thing to not have the documents you’re supposed to have even
       though you told investors and the SEC you had them,” says Lynn E. Szymoniak, a
       plaintiff’s lawyer in West Palm Beach, Fla. “But they’re making up new
       documents.”

                                          *       *       *

              North Carolina consumer bankruptcy lawyer O. Max Gardner III says
       servicers and trustees often submit promissory notes in court without proper
       endorsements, which show the chain of title from one lender to another. Then,
       after the fact, there will be “a magically appearing note with a stamped
       endorsement,” Gardner said.

               When plaintiff’s lawyers then try to depose the person whose name is
       stamped on the endorsement, “we’re being told the person is no longer employed
       by the servicer or by the party for whom they signed,” Gardner says.

            Linda Tirelli, a New York bankruptcy lawyer, calls such mortgage
       documents “Ta-Da!” assignments because they seem to appear out of nowhere.

             “Why are they creating their own assignments to begin with?” asks Tirelli,
       who represents borrowers. “Why is this even an issue?”

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       258.    On October 6, 2011, Neil Barofsky (“Barofsky”), former Special Inspector General

for the Troubled Asset Relief Program (“TARP”), testified before the U.S. House Financial Services

Subcommittee on Insurance, Housing and Community Opportunity concerning TARP, HAMP and

their effectiveness in improving the economy.35 In his prior position as Special Inspector General

(“SIG”) of TARP he had gained firsthand experience with the practices and misconduct of the loan

servicing industry. He cited to a May 2011 Government Accountability Office (“GAO”) survey of

housing counselors who worked with borrowers seeking HAMP loan modifications. Barofsky

testified that the GAO survey “confirmed the widespread anecdotal evidence of [loan] servicers’

failures” to properly process (and therefore service) mortgage loan modifications. According to the

GAO survey, borrowers frequently complained of the loan servicers purportedly “losing” documents

to avoid modifications, borrowers going through long “‘trial periods’” without modifications,

servicers being virtually impossible to contact, and servicers making numerous “‘wrongful denials’”

of loan modifications. As previously alleged, in many cases loan modifications were financially

beneficial for RMBS investors but not the loan servicers and thus this information re-confirmed that

these Events of Default were ongoing by the loan servicing industry, including by the Covered

Trusts’ Master Servicers/Servicers.     In fact, Barofsky confirmed that “[o]ther studies and

investigations [in addition to the GAO survey], including the important work of ProPublica and

anecdotal evidence from [the SIG office’s] hotline, confirm the widespread abuse suffered . . . at

the hands of the mortgage servicers . . . . Sadly, accountability for these deficiencies has gone

largely unaddressed . . . even though [the Government] has been aware of servicer misconduct
35
    TARP was the financial aid package from the U.S. Government that bailed out the “too-big-to-
fail” banks, which included most of the Warrantors and Master Servicers/Servicers herein. HAMP
was started to help borrowers obtain mortgage loan modifications, avoid foreclosure and stay in their
homes. As alleged more fully herein, loan servicers were financially incentivized to foreclose on
borrowers rather than to modify their loans. This misconduct was also an Event of Default because
while it benefitted the loan servicers it was not in the best interests of RMBS investors.

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since 2009.” In other words, the former SIG confirmed that these Events of Default were continuing

unabated, the Government did not have the ability to stop them, and the fact that such abuses were

confirmed by multiple sources as “widespread,” meant that the Mortgage Loans in the Covered

Trusts were still being subjected to such Events of Default.

       259.    Former SIG Barofsky further confirmed that the three main Master

Servicers/Servicers to the Covered Trusts – Bank of America, JPMorgan and Wells Fargo, who

through themselves and their related companies serviced Mortgage Loans in 21 of the 25 Covered

Trusts – had been engaged in these Events of Default for some time, with the Government trying to

unsuccessfully stop them in June 2011, through financial sanctions. Barofsky stated, “[o]f course,

the three sanctioned servicers had essentially already agreed to stop violating HAMP rules in a

previous unrelated settlement with regulators,” yet continued their misconduct thereafter, thus

demonstrating their recalcitrance and single-mindedness to continue engaging in Events of Default,

regardless what the Government did to try and stop them. Finally, Barofsky made it clear that this

Event-of-Default conduct was ubiquitous and ongoing, by stating “the rampant mortgage servicer

abuse that has so strongly characterized the [financial] crisis, both inside and outside of HAMP,

continues to go unpunished.”

       260.    On November 10, 2011, New York’s Department of Financial Services announced it

had entered into an agreement with American Home Mortgage Servicing, a Servicer to at least two

Covered Trusts, and several other loan servicers, to reform their loan servicing practices. Benjamin

Lawsky, Superintendent of Financial Services, stated: “‘Today’s agreements are an important step

forward in cleaning up some of the mortgage industry’s most troubling practices.’” According to

the Department of Financial Services’ press release, the agreements were made to address the

following misconduct by these loan servicers:


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       ■       “Robo-signing,” where servicer staff signed affidavits stating they reviewed
               loan documents when they had not actually done so.

       ■       Weak internal controls and oversight that compromise the accuracy of
               foreclosure documents.

       ■       Referring borrowers to foreclosure at the same time as those borrowers are
               attempting to obtain modifications of their mortgages or other loss
               mitigation.

       ■       Improper denials of loan modifications.

       ■       Failing to provide borrowers with access to a single customer service
               representative, resulting in delays or failure of the loss mitigation process.

       ■       Imposition of improper fees by servicers.

The press release further outlined the servicers’ agreements to reform their practices as follows:

       1.     End Robo-signing and impose staffing and training requirements that will
       prevent Robo-signing.

       2.      Require servicers to withdraw any pending foreclosure actions in which filed
       affidavits were Robo-signed or otherwise not accurate.

       3.     End “dual tracking,” i.e., referring a borrower to foreclosure while the
       borrower is pursuing loan modification or loss mitigation, and prohibit foreclosures
       from advancing while denial of a borrower’s loan modification is under an
       independent review, which is also required by the agreements.

       4.     Provide a dedicated single point of contact representative for all borrowers
       seeking loan mitigation or in foreclosure so borrowers are able to speak to the same
       person who knows their file every time they call.

       5.       Require servicers to ensure that any force-placed insurance be reasonably
       priced in relation to claims incurred, and prohibit force-placing insurance within an
       affiliated insurer.

       6.      Impose more rigorous pleading requirements in foreclosure actions to ensure
       that only parties and entities possessing the legal right to foreclose can sue borrower.

       7.     For borrowers found to have been wrongfully foreclosed, require servicers to
       ensure that their equity in the property is returned, or, if the property was sold,
       compensate the borrower.

       8.     Impose new standards on servicers for application of borrowers’ mortgage
       payments to prevent layering of late fees and other servicer fees and use of suspense
       accounts in ways that compounded borrower delinquencies and defaults.

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       9.      Require servicers to strengthen oversight of foreclosure counsel and other
       third party vendors, and impose new obligations on servicers to conduct regular
       reviews of foreclosure documents prepared by counsel and to terminate foreclosure
       attorneys whose document practices are problematic or who are sanctioned by a
       court.

This further confirmed that Covered Trust Master Servicers and Servicers were continuing to

commit Events of Default.

       261.    On December 15, 2011, an article was published on Politico.com by Matt Stoller,

who worked on the Dodd-Frank financial reform act as a staffer for Representative Alan Grayson

from Florida. In the article, the vast reach of robo-signing and other servicing abuses alleged herein

were discussed. Stoller recounted the following lawsuits throughout the nation to stop and prevent

these current and future Events of Default by Master Servicers and Servicers to the Covered Trusts:

              Massachusetts Attorney General Martha Coakley recently filed the first
       broad civil suit against five major banks and the Mortgage Electronic Registration
       Systems for foreclosure fraud. Her suit alleges that mortgage servicers routinely
       backdated and falsified documents to expedite foreclosures. In many cases, they
       foreclosed on loans they did not even own.

               This is one of a series of suits that state officials are bringing against leading
       financial institutions. Nevada Attorney General Catherine Cortez Masto last month
       indicted two employees of the foreclosure specialist Lender Processing Services,
       which works with the big banks, on 606 felony and misdemeanor counts of fraud.

              Delaware Attorney General Beau Biden is also suing MERS . . . for unfair
       and deceptive practices.

                                           *       *       *

              What is behind these suits? Simple: Crime by mortgage servicers and their
       contractors.

                                           *       *       *

               This fraud is now coming back to haunt our courts – for example, in the
       falsified foreclosure paperwork required to cover up the corner-cutting of the
       subprime lenders and the banks that funded them.

               The banks themselves have confessed to breaking the law. The Veterans
       Affairs Committee held a hearing early this year when JPMorgan was found to be

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       illegally foreclosing on 18 U.S. military families – a violation of the Servicemember
       Civil Relief Act.

               This law bans foreclosing on active duty troops. Knowingly violating the ban
       carries up to one year in prison for each count. JPMorgan apologized for its
       violations, because for banks, being sorry when caught is what really counts. The
       families were compensated by JP Morgan financially, but no one at the bank got jail
       time or had to plead guilty.

               Bank regulators have now found that up to 5,000 military families may
       have been foreclosed on illegally, as The Financial Times reported last month. Yet
       the Justice Department settled with Bank of America for alleged violations of the
       service member act. BofA, like JPMorgan, doesn’t have to admit to wrongdoing –
       but it says it is very sorry anyway.

               “The SCRA is not some obscure legal technicality,” said Rep. Brad Miller
       (D-N.C.), who wrote the law, “that might just have escaped the attention of mortgage
       servicers. Those servicers are all affiliates of the biggest banks. . . . Servicing
       mortgages is all they do, and they really don’t have that many laws to keep up with.
       They have got to have known what the law required and consciously decided that
       they could just ignore it, the same way they apparently decided it was OK to file
       false affidavits in legal proceedings.”

       262.    It was also reported that, in December 2011, an Alabama federal bankruptcy court

judge ruled that Wells Fargo, a Master Servicer or Servicer to at least 12 Covered Trusts, had filed at

least 630 sworn affidavits containing false facts, including claims that borrowers were in arrears for

amounts not due. The Chicago Tribune reported that Judge Margaret A. Mahoney had declared that

“Wells Fargo ‘took the law into its own hands’” and disregarded perjury laws. The number of false

affidavits filed by Wells Fargo indicated a pattern and practice of committing Events of Default.

       263.    In January 2012, the Chicago Tribune also reported that large scale, widespread

foreclosure abuses were still continuing:

               Foreclosure-related case files in just one New York federal bankruptcy
       court, for example, hold at least a dozen mortgage documents known as promissory
       notes bearing evidence of recently forged signatures and illegal alterations,
       according to a judge’s rulings and records reviewed by Reuters. Similarly altered
       notes have appeared in courts around the country.




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               Banks in the past two years have foreclosed on the houses of thousands of
       active-duty U.S. soldiers who are legally eligible to have foreclosures halted.
       Refusing to grand foreclosure stays is a misdemeanor under federal law.

               The U.S. Treasury confirmed in November that it is conducting a civil
       investigation of 4,500 such foreclosures. Attorneys representing service members
       estimate banks have foreclosed on up to 30,000 military personnel in potential
       violation of the law.

                                         *       *       *

              And in thousands of cases, documents required to transfer ownership of
       mortgages have been falsified. Lacking originals needed to foreclose, mortgage
       servicers drew up new ones, falsely signed by their own staff as employees of the
       original lenders – many of which no longer exist.

       264.    On February 9, 2012, the U.S. Department of Justice and 49 states announced that

they had obtained “a landmark $25 billion settlement,” “the largest federal-state civil settlement

ever obtained,” against the nation’s five largest loan servicers for continuing “mortgage loan

servicing and foreclosure abuses” (hereafter the “National Mortgage Settlement”). In a press

conference announcing the settlement, U.S. Attorney General Eric Holder called the servicers’

conduct “reckless and abusive mortgage practices.” The loan servicing misconduct covered by the

National Mortgage Settlement encompassed loan servicing abuses occurring after April 2011, as the

settlement agreement included misconduct that had occurred up to and including February 2012,

thus revealing that widespread loan servicing abuses were continuing long after the April 2011

consent orders were entered. In addition, the five offending loan servicers charged by the U.S.

and state governments were repeat-offenders – they had previously entered into the April 2011

consent orders. These five serial offenders were Bank of America, JPMorgan, Wells Fargo,

Citigroup and Ally Financial (which was formerly GMAC). Four of these five serial loan mis-

servicers – Bank of America, JPMorgan, Wells Fargo and GMAC – were Master Servicers or

Servicers for virtually all of the 25 Covered Trusts, as they serviced (through themselves and their

related companies) Mortgage Loans in 23 of the 25 Covered Trusts. Moreover, the misconduct they

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were charged with by the federal government and 49 states was a continuation of the same prior

misconduct they were taken to task for by the OCC, Federal Reserve, OTS and FDIC in April 2011,

and which they had promised to cease but obviously had not. The Government’s press release

confirmed this repeat misconduct by reporting that Bank of America, JPMorgan, Wells Fargo and

GMAC engaged in

       violations of state and federal law[;] . . . [the] use of “robo-signed” affidavits in
       foreclosure proceedings; deceptive practices in the offering of loan modifications;
       failures to offer non-foreclosure alternatives before foreclosing on borrowers with
       federally insured mortgages; and filing improper documentation in federal
       bankruptcy court.

This demonstrated and confirmed that these Master Servicers and Servicers were continuing to

engage in a blatant disregard of the law through a continuing pattern and practice of Events of

Defaults as a part of their normal businesses practices. As a result, a monitor was appointed to

periodically determine whether these serial offenders were complying with the National Mortgage

Settlement. U.S. Bank knew from this settlement in February 2012 that these Master Servicers and

Servicers to the majority of the Covered Trusts were continuing to commit Events of Default

concerning the Mortgage Loans in the Covered Trusts.

       265.    Moreover, also in February 2012, the New York Attorney General sued many of the

largest Master Servicers and Servicers to the Covered Trusts – Wells Fargo, Bank of America,

BACHLS, Chase Bank and EMC, which collectively serviced Mortgage Loans for at least 21 of the

25 Covered Trusts by themselves and through their related companies. The New York Attorney

General also sued MERSCORP Inc. and its subsidiary Mortgage Electronic Registration Systems,

Inc. (collectively, “MERS”). MERS was created by the lending and loan servicing industry as a

private mortgage registration system to speed the transfer mortgages amongst themselves to facilitate

RMBS securitizations and foreclosures and to avoid the cost of traditionally recording the mortgages

with county recorders. The New York Attorney General’s lawsuit alleged that these Master
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Servicers/Servicers exercised complete control over MERS and that its mortgage database was

riddled with errors and inaccuracies, thus leading to the massive amounts of foreclosure fraud that

was ongoing. The lawsuit further alleged that the Master Servicers and Servicers and MERS

repeatedly submitted documents to courts in foreclosure proceedings that contained misleading and

false information. The New York Attorney General stated: “‘The banks created the MERS system

as an end-run around the property recording system, to facilitate the rapid securitization and sale

of mortgages. Once the mortgages went sour, these same banks brought foreclosure proceedings

en masse based on deceptive and fraudulent court submissions, seeking to take homes away from

people with little regard for basic legal requirements or the rule of law . . . .’” The Attorney

General charged the Master Servicers and Servicers with “deceptive and illegal” business practices

that violated New York state laws. The lawsuit charged these Master Servicers/Servicers with the

following illegal conduct:

              MERS had filed over 13,000 foreclosure actions against New York homeowners
               listing itself as the plaintiff, but in many instances, MERS lacked the legal authority
               to foreclose and did not own or hold the promissory note, despite saying otherwise
               in court submissions.

              MERS certifying officers, including employees and agents of JPMorgan Chase,
               Bank of America, and Wells Fargo, have repeatedly executed and submitted in
               court legal documents purporting to assign the mortgage and/or note to the
               foreclosing party. These documents contain numerous defects, including
               affirmative misrepresentations of fact, which render them false, deceptive and/or
               invalid. These assignments were often automatically generated and “robosigned”
               by individuals who did not review the underlying property ownership records,
               confirm the documents’ accuracy, or even read the documents. These false and
               defective assignments often masked gaps in the chain of title and the foreclosing
               party’s inability to establish its authority to foreclose, and as a result have misled
               homeowners and the courts.

              MERS’ indiscriminate use of non-employees “certifying officers” to execute vital
               legal documents has confused, misled, and deceived homeowners and the courts and
               made it difficult to ascertain whether a party actually has the right to foreclose.
               MERS certifying officers have regularly executed and submitted in court mortgage
               assignments and other legal documents on behalf of MERS without disclosing that
               they are not MERS employees, but instead are employed by other entities, such as
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                the mortgage servicer filing the case or its counsel. The signature line just indicates
                that the individual is an “Assistant Secretary,” “Vice President” or other officer of
                MERS. Indeed, these documents’ failure to track the designation of certifying
                officers and the scope of their authority to act, individuals have executed legal
                documents on behalf of MERS, such as mortgage assignments and loan
                modifications, when they were either not designated as a MERS certifying officer at
                the time or were not authorized to execute documents on behalf of MERS with
                respect to the subject loan.

               MERS and its members have deceived and misled borrowers about the importance
                and ramifications of MERS’ role with respect to their loans by providing
                inadequate disclosures.

               The MERS system is riddled with inaccuracies which make it difficult to verify the
                chain of title for a loan or the current title holder, and creates confusion among
                stakeholders who rely on the information. In addition, as a result of these
                inaccuracies, MERS has filed mortgage satisfactions against the wrong property.

         266.   Also in February 2012, PNC, which had acquired National City, a Servicer for at least

two Covered Trusts, reported that it was accruing $240 million of expenses related to “residential

mortgage foreclosure-related expenses, primarily as a result of ongoing governmental matters,” a

confession that it was engaged in widespread Events of Default.

         267.   On March 5, 2012, U.S. Secretary of Housing and Urban Development, Shaun

Donovan, stated in televised comments that “as high as 60 percent of foreclosures were [still] being

done wrong.”

         268.   On March 30, 2012, Jamie Dimon, CEO of JPMorgan, which owned and controlled

Covered Trust Servicers Chase Bank, EMC and WaMu, Servicers for ten of the Covered Trusts, sent

a letter to JPMorgan’s shareholders admitting that these Servicers engaged in robo-signing. Dimon

wrote:

         Our servicing operations left a lot to be desired: There were too many paperwork
         errors, including affidavits that were improperly signed because the signers did not
         have personal knowledge about what was in the affidavits but, instead, relied on
         the company’s processes.




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       269.    On June 7, 2012, law professor Adam Levitin testified before the U.S. House

Financial Services Subcommittee on Capital Markets and Government Sponsored Enterprises

concerning, among other things, the National Mortgage Settlement with Covered Trusts Master

Servicers/Servicers Bank of America, JPMorgan, Wells Fargo and GMAC (as previously alleged,

these Master Servicers/Servicers serviced Mortgage Loans in 23 of the 25 Covered Trusts either

directly or through their related companies). Professor Levitin first testified to the fact that the

National Mortgage Settlement would “not deter future consumer fraud by [these] too-big-to-fail”

Master Servicers/Servicers, and then confirmed the massive scope of the Master

Servicers’/Servicers’ Events of Default, calling it “one of the most pervasive violations of

procedural rights in history” supported by “evidence of widespread fraud [which] was too great to

ignore.” Professor Levitin, who was not a proponent of the settlement because, in his view it was

just “a slap on the wrist” for the Master Servicers and Servicers, then testified concerning the terms

of the settlement and how those terms were likely to lead to yet more loan servicing abuses and

Events of Default. Professor Levitin focused on the fact that $10 billion of the $25 billion settlement

was not in the form of a cash payment from these serial mis-servicers, but instead consisted of $10

billion in principal reductions they were required to give to borrowers. Professor Levitin further

stated: “Critically for the purposes of this hearing, the settlement permits the banks to receive credit

under the settlement by reducing principal or refinancing on mortgages that they service, but do

not own” and therefore “servicers have strong incentives not to engage in principal write-downs

on loans they own”; instead, “it appears likely that most of the principal reductions will come

from investor-owned mortgages,” i.e., Mortgage Loans like those in the Covered Trusts. Professor

Levitin concluded: “I would expect servicers to perform some [principal reductions] that violate




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PSAs in order to get . . . settlement credit.” Of course, Professor Levitin was correct, as the loan

servicing abuses injuring plaintiff, the class and other RMBS investors continued.

       270.    In January 2013, it was reported that Bank of America was still committing Events of

Default, as it had to pay Fannie Mae $1.3 billion “to make up for dropping the ball on servicing

mortgages . . . by delaying contacts with delinquent borrowers or failing to process foreclosures

properly.”

       271.    In addition, in February 2013, in connection with the court’s consideration of whether

to approve the previously alleged $8.5 billion settlement between Bank of America and the trustee of

530 RMBS trusts concerning, inter alia, improper loan servicing by Covered Trust Servicers Bank

of America and CHLS/BACHLS, objectors to the settlement provided evidence to the court

establishing that these Servicers had breached the PSAs for 468 of the 530 trusts by improperly

failing to repurchase modified mortgage loans. In addition, evidence was presented establishing that

these Servicers were also modifying first lien loans owned by the trusts, and thus causing losses to

the investors, while simultaneously refusing to modify second lien loans the Servicers owned in

order to avoid losses to themselves.

       272.    In June 2013, the Charlotte Business Journal reported that the monitor that was

appointed to ensure loan servicers were complying with terms of the National Mortgage Settlement

found that Covered Trust Servicer Bank of America was not complying with the servicing standards

required by the settlement. The article stated: “These aren’t new allegations.” This demonstrated

that Bank of America was still engaged in Events of Default. The New York Times reported that, in

addition to Bank of America, Master Servicers/Servicers JPMorgan, Wells Fargo and GMAC

(through Ally Financial) were also not complying with the settlement and were also still committing

Events of Default. These Events of Default were obviously also affecting the Mortgage Loans in the


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Covered Trusts, as The New York Times reported that the servicers had received “almost 60,000

complaints” from borrowers about their servicing misconduct. And while the servicers’ robo-

signing misconduct had improved somewhat, the article reported that many other improper servicing

practices continued:

               But state officials have expressed deep disappointment with the banks’
       performance in other areas. Last month, lawyers in the office of Martha Coakley,
       the attorney general of Massachusetts, detailed what they said were hundreds of
       violations of the settlement, including a failure to adhere to the required timetable
       or provide reasons for the denial of an application.

               They also pointed to cases where they said banks had improperly inflated
       the value of a loan before writing it down so as to claim a greater amount of relief,
       or where they had reverted to a higher interest rate while delaying, for months, the
       decision to make a trial loan modification permanent.

              Soon after, Eric T. Schneiderman, the attorney general of New York,
       announced plans to sue Bank of America and Wells Fargo, saying they were
       repeatedly violating the terms of the settlement.

               Lisa Madigan, the attorney general of Illinois, said there was an “alarming
       pattern” of violations of the servicing standards. In a review of servicer handling
       of loan modification requests in Illinois, she found that in 60 percent, servicers
       failed to comply with the time frame for notifying borrowers of missing documents
       and in 45 percent they made multiple requests for the same documents.

              Pam Bondi, the attorney general of Florida, has written letters to Bank of
       America and Wells Fargo detailing similar complaints that are resolved only by the
       intervention of her office.

This demonstrated that the Master Servicers and Servicers to the Covered Trusts were continuing to

commit Events of Default as a matter of course and without regard to what they had promised to do.

       273.    Also in June 2013, there was additional information that came to light showing that

Bank of America was still engaged in widespread servicing practices that were Events of Default. It

was reported by CBC News on June 18, 2013 that former employees of Bank of America had filed

sworn affidavits in cases against Bank of America alleging widespread improper denials of loan




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modifications, and other servicing misconduct amounting to Events of Default. According to the

news article:

              Former Bank of America employees say in court documents that the bank
       routinely lies to customers about their mortgages, and denies their requests for
       modifications without even looking at the paperwork.

              In sworn affidavits, four former employees, for example, describe policies
       in place at the bank that they say are designed to subvert the Home Affordable
       Modification Program (HAMP), 2009 government-sponsored initiative that was
       designed to keep distressed homeowners above water during the depths of the
       housing crises.

            The affidavits are part of multiple court cases against the bank brought by
       homeowners who say they were unfairly foreclosed upon.

                                        *       *      *

              The former workers allege there’s a bank-wide policy that encourages
       mortgage officers to delay and avoid that process as much as possible, to foreclose
       on customers who shouldn’t have been, and to generally lie and mislead.

               According to one affidavit, a mortgage processor who put 10 or more
       houses into foreclosure in any given month was eligible for a $500 cash bonus, or
       gift cards at a major retailer.

              The sworn affidavits were made public recently on the website of
       ProPublica, an independent, non-profit news service that produces investigative
       journalism in the public interest.

              The employees say the bank also went out of its way to mislead, stall and
       delay paperwork so that customers would be denied changes to their mortgages,
       and forced into arrangements that were more profitable to the bank than HAMP
       arrangements were.

              “We were told to lie to customers and claim that Bank of America had not
       received documents it had requested, and that it had not received trial payments
       [when in fact it had],” said Simone Gordon, a senior collector of loss mitigation at
       the bank for five years until early 2012.

              Another ex-worker, Theresa Terrelonge, agreed that subverting HAMP to
       the bank’s benefit was an overarching goal for the bank.

               “Based on what I observed, Bank of America was trying to prevent as many
       homeowners as possible from obtaining permanent HAMP loan modifications
       while leading the public and the government to believe that it was making efforts to
       comply with HAMP,” she said.
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                                         *      *       *

              “It was well known among managers and many employees that the
       overriding goal was to extend as few HAMP loan modifications to homeowners as
       possible.”

              She also said that Bank of America “collectors” who failed to meet their
       quotas were fired for not putting enough customers into foreclosure. “Several of
       my colleagues were terminated on that basis,” she said.

              Another former employee, William Wilson, said the bank would routinely
       delay filing appropriate paperwork after receiving it, in order to have certain
       penalties kick in. After waiting 60 days, the bank would automatically reject them
       all.

              “During a blitz, a single team would decline between 600 and 1,500
       modification files at a time for no reason other than the documents were more than
       60 days old,” Wilson said.

                 “Once an applicant was finally rejected after a long delay, the bank would
       offer them an alternative. Bank of America would charge a higher interest
       rate . . . .”

              Wilson alleges he was fired in August 2012 for refusing to go along with
       the scheme any longer.

                                         *      *       *

              The employees allege the bank would routinely file false paperwork to [the]
       government suggesting it had far more HAMP-backed loans on its books than was
       the reality.

              “It was well known among Bank of America employees that the numbers
       Bank of America was reporting to the government and to the public were simply
       not true,” Steven Cupples said. Cupples worked at the bank until June 2012. He
       previously worked at Countrywide, the lender at the center of America’s subprime
       mortgage crisis that was subsequently taken over by Bank of America.

       274.    These affidavits established that Bank of America’s conduct of committing Events of

Default was an established business practice that was ongoing, and thus, it was also affecting the

Mortgage Loans in the Covered Trusts.

       275.    Also in June 2013, it was reported that the National Mortgage Settlement monitor had

also found that Covered Trust Master Servicers and Servicers Wells Fargo and JPMorgan were also

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not complying with the settlement, and thereby continuing the commission of Events of Default.

The Charlotte Observer reported that the monitor told it: “‘What [this] shows to me is we still have

some work to do.’” The Charlotte Observer also reported that the monitor’s office had received

“tens of thousands of complaints” about servicing misconduct from borrowers. Wells Fargo and

JPMorgan and its related companies serviced Mortgage Loans in many of the Covered Trusts. This

news indicated that such Master Servicers/Servicers were continuing to commit Events of Default as

to Mortgage Loans in the Covered Trusts.

       276.    In October 2013, the Attorney General for the State of New York sued Wells Fargo

for failing to comply with the National Mortgage Settlement. The New York Attorney General

alleged that Wells Fargo “engaged in widespread breaches” of the terms of the settlement, including

improper delays and obstructions of loan modifications, repetitious demands for paperwork that had

already been provided, providing borrowers with inaccurate and contradictory information, and the

charging of improper fees. At the same time, the New York Attorney General also announced that

he had reached an agreement with Bank of America to suspend a similar enforcement action against

it for similar misconduct, and that Bank of America had agreed to implement yet additional servicing

reforms. These events corroborated that these Master Servicers/Servicers to the Covered Trusts

were continuing to commit Events of Default.

       277.    The Chicago Tribune reported that, in October 2013, Covered Trust Servicer

SunTrust had paid a substantial amount to settle claims which included improper loan servicing

practices:

               Atlanta, Georgia-based SunTrust in October agreed to pay nearly $1.2 billion
       to resolve investigations from several U.S. authorities into its mortgage practices.
       The claims relate to certain mortgage loans backed by the Federal Housing
       Administration that the bank made between January 2006 and March 2012, and to
       problems in the mortgage servicing practices.


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       278.    As previously alleged, in November 2013, JPMorgan announced that it was willing to

pay $4.5 billion to settle representation and warranty claims for loans in 330 RMBS trusts, including

two of the Covered Trusts. See supra ¶150. Part of that settlement offer also included the

settlement of loan servicing claims for all 330 RMBS trusts, thus establishing the JPMorgan Master

Servicer/Servicer Events of Default also reached the Covered Trusts.

       279.    Also in November 2013, it was reported that Standard & Poors had estimated the

largest loan servicers’ liability for improper loan servicing at roughly $30 billion, thus establishing

the enormity and scope of the Events of Default.

       280.    In December 2013, the monitor for the National Mortgage Settlement reported that

Servicer Bank of America (which also owned Co-Servicers CHLS/BACHLS and Wilshire Credit

Corp.) and JPMorgan (which owned Servicers Chase Bank, EMC and WaMu) were still not

complying the servicing standards required by settlement. This demonstrated their recalcitrant

nature and their continued engagement in Events of Default.

       281.    Beginning as early as June 2012, many of the Master Servicers and Servicers to the

Covered Trusts began selling their servicing rights to the Mortgage Loans to Nationstar Mortgage

LLC (“Nationstar”). For example, in June 2012, Aurora – a Master Servicer or Servicer to at least

13 Covered Trusts – was acquired by Nationstar and Nationstar started servicing the Mortgage

Loans in those Covered Trusts. In addition, in 2013, Nationstar acquired $215 billion in loan

servicing rights from Servicer Bank of America – a Servicer for at least five Covered Trusts, through

either itself or its related companies. However, both before and after it did, Nationstar committed

Events of Default and has continued to commit Events of Default with respect to the Mortgage

Loans. For example, in 2011, Nationstar was sued by a class of borrowers in West Virginia whose

loans were serviced by Nationstar. See Complaint, Triplett v. Nationstar Mortgage, LLC, No.


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3:11cv238 (S.D. W.Va. Feb. 15, 2011). The borrowers alleged that Nationstar was violating several

West Virginia laws by assessing excessive late fees, by threatening to collect its “expense of

collection,” and by returning partial loan payments prior to accelerating the loans. None of these

alleged loan servicing practices were “prudent”; instead, they were Events of Default under the

Governing Agreements. Discovery in the case revealed thousands of violations of West Virginia

law by Nationstar. In 2012, Nationstar settled the case, paying $1.5 million.

       282.    Thereafter, on March 4, 2013, a class of nationwide borrowers sued Nationstar for

improper loan servicing practices, alleging that Nationstar violated state and federal laws by making

“repeated misrepresentations” and engaging in “deceptive” business practices in connection with

improperly denying loan modifications required by it under the HAMP program. See Class Action

Complaint for Damages and Injunctive Relief, Burton v. Nationstar Mortgage LLC, No. 1:13-cv-

00307 (E.D. Cal. Mar. 4, 2013). The borrowers alleged that Nationstar operated “a system

designed to wrongfully” deny borrowers loan modifications. Id., ¶8. Moreover, just days later, on

March 7, 2013, Nationstar was sued again, this time by a RMBS investor. The RMBS investor

alleged that Nationstar was “not fulfill[ing] its duties as Master Servicer, but rather has engaged in

practices to enrich itself at the expense of the . . . certificateholders.” See Complaint and Demand

for Jury Trial, KIRP, LLC v. Nationstar Mortgage LLC, No.650794/2013 (N.Y. Sup. Ct., N.Y. Cnty.

Mar. 7, 2013), ¶5. The investor alleged that Nationstar was breaching its master servicing

agreement with the RMBS trust and engaging in a “blatant abdication of its servicing duties

under the governing contracts” by “auctioning off the trusts’ mortgage loans in bulk . . . for

amounts that are a fraction of the loans’ unpaid balances or the value of the properties securing

the loans.” Id., ¶¶1-2. The investor alleged these actions profited Nationstar, which recouped the

fees it advanced, but injured investors. The foregoing acts by Nationstar were blatant Events of


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Default under the Governing Agreements. The court overseeing the case immediately issued a

temporary restraining order against Nationstar and ordered it to stop selling the loans. Nationstar

thereafter quickly settled the case. In January 2014, another class action was filed against Nationstar

in Nevada, again alleging that it improperly refused to honor loan modification agreements, as well

as “assessed unwarranted penalties and costs.” Finally, very recently on March 5, 2014, it was

reported that New York State’s Department of Financial Services Superintendent Benjamin Lawsky

sent a letter to Nationstar stating: “We have received hundreds of complaints from New York

consumers about your company’s mortgage modifications, including problems related to

mortgage modifications, improper fees, lost paperwork, and numerous other issues.” Lawsky

demanded that Nationstar provide information concerning its loan servicing practices.

Notwithstanding all the news indicating that Nationstar engaged in serial Events of Default, U.S.

Bank did nothing to prevent Nationstar from becoming a Master Servicer/Servicer to the Covered

Trusts, nor did anything required by the Governing Agreements. Given the frequency and scope of

Nationstar’s loan servicing misconduct, U.S. Bank knew that Nationstar was continuing to commit

Events of Default as to the Mortgage Loans in the Covered Trusts.

       283.    Moreover, another successor to the Master Servicers/Servicers has been purchasing

the servicing rights to the Mortgage Loans. Wells Fargo has very recently agreed to sell its loan

servicing rights to Ocwen Loan Servicing, LLC and/or its parent company, Ocwen Financial

Corporation (collectively, “Ocwen”). As previously alleged, Wells Fargo serviced or master-

serviced Mortgage Loans for at least 12 Covered Trusts. Ocwen has been a prolific acquirer of loan

servicing rights (along with Nationstar), as Ocwen has previously acquired the loan servicing rights

of Covered Trust Servicers American Home Mortgage Servicing, GMAC, JPMorgan, HomeEq

Servicing and EMC – Servicers to at least 15 Covered Trusts through themselves or their related


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companies. But beginning as early as December 2010, Ocwen has also proved that it is a prolific

mis-servicer of mortgage loans, as its business model is designed to commit widespread Events of

Default, just like the Master Servicers/Servicers it has or plans to succeed. For example, in

December 2010, the Florida Attorney General’s office had compiled a presentation titled “Unfair,

Deceptive and Unconscionable Acts in Foreclosure Cases,” according to the Palm Beach Post in an

article published in January 2011. The Palm Beach Post reported that the Florida Attorney

General’s presentation contained “copies of allegedly forged signatures, false notarizations, bogus

witnesses and improper mortgage assignments,” including documents signed by Ocwen employee

Scott Anderson. Anderson’s signatures had been signed by at least four different persons, an

obvious variation of the robo-signing scandal. Then in March 2011, Ocwen announced that the FTC

was investigating the company’s foreclosure practices and had demanded the production of

documents relating to Ocwen’s loan servicing activities. A few months later, in June 2011, the U.S.

Treasury Department found that Ocwen’s servicing practices were in need of “substantial

improvement.” A month later, in July 2011, a foreclosure action by a RMBS trustee was dismissed

with prejudice by a New York State court judge, in large part because three Ocwen employees had

improperly “robo-signed” foreclosure documents in the case. See HSBC Bank USA, N.A. v. Taher,

932 N.Y.S.2d 760, 2011 N.Y. Misc. LEXIS 3171 (Sup. Ct. 2011). The court specifically singled out

the aforementioned Ocwen employee, Scott Anderson, and noted that it too had observed that there

were at least four different variations of his signatures in the cases before the court. Then, on

September 1, 2011, the New York Department of Financial Services entered into an agreement with

Ocwen wherein Ocwen agreed to reform its robo-signing practices by, among other things, ensuring

that foreclosure affidavits were true, accurate, and correct and were based on personal knowledge

and properly notarized, and by withdrawing any of its pending foreclosure proceedings that used


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false affidavits, as well as agreeing to a host of other reforms designed to stop its improper loan

servicing activities. Thereafter on December 5, 2012, the New York Department of Financial

Services announced that Ocwen was violating the agreement. The Department’s press release stated:

       “[W]e conducted a targeted exam of Ocwen’s performance and discovered gaps in
       the company’s compliance. The Department is requiring the company to hire a
       monitor so that we can be sure that the reforms are implemented and homeowners
       have a real chance to avoid foreclosure.”

                                          *      *       *

                The Department’s examination of Ocwen’s mortgage servicing practices
       found that, in some instances, the company failed to demonstrate that it had sent
       out required 90-day notices before commending foreclosure proceedings or even
       that it had standing to bring the foreclosure actions. The exam also revealed gaps
       in Ocwen’s Servicing Practices, including indications that in some instances it
       failed to provide the single point of contact for borrowers; pursued foreclosure
       against borrowers seeking a loan modification; failed to conduct an independent
       review of denials of loan modifications; and failed to ensure that borrower and
       loan information was accurate and up-to-date.

       284.    These findings by the New York Department of Financial Services demonstrated that

Ocwen – like the Covered Trusts’ other Master Servicers/Servicers – was also a serial, repeat Event

of Default-committing loan servicer. This was confirmed again in December 2013, when Ocwen

entered into a consent order with the U.S. Government’s Consumer Financial Protection Bureau

(“CFPB”), 49 states and the District of Columbia. Pursuant to the consent order, Ocwen did not

dispute or contest any facts alleged against it by the Government, and it agreed to provide borrowers

with $2 billion in principal reduction, and further refund $127.3 million to nearly 185,000

borrowers it improperly foreclosed on. The misconduct covered by the consent order extended

through December 2013, demonstrating that Ocwen had engaged in Events of Default right up to the

time it entered into the consent order.       The huge size of the relief agreed to by Ocwen

($2,127,300,000), and the broad geographic scope and huge number of borrowers affected,

confirmed that Ocwen’s misconduct was a company-wide and nationwide practice and course of


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conduct infecting all of its loan servicing operations. The CFPB’s press release announcing the

settlement confirmed that Ocwen engaged in “years of systemic” Events of Default:

               Today, the Consumer Financial Protection Bureau (CFPB), authorities in
       49 states, and the District of Columbia filed a proposed court order requiring the
       country’s largest nonbank mortgage loan servicer, Ocwen Financial Corporation
       and its subsidiary, Ocwen Loan Servicing, to provide $2 billion in principal
       reduction to underwater borrowers. The consent order addresses Ocwen’s
       systemic misconduct at every stage of the mortgage servicing process.

                                        *       *       *

               The CFPB and its partner states believe that Ocwen was engaged in
       significant and systemic misconduct that occurred at every stage of the mortgage
       servicing process. According to the complaint filed in federal district court in the
       District of Columbia, Ocwen’s violations of consumer financial protections put
       thousands of people across the country at risk of losing their homes. Specifically,
       the complaint says that Ocwen:

             Took advantage of homeowners with servicing shortcuts and unauthorized
              fees: Customers relied on Ocwen to, among other things, treat them fairly,
              give them accurate information, and appropriately charge for services.
              According to the complaint, Ocwen violated the law in a number of ways,
              including:

                     Failing to timely and accurately apply payments made by borrowers
                      and failing to maintain accurate account statements;

                     Charging borrowers unauthorized fees for default-related services;

                     Imposing force-placed insurance on consumers when Ocwen knew or
                      should have known that they already had adequate home-insurance
                      coverage; and

                     Providing false or misleading information in response to consumer
                      complaints.

             Deceived consumers about foreclosure alternatives and improperly denied
              loan modifications: Struggling homeowners generally turn to mortgage
              servicers, the link to the owners of the loans, as their only means of
              developing a plan for payment. Ocwen failed to effectively assist, and in fact
              impeded, struggling homeowners trying to save their homes. This included:

                     Failing to provide accurate information about loan modifications and
                      other loss mitigation services;


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                    Failing to properly process borrowers’ applications and calculate their
                     eligibility for loan modifications;

                    Providing false or misleading reasons for denying loan modifications;

                    Failing to honor previously agreed upon trial modifications with prior
                     servicers; and

                    Deceptively seeking to collect payments under the mortgage’s
                     original unmodified terms after the consumer had already begun a
                     loan modification with the prior servicer.

             Engaged in illegal foreclosure practices. One of the most important jobs of a
              mortgage servicer is managing the foreclosure process. But Ocwen
              mishandled foreclosures and provided consumers with false information.
              Specifically, Ocwen is accused of:

                    Providing false or misleading information to consumers about the
                     status of foreclosure proceedings where the borrower was in good
                     faith actively pursuing a loss mitigation alternative also offered by
                     Ocwen; and

                    Robo-signing foreclosure documents, including preparing, executing,
                     notarizing, and filing affidavits in foreclosure proceedings with courts
                     and government agencies without verifying the information.

       285.   However, even after the settlement with the CFPB and others, Ocwen continued to

commit Events of Default. In February 2014, news reports revealed that huge investors Pimco and

BlackRock were considering legal action against Ocwen concerning its servicing misconduct

relating to loan modifications. On February 27, 2014, Bloomberg Businessweek reported:

              As of mid-February, American homeowners had filed more than 9,000
       mortgage-related complaints against Ocwen – the highest number of any non-bank
       servicer, according to data from the Consumer Financial Protection Bureau in
       Washington.

                                        *       *       *

              “Ocwen is one of the most complained about servicers when we ask housing
       counselors and lawyers what they are seeing,” said Kevin Stein, associate director
       of the California Reinvestment Coalition, a San Francisco-based consumer
       advocacy group. “We’re hearing a lot about foreclosing because of bad servicing
       practices.”


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          286.   And in March 2014, a New York federal court denied Ocwen’s motion to dismiss and

allowed a class action to proceed against it and others alleging that Ocwen misled borrowers about

loan modifications. See Dumont v. Litton Loan Servicing, LP, No. 12-cv-2677-ER-LMS, 2014 U.S.

Dist. LEXIS 26880 (S.D.N.Y. Mar. 3, 2014). As Ocwen’s history shows, it has a culture that

repeatedly commits Events of Default in the normal course of its business.

          287.   In January 2014, HousingWire reported that the CFPB found that loan “[s]ervicers

[were] still engaged in unfair or deceptive practices.” The HousingWire article reported that the

CFPB had required loan servicers to pay $2.6 million to resolve misconduct. The CFPB identified a

number of issues at loan servicers, such as failing to honor loan modification agreements, demanding

unfair waivers of claims against the loan servicers, deceptive payment practices, and other

misconduct. This demonstrated that the loan servicing industry was continuing to engage in abuses

that amounted to Events of Default.

          288.   The Consumerist reported in February 2014 that the succession of new master

servicers and servicers, such as Nationstar and Ocwen to the Covered Trusts, was leading to a surge

in borrower complaints, as borrowers were sloppily shuffled from one servicer to another, leading to

failures by the new servicers to honor or locate the paperwork from prior loan modification

agreements. The article also pointed out that Ocwen and Nationstar were approving much smaller

numbers of loan modifications than others in the industry. This confirmed that Ocwen and

Nationstar were either failing to comply with loan modification rules and agreements, or were

deliberately foreclosing instead, since it was in their financial interests but not plaintiff’s and the

class’.

          289.   On February 18, 2014, The New York Times reported that “[s]hoddy paperwork,

erroneous fees and wrongful evictions – the same abuses that dogged the nation’s largest banks and


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led to [the National Mortgage Settlement] – are now cropping up among the specialty firms [such as

Nationstar and Ocwen], according to dozens of foreclosure lawsuits and interviews with borrowers,

federal and state regulators and housing lawyers.” The article contained statements from state and

federal regulators, and at least two borrowers whose loan was serviced by Nationstar, demonstrating

that the successor Master Servicers/Servicers to the Covered Trusts – Nationstar and Ocwen – were

continuing the Events of Default.

       290.    In February 2014, Steven Antonakes, Deputy Director of the CFPB, confirmed that

the loan servicing industry as a whole was continuing its servicing abuses and Events of Default. At

the Mortgage Bankers Association’s National Mortgage Servicing Conference in February 2014,

Antonakes gave a speech which took the industry to task, stating: “Nearly eight years have passed

and I remain deeply disappointed by the lack of progress the mortgage servicing industry has

made.” Antonakes stated that the CFPB was still receiving “around 4,900 complaints per month”

concerning mortgage servicing and “too many [borrowers] continue to receive erratic and

unacceptable treatment. . . . This kind of continued sloppiness is difficult to comprehend and not

acceptable. It is time for the paper chase to end. . . . . It has felt like ‘Groundhog Day’ with

mortgage servicing for far too long.” Antonakes also said the pervasive practice of successor

servicers failing to honor loan modification agreements with prior servicers “would not be tolerated”

and that the servicing industry’s continuing deceptive practices would not be allowed: “There will

be no more shell games where the first servicer says the transfer ended all of its responsibility . . .

and the second servicer” claims ignorance about the modification. Antonakes summed up his

speech as follows, which clearly indicated that the industry still had not stopped committing Events

of Default:




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                My message to you today is a tough one. I don’t expect a standing ovation
       when I leave. But I do want you to understand our perspective. I would be remiss
       if I did not share it with you.

               In our view, the intense human suffering inflicted on American consumers
       by an all-too-frequently indifferent mortgage servicing system has required us to
       change the paradigm in mortgage servicing forever. Frankly, the notion that
       government intervention has been required to get the mortgage industry to perform
       basic functions correctly – like customer service and record keeping – is bizarre to
       me but, regrettably, necessary. . . .

               But please understand: if you choose to operate in this space, the
       fundamental rules have changed forever. It’s not just about collecting payments.
       It’s about recognizing that you must treat Americans who are struggling to pay
       their mortgages fairly before exercising your right to foreclose. We have raised the
       bar in favor of American consumers and we are ready, willing and able to
       vigorously enforce that bar.

              Ultimately, these profound changes will be good for all Americans,
       including industry. But please understand, business as usual has ended in
       mortgage servicing. Groundhog Day is over. Thank you.

       291.    In February 2014, SunTrust, a Servicer for at least one Covered Trust, announced it

might be subject to “‘substantial penalties’” from government investigations into whether SunTrust

harmed borrowers and violated the law by failing to properly process loan modifications under

HAMP. Also in March 2014, a federal court denied Servicer SunTrust’s motion to dismiss a

nationwide class of borrowers who alleged that SunTrust reneged on loan modifications agreements,

assessed improper fees, failed to credit the borrowers’ accounts, and improperly sent foreclosure

notices. These, too, were obvious Events of Default.

       292.    In March 2014, The Washington Post reported on a foreclosure lawsuit filed in

federal court in New York, in which an internal Wells Fargo “foreclosure manual” was filed. The

borrower’s attorney asserted that the internal manual instructed attorneys working for Servicer Wells

Fargo about how to essentially perform robo-signing and create false foreclosure documents. The

borrower’s attorney was reported to have stated: “‘This is a blueprint for fraud.’ . . . . ‘The idea

that this bank is instructing people how to produce these documents is appalling.’” The

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Washington Post further reported that the borrower’s attorney “has long suspected Wells Fargo of

manufacturing documents. A number of her past cases involving the bank featured mortgage

notes that were not endorsed by anyone, but when she brought it to Wells Fargo’s attention the

bank would ‘magically’ produce[] the document.” It happened so frequently to this attorney and

her colleagues “that they started to call paperwork ‘ta-da’ documents.” This was unequivocal

evidence that Wells Fargo – a Master Servicer/Servicer for at least 12 Covered Trusts – had an

established, uniform and written practice manual that directed the company-wide commission of

robo-signing, a clear Event of Default.

       293.    Finally, also in February 2014, HSBC, a Servicer to one of the Covered Trusts, and

Citi Mortgage were sued by a class of New York borrowers, alleging HSBC and Citi Mortgage

violated New York laws by “routinely” failing to timely file mortgage satisfactions, needlessly

clouding title to properties in “thousands, if not tens of thousands,” of instances. See Complaint,

Brennan v. HSBC Mortgage Corp. (USA), No. 1:14cv20753 (S.D. Fla. Feb. 28, 2014). The

borrowers alleged that HSBC engaged in this servicing misconduct from February 2008 to the

present. This information indicated that HSBC had been “routinely” violating the law for years – a

clear Event of Default – on a very large scale, and thus implicated the Mortgage Loans in the

Covered Trusts it was servicing.

       294.    As the foregoing shows, the Master Servicers and Servicers to the Covered Trusts and

their successors engaged in and have continued to engage in systemic Events of Default. Such

conduct is so ingrained in their cultures that they do not know of any other way to “service”

mortgage loans. Given this widespread, repetitious and brazen misconduct which has caused long

delays in foreclosures of the Mortgage Loans in the Covered Trusts, extremely long delinquencies,

and excessive and improper fees and expenses added by the Master Servicers/Servicers, the Covered


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Trusts have experienced astronomical cumulative losses. These huge losses corroborate that the

Mortgage Loans are continuing to suffer from pervasive Events of Default by the Master Servicers

and Servicers, and U.S. Bank knows it. Indeed, the persistently high Mortgage Loan default rates,

which include many long delinquencies and extended foreclosures, and the huge losses for the

Covered Trusts reported in February 2014 confirm the Events of Default. As of February 2014, due

to the pervasive and unremedied Master Servicer and Servicer Events of Default (and the never

asserted representation and warranty claims), the majority of the Covered Trusts continue to have

default rates in excess of 30%,36 while the Covered Trusts’ losses exceed $6.7 billion due to U.S.

Bank’s failures to act. The chart below sets forth the Mortgage Loan default rates and the Covered

Trusts’ cumulative realized loss, as reported in February 2014:

                Covered Trusts’ Mortgage Loans Default Rates and
               Cumulative Realized Losses Reported in February 2014
      Covered Trust               Mortgage Loan                  Cumulative
                                   Default Rates               Realized Losses
BAFC 2007-C                           17.7%                     $226,893,334
BNCMT 2007-2                          34.4%                     $395,720,713
BSABS 2006-AC2                        35.9%                      $93,856,554
BSABS 2006-AC5                        46.4%                      $61,091,827
GPMF 2007-AR1                         29.6%                     $509,180,805
GPMF 2007-AR2                         27.5%                     $447,417,371
GPMF 2007-AR3                         24.2%                     $175,773,021
HEAT 2006-5                           39.9%                     $264,596,670
HEAT 2006-6                           40.3%                     $288,238,361
LXS 2006-1ON                          30.1%                     $321,910,430
LXS 2006-15                           28.1%                     $203,861,702
LXS 2007-7N                           34.0%                     $649,831,504
MABS 2006-HE2                         44.3%                     $197,268,292
MLMI 2006-WMC2                        49.6%                     $388,916,895
SARM 2006-9                           24.6%                      $85,693,829
SASC 2006-NC1                         39.7%                     $337,728,134

36
   As previously noted, these default rates are understated as they are the rates for the Mortgage
Loans that remain in the Covered Trusts, and do not consider the thousands of Mortgage Loans that
were already liquidated long before February 2014 and therefore are no longer part of the Covered
Trusts.

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                Covered Trusts’ Mortgage Loans Default Rates and
               Cumulative Realized Losses Reported in February 2014
      Covered Trust               Mortgage Loan                 Cumulative
                                   Default Rates               Realized Losses
SASC 2006-WF2                         35.1%                     $287,779,450
SASC 2006-WF3                         38.4%                     $318,164,221
SASC 2007-EQ1                         35.4%                     $209,304,163
SASC 2007-WF1                         35.7%                     $240,227,908
WMALT 2006-AR4                        35.5%                     $258,512,426
WAMU 2006-AR13                        19.7%                     $233,611,577
WAMU 2006-AR17                        24.2%                     $176,014,397
WAMU 2006-AR19                        21.8%                     $204,429,471
WAMU 2007-OA2                         25.9%                     $185,178,661
                 Covered Trusts’ Total Realized Losses:        $6,761,201,716

               3.      U.S. Bank Has Conflicts of Interest with Plaintiff and the Class
                       and Has Improperly Put Its Interests Ahead of the Interests of
                       Plaintiff and the Class to Benefit Itself

       295.    As previously alleged, U.S. Bank owes a duty of trust to plaintiff and the class. As

such, U.S. Bank is required to avoid conflicts of interest with plaintiff and the class. This means that

U.S. Bank is not permitted to put its interests ahead of plaintiff’s and the class’, nor is U.S. Bank

permitted to benefit therefrom.

       296.    U.S. Bank provided trustee services and loan servicing services to the RMBS industry

and derived substantial income from RMBS trusts set up and “sponsored” by the Loan

Sellers/Sponsors, Other Transferors, and Master Servicers/Servicers to the Covered Trusts, and their

related companies. The Warrantors to the Covered Trusts (and their related companies) handpicked

U.S. Bank for the RMBS trustee and loan servicing positions, as they knew that U.S. Bank would

not cause trouble for them by making significant representation and warranty claims against them, to

plaintiff’s and the class’ detriment.     The Master Servicers and Servicers (and their related

companies) also handpicked U.S. Bank because they knew U.S. Bank would not accuse them of

committing Events of Default, or replace them, as they too provided substantial RMBS trustee and

loan servicing business to U.S. Bank. Indeed, with respect to the five WaMu Covered Trusts, the

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Servicer for each of those Covered Trusts – WaMu – which had also originated the Mortgage Loans

therein (through itself or its subsidiary), and had also warranted the Mortgage Loans, was also

responsible for enforcing the representation and warranty claims against itself. To make matters

even worse and to ensure that U.S. Bank would not require WaMu to make good on its Mortgage

Loan representation and warranty breaches or WaMu’s other Events of Default, WaMu also agreed

in the Governing Agreements that WaMu would pay for U.S. Bank’s trustee fees for the WaMu

Covered Trusts, a clear conflict of interest that guaranteed U.S. Bank would not act against

WaMu’s interests or protect plaintiff’s and the class’ interests.

       297.    Because the Warrantors and Master Servicers/Servicers to the Covered Trusts and

their related companies were the source of substantial income for U.S. Bank, U.S. Bank did not seek

to enforce the Warrantors’ obligations to cure, substitute or repurchase Mortgage Loans in the

Covered Trusts which breached their representations and warranties, or declare Events of Default

against the Master Servicers and Servicers or replace them. By doing so, U.S. Bank put its own

interests ahead of plaintiff’s and the class’. Moreover, U.S. Bank benefitted by doing so.

       D.      U.S. Bank Failed to Discharge Its Critical Duties and Obligations
               Under the Governing Agreements, the TIA, and Common Law and
               Thereby Breached and Violated the Governing Agreements, the TIA
               and Common Law

       298.    Despite its discovery, and actual knowledge, of information requiring U.S. Bank to

act to protect plaintiff and the class under the Governing Agreements and the TIA, U.S. Bank failed

to act as required by the Governing Agreements and the TIA and thus breached the Governing

Agreements and violated the TIA. Moreover by failing to avoid conflicts of interest with plaintiff

and the class, U.S. Bank breached the duty of trust it owed to plaintiff and the class. U.S. Bank’s

failures to act, and its breaches and violations alleged herein, were grossly negligent and were willful

malfeasance by U.S. Bank.

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               1.     U.S. Bank Failed to Enforce the Warrantors’ Obligations to
                      Cure, Substitute, or Repurchase Defective, Breaching
                      Mortgage Loans as Required by the Governing Agreements
                      and the TIA

       299.    As alleged above, U.S. Bank discovered breaches of the Warrantors’ representations

and warranties concerning thousands of the Mortgage Loans, yet failed to enforce the Warrantors’

obligations to cure, substitute or repurchase the breaching Mortgage Loans as it was required to by

the Governing Agreements (or in the case of the WaMu Covered Trusts, U.S. Bank failed to ensure

Servicer WaMu did so). Also, as previously alleged, U.S. Bank discovered the breaches of the

Warrantors’ representations and warranties concerning the Mortgage Loans through:

              The numerous news reports, congressional testimony and other information that
               indicated that the lending industry in general was engaging in widespread lending
               abuses during the time the Mortgage Loans were originated and warranted, thus
               making it highly likely that any representations and warranties by the Warrantors
               concerning the Mortgage Loans were false;

              The numerous news stories, reports, lawsuits and governmental actions concerning
               most of the specific Warrantors to the Covered Trusts indicating that their
               representations and warranties were systematically false;

              The many lawsuits filed by others against the Warrantors detailing the high number
               of defective loans in their securitizations that breached their representations and
               warranties, with claims in many cases that the breach rates were from 70%-90% and
               that the breaches were pervasive;

              The lawsuits filed by U.S. Bank itself against the Warrantors alleging “pervasive”
               breaches of their representations and warranties;

              The Covered Trusts’ unprecedented, extremely high, and prolonged Mortgage Loan
               default rates and huge losses;

              The OCC’s “Worst Ten in the Worst Ten” list, identifying the areas of the United
               States with the highest foreclosure rates – rates that were from 13 to 22 times higher
               than historical rates – from loans originated at the same time as the Mortgage Loans
               by nearly all of the Covered Trusts’ Warrantors and loan originators;

              Numerous governmental investigations of and actions against the Warrantors for
               lending abuses which rendered their representations and warranties false;



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              U.S. Bank’s review of the Mortgage Loan files in 2006 and 2007, which would have
               revealed many patent breaches of the Warrantors’ representations and warranties
               about the Mortgage Loans, as held by two Washington state courts;

              U.S. Bank’s filings in the Lehman bankruptcy, wherein U.S. Bank filed claims for
               every Mortgage Loan in 12 Covered Trusts, even though Lehman was not liable for
               breaches of representations and warranties for every Mortgage Loan in those trusts,
               and in fact many other Warrantors were liable for such breaches with respect to these
               Mortgage Loans;

              The FCIC Report detailing: (1) the huge numbers of loans the Warrantors were being
               required to repurchase because of breaches of their representations and warranties;
               (2) the fact that the Covered Trusts’ Warrantors intentionally put defective loans that
               breached their representations and warranties into RMBS trusts just like the Covered
               Trusts as a matter of course; and (3) the routine practice of the Covered Trusts’
               Warrantors to engage in lending abuses and fraud that guaranteed their
               representations and warranties would be false; and

              The Senate Report demonstrating that the lending industry in which the Covered
               Trusts’ Warrantors participated engaged in systematic lending abuses which would
               have rendered any representation or warranty by those Warrantors false; and the
               specific case study of WaMu and its subsidiaries which confirmed that
               representations and warranties about any Mortgage Loans in the WaMu Covered
               Trusts were false.

       300.    Moreover, even after discovering the breaches of the representations and warranties

by the Covered Trusts’ Warrantors, U.S. Bank was grossly negligent and engaged in willful

malfeasance by failing to act, and continuing to fail to act, in violation of the Governing Agreements

and the TIA, thereby engaging in a continuing breach of the Governing Agreements and the TIA.

U.S. Bank’s failures to act caused the loss of the representation and warranty claims to the statute of

limitations and damages to plaintiff, the class and the Covered Trusts.

               2.      U.S. Bank Failed to Perform Its Duties with Respect to Events
                       of Default as Required by the Governing Agreements and the
                       TIA

       301.    As previously alleged, U.S. Bank obtained actual knowledge that the Master

Servicers and Servicers committed Events of Default with respect to the Mortgage Loans in the

Covered Trusts yet failed to: (1) demand that the Master Servicers and Servicers cure such Events of


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Default; (2) give notice of the Events of Default to plaintiff, the class and others; and (3) take other

actions to remedy the Events of Default, such as terminating or replacing the defaulting Master

Servicer or Servicer, all in breach of the Governing Agreements and the TIA. Also, as previously

alleged, U.S. Bank had actual knowledge of the Events of Default through:

              Numerous news reports, congressional testimony and governmental investigations
               indicating that there were systemic loan servicing abuses, including foreclosure fraud
               and robo-signing, throughout the loan servicing industry and the nation that were
               Events of Default under the Governing Agreements;

              Numerous news reports about and governmental investigations directed at nearly all
               of the specific Master Servicers and Servicers to the Covered Trusts concerning their
               improper loan servicing practices that were Events of Default under the Governing
               Agreements;

              The fact that U.S. Bank was a loan servicer itself and thus was very familiar with the
               industry and its widespread servicing abuses; and the fact that U.S. Bank was itself
               engaged in misconduct that amounted to Events of Default;

              U.S. Bank’s firsthand experience with and observance of and/or participation in loan
               servicers’ Events of Default through the many cases where U.S. Bank was a RMBS
               trustee in foreclosure actions, wherein the loan servicers and/or U.S. Bank made false
               statements or filed false affidavits or documents, such as in the Ibanez case and the
               many cases cited herein that occurred throughout the nation, in which U.S. Bank’s
               foreclosures were delayed, invalidated or denied by courts as a result of such
               misconduct;

              U.S. Bank’s awareness that loan servicers’ Events of Default were systemic and were
               similarly affecting many other RMBS trustees;

              Numerous news reports implicating most of the specific Master Servicers and
               Servicers to the Covered Trusts in robo-signing;

              Numerous governmental enforcement actions against most of the specific Master
               Servicers and Servicers to the Covered Trusts for company-wide loan servicing
               abuses that were Events of Default;

              The disclosure of deposition transcripts of employees of the Master Servicers and
               Servicers which indicated that they engaged in company-wide robo-signing and loan
               servicing abuses which were Events of Default;

              The fact that many of the largest Master Servicers and Servicers to the Covered
               Trusts had to stop their foreclosures in October 2010 because of the uproar caused by
               their pervasive loan servicing abuses which were Events of Default;

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              The huge reserves the Master Servicers and Servicers for the Covered Trusts were
               setting aside to deal with and pay for their Events of Default and other loan servicing
               abuses;

              The large number of Mortgage Loans in the Covered Trusts that were extremely
               delinquent because of delays caused by the Master Servicers’ and Servicers’ Events
               of Default;

              The huge losses being suffered by the Covered Trusts due to the Master Servicers’
               and Servicers’ robo-signing, foreclosure frauds and delays (during which they
               improperly imposed additional excessive fees and costs on the Covered Trusts)
               which were Events of Default;

              The FCIC Report and Legal Services of New Jersey Report confirming nationwide
               Events of Default by the Master Servicers and Servicers to the Covered Trusts;

              The April 13, 2011 consent orders entered into by nearly all of the Master Servicers
               and Servicers to the Covered Trusts and U.S. Bank, in which they all essentially
               admitted that they committed Events of Default, and the Government Foreclosure
               Report which confirmed “industrywide” Events of the Default by the Master
               Servicers and Servicers to the Covered Trusts throughout the nation;

              The billions of dollars paid by many of the Covered Trusts’ Master Servicers and
               Servicers to settle private and government claims that they engaged in company-wide
               loan servicing misconduct amounting to Events of Default, and the billions of dollars
               in principal reduction and other borrower relief they were required to provide for
               such Events of Default; and

              The numerous and continuing news reports and governmental actions after April
               2011 indicating that the Master Servicers and Servicers to the Covered Trusts are
               continuing to engage in loan servicing misconduct amounting to Events of Default.

       302.    Moreover, even after obtaining actual knowledge of the Events of Default, and even

after obtaining actual knowledge that such Events of Default were continuing, U.S. Bank was

grossly negligent and engaged in willful malfeasance by failing to do any of the things required of it

by the Governing Agreements, and continuing such failure to act. Therefore, U.S. Bank has engaged

in a continuing breach of the Governing Agreements, as it has allowed the Events of Default to

continue unabated.




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               3.      U.S. Bank Failed to Exercise All of Its Rights and Duties Under
                       the Governing Agreements and Use the Degree of Care and
                       Skill in Their Exercise as a Prudent Person Would in the
                       Conduct of His or Her Own Affairs, as Required by the
                       Governing Agreements and the TIA

       303.    As alleged above, when U.S. Bank became aware of the Events of Default, it was

required by the Governing Agreements to use all of its rights and powers under the Governing

Agreements to protect plaintiff’s and the class’ interests, as a prudent person would in protecting its

own interests. U.S. Bank failed to act as required in Government Agreements by:

              Failing to enforce the Warrantors’ obligations to cure, substitute, or repurchase
               Mortgage Loans that breached the Warrantors’ representations and warranties (or in
               the case of the WaMu Covered Trusts, ensuring the Servicers would do so), as a
               reasonable prudent person trying to protect his/her own interests, would; and

              Failing to discharge its duties upon the occurrence of an Event of Default, as a
               reasonable prudent person trying to protect his/her own interests, would.

       304.    Moreover, U.S. Bank continued its failure to act while the Events of Default have

continued unabated, and thus U.S. Bank has engaged in a continuing breach of the Governing

Agreements and the TIA. Such failures were grossly negligent and amounted to willful malfeasance.

               4.      U.S. Bank Failed to Discharge Its Common Law Duty of Trust
                       Owed to Plaintiff and the Class

       305.    As alleged above, U.S. Bank did not perform its duties required by the Governing

Agreements because U.S. Bank desired to economically benefit from its ongoing business

relationships with the Covered Trusts’ Warrantors, loan originators and Master Servicers/Servicers.

By doing so, U.S. Bank failed to avoid conflicts of interest with plaintiff and the class and thereby

breached its duty of trust to plaintiff and the class. U.S. Bank’s actions, and failures to act, were

grossly negligent and amounted to willful malfeasance. U.S. Bank’s continuing actions, and failures

to act, also caused it to engage in a continuing breach of its duty of trust up to and through the

present.


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       E.      Plaintiff and the Class Have Suffered Significant Damages Due to U.S.
               Bank’s Breaches of the Governing Agreements and Common Law
               and Its Violations of the TIA

       306.    Because U.S. Bank has failed to act as required by the Governing Agreements, as

alleged above, plaintiff, the class and the Covered Trusts have suffered billions of dollars in

damages.

       307.    U.S. Bank’s failure to enforce the representation and warranty claims against the

Warrantors for the thousands of breaching Mortgage Loans (or ensuring the Servicers would for the

WaMu Covered Trusts) has caused plaintiff, the class and the Covered Trusts to suffer significant

damages in the form of billions of dollars in cure, substitution and repurchase claims that could have

been asserted against the Warrantors but were not. U.S. Bank’s failure to assert these claims (or

ensure the Servicers would for the WaMu Covered Trusts) was a breach of the Governing

Agreements and the TIA for which U.S. Bank could foresee that plaintiff, the class and the Covered

Trusts would be damaged. Moreover, U.S. Bank’s continuing failure to act on those claims was a

continuing breach of the Governing Agreements and the TIA, and U.S. Bank’s continuing breach has

now caused the claims against the Warrantors to be time-barred, also causing plaintiff and the class

damages. This was also a foreseeable event and consequence by U.S. Bank.

       308.    U.S. Bank’s failure to act as required by the Governing Agreements when Events of

Default occurred, as alleged above, has caused plaintiff, the class and the Covered Trusts to suffer

millions of dollars in additional damages. U.S. Bank’s failure to act to remedy the Events of Default

have caused plaintiff and the class to sustain millions of dollars in damages due to the improper and

imprudent servicing of the Mortgage Loans, including damages caused by delayed, denied and

invalidated foreclosures, increased loan servicing costs to foreclose due to the Master

Servicers/Servicers needing to correct prior shoddy, fraudulent or robo-signed foreclosures,

increased attorney fees to correct or redo the improper and fraudulent foreclosures, extremely long
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mortgage loan delinquencies causing extra “carrying” costs for the properties, excessive and

improper fees charged by the Master Servicers and Servicers, and dispositions of the Mortgage

Loans by the Master Servicers and Servicers that financially benefitted them but caused damages to

plaintiff and the class. The foregoing damages were foreseeable to U.S. Bank from its failures to act

as required by the Governing Agreements and the TIA.

        309.    U.S. Bank’s failure to act prudently during the Events of Default also caused plaintiff,

the class and the Covered Trusts to suffer damages. If U.S. Bank had acted prudently as required by

the Governing Agreements and the TIA, most, if not all of the damages to plaintiff and the class

alleged above could have been avoided. It was foreseeable to U.S. Bank therefore that plaintiff and

the class would suffer such damages if it failed to act as required by the Governing Agreements and

the TIA.

        310.    Similarly, U.S. Bank’s failures to act as required by the Governing Agreements and

the TIA, as alleged above, and U.S. Bank’s decision to not act and instead put its financial interests

ahead of plaintiff’s and the class’ in breach of its duty of trust, caused plaintiff and the class to suffer

damages. These damages were also very foreseeable to U.S. Bank if it failed to act.

        311.    By virtue of its breaches of the Governing Agreements and its common law duties, as

well as its violations of the TIA, U.S. Bank has caused massive damages to plaintiff, the class and

the Covered Trusts for which U.S. Bank is responsible.

        F.      Plaintiff May Sue U.S. Bank as Trustee

        312.    The Governing Agreements provide certain limitations on the rights of RMBS

holders like plaintiff and the class which are not applicable to this lawsuit. More specifically, the

Governing Agreements may limit in part the rights of RMBS holders like plaintiff and the class to

bring lawsuits relating to the Governing Agreements against the Depositor, the Securities

Administrator, the Master Servicer or Servicer, or any successor to any such parties.
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        313.    However, the Governing Agreements do not so limit suit against U.S. Bank. In fact,

the Governing Agreements provide that “[n]o provision of this Agreement shall be construed to

relieve the Trustee . . . from liability for its own grossly negligent action, its own grossly negligent

failure to act or its own willful misfeasance” and that U.S. Bank “shall . . . be liable . . . for the

performance of such duties and obligations as are specifically set forth in this Agreement.” BAFC

2007-C PSA, §9.01(b).

        314.    Additionally, under the TIA and New York law, “no action” clauses do not apply to

actions by RMBS holders like plaintiff and the class against trustees like U.S. Bank for U.S. Bank’s

own wrongdoing. This is not a situation where plaintiff and the class are demanding that U.S. Bank

initiate a suit in its own name to enforce their rights and obligations under the Governing

Agreements. Rather, this is an instance where plaintiff and the class are bringing a direct action

against U.S. Bank for breaching its statutory, contractual, and common law obligations under the

Governing Agreements and the TIA. Because this is not an “action, suit or proceeding” that U.S.

Bank is capable of bringing in its own name as Trustee under the Governing Agreements, the “no

action” clause of the Governing Agreements does not apply and does not bar plaintiff and the class

from proceeding with this lawsuit.

V.      CLASS ACTION ALLEGATIONS

        315.    Plaintiff brings this action as a class action on behalf of a class consisting of all

current and former investors who acquired the RMBS certificates in the Covered Trusts (the “class”)

and held such certificates at or after the time when U.S. Bank discovered breaches of the

Warrantors’ representations and warranties or U.S. Bank had actual knowledge of Events of Default

by the Master Servicers and Servicers to the Covered Trusts, and suffered damages as a result of

U.S. Bank’s breaches of the Governing Agreements and violations of the TIA alleged herein.

Excluded from the class are U.S. Bank, the loan originators, the Warrantors, the Master Servicers
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and the Servicers of the Covered Trusts, and their officers and directors, their legal representatives,

successors or assigns, and any entity in which they have or had a controlling interest.

        316.   The members of the class are so numerous that joinder of all members is impractical.

While the exact number of class members is unknown to plaintiff at this time and can only be

ascertained though appropriate discovery, plaintiff believes that there are at least hundreds of

members of the proposed class. Record owners and other members of the class may be identified

from records maintained by U.S. Bank and may be notified of the pendency of this action by mail,

using the form of notice similar to that customarily used in securities class actions.

        317.   Plaintiff’s claims are typical of the claims of the members of the class as: they all

acquired RMBS certificates in the Covered Trusts and held them at or after the time when U.S. Bank

discovered breaches of representations and warranties concerning the Mortgage Loans by the

Warrantors or U.S. Bank had actual knowledge of Master Servicer and Servicer Events of Default;

all the claims are based upon the Governing Agreements substantially in the same form as the BAFC

2007-C PSA (see Ex. A) common law and the TIA; U.S. Bank’s alleged misconduct was

substantially the same with respect to all class members; and all class members suffered similar harm

as a result. Thus, all members of the class are similarly affected by U.S. Bank’s statutory,

contractual, and common law breaches and violations that are alleged of herein.

        318.   Plaintiff will fairly and adequately protect the interests of the members of the class

and has retained counsel competent and experienced in class action and mortgage-backed securities

litigation.

        319.   Common questions of law and fact exist as to all members of the class and

predominate over any questions solely affecting individual members of the class. Among the

questions of law and fact common to the class are:


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              whether U.S. Bank breached its contractual and common law duties to plaintiff and
               the class under the Governing Agreements by:

                      failing to enforce representation and warranty claims against the Covered
                       Trusts’ Warrantors for breach of their representations and warranties when
                       U.S. Bank discovered such breaches (or in the case of the WaMu Covered
                       Trusts, failing to ensure the Servicers did so);

                      failing to demand that the Covered Trusts’ Master Servicers and Servicers
                       cure their Events of Default under the Governing Agreements when U.S.
                       Bank obtained actual knowledge of such Events of Default;

                      failing to provide notice to plaintiff and the class of uncured Events of
                       Default;

                      failing to terminate or replace Master Servicers and Servicers for uncured
                       Events of Default;

                      failing to exercise the rights and powers vested in U.S. Bank by the
                       Governing Agreements, and failing to use the same degree of care and skill a
                       prudent person would under the circumstances and in the conduct of his or
                       her own affairs; and

                      failing to avoid conflicts of interest with plaintiff and the class while
                       advancing its own interests at the expense of plaintiff and the class and
                       benefitting therefrom.

              whether U.S. Bank violated the TIA by:

                      prior to default, failing to perform the duties specifically assigned to it under
                       the Governing Agreements;

                      failing to inform the class of defaults under the Governing Agreements
                       within 90 days after their occurrence; and

                      after an event of default, failing to exercise its rights and powers under the
                       Governing Agreement as a prudent person.

              whether and to what extent that members of the class have suffered damages as a
               result of U.S. Bank’s breaches of its statutory, contractual, and common law duties
               and the proper measure of damages.

       320.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all class members is impracticable. There will be no

difficulty in the management of this action as a class action.

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VI.     DERIVATIVE ACTION ALLEGATIONS

        321.    Alternatively, plaintiff brings this case as a derivative action against U.S. Bank in the

right and for the benefit of all of the Covered Trusts to redress losses suffered, and to be suffered, by

the Covered Trusts as a direct result of U.S. Bank’s continuing breaches of the Governing

Agreements, the TIA and common law. This is not a collusive action to confer jurisdiction on this

Court that it would not otherwise have.

        322.    Plaintiff will adequately and fairly represent the interests of the Covered Trusts in

enforcing and prosecuting their rights. Plaintiff is and was the owner of RMBS in all of the Covered

Trusts during all or a large portion of U.S. Bank’s wrongful course of conduct alleged herein.

Moreover by operation of law, under N.Y. General Obligations Law §13-107, RPI obtained all rights

and causes of action of all prior holders of such RMBS.

        323.    Plaintiff did not make a pre-suit demand on U.S. Bank to pursue this action because

such a demand would have been futile. The wrongful acts alleged herein were committed by U.S.

Bank itself and U.S. Bank would not agree to sue itself, particularly since it faces claims for losses

by the Covered Trusts in excess of $6.7 billion. In addition, since U.S. Bank itself committed the

wrongdoing complained of herein, it therefore is not disinterested and lacks independence to

exercise business judgment. Moreover, U.S. Bank has benefitted from, and continues to benefit

from, its wrongdoing alleged herein (i.e., failures to act), as it has not enforced the Covered Trusts’

rights against the Warrantors’ for breaches of their representations and warranties, or remedied or

declared Events of Default against the Master Servicers and Servicers, and thus U.S. Bank has

maintained and preserved its good relationships with the Warrantors, Master Servicers and Servicers

and has thereby continued to derive financial benefits for serving as Trustee to the Covered Trusts,

and many other RMBS trusts, due to its continuing wrongdoing alleged herein.


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        324.     The Covered Trusts could only act through U.S. Bank since U.S. Bank was the

Trustee of each Covered Trust. When U.S. Bank failed to act, as it was required by the Governing

Agreements, the TIA and common law, to protect the Covered Trusts and their assets – such as the

Mortgage Loans – U.S. Bank caused the Covered Trusts to suffer massive losses. U.S. Bank

deliberately failed to perform the following duties required of it under the Governing Agreements,

the TIA and common law which injured the Covered Trusts: (1) enforce the Covered Trusts’ rights

to pursue breach of representation and warranty claims against the Warrantors (or ensure the

Servicer would do so for the WaMu Covered Trusts); (2) request that the Master Servicers and

Servicers cure their Events of Default, provide notice of the Events of Default to plaintiff and the

class, and take further steps, such as terminating or replacing the Master Servicers and Servicers or

otherwise remedying uncured Events of Default; (3) act as a prudent person would in the conduct of

its own affairs during the Events of Default; and (4) discharge its duty of trust to plaintiff, the class

and the Covered Trusts.

        325.     U.S. Bank’s failures to act amounted to gross negligence and willful malfeasance on

its part and caused the Covered Trusts to suffer losses in excess of $6.7 billion. Plaintiff seeks to

recover, for the benefit of the Covered Trusts: (i) the losses suffered by the Covered Trusts to date

totaling in excess of $6.7 billion; (ii) all future losses caused by U.S. Bank’s continuing failure to act

as required by the Governing Agreements, the TIA and common law; and (iii) equitable relief

preventing U.S. Bank from continuing to breach the Governing Agreements, the TIA and common

law.

                                            COUNT I
               Violation of the Trust Indenture Act of 1939, 15 U.S.C. §77aaa et seq.

        326.     Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs above as if fully set forth herein.

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       327.    Congress enacted the TIA, 15 U.S.C. §77aaa et seq., to ensure, among other things,

that investors in RMBS, bonds, and similar instruments have adequate rights against, and receive

adequate performance from, the responsible trustees. 15 U.S.C. §77bbb. The Covered Trusts’

Governing Agreements are “indentures” and U.S. Bank is an “indenture trustee” within the meaning

of the TIA. 15 U.S.C. §77ccc(7), (10). Moreover, the TIA applies to and is deemed to be

incorporated into the Governing Agreements, and the related RMBS. 15 U.S.C. §77ddd(a)(1). U.S.

Bank violated multiple provisions of the TIA.

       328.    First, the TIA requires that, prior to default, the indenture trustee shall be liable for

any duties specifically set out in the indenture. 15 U.S.C. §77ooo(a)(1). As alleged above, U.S.

Bank failed to comply, in good faith, with numerous duties specifically assigned to it by the

Governing Agreements, including the duties to:

               (a)     enforce the Warrantors’ obligations to cure, substitute, or repurchase

Mortgage Loans when U.S. Bank discovered breaches of the Warrantors’ representations and

warranties concerning such Mortgage Loans (or in the case of WaMu Covered Trusts, to give notice

of such breaches to the Servicer and ensure the Servicers enforced such claims);

               (b)     demand that the Master Servicers and Servicers cure their Events of Default

within 90 days of obtaining knowledge of such Events of Default;

               (c)     notify plaintiff, the class and others of Events of Default and of the

Warrantors’ defaults; and

               (d)     exercise its rights and powers under the Governing Agreements to take further

actions, including terminating or replacing a Master Servicer or Servicer that continued engaging in

an uncured Event of Default.




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       329.    In addition, the TIA requires that U.S. Bank inform plaintiff and the class of all

defaults under the Governing Agreements known to U.S. Bank within 90 days after their occurrence.

15 U.S.C. §77ooo(b) (citing 15 U.S.C. §77mmm(c)). As alleged herein, there were numerous

Events of Default by the Master Servicers and Servicers under the Governing Agreements of which

U.S. Bank was aware. In addition, as alleged herein, U.S. Bank had knowledge of massive breaches

of the Warrantors’ representations and warranties, which were also defaults under the TIA. U.S.

Bank was required to provide notice of those defaults within 90 days. By failing to provide such

notice, U.S. Bank violated the TIA.

       330.    Second, in case of default, the TIA requires that U.S. Bank exercise all of its rights

and powers under the Governing Agreements as a prudent person would in the conduct of his/her

own affairs. 15 U.S.C. §77ooo(c). Given the obvious importance of the defaults set forth herein,

any prudent person under those circumstances would have exercised all of his or her rights and

powers to, among other things, compel and enforce the cure, substitution, or repurchase of defective

Mortgage Loans that breached the Warrantors’ representations and warranties, and taken actions to

remedy the Master Servicer and Servicer Events of Default and notify plaintiff and the class, as a

prudent person would have exercised those rights promptly. Indeed, with the huge numbers of

breaching and defaulting Mortgage Loans in the Covered Trusts, and the pervasive Events of Default

that were and are occurring, plaintiff, the class and the Covered Trusts could have been protected in

large part from the resulting damages they suffered only through U.S. Bank’s prompt exercise of

those rights. By failing to exercise its rights in those circumstances, U.S. Bank violated the TIA.

       331.    U.S. Bank is therefore liable to plaintiff, the class and the Covered Trusts for their

actual losses and damages incurred as a result of U.S. Bank’s violations of the TIA.




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                                           COUNT II
                                        Breach of Contract

       332.    Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs above as if fully set forth herein.

       333.    As set forth in detail above, the Governing Agreements are contracts setting forth the

duties U.S. Bank owed to plaintiff and the class with respect to their RMBS and the Mortgage Loans

in the Covered Trusts. As a matter of law, the Governing Agreements incorporate the provisions of

the TIA. Under the Governing Agreements and the TIA, U.S. Bank owed plaintiff and the class a

duty to perform certain duties, including, without limitation, the duties to:

               (a)     enforce the Warrantors’ breaches of representations and warranties concerning

the Mortgage Loans upon discovery, by seeking the cure, substitution, or repurchase of any and all

defective Mortgage Loans (or in the case of the WaMu Covered Trusts, to give notice of such

breaches to the Servicer and ensure the Servicer enforced such claims);

               (b)     demand the cure of any Event of Default by any Master Servicer or Servicer

within the period prescribed in the Governing Agreements upon obtaining knowledge of such

default;

               (c)     notify plaintiff, the class and others of Events of Default;

               (d)     take further actions, including termination or replacement, against a Master

Servicer or Servicer that failed to cure its Event of Default; and

               (e)     exercise all of its rights and powers under the Governing Agreements during

an Event of Default for the benefit of plaintiff and the class and as a reasonable prudent person

would in the conduct of his or her own affairs.

       334.    As alleged herein, U.S. Bank failed to perform the above duties required of it by the

Governing Agreements and therefore breached the Governing Agreements. U.S. Bank’s breach of

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its duties set forth in the Governing Agreements, as alleged therein, deprived plaintiff and the class

of the consideration they bargained for, i.e., they did not receive RMBS that were collateralized by

Mortgage Loans that were represented and warranted to be of a certain credit quality, and breaches

of these representations and warranties were not enforced as required by the Governing Agreements.

These breaches of the Governing Agreements by U.S. Bank caused plaintiff and the class to suffer

damages.

       335.    In addition, plaintiff and the class did not receive the benefit of their bargain under

the Governing Agreements when U.S. Bank failed to perform the obligations required of it by the

Governing Agreements when U.S. Bank knew of uncured and ongoing Events of Default. U.S.

Bank’s failure to act breached the Governing Agreements and caused plaintiff and the class to suffer

damages.

       336.    Furthermore, plaintiff and the class did not receive the consideration they bargained

for, i.e., that U.S. Bank would act as a prudent person and exercise all of its rights and powers under

the Governing Agreements to protect plaintiff and the class as though it were seeking to protect its

own interests, when U.S. Bank knew of Events of Default. U.S. Bank’s failure to so act breached

the Governing Agreements and caused plaintiff and the class to suffer damages.

       337.    U.S. Bank and its responsible officers discovered and/or had actual knowledge of the

Warrantors’ breaches of their representations and warranties and the Master Servicers’ and

Servicers’ Events of Default, as they learned of them as alleged herein.

       338.    As a result of U.S. Bank’s breaches of the Governing Agreements alleged herein,

U.S. Bank is liable to plaintiff and the class for the damages they suffered as a direct result of U.S.

Bank’s failure to perform its contractual obligations under the Governing Agreements.




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        339.    In addition, U.S. Bank has engaged in a continuing breach of the Governing

Agreements by failing to act as alleged herein and has caused plaintiff and the class continuing

damages.

                                            COUNT III
                                           Breach of Trust

        340.    Plaintiff repeats and realleges each and every allegation set forth in the preceding

paragraphs above as if fully set forth herein.

        341.    Under common law, U.S. Bank had a duty to plaintiff and the class to affirmatively

avoid conflicts of interest with them. Further, that duty also required U.S. Bank to refrain from

advancing its own interests at the expense of plaintiff and the class, or benefitting therefrom.

        342.    U.S. Bank breached its duty of trust owed to plaintiff and the class by advancing its

own interests at the expense of plaintiff and the class, by failing to demand that the Warrantors cure,

substitute, or repurchase Mortgage Loans that breached their representations and warranties (or

ensuring the Servicers would do so with respect to the WaMu Covered Trusts); and by failing to act

as required when it became aware of Events of Defaults by the Master Servicers and Servicers. U.S.

Bank failed to so act because it had relationships with the Warrantors and Master Servicers/Servicers

from which it derived financial remuneration and U.S. Bank did not want to disrupt those

relationships. Thus, U.S. Bank did not act, to preserve those relationships and to continue

benefitting financially from those relationships.

        343.    By doing so, U.S. Bank put its own interests ahead of those of plaintiff and the class

and benefitted therefrom. U.S. Bank thereby failed to avoid conflicts of interest with plaintiff and

the class and breached its duty of trust to plaintiff and the class.

        344.    In addition, U.S. Bank has continued to fail to fulfill its duty of trust and has thereby

engaged in a continuing breach of such duty up to the present time.

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       345.    As a result of U.S. Bank’s breach of its duty of trust, defective Mortgage Loans were

not remedied, and Events of Default were not corrected and continued on unabated, causing plaintiff

and the class to suffer damages.

                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for relief and judgment, as follows:

       A.      Determining that this action is a proper class action, certifying plaintiff as a class

representative under Rule 23 of the Federal Rules of Civil Procedure, and appointing the

undersigned as class counsel;

       B.      Awarding damages and/or equitable relief in favor of plaintiff and the class against

U.S. Bank for breaches of its statutory, contractual and common law duties, in an amount to be

proven at trial, including interest thereon;

       C.      Awarding plaintiff its reasonable costs and expenses incurred in this action, including

counsel and expert fees;

       D.      Alternatively, allowing this action to proceed as a derivative action on behalf and for

the benefit of the Covered Trusts; and

       E.      Such other relief as the Court may deem just and proper.




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                                         VERIFICATION

       I, Thierry Buytaert, hereby declare as follows:

       I am a Member of the Board of Directors of Royal Park Investments SA/NA ("RPI"),

plaintiff in the within entitled action. RPI owns the RMBS in the Covered Trusts alleged herein and

owned such RMBS at the time of most of the wrongdoing complained of herein. RPI further

understands that it has acquired the rights and claims of the previous holders of the RMBS that held

during the time of the wrongdoing complained of herein either contractually or by operation of New

York General Obligations Law § 13-107. RPI has continuously held such RMBS since acquiring

them. RPI has retained competent counsel and is ready, willing and able to pursue this action

vigorously on behalf of the Covered Trusts. I have read the Class Action and Verified Derivative

Complaint for Breach of Trust Indenture Act, Breach of Contract, and Breach of Trust. Based upon

discussion with, and reliance upon, my counsel, and as to those facts of which I have personal

knowledge, the Complaint is true and correct to the best of my knowledge, information and belief.

       I declare under penalty of perjury that the foregoing is true and correct.

       Signed and Accepted:

DATED:                                          ROYAL PARKiNVEST]                   'S S A M



                                                By:
                                                                 ThioFry Huytaert
                                                                 Brard Member
